     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 1 of 188




 1 ROBBINS GELLER RUDMAN
      & DOWD LLP
 2 JASON A. FORGE (181542)
   ELLEN GUSIKOFF STEWART (144892)
 3 LAURA ANDRACCHIO (187773)
   MICHAEL ALBERT (301120)
 4 J. MARCO JANOSKI GRAY (306547)
   TING H. LIU (307747)
 5 KENNETH P. DOLITSKY (345400)
   SARAH A. FALLON (345821)
 6 655 West Broadway, Suite 1900
   San Diego, CA 92101
 7 Telephone: 619/231-1058
   619/231-7423 (fax)
 8 jforge@rgrdlaw.com
   elleng@rgrdlaw.com
 9 landracchio@rgrdlaw.com
   malbert@rgrdlaw.com
10 mjanoski@rgrdlaw.com
   tliu@rgrdlaw.com
11 kdolitsky@rgrdlaw.com
   sfallon@rgrdlaw.com
12
   Lead Counsel for Plaintiff
13
                               UNITED STATES DISTRICT COURT
14
                              NORTHERN DISTRICT OF CALIFORNIA
15
                                  SAN FRANCISCO DIVISION
16
   In re ALPHABET, INC. SECURITIES          ) Master File No. 3:18-cv-06245-TLT
17 LITIGATION                               )
                                            ) CLASS ACTION
18                                          )
   This Document Relates To:                ) DECLARATION OF MICHAEL ALBERT
19                                          ) FILED ON BEHALF OF ROBBINS GELLER
           ALL ACTIONS.                     ) RUDMAN & DOWD LLP IN SUPPORT OF
20                                          ) APPLICATION FOR AWARD OF
                                               ATTORNEYS’ FEES AND EXPENSES
21
                                               DATE:      September 24, 2024
22                                             TIME:      2:00 p.m.
                                               CTRM:      9, 19th Floor
23                                             JUDGE: Honorable Trina L. Thompson

24

25

26

27

28


     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 2 of 188




 1            I, MICHAEL ALBERT, declare as follows:

 2            1.         I am a member of the firm of Robbins Geller Rudman & Dowd LLP (“Robbins

 3 Geller” or the “Firm”). I am submitting this declaration in support of the application for an award

 4
     of attorneys’ fees, expenses, and charges (together, “expenses”) in connection with services
 5
     rendered in the above-entitled action (the “Litigation”).
 6
              2.         This Firm is Lead Counsel of record for lead plaintiff State of Rhode Island, Office
 7
     of the Rhode Island Treasurer on behalf of the Employees’ Retirement System of Rhode Island
 8
     and the Settlement Class herein.
 9
              3.         The information in this declaration regarding the Firm’s time and expenses is taken
10
     from time and expense reports and supporting documentation prepared and/or maintained by the
11

12 Firm in the ordinary course of business. I am a partner who oversaw and/or conducted the day-to-

13 day activities in the Litigation and I reviewed these reports (and back-up documentation where

14 necessary or appropriate) in connection with the preparation of this declaration. The purpose of

15
     this review was to confirm both the accuracy of the entries as well as the necessity for, and
16
     reasonableness of, the time and expenses committed to the Litigation. As a result of this review,
17
     reductions were made to both time and expenses in the exercise of billing judgment. Based on this
18
19 review and the adjustments made, I believe that the time reflected in the Firm’s lodestar calculation

20 and the expenses for which payment is sought herein are reasonable and were necessary for the

21 effective and efficient prosecution and resolution of the Litigation.

22            4.         After the reductions referred to above, the number of hours spent on the Litigation
23
     by the Firm is 23,026.30. A breakdown of the lodestar is provided in the attached Exhibit A. The
24
     lodestar amount for attorney/paraprofessional time based on the Firm’s current rates is
25
     $14,514,240.00. The hourly rates shown in Exhibit A are the Firm’s current rates in contingent
26

27 cases set by the Firm for each individual. These hourly rates are consistent with hourly rates

28 submitted by the Firm to state and federal courts in other securities class action litigation. The
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                                     -1-
     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 3 of 188




 1 Firm’s rates are set based on periodic analysis of rates charged by firms performing comparable

 2 work both on the plaintiff and defense side. Different timekeepers within the same employment

 3
     category (e.g., partners, associates, paralegals, etc.) may have different rates based on a variety of
 4
     factors, including years of practice, years at the Firm, years in the current position (e.g., years as a
 5
     partner), relevant experience, relative expertise, and the rates of similarly experienced peers at this
 6
     Firm or other firms. For personnel who are no longer employed by the Firm, the “current rate”
 7

 8 used for the lodestar calculation is based upon the rate for that person in his or her final year of

 9 employment with the Firm.

10            5.         Attached as Exhibit B is a chart reflecting the time billed by each timekeeper in
11
     each of 20 categories, and also reflects each timekeeper’s individual hours and lodestar at their
12
     current rate.
13
              6.         The Firm seeks an award of $1,540,059.57 in expenses and charges in connection
14

15 with the prosecution of the Litigation. Those expenses and charges are summarized by category

16 in the attached Exhibit C.

17            7.         The following is additional information regarding certain of these expenses:
18                       (a)    Filing and Attorney Service Fees: $4,700.55. These expenses have been
19
     paid to the Court for filing fees and to attorney service firms or individuals who either: (i) served
20
     process of the complaint or subpoenas; or (ii) obtained copies of court documents for Lead
21
     Plaintiff. The vendors who were paid for these services are set forth in the attached Exhibit D.
22

23                       (b)    Transportation, Hotels, and Meals: $4,466.55. In connection with the

24 prosecution of this case, the Firm has paid for travel expenses to attend a court hearing and a

25 deposition. The date, destination, and purpose of each trip is set forth in the attached Exhibit E.

26
                         (c)    Court Hearing Transcripts, Deposition Transcripts, and Videography:
27
     $18,510.15. The vendors who were paid for these services are listed in the attached Exhibit F.
28
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                                     -2-
     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 4 of 188




 1                       (d)   Experts and Consultants: $1,335,158.93.

 2                             (i)     F. Partnoy, Inc.: $433,125.00. Frank Partnoy is the Adrian A.
 3
     Kragen Professor of Law at the UC Berkeley School of Law and he has written extensively on the
 4
     fields of securities markets and regulation, including finance, accounting, and valuation. Lead
 5
     Counsel utilized Professor Partnoy’s opinions on market efficiency and the ability to prove class-
 6
     wide damages in connection with Lead Plaintiff’s second motion to certify class.
 7

 8                             (ii)    The BVA Group, LLC: $412,119.61.        BVA is a nationally

 9 recognized consulting group which specializes in valuation, financial advisory, and commercial

10 litigation. Joseph R. Mason, Ph.D. is a Professor of Finance at the Ourso School of Business,

11
     Louisiana State University, Fellow at the Wharton School, the University of Pennsylvania, and
12
     Senior Advisor at BVA Group. Lead Counsel retained Dr. Mason to analyze and provide expert
13
     opinion regarding whether damages could be shown at a class-wide basis in connection with Lead
14

15 Plaintiff’s first motion to certify class.

16                             (iii)   Jonah Gelbach: $362,094.51. Jonah Gelbach, Ph.D., J.D. is an

17 economist and the Herman F. Selvin Professor of Law at the University of California Berkeley

18 School of Law where his scholarship focuses on, among other topics, law and economics, event
19
     study methodology, securities litigation, and applied statistical methodology. Lead Counsel
20
     retained Professor Gelbach to research, analyze, and provide expert opinions on issues relating to
21
     price impact and statistical significance of the alleged stock drops in connection with Lead
22

23 Plaintiff’s second motion to certify class. Lead Counsel also extensively consulted Professor

24 Gelbach on the issues of loss causation and damages. In addition, Professor Gelbach played a vital

25 role in the development and negotiation of the Plan of Allocation, which governs how claims will

26
     be calculated.
27

28
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                               -3-
     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 5 of 188




 1                             (iv)    Andrew Baker: $59,678.67. Andrew Baker is an assistant Professor

 2 of Law at the University of California Berkeley School of Law. Lead Counsel retained Professor

 3
     Baker to assist in Professor Gelbach’s research and analyses.
 4
                               (v)     Kellogg, Hansen, Todd, Figel & Frederick, PLLC: $58,131.46.
 5
     Kellogg, Hansen, Todd, Figel & Frederick, PLLC is a preeminent trial and appellate litigation
 6
     firm. Lead Counsel retained Kellogg Hansen to advise and assist with the preparation of Supreme
 7

 8 Court briefs in connection with Defendants’ Petition for a Writ of Certiorari.

 9                             (vi)    ValueEdge Advisors, LLC: $6,379.68. ValueEdge Advisors is a
10 leading corporate governance consulting firm. Lead Counsel retained ValueEdge Advisors to

11
     analyze and provide advice related to corporate governance policies and potential reforms at
12
     Alphabet.
13
                               (vii)   Tasta Group (d/b/a Caliber Advisors, Inc.): $2,612.50.     Lead
14

15 Counsel retained the services of economic expert Bjorn Steinholt with Caliber Advisors, Inc. to

16 analyze and provide his opinions regarding the statistical significance of alleged stock drops as

17 well as estimated damages.

18                             (viii) HaystackID, LLC: $1,017.50.      HaystackID is a specialized e-
19
     discovery services firm. Lead Counsel retained the services of HaystackID to assist with issues
20
     related to Alphabet’s production of electronic documents, including document attachments,
21
     hyperlinks, and format of productions.
22

23                       (e)   Online Legal and Financial Research: $33,876.73. This category includes

24 vendors such as the Federal Trade Commission, LexisNexis Products, PACER, Refinitiv,

25 Thomson Financial, and Westlaw. These resources were used to obtain access to SEC filings,

26
     factual databases, legal research, and for proofreading and “blue-booking” court filings (including
27
     checking all legal authorities cited and quoted in briefs). This category represents the expenses
28
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                                -4-
     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 6 of 188




 1 incurred by Robbins Geller for use of these services in connection with this Litigation. The charges

 2 for these vendors vary depending upon the type of services requested. For example, Robbins

 3
     Geller has flat-rate contracts with some of these providers for use of their services. When Robbins
 4
     Geller utilizes online services provided by a vendor with a flat-rate contract, access to the service
 5
     is by a billing code entered for the specific case being litigated. At the end of each billing period
 6
     in which such service is used, Robbins Geller’s costs for such services are allocated to specific
 7

 8 cases based on the percentage of use in connection with that specific case in the billing period. As

 9 a result of the contracts negotiated by Robbins Geller with certain providers, the Class enjoys

10 substantial savings in comparison with the “market-rate” for a la carte use of such services which

11
     some law firms pass on to their clients. For example, the “market-rate” charged to others by
12
     LexisNexis for the types of services used by Robbins Geller is more expensive than the rates
13
     negotiated by Robbins Geller.
14

15                       (f)   eDiscovery Database Hosting: $16,166.80. Robbins Geller has installed top

16 tier database software, infrastructure, and security. The platform implemented, Relativity, is

17 offered by over 100 vendors and is currently being used by 198 of the AmLaw200 firms. Over 50

18 servers are dedicated to Robbins Geller’s Relativity hosting environment with all data stored in a
19
     secure SSAE 18 Tier III data center with automatic replication to a datacenter located in a different
20
     geographic location. By hosting in-house, Robbins Geller is able to charge a reduced, all-in rate
21
     that includes many services which are often charged as extra fees when hosted by a third-party
22

23 vendor.       Robbins Geller’s hosting fee includes user logins, ingestion, processing, OCRing,

24 TIFFing, bates stamping, productions, and archiving – all at no additional per unit cost. Also

25 included is unlimited structured and conceptual analytics (i.e., email threading, inclusive detection,

26
     near-dupe detection, concept searching, active learning, clustering, and more). Robbins Geller is
27
     able to provide all these services for a cost that is typically much lower than outsourcing to a third-
28
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                                    -5-
     4883-3461-3709.v3
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 7 of 188




 1 party vendor. Utilizing a secure, advanced platform in-house has allowed Robbins Geller to

 2 prosecute actions more efficiently, utilize advanced AI technology, and has reduced the expense

 3
     associated with maintaining and searching electronic discovery databases. Similar to third-party
 4
     vendors, Robbins Geller uses a tiered rate system to calculate hosting charges. The amount
 5
     requested reflects charges for the hosting of over a half million pages of documents received from
 6
     parties and non-parties in this action.
 7

 8                       (g)    Mediation Fees (Phillips ADR Enterprises, P.C.): $126,351.88.           The

 9 Honorable Layn R. Phillips (Ret.) is a former United States District Judge and United States

10 Attorney, and is a highly respected mediator with extensive experience in complex securities

11
     litigation.     Judge Phillips facilitated the settlement negotiations over the course of many
12
     discussions, written submissions, a full-day in-person mediation session, and subsequent
13
     negotiations, ultimately leading to the settlement of this Litigation.
14

15            8.         The expenses pertaining to this case are reflected in the books and records of this

16 Firm. These books and records are prepared from receipts, expense vouchers, check records, and

17 other documents and are an accurate record of the expenses.

18            9.         The identification and background of my Firm and its partners is attached hereto as
19
     Exhibit G.
20
              I declare under penalty of perjury that the foregoing is true and correct. Executed this 19th
21
     day of July, 2024, at San Diego, California.
22

23                                                                    MICHAEL ALBERT
24

25

26

27

28
     DECL OF MICHAEL ALBERT FILED ON BEHALF OF ROBBINS GELLER RUDMAN & DOWD
     LLP IN SUPPORT OF AWARD OF FEES AND EXPENSES - 3:18-cv-06245-TLT                                    -6-
     4883-3461-3709.v3
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 8 of 188




                 EXHIBIT A
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 9 of 188




                                 EXHIBIT A

       In re Alphabet, Inc. Securities Litigation, No. 3:18-cv-06245-TLT
                    Robbins Geller Rudman & Dowd LLP
                        Inception through June 24, 2024

             NAME                      HOURS     RATE     LODESTAR
   Albert, Michael              (P)    1,045.40   785   $    820,639.00
   Bays, Lea M.                 (P)       68.90   915         63,043.50
   Daley, Joseph D.             (P)       26.20  1050         27,510.00
   Forge, Jason A.              (P)    1,572.00  1200      1,886,400.00
   Gusikoff Stewart, Ellen A.   (P)      105.20  1200        126,240.00
   Janoski Gray, J. Marco       (P)      812.10   760        617,196.00
   Liu, Ting H.                 (P)      609.30   760        463,068.00
   Myers, Danielle S.           (P)       12.00  1075         12,900.00
   Robbins, Darren J.           (P)       52.80  1400         73,920.00
   Williams, Shawn A.           (P)       10.80  1200         12,960.00
   Abel, Lawrence A.            (A)    1,907.90   700      1,335,530.00
   Brane, Austin P.             (A)       35.60   550         19,580.00
   Dolitsky, Kenneth P.         (A)      304.20   400        121,680.00
   Fallon, Sarah A.             (A)      833.30   400        333,320.00
   Lakosil, Natalie F.          (A)       10.30   450          4,635.00
   Oetting, Justin G.           (A)       37.50   375         14,062.50
   Robertson, Jessica E.        (A)       14.90   375          5,587.50
   Andracchio, Laura M.         (OC)     938.20  1130      1,060,166.00
   Bowens, M. Lamontt           (OC)     556.00   480        266,880.00
   Prado, Svenna                (OC)   2,066.50   915      1,890,847.50
   Walton, David C.             (OC)       4.20  1135          4,767.00
   Cho, Grace                   (SA)   1,373.80   460        631,948.00
   Fiore, Andrea G.             (SA)   1,884.70   460        866,962.00
   Gao, Mary N.                 (SA)     596.00   460        274,160.00
   Greenberg, Brett B.          (SA)   1,642.20   440        722,568.00
   Hierholzer, Jesse J.         (SA)       8.00   460          3,680.00
   Hinton, David B.             (SA)      31.90   475         15,152.50
   Montalvo, Sabrina            (SA)     645.20   475        306,470.00
   Petix, Andrew T.             (SA)     267.10   450        120,195.00
   Ronan, Charles R.            (SA)   1,645.30   450        740,385.00
   Sarpy, Steven C.             (SA)     292.40   450        131,580.00
   Selden, Jill B.              (SA)     505.00   475        239,875.00
   Sonney, Megan M.             (SA)     769.30   450        346,185.00
   Sousa, Elena                 (SA)     893.00   450        401,850.00
   Williams, Tavish M.          (SA)     341.90   450        153,855.00
   Forensic Accountant                     6.50   775          5,037.50
   Economic Analysts                     108.35 315-470       44,052.50
   Research Analysts                      49.20   325         15,990.00
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 10 of 188




             NAME                HOURS       RATE       LODESTAR
   Investigator                     12.50     350            4,375.00
   Litigation Support              123.80   245-415         39,167.00
   Law Clerks                       33.00   175-185          5,935.00
   Summer Associate                 14.10     170            2,397.00
   Paralegals                      662.65   350-410        268,292.50
   Document Clerks                  50.30     160            8,048.00
   Shareholder Relations            46.80   110-150          5,148.00
             TOTAL              23,026.30             $ 14,514,240.00
   (P) Partner
   (A) Associate
   (OC) Of Counsel
   (SA) Staff Attorney
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 11 of 188




                  EXHIBIT B
                                                                                    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 12 of 188
                                                                                                                                              Exhibit B
                                                                                                              In re Alphabet, Inc. Securities Litigation , Case No. 3:18-cv-06245-TLT
Firm Name: Robbins Geller Rudman & Dowd LLP
Reporting Period: Inception through June 24, 2024

Categories:
(1) Factual Investigation                                 (8) Class Certification & Notice                               (15) Mediation, Settlement Negotiations, Documentation, Preliminary/Final Approval of Settlement and POA
(2) Legal Research                                        (9) Discovery                                                  (16) Trial Preparation
(3) Financial Research                                    (10) Discovery Motion Practice                                 (17) Appeal
(4) Litigation Strategy & Analysis                        (11) Document Review                                           (18) Court Appearance & Preparation
(5) Draft Initial or Amended Complaint                    (12) Other Pleadings, Briefs and Pretrial Motions              (19) Client/Shareholder Communication
(6) Lead Plaintiff Motion                                 (13) Fact Depositions                                          (20) Case/File Organization, Litigation File Support Tasks
(7) Motion to Dismiss                                     (14) Experts, Consultants & Investigators


                                                                                                                                                                                                                                                  Current                   Current
          Name                            1        2           3          4         5        6         7         8           9          10            11        12          13           14      15       16      17       18       19     20                  Rate
                                                                                                                                                                                                                                                   Hours                    Lodestar
Albert, Michael            (P)           17.70    16.40                  98.10     58.00    22.20     42.80     337.10      185.70     34.80          49.10     38.00       47.30       47.80    24.00             3.20   19.90     3.30           1,045.40     785     $     820,639.00
Bays, Lea M.               (P)                                                                                               68.60      0.30                                                                                                          68.90     915            63,043.50
Daley, Joseph D.           (P)                                                                                                                                                                                    26.20                               26.20    1050            27,510.00
Forge, Jason A.            (P)            5.50     4.50                  17.50    135.00              50.50     372.00      124.50    248.50           2.00    101.00       49.00               151.00   21.50   255.00   34.50                    1,572.00    1200         1,886,400.00
Gusikoff Stewart, Ellen A. (P)                                                                                                                                                                  105.20                                               105.20    1200           126,240.00
Janoski Gray, J. Marco     (P)           35.30    30.90                  83.40     13.60              77.70      61.30      355.20     51.20          18.30     37.40         5.70               15.30            26.50             0.30             812.10     760           617,196.00
Liu, Ting H.               (P)           14.00     7.20                  12.80     31.70              35.40      62.80      324.20     11.70          42.00     29.80         5.90                8.80            22.90             0.10             609.30     760           463,068.00
Myers, Danielle S.         (P)                                            0.70               7.40                                                                                                                                   3.90              12.00    1075            12,900.00
Robbins, Darren J.         (P)            0.20                            9.30      1.50     3.60                 2.00                                                                   0.30    28.30                              7.60              52.80    1400            73,920.00
Williams, Shawn A.         (P)                                            0.30                                                                                                                   10.50                                                10.80    1200            12,960.00
Abel, Lawrence A.          (A)           23.90   151.90                   8.40                                   22.50        8.00               1,566.40                  126.80                                                                  1,907.90     700         1,335,530.00
Brane, Austin P.           (A)           27.20                            3.90      4.50                                                                                                                                                              35.60     550            19,580.00
Dolitsky, Kenneth P.       (A)            5.90     8.10                  12.60                                   35.60      105.00      9.00          58.10      0.40        1.70        2.10    64.90                     0.80                      304.20     400           121,680.00
Fallon, Sarah A.           (A)            4.90   120.20         5.00     21.00                                  168.40      331.60      7.60          72.80     11.70       19.60        4.00    65.30                     1.20                      833.30     400           333,320.00
Lakosil, Natalie F.        (A)                     0.50                   0.40                                                3.60                                           4.50                 0.90                              0.40              10.30     450             4,635.00
Oetting, Justin G.         (A)                    37.50                                                                                                                                                                                               37.50     375            14,062.50
Robertson, Jessica E.      (A)                    14.90                                                                                                                                                                                               14.90     375             5,587.50
Andracchio, Laura M.       (OC)           5.20                           40.80                                   94.10      548.70      8.80        38.80                  191.90        1.00     6.50                     0.70     0.20   1.50      938.20    1130         1,060,166.00
Bowens, M. Lamontt         (OC)          78.50                           17.50                                                                     460.00                                                                                            556.00     480           266,880.00
Prado, Svenna              (OC)           6.70                            3.00                                                                   1,823.50                  233.30                                                                  2,066.50     915         1,890,847.50
Walton, David C.           (OC)           3.20                                      0.60                                                                                                                                            0.40               4.20    1135             4,767.00
Cho, Grace                 (SA)          38.90    35.50                                                           9.00      102.60               1,070.20                  111.60        6.00                                                      1,373.80     460           631,948.00
Fiore, Andrea G.           (SA)           0.60   159.30                   2.50                                   32.00                           1,549.80                  132.50        8.00                                                      1,884.70     460           866,962.00
Gao, Mary N.               (SA)                                                                                                                    596.00                                                                                            596.00     460           274,160.00
Greenberg, Brett B.        (SA)          63.30    27.30                   3.20                                   45.40       19.40      0.50     1,283.90                  199.20                                                                  1,642.20     440           722,568.00
Hierholzer, Jesse J.       (SA)                                                                                               0.50                   7.50                                                                                              8.00     460             3,680.00
Hinton, David B.           (SA)                                                                                                                     31.90                                                                                             31.90     475            15,152.50
Montalvo, Sabrina          (SA)                                                                                                                    645.20                                                                                            645.20     475           306,470.00
Petix, Andrew T.           (SA)           0.50    16.30                                                                      79.30                 171.00                                                                                            267.10     450           120,195.00
Ronan, Charles R.          (SA)          24.00    39.90                   5.30                                    8.30       35.90               1,512.90         4.20        8.00                5.80                     1.00                    1,645.30     450           740,385.00
Sarpy, Steven C.           (SA)                                           2.50                                                3.80                 286.10                                                                                            292.40     450           131,580.00
Selden, Jill B.            (SA)                                                                                                                    505.00                                                                                            505.00     475           239,875.00
Sonney, Megan M.           (SA)          55.70   273.00                  25.40                                               63.50      2.00       349.70                                                                                            769.30     450           346,185.00
Sousa, Elena               (SA)                                                                                                                    893.00                                                                                            893.00     450           401,850.00
Williams, Tavish M.        (SA)                                                                                                                    341.90                                                                                            341.90     450           153,855.00
Forensic Accountant                                                                                                           6.50                                                                                                                     6.50     775             5,037.50
Economic Analysts                                  1.30      104.15                                               0.80                                                                            2.10                                               108.35   315-470          44,052.50


                                                                                                                                                  1
                                                                                    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 13 of 188
Categories:
(1) Factual Investigation                                 (8) Class Certification & Notice                               (15) Mediation, Settlement Negotiations, Documentation, Preliminary/Final Approval of Settlement and POA
(2) Legal Research                                        (9) Discovery                                                  (16) Trial Preparation
(3) Financial Research                                    (10) Discovery Motion Practice                                 (17) Appeal
(4) Litigation Strategy & Analysis                        (11) Document Review                                           (18) Court Appearance & Preparation
(5) Draft Initial or Amended Complaint                    (12) Other Pleadings, Briefs and Pretrial Motions              (19) Client/Shareholder Communication
(6) Lead Plaintiff Motion                                 (13) Fact Depositions                                          (20) Case/File Organization, Litigation File Support Tasks
(7) Motion to Dismiss                                     (14) Experts, Consultants & Investigators


                                                                                                                                                                                                                                                   Current                  Current
          Name                            1        2           3          4         5        6         7         8           9         10            11        12         13        14       15       16       17       18          19      20                  Rate
                                                                                                                                                                                                                                                    Hours                   Lodestar
Research Analysts                        44.70                  4.50                                                                                                                                                                                   49.20     325           15,990.00
Investigator                             12.50                                                                                                                                                                                                         12.50     350            4,375.00
Litigation Support                                                                                                           23.40      3.50         96.90                                                                                            123.80   245-415         39,167.00
Law Clerks                               17.00    16.00                                                                                                                                                                                                33.00   175-185          5,935.00
Summer Associate                          3.40    10.70                                                                                                                                                                                                14.10     170            2,397.00
Paralegals                                6.70     1.40                   1.00     26.20    10.05     15.30    171.40       109.30     58.10          1.50     66.30        5.50             57.50             66.90    3.50        6.90   55.10      662.65   350-410        268,292.50
Document Clerks                                                                                                               2.40                   39.10                  8.80                                                                       50.30     160            8,048.00
Shareholder Relations                                                                                                                                                                                                          46.80                   46.80     110            5,148.00
TOTAL:                               495.50      972.80      113.65    369.60     271.10    43.25   221.70    1,422.70    2,501.70   436.00    13,512.60      288.80    1,151.30   69.20   546.10    21.50   400.70    61.60   69.90       56.60   23,026.30             $ 14,514,240.00
(P) Partner
(A) Associate
(OC) Of Counsel
(SA) Staff Attorney




                                                                                                                                                 2
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 14 of 188




                  EXHIBIT C
    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 15 of 188




                                        EXHIBIT C

              In re Alphabet, Inc. Securities Litigation, No. 3:18-cv-06245-TLT
                           Robbins Geller Rudman & Dowd LLP
                                      Expense Summary
                               Inception through May 31, 2024

                        CATEGORY                                                  AMOUNT
Filing and Attorney Service Fees                                             $       4,700.55
Transportation, Hotels, and Meals                                                    4,466.55
Telephone                                                                               87.43
Postage                                                                                 15.94
Messenger/FedEx/UPS                                                                    724.61
Court Hearing Transcripts, Deposition Transcripts, and
Videography                                                                          18,510.15
Experts and Consultants                                                           1,335,158.93
     F. Partnoy, Inc.                                        $ 433,125.00
     The BVA Group, LLC                                        412,119.61
     Jonah Gelbach                                             362,094.51
     Andrew Baker                                               59,678.67
     Kellogg, Hansen, Todd, Figel & Frederick, PLLC             58,131.46
     ValueEdge Advisors, LLC                                     6,379.68
     Tasta Group (d/b/a Caliber Advisors, Inc.)                  2,612.50
     HaystackID, LLC                                             1,017.50
Online Legal and Financial Research                                               33,876.73
eDiscovery Database Hosting                                                       16,166.80
Mediation Fees (Phillips ADR Enterprises, P.C.)                                  126,351.88
                          TOTAL                                              $ 1,540,059.57
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 16 of 188




                  EXHIBIT D
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 17 of 188




                                         EXHIBIT D

               In re Alphabet, Inc. Securities Litigation, No. 3:18-cv-06245-TLT
                            Robbins Geller Rudman & Dowd LLP

Filing and Attorney Service Fees: $4,700.55

  DATE               VENDOR                      PURPOSE
 07/09/19   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; PLAINTIFF’S OPPOSITION
            SERVICES, INC.          TO DEFENDANTS’ MOTION TO
                                    DISMISS; PLAINTIFF’S RESPONSE TO
                                    DEFENDANTS’ REQUEST FOR
                                    JUDICIAL NOTICE
 07/27/19   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS
            SERVICES, INC.
 08/31/19   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; MEMORANDUM OF LAW
            SERVICES, INC.          IN OPPOSITION TO COMPETING
                                    MOTIONS FOR APPOINTMENT AS LEAD
                                    PLAINTIFF
 08/31/19   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; STATE OF RHODE ISLAND,
            SERVICES, INC.          OFFICE OF THE RHODE ISLAND
                                    TREASURER ON BEHALF OF THE
                                    EMPLOYEES’ RETIREMENT SYSTEM OF
                                    RHODE ISLAND’S NOTICE OF
                                    UNOPPOSED MOTION
 12/30/19   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; CONSOLIDATED
            SERVICES, INC.          AMENDED COMPLAINT; SUMMONS
 03/13/20   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; NOTICE RE ORDER
            SERVICES, INC.          GRANTING MOTION TO DISMISS
 04/10/20   CLERK OF THE COURT      FILING FEE FOR NOTICE OF APPEAL
 11/16/21   CLASS ACTION RESEARCH & DELIVERY; WAIVER FORM
            LITIGATION SUPPORT
            SERVICES, INC.
 07/18/22   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; JOINT LETTER RE
            SERVICES, INC.          DEPOSITION; JOINT LETTER RE APEX
 07/25/22   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
            LITIGATION SUPPORT      CHAMBERS; LETTER RE ALPHABET
            SERVICES, INC.          INC. SECURITIES LITIGATION
    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 18 of 188




 DATE               VENDOR                       PURPOSE
08/08/22   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
           LITIGATION SUPPORT      CHAMBERS; LETTER RE: ALPHABET
           SERVICES, INC.          INC. SECURITIES LITIGATION
08/26/22   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
           LITIGATION SUPPORT      CHAMBERS; LETTER TO JUDGE DATED
           SERVICES, INC.          8/25/22; SECOND LETTER TO JUDGE
                                   DATED 8/25/22
04/24/23   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
           LITIGATION SUPPORT      CHAMBERS; SERVICE OF PROCESS;
           SERVICES, INC.          LETTER RE ALPHABET INC.
                                   SECURITIES LITIGATION
06/16/23   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
           LITIGATION SUPPORT      CHAMBERS; LETTER RE DISCOVERY
           SERVICES, INC.
06/23/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: ERNST & YOUNG
           LITIGATION SUPPORT      LLP - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION;
                                   SCHEDULE A
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: CITIGROUP, INC. -
           LITIGATION SUPPORT      SUBPOENA TO PRODUCE DOCUMENTS,
           SERVICES, INC.          INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: J.P. MORGAN
           LITIGATION SUPPORT      SECURITIES LLC - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: GOLDMAN
           LITIGATION SUPPORT      SACHS & CO. LLC - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: CREDIT SUISSE
           LITIGATION SUPPORT      SECURITIES (USA) LLC - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 19 of 188




 DATE               VENDOR                       PURPOSE
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: JMP SECURITIES,
           LITIGATION SUPPORT      INC. - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION;
                                   SCHEDULE A
06/30/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: MORGAN
           LITIGATION SUPPORT      STANLEY & CO. LLC - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
08/15/23   CLASS ACTION RESEARCH & RETURNED NOT SERVED: JMP
           LITIGATION SUPPORT      SECURITIES, LLC - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION; SCHEDULE A
08/16/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: JMP SECURITIES,
           LITIGATION SUPPORT      LLC - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION;
                                   SCHEDULE A
09/25/23   CLASS ACTION RESEARCH & COURTESY COPY FOR JUDGE’S
           LITIGATION SUPPORT      CHAMBERS; LETTER TO THE
           SERVICES, INC.          HONORABLE DONNA RYU
10/12/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: BOOKING
           LITIGATION SUPPORT      HOLDINGS, INC. - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
10/12/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: VALIDITY, INC. -
           LITIGATION SUPPORT      SUBPOENA TO PRODUCE DOCUMENTS,
           SERVICES, INC.          INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
10/12/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: SHOPIFY, INC. -
           LITIGATION SUPPORT      SUBPOENA TO PRODUCE DOCUMENTS,
           SERVICES, INC.          INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 20 of 188




 DATE               VENDOR                        PURPOSE
10/13/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: LINKEDIN
           LITIGATION SUPPORT      CORPORATION - SUBPOENA TO
           SERVICES, INC.          PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
10/13/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: EBATES
           LITIGATION SUPPORT      PERFORMANCE MARKETING, INC. -
           SERVICES, INC.          SUBPOENA TO PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
10/13/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: SALESFORCE,
           LITIGATION SUPPORT      INC. - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION
10/13/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: OATH HOLDINGS,
           LITIGATION SUPPORT      INC. - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION
10/17/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: BOOKING.COM
           LITIGATION SUPPORT      (USA) INC. - SUBPOENA TO PRODUCE
           SERVICES, INC.          DOCUMENTS, INFORMATION, OR
                                   OBJECTS OR TO PERMIT INSPECTION
                                   OF PREMISES IN A CIVIL ACTION
10/17/23   CLASS ACTION RESEARCH & PERSONAL SERVICE: KAYAK
           LITIGATION SUPPORT      SOFTWARE CORPORATION -
           SERVICES, INC.          SUBPOENA TO PRODUCE DOCUMENTS,
                                   INFORMATION, OR OBJECTS OR TO
                                   PERMIT INSPECTION OF PREMISES IN
                                   A CIVIL ACTION
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 21 of 188




                  EXHIBIT E
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 22 of 188




                                           EXHIBIT E

                 In re Alphabet, Inc. Securities Litigation, No. 3:18-cv-06245-TLT
                              Robbins Geller Rudman & Dowd LLP

Transportation, Hotels, and Meals: $4,466.55

     NAME              DATE         DESTINATION                        PURPOSE
 Forge, Jason        02/22/19     San Francisco, CA      Prepare for and attend Case
                                                         Management Conference
 Forge, Jason        10/08/23-    San Francisco, CA      Prepare for and attend Ruth Porat
                     10/09/23                            deposition
 Albert, Michael     10/08/23-    San Francisco, CA      Prepare for and attend Ruth Porat
                     10/09/23                            deposition
 Fallon, Sarah       10/08/23-    San Francisco, CA      Prepare for and attend Ruth Porat
                     10/09/23                            deposition
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 23 of 188




                  EXHIBIT F
     Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 24 of 188




                                        EXHIBIT F

              In re Alphabet, Inc. Securities Litigation, No. 3:18-cv-06245-TLT
                           Robbins Geller Rudman & Dowd LLP

Court Hearing Transcripts, Deposition Transcripts, and Videography: $18,510.15

  DATE          VENDOR                                    PURPOSE
 03/28/19 RAYNEE H. MERCADO               HEARING TRANSCRIPT OF STATUS
                                          CONFERENCE
 07/29/22 VERITEXT CORP.                  WITNESS DEPOSITION: DAVID THACKER;
                                          ORIGINAL WITH 1 CERTIFIED TRANSCRIPT,
                                          EXHIBITS, EXHIBIT SHARE, REALTIME
                                          SERVICES, REMOTE CONNECTION,
                                          VIRTUAL PRIMARY PARTICIPANTS, ROUGH
                                          SERVICES
 07/29/22 VERITEXT CORP.                  WITNESS DEPOSITION: DAVID THACKER;
                                          VIDEO, INITIAL SERVICES, ADDITIONAL
                                          HOURS, ELECTRONIC ACCESS
 08/15/22 MK LITIGATION                   08/11/22 AUDIO HEARING (FTR) HEARING
          SOLUTIONS, INC.                 TRANSCRIPT
 06/27/23 VERITEXT CORP.                  CERTIFIED TRANSCRIPT, ROUGH DRAFT,
                                          REALTIME SERVICES, EXHIBITS, PREMIUM
                                          LITIGATION PACKAGE - WITNESS:
                                          PROFESSOR FRANK PARTNOY
 06/27/23 VERITEXT CORP.                  VIDEO – DIGITIZING; TRANSCRIPT
                                          SYNCHRONIZATION, VIDEO; ELECTRONIC
                                          ACCESS. WITNESS: PROFESSOR FRANK
                                          PARTNOY
 06/28/23 DIPTI PATEL C/O                 06/22/23 DISCOVERY HEARING TRANSCRIPT
          LIBERTY TRANSCRIPTS
 10/09/23 VERITEXT CORP.                  ORIGINAL TRANSCRIPT, PRIORITY
                                          REQUEST, REALTIME & ROUGH SERVICES,
                                          ATTENDANCE, EXHIBITS, VERITEXT
                                          VIRTUAL PRIMARY PARTICIPANTS.
                                          WITNESS: RUTH PORAT
 10/09/23 VERITEXT CORP.                  VIDEO - INITIAL SERVICES, ADDITIONAL
                                          HOURS, ELECTRONIC ACCESS, EXPENSES.
                                          WITNESS: RUTH PORAT
 11/10/23 JANICE DICKMAN, RMR,            USA V GOOGLE TRANSCRIPT
          CRR, CRC
 11/10/23 WILLIAM P. ZAREMBA              7-DAY PDF FORMAT EMAILED TRANSCRIPT
                                          (EXPEDITED) DELIVERY OF BENCH TRIAL
                                          PROCEEDINGS
   Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 25 of 188




 DATE          VENDOR                          PURPOSE
11/30/23 BRYCE REPORTING        IN RE GOOGLE PLAY STORE ANTITRUST
         SERVICES               LITIGATION TRIAL TRANSCRIPT BEFORE
                                JUDGE DONATO
Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 26 of 188




                 EXHIBIT G
    Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 27 of 188




           FIRM RESUME




Robbins Geller
Rudman&Dowd lip                                               (800) 449-4900 | rgrdlaw.com
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 28 of 188




TABLE OF CONTENTS
Introduction                                                                                                                       1


Practice Areas and Services                                                                                                        2
     Securities Fraud....................................................................................................          2
     Shareholder Derivative and Corporate Governance Litigation..........................                                          9
     Options Backdating Litigation.............................................................................                   12
     Corporate Takeover Litigation............................................................................                    12
     Antitrust................................................................................................................    15
     Consumer Fraud and Privacy..............................................................................                     16
     Human Rights, Labor Practices, and Public Policy.............................................                                20
     Environment and Public Health..........................................................................                      21
     Pro Bono...............................................................................................................      22

Prominent Cases, Precedent-Setting Decisions, and Judicial Commendations                                                          24
     Prominent Cases...................................................................................................           24
     Precedent-Setting Decisions.................................................................................                 33
     Additional Judicial Commendations....................................................................                        40

Attorney Biographies                                                                                                              48
     Partners.................................................................................................................    48
     Of Counsel............................................................................................................      133
     Special Counsel.....................................................................................................        158
     Forensic Accountants............................................................................................            159
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 29 of 188




INTRODUCTION

Robbins Geller Rudman & Dowd LLP (“Robbins Geller” or the “Firm”) is a 200-lawyer firm with offices in
Boca Raton, Chicago, Manhattan, Melville, Nashville, San Diego, San Francisco, Philadelphia,
Washington, D.C., and Wilmington (www.rgrdlaw.com). The Firm is actively engaged in complex
litigation, emphasizing securities, consumer, antitrust, insurance, healthcare, human rights, and
employment discrimination class actions. The Firm’s unparalleled experience and capabilities in these
fields are based upon the talents of its attorneys, who have successfully prosecuted thousands of class
action lawsuits and numerous individual cases, recovering billions of dollars.

This successful track record stems from our experienced attorneys, including many who came to the Firm
from federal or state law enforcement agencies. The Firm also includes several dozen former federal and
state judicial clerks.

The Firm is committed to practicing law with the highest level of integrity in an ethical and professional
manner. We are a diverse firm with lawyers and staff from all walks of life. Our lawyers and other
employees are hired and promoted based on the quality of their work and their ability to treat others with
respect and dignity.

We strive to be good corporate citizens and work with a sense of global responsibility. Contributing to our
communities and environment is important to us. We often take cases on a pro bono basis and are
committed to the rights of workers, and to the extent possible, we contract with union vendors. We care
about civil rights, workers’ rights and treatment, workplace safety, and environmental protection.
Indeed, while we have built a reputation as the finest securities and consumer class action law firm in the
nation, our lawyers have also worked tirelessly in less high-profile, but no less important, cases involving
human rights and other social issues.




                                                                              Robbins Geller Rudman & Dowd LLP | 1
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 30 of 188



PRACTICE AREAS AND SERVICES
Securities Fraud
As recent corporate scandals demonstrate clearly, it has become all too common for companies and their
executives – often with the help of their advisors, such as bankers, lawyers, and accountants – to
manipulate the market price of their securities by misleading the public about the company’s financial
condition or prospects for the future. This misleading information has the effect of artificially inflating
the price of the company’s securities above their true value. When the underlying truth is eventually
revealed, the prices of these securities plummet, harming those innocent investors who relied upon the
company’s misrepresentations.

Robbins Geller is the leader in the fight to protect investors from corporate securities fraud. We utilize a
wide range of federal and state laws to provide investors with remedies, either by bringing a class action
on behalf of all affected investors or, where appropriate, by bringing individual cases.

The Firm’s reputation for excellence has been repeatedly noted by courts and has resulted in the
appointment of Firm attorneys to lead roles in hundreds of complex class-action securities and other
cases. In the securities area alone, the Firm’s attorneys have been responsible for a number of
outstanding recoveries on behalf of investors. Currently, Robbins Geller attorneys are lead or named
counsel in hundreds of securities class action or large institutional-investor cases. Some notable current
and past cases include:

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Robbins Geller attorneys and lead
       plaintiff The Regents of the University of California aggressively pursued numerous defendants,
       including many of Wall Street’s biggest banks, and successfully obtained settlements in excess of
       $7.2 billion for the benefit of investors. This is the largest securities class action recovery in history.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill.). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of
       damages. The parties reached an agreement to settle the case just hours before the retrial was
       scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
       largest ever following a securities fraud class action trial, the largest securities fraud settlement in
       the Seventh Circuit and the eighth-largest settlement ever in a post-PSLRA securities fraud case.
       According to published reports, the case was just the seventh securities fraud case tried to a verdict
       since the passage of the PSLRA.




                                                                                  Robbins Geller Rudman & Dowd LLP | 2
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 31 of 188
                                                                  PRACTICE AREAS AND SERVICES

In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
Robbins Geller attorneys obtained a $1.2 billion settlement in the securities case that Vanity Fair
reported as “the corporate scandal of its era” that had raised “fundamental questions about the
functioning of our health-care system, the nature of modern markets, and the slippery slope of
ethical rationalizations.” The settlement resolves claims that defendants made false and misleading
statements regarding Valeant’s business and financial performance during the class period,
attributing Valeant’s dramatic growth in revenues and profitability to “innovative new marketing
approaches” as part of a business model that was low risk and “durable and sustainable.” Valeant is
the largest securities class action settlement against a pharmaceutical manufacturer and the ninth
largest ever.

In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
nine different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of
1933, involving seven different stock or debt offerings and two mergers. The recovery represents
the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
personal contributions by individual defendants in history.

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). Robbins Geller
represented the California Public Employees’ Retirement System (“CalPERS”) and demonstrated
its willingness to vigorously advocate for its institutional clients, even under the most difficult
circumstances. The Firm obtained an $895 million recovery on behalf of UnitedHealth
shareholders, and former CEO William A. McGuire paid $30 million and returned stock options
representing more than three million shares to the shareholders, bringing the total recovery for
the class to over $925 million, the largest stock option backdating recovery ever, and a recovery
that is more than four times larger than the next largest options backdating recovery. Moreover,
Robbins Geller obtained unprecedented corporate governance reforms, including election of a
shareholder-nominated member to the company’s board of directors, a mandatory holding period
for shares acquired by executives via option exercise, and executive compensation reforms that tie
pay to performance.

Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
(S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
2001. The Firm’s attorneys recovered more than $650 million for their clients, substantially more
than they would have recovered as part of the class.

Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
$500 million settlement for institutional and individual investors in what is the largest RMBS
purchaser class action settlement in history, and one of the largest class action securities
settlements of all time. The unprecedented settlement resolves claims against Countrywide and
Wall Street banks that issued the securities. The action was the first securities class action case filed
against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
impression, in order to secure the landmark settlement for its clients and the class.

In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). On behalf of
investors in bonds and preferred securities issued between 2006 and 2008, Robbins Geller and co-




                                                                          Robbins Geller Rudman & Dowd LLP | 3
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 32 of 188
                                                                 PRACTICE AREAS AND SERVICES

counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company and
Wachovia auditor KPMG LLP. The total settlement – $627 million – is one of the largest credit-crisis
settlements involving Securities Act claims and one of the 25 largest securities class action recoveries
in history. The settlement is also one of the biggest securities class action recoveries arising from
the credit crisis. The lawsuit focused on Wachovia’s exposure to “pick-a-pay” loans, which the
bank’s offering materials said were of “pristine credit quality,” but which were actually allegedly
made to subprime borrowers, and which ultimately massively impaired the bank’s mortgage
portfolio. Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
for investors on behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State Investment
Council, and the California Ironworkers Field Trust Fund. At the time, the $600 million
settlement was the tenth-largest settlement in the history of securities fraud litigation and is the
largest-ever recovery in a securities fraud action in the Sixth Circuit.

AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cnty.).
Robbins Geller represented The Regents of the University of California, six Ohio state pension
funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
and private funds, insurance companies, and numerous additional institutional investors, both
domestic and international, in state and federal court opt-out litigation stemming from Time
Warner’s disastrous 2001 merger with Internet high flier America Online. After almost four years
of litigation involving extensive discovery, the Firm secured combined settlements for its opt-out
clients totaling over $629 million just weeks before The Regents’ case pending in California state
court was scheduled to go to trial. The Regents’ gross recovery of $246 million is the largest
individual opt-out securities recovery in history.

In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
settlements in securities class action history and is considered among the top 15 settlements
achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
largest securities class action settlements entered into by an accounting firm since the passage of
the PSLRA.

Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
obtained a $400 million settlement on behalf of class members who purchased Pfizer common
stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
hard-fought litigation against the toughest and the brightest members of the securities defense bar
by litigating this case all the way to trial.

In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
Most notably, the settlement agreement provides that Dynegy will appoint two board members to
be nominated by The Regents, which Robbins Geller and The Regents believe will benefit all of
Dynegy’s stockholders.

                                                                         Robbins Geller Rudman & Dowd LLP | 4
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 33 of 188
                                                                  PRACTICE AREAS AND SERVICES

In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). In July 2001, the Firm filed
the initial complaint in this action on behalf of its clients, long before any investigation into Qwest’s
financial statements was initiated by the SEC or Department of Justice. After five years of
litigation, lead plaintiffs entered into a settlement with Qwest and certain individual defendants
that provided a $400 million recovery for the class and created a mechanism that allowed the vast
majority of class members to share in an additional $250 million recovered by the SEC. In 2008,
Robbins Geller attorneys recovered an additional $45 million for the class in a settlement with
defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest
during large portions of the class period.

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
$388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
an MBS purchaser class action. The result was achieved after more than five years of hard-fought
litigation and an extensive investigation.

Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
reached after a long legal battle and on the day before jury selection, resolves claims that First
Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
shareholders. The settlement concludes one of the last remaining mortgage-backed securities
purchaser class actions arising out of the global financial crisis. The remarkable result was
achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
claims on behalf of purchasers of other securities that were issued from the same registration
statement and backed by pools of mortgages originated by the same lenders who had originated
mortgages backing the lead plaintiff’s securities.

Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
before trial was scheduled to commence, the settlement resolves claims that the Registration
Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
IPO contained material misstatements and omissions. The recovery achieved represents more
than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
class action.

In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
counsel for a class of investors that purchased AT&T common stock. The case charged defendants
AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
agreed to settle the case for $100 million.

                                                                          Robbins Geller Rudman & Dowd LLP | 5
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 34 of 188
                                                                PRACTICE AREAS AND SERVICES

Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
behalf of a class of investors in Motorola, Inc., ultimately recovering $200 million for investors just
two months before the case was set for trial. This outstanding result was obtained despite the lack
of an SEC investigation or any financial restatement.

City of Pontiac Gen. Emps.’ Ret. Sys. v. Wal-Mart Stores, Inc., No. 5:12-cv-05162 (W.D. Ark.).
Robbins Geller attorneys and lead plaintiff City of Pontiac General Employees’ Retirement System
achieved a $160 million settlement in a securities class action case arising from allegations
published by The New York Times in an article released on April 21, 2012 describing an alleged
bribery scheme that occurred in Mexico. The case charged that Wal-Mart portrayed itself to
investors as a model corporate citizen that had proactively uncovered potential corruption and
promptly reported it to law enforcement, when in truth, a former in-house lawyer had blown the
whistle on Wal-Mart’s corruption years earlier, and Wal-Mart concealed the allegations from law
enforcement by refusing its own in-house and outside counsel’s calls for an independent
investigation. Robbins Geller “achieved an exceptional [s]ettlement with skill, perseverance, and
diligent advocacy,” said Judge Hickey when granting final approval.

Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122 (D. Kan.). As co-lead counsel, Robbins Geller
obtained a $131 million recovery for a class of Sprint investors. The settlement, secured after five
years of hard-fought litigation, resolved claims that former Sprint executives misled investors
concerning the success of Sprint’s ill-advised merger with Nextel and the deteriorating credit
quality of Sprint’s customer base, artificially inflating the value of Sprint’s securities.

In re LendingClub Sec. Litig., No. 3:16-cv-02627 (N.D. Cal.). Robbins Geller attorneys obtained a
$125 million settlement for the court-appointed lead plaintiff Water and Power Employees’
Retirement, Disability and Death Plan of the City of Los Angeles and the class. The settlement
resolved allegations that LendingClub promised investors an opportunity to get in on the ground
floor of a revolutionary lending market fueled by the highest standards of honesty and integrity.
The settlement ranked among the top ten largest securities recoveries ever in the Northern
District of California.

Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031 (E.D. Va.). In the Orbital securities class action,
Robbins Geller obtained court approval of a $108 million recovery for the class. The Firm
succeeded in overcoming two successive motions to dismiss the case, and during discovery were
required to file ten motions to compel, all of which were either negotiated to a resolution or
granted in large part, which resulted in the production of critical evidence in support of plaintiffs’
claims. Believed to be the fourth-largest securities class action settlement in the history of the
Eastern District of Virginia, the settlement provides a recovery for investors that is more than ten
times larger than the reported median recovery of estimated damages for all securities class action
settlements in 2018.

Hsu v. Puma Biotechnology, No. SACV15-0865 (C.D. Cal.). After a two-week jury trial, Robbins
Geller attorneys won a complete plaintiffs’ verdict against both defendants on both claims, with the
jury finding that Puma Biotechnology, Inc. and its CEO, Alan H. Auerbach, committed securities
fraud. The Puma case is only the fifteenth securities class action case tried to a verdict since the
Private Securities Litigation Reform Act was enacted in 1995.

Marcus v. J.C. Penney Co., Inc., No. 13-cv-00736 (E.D. Tex.). Robbins Geller attorneys obtained a
$97.5 million recovery on behalf of J.C. Penney shareholders. The result resolves claims that J.C.
Penney and certain officers and directors made misstatements and/or omissions regarding the
company’s financial position that resulted in artificially inflated stock prices. Specifically,
defendants failed to disclose and/or misrepresented adverse facts, including that J.C. Penney

                                                                         Robbins Geller Rudman & Dowd LLP | 6
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 35 of 188
                                                                PRACTICE AREAS AND SERVICES

would have insufficient liquidity to get through year-end and would require additional funds to
make it through the holiday season, and that the company was concealing its need for liquidity so
as not to add to its vendors’ concerns.

Monroe County Employees’ Retirement System v. The Southern Company, No. 1:17-cv-00241 (N.D.
Ga.). As lead counsel, Robbins Geller obtained an $87.5 million settlement in a securities class
action on behalf of plaintiffs Monroe County Employees’ Retirement System and Roofers Local
No. 149 Pension Fund. The settlement resolves claims for violations of the Securities Exchange Act
of 1934 stemming from defendants’ issuance of materially misleading statements and omissions
regarding the status of construction of a first-of-its-kind “clean coal” power plant in Kemper
County, Mississippi. Plaintiffs alleged that these misstatements caused The Southern Company’s
stock price to be artificially inflated during the class period. Prior to resolving the case, Robbins
Geller uncovered critical documentary evidence and deposition testimony supporting plaintiffs’
claims. In granting final approval of the settlement, the court praised Robbins Geller for its “hard-
fought litigation in the Eleventh Circuit” and its “experience, reputation, and abilities of [its]
attorneys,” and highlighted that the firm is “well-regarded in the legal community, especially in
litigating class-action securities cases

Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd., No. CIV535692 (Cal. Super. Ct., San
Mateo Cnty.). Robbins Geller attorneys and co-counsel obtained a $75 million settlement in the
Alibaba Group Holding Limited securities class action, resolving investors’ claims that Alibaba
violated the Securities Act of 1933 in connection with its September 2014 initial public offering.
Chicago Laborers Pension Fund served as a plaintiff in the action.

Luna v. Marvell Tech. Grp., Ltd., No. 3:15-cv-05447 (N.D. Cal.). In the Marvell litigation, Robbins
Geller attorneys represented the Plumbers and Pipefitters National Pension Fund and obtained a
$72.5 million settlement. The case involved claims that Marvell reported revenue and earnings
during the class period that were misleading as a result of undisclosed pull-in and concession
sales. The settlement represents approximately 24% to 50% of the best estimate of classwide
damages suffered by investors who purchased shares during the February 19, 2015 through
December 7, 2015 class period.

Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882 (M.D. Tenn.). In the
Psychiatric Solutions case, Robbins Geller represented lead plaintiff and class representative Central
States, Southeast and Southwest Areas Pension Fund in litigation spanning more than four years.
Psychiatric Solutions and its top executives were accused of insufficiently staffing their in-patient
hospitals, downplaying the significance of regulatory investigations and manipulating their
malpractice reserves. Just days before trial was set to commence, attorneys from Robbins Geller
achieved a $65 million settlement that was the fourth-largest securities recovery ever in the district
and one of the largest in a decade.

Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393 (N.D. Ohio). After 11 years
of hard-fought litigation, Robbins Geller attorneys secured a $64 million recovery for shareholders
in a case that accused the former heads of Dana Corp. of securities fraud for trumpeting the auto
parts maker’s condition while it actually spiraled toward bankruptcy. The Firm’s Appellate
Practice Group successfully appealed to the Sixth Circuit Court of Appeals twice, reversing the
district court’s dismissal of the action.

Villella v. Chemical and Mining Company of Chile Inc., No. 1:15-cv-02106 (S.D.N.Y.) Robbins
Geller attorneys, serving as lead consel, obtained a $62.5 million settlement against Sociedad




                                                                        Robbins Geller Rudman & Dowd LLP | 7
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 36 of 188
                                                                        PRACTICE AREAS AND SERVICES

       Química y Minera de Chile S.A. (“SQM”), a Chilean mining company. The case alleged that SQM
       violated the Securities Exchange Act of 1934 by issuing materially false and misleading statements
       regarding the company’s failure to disclose that money from SQM was channeled illegally to
       electoral campaigns for Chilean politicians and political parties as far back as 2009. SQM had also
       filed millions of dollars’ worth of fictitious tax receipts with Chilean authorities in order to conceal
       bribery payments from at least 2009 through fiscal 2014. Due to the company being based out of
       Chile and subject to Chilean law and rules, the Robbins Geller litigation team put together a
       multilingual litigation team with Chilean expertise. Depositions are considered unlawful in the
       country of Chile, so Robbins Geller successfully moved the court to compel SQM to bring witnesses
       to the United States.

       In re BHP Billiton Ltd. Sec. Litig., No. 1:16-cv-01445 (S.D.N.Y.). As lead counsel, Robbins Geller
       obtained a $50 million class action settlement against BHP, a Australian-based mining company
       that was accused of failing to disclose significant safety problems at the Fundão iron-ore dam, in
       Brazil. The Firm achieved this result for lead plaintiffs City of Birmingham Retirement and Relief
       System and City of Birmingham Firemen’s and Policemen’s Supplemental Pension System, on
       behalf of purchasers of the American Depositary Shares (“ADRs”) of defendants BHP Billiton
       Limited and BHP Billiton Plc (together, “BHP”) from September 25, 2014 to November 30, 2015.

       In re St. Jude Med., Inc. Sec. Litig., No. 0:10-cv-00851 (D. Minn.). After four and a half years of
       litigation and mere weeks before the jury selection, Robbins Geller obtained a $50 million
       settlement on behalf of investors in medical device company St. Jude Medical. The settlement
       resolves accusations that St. Jude Medical misled investors by utilizing heavily discounted end-of-
       quarter bulk sales to meet quarterly expectations, which created a false picture of demand by
       increasing customer inventory due of St. Jude Medical devices. The complaint alleged that the
       risk of St. Jude Medical’s reliance on such bulk sales manifested when it failed to meet its forecast
       guidance for the third quarter of 2009, which the company had reaffirmed only weeks earlier.

       Deka Investment GmbH v. Santander Consumer USA Holdings Inc., No. 3:15-cv-02129 (N.D. Tex.).
       Robbins Geller and co-counsel secured a $47 million settlement in a securities class action
       against Santander Consumer USA Holdings Inc. (“SCUSA”). The case alleges that SCUSA, 2 of its
       officers, 10 of its directors, as well as 17 underwriters of its January 23, 2014 multi-billion dollar
       IPO violated §§11, 12(a)(2), and 15 of the Securities Act of 1933 as a result of their negligence in
       connection with misrepresentations in the prospectus and registration statement for the IPO
       (“Offering Documents”). The complaint also alleged that SCUSA and two of its officers violated
       §§10(b) and 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5 as a result of their fraud
       in issuing misleading statements in the IPO Offering Documents as well as in subsequent
       statements to investors.

       Snap Inc. Securities Cases, JCCP No. 4960 (Cal. Super. Ct., Los Angeles Cnty). Robbins Geller,
       along with co-counsel, reached a settlement in the Snap, Inc. securities class action, providing for
       the payment of $32,812,500 to eligible settlement class members. The securities class action
       sought remedies under §§11, 12(a)(2) and 15 of the Securities Act of 1933. The case alleged that
       Snap, certain Snap officers and directors, and the underwriters for Snap’s Initial Public Offering
       (“IPO”) were liable for materially false and misleading statements and omissions in the Registration
       Statement for the IPO, related to trends and uncertainties in Snap’s growth metrics, a potential
       patent-infringement action, and stated risk factors.

Robbins Geller’s securities practice is also strengthened by the existence of a strong appellate department,
whose collective work has established numerous legal precedents. The securities practice also utilizes an




                                                                                Robbins Geller Rudman & Dowd LLP | 8
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 37 of 188
                                                                       PRACTICE AREAS AND SERVICES

extensive group of in-house economic and damage analysts, investigators, and forensic accountants to aid
in the prosecution of complex securities issues.



Shareholder Derivative and Corporate Governance Litigation
The Firm’s shareholder derivative and corporate governance practice is focused on preserving corporate
assets and enhancing long-term shareowner value. Shareowner derivative actions are often brought by
institutional investors to vindicate the rights of the corporation injured by its executives’ misconduct,
which can effect violations of the nation’s securities, anti-corruption, false claims, cyber-security, labor,
environmental, and/or health & safety laws.

Robbins Geller attorneys have aided Firm clients in significantly enhancing shareowner value by obtaining
hundreds of millions of dollars in financial clawbacks and successfully negotiating corporate governance
enhancements. Robbins Geller has worked with its institutional clients to address corporate misconduct
such as options backdating, bribery of foreign officials, pollution, off-label marketing, and insider trading
and related self-dealing. Additionally, the Firm works closely with noted corporate governance
consultants Robert Monks and Richard Bennett and their firm, ValueEdge Advisors LLC, to shape
corporate governance practices that will benefit shareowners.

Robbins Geller’s efforts have conferred substantial benefits upon shareowners, and the market effect of
these benefits measures in the billions of dollars. The Firm’s significant achievements include:

       City of Westland Police & Fire Ret. Sys. v. Stumpf (Wells Fargo Derivative Litigation), No.
       3:11-cv-02369 (N.D. Cal.). Prosecuted shareholder derivative action on behalf of Wells Fargo &
       Co. alleging that Wells Fargo’s executives allowed participation in the mass-processing of home
       foreclosure documents by engaging in widespread robo-signing, i.e., the execution and submission
       of false legal documents in courts across the country without verification of their truth or accuracy,
       and failed to disclose Wells Fargo’s lack of cooperation in a federal investigation into the bank’s
       mortgage and foreclosure practices. In settlement of the action, Wells Fargo agreed to provide
       $67 million in homeowner down-payment assistance, credit counseling, and improvements to its
       mortgage servicing system. The initiatives will be concentrated in cities severely impacted by the
       bank’s foreclosure practices and the ensuing mortgage foreclosure crisis. Additionally, Wells
       Fargo agreed to change its procedures for reviewing shareholder proposals and a strict ban on
       stock pledges by Wells Fargo board members.

       In re Ormat Techs., Inc. Derivative Litig., No. CV10-00759 (Nev. Dist. Ct., Washoe Cnty.). Robbins
       Geller brought derivative claims for breach of fiduciary duty and unjust enrichment against the
       directors and certain officers of Ormat Technologies, Inc., a leading geothermal and recovered
       energy power business. During the relevant time period, these Ormat insiders caused the
       company to engage in accounting manipulations that ultimately required restatement of the
       company’s financial statements. The settlement in this action includes numerous corporate
       governance reforms designed to, among other things: (i) increase director independence; (ii)
       provide continuing education to directors; (iii) enhance the company’s internal controls; (iv) make
       the company’s board more independent; and (iv) strengthen the company’s internal audit
       function.

       In re Alphatec Holdings, Inc. Derivative S’holder Litig., No. 37-2010-00058586 (Cal. Super. Ct., San
       Diego Cnty.). Obtained sweeping changes to Alphatec’s governance, including separation of the
       Chairman and CEO positions, enhanced conflict of interest procedures to address related-party
       transactions, rigorous director independence standards requiring that at least a majority of
       directors be outside independent directors, and ongoing director education and training.


                                                                               Robbins Geller Rudman & Dowd LLP | 9
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 38 of 188
                                                               PRACTICE AREAS AND SERVICES

In re Finisar Corp. Derivative Litig., No. C-06-07660 (N.D. Cal.). Prosecuted shareholder
derivative action on behalf of Finisar against certain of its current and former directors and
officers for engaging in an alleged nearly decade-long stock option backdating scheme that was
alleged to have inflicted substantial damage upon Finisar. After obtaining a reversal of the district
court’s order dismissing the complaint for failing to adequately allege that a pre-suit demand was
futile, Robbins Geller lawyers successfully prosecuted the derivative claims to resolution obtaining
over $15 million in financial clawbacks for Finisar. Robbins Geller attorneys also obtained
significant changes to Finisar’s stock option granting procedures and corporate governance. As a
part of the settlement, Finisar agreed to ban the repricing of stock options without first obtaining
specific shareholder approval, prohibit the retrospective selection of grant dates for stock options
and similar awards, limit the number of other boards on which Finisar directors may serve,
require directors to own a minimum amount of Finisar shares, annually elect a Lead Independent
Director whenever the position of Chairman and CEO are held by the same person, and require
the board to appoint a Trading Compliance officer responsible for ensuring compliance with
Finisar’s insider trading policies.

Loizides v. Schramm (Maxwell Technology Derivative Litigation), No. 37-2010-00097953 (Cal.
Super. Ct., San Diego Cnty.). Prosecuted shareholder derivative claims arising from the
company’s alleged violations of the Foreign Corrupt Practices Act of 1977 (“FCPA”). As a result of
Robbins Geller’s efforts, Maxwell insiders agreed to adopt significant changes in Maxwell’s internal
controls and systems designed to protect Maxwell against future potential violations of the FCPA.
These corporate governance changes included establishing the following, among other things: a
compliance plan to improve board oversight of Maxwell’s compliance processes and internal
controls; a clear corporate policy prohibiting bribery and subcontracting kickbacks, whereby
individuals are accountable; mandatory employee training requirements, including the
comprehensive explanation of whistleblower provisions, to provide for confidential reporting of
FCPA violations or other corruption; enhanced resources and internal control and compliance
procedures for the audit committee to act quickly if an FCPA violation or other corruption is
detected; an FCPA and Anti-Corruption Compliance department that has the authority and
resources required to assess global operations and detect violations of the FCPA and other
instances of corruption; a rigorous ethics and compliance program applicable to all directors,
officers, and employees, designed to prevent and detect violations of the FCPA and other
applicable anti-corruption laws; an executive-level position of Chief Compliance Officer with direct
board-level reporting responsibilities, who shall be responsible for overseeing and managing
compliance issues within the company; a rigorous insider trading policy buttressed by enhanced
review and supervision mechanisms and a requirement that all trades are timely disclosed; and
enhanced provisions requiring that business entities are only acquired after thorough FCPA and
anti-corruption due diligence by legal, accounting, and compliance personnel at Maxwell.

In re SciClone Pharms., Inc. S’holder Derivative Litig., No. CIV 499030 (Cal. Super. Ct., San Mateo
Cnty.). Robbins Geller attorneys successfully prosecuted the derivative claims on behalf of
nominal party SciClone Pharmaceuticals, Inc., resulting in the adoption of state-of-the-art
corporate governance reforms. The corporate governance reforms included the establishment of
an FCPA compliance coordinator; the adoption of an FCPA compliance program and code; and
the adoption of additional internal controls and compliance functions.

Policemen & Firemen Ret. Sys. of the City of Detroit v. Cornelison (Halliburton Derivative
Litigation), No. 2009-29987 (Tex. Dist. Ct., Harris Cnty.). Prosecuted shareholder derivative
claims on behalf of Halliburton Company against certain Halliburton insiders for breaches of
fiduciary duty arising from Halliburton’s alleged violations of the FCPA. In the settlement,
Halliburton agreed, among other things, to adopt strict intensive controls and systems designed to
detect and deter the payment of bribes and other improper payments to foreign officials, to


                                                                       Robbins Geller Rudman & Dowd LLP | 10
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 39 of 188
                                                               PRACTICE AREAS AND SERVICES

enhanced executive compensation clawback, director stock ownership requirements, a limitation
on the number of other boards that Halliburton directors may serve, a lead director charter,
enhanced director independence standards, and the creation of a management compliance
committee.

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
our client, CalPERS, obtained sweeping corporate governance improvements, including the
election of a shareholder-nominated member to the company’s board of directors, a mandatory
holding period for shares acquired by executives via option exercises, as well as executive
compensation reforms that tie pay to performance. In addition, the class obtained $925 million,
the largest stock option backdating recovery ever and four times the next largest options
backdating recovery.

In re Fossil, Inc. Derivative Litig., No. 3:06-cv-01672 (N.D. Tex.). The settlement agreement
included the following corporate governance changes: declassification of elected board members;
retirement of three directors and addition of five new independent directors; two-thirds board
independence requirements; corporate governance guidelines providing for “Majority Voting”
election of directors; lead independent director requirements; revised accounting measurement
dates of options; addition of standing finance committee; compensation clawbacks; director
compensation standards; revised stock option plans and grant procedures; limited stock option
granting authority, timing, and pricing; enhanced education and training; and audit engagement
partner rotation and outside audit firm review.

Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Sinegal (Costco Derivative Litigation), No.
2:08-cv-01450 (W.D. Wash.). The parties agreed to settlement terms providing for the following
corporate governance changes: the amendment of Costco’s bylaws to provide “Majority Voting”
election of directors; the elimination of overlapping compensation and audit committee
membership on common subject matters; enhanced Dodd-Frank requirements; enhanced internal
audit standards and controls, and revised information-sharing procedures; revised compensation
policies and procedures; revised stock option plans and grant procedures; limited stock option
granting authority, timing, and pricing; and enhanced ethics compliance standards and training.

In re F5 Networks, Inc. Derivative Litig., No. C-06-0794 (W.D. Wash.). The parties agreed to the
following corporate governance changes as part of the settlement: revised stock option plans and
grant procedures; limited stock option granting authority, timing, and pricing; “Majority Voting”
election of directors; lead independent director requirements; director independence standards;
elimination of director perquisites; and revised compensation practices.




                                                                       Robbins Geller Rudman & Dowd LLP | 11
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 40 of 188
                                                                     PRACTICE AREAS AND SERVICES

       In re Community Health Sys., Inc. S’holder Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn.).
       Robbins Geller obtained unprecedented corporate governance reforms on behalf of Community
       Health Systems, Inc. in a case against the company’s directors and officers for breaching their
       fiduciary duties by causing Community Health to develop and implement admissions criteria that
       systematically steered patients into unnecessary inpatient admissions, in contravention of Medicare
       and Medicaid regulations. The governance reforms obtained as part of the settlement include two
       shareholder-nominated directors, the creation of a Healthcare Law Compliance Coordinator with
       specified qualifications and duties, a requirement that the board’s compensation committee be
       comprised solely of independent directors, the implementation of a compensation clawback that
       will automatically recover compensation improperly paid to the company’s CEO or CFO in the
       event of a restatement, the establishment of an insider trading controls committee, and the
       adoption of a political expenditure disclosure policy. In addition to these reforms, $60 million in
       financial relief was obtained, which is the largest shareholder derivative recovery ever in
       Tennessee and the Sixth Circuit.



Options Backdating Litigation
As has been widely reported in the media, the stock options backdating scandal suddenly engulfed
hundreds of publicly traded companies throughout the country in 2006. Robbins Geller was at the
forefront of investigating and prosecuting options backdating derivative and securities cases. The Firm
has recovered over $1 billion in damages on behalf of injured companies and shareholders.

       In re KLA-Tencor Corp. S’holder Derivative Litig., No. C-06-03445 (N.D. Cal.). After successfully
       opposing the special litigation committee of the board of directors’ motion to terminate the
       derivative claims, Robbins Geller recovered $43.6 million in direct financial benefits for KLA-
       Tencor, including $33.2 million in cash payments by certain former executives and their directors’
       and officers’ insurance carriers.

       In re Marvell Tech. Grp. Ltd. Derivative Litig., No. C-06-03894 (N.D. Cal.). Robbins Geller
       recovered $54.9 million in financial benefits, including $14.6 million in cash, for Marvell, in
       addition to extensive corporate governance reforms related to Marvell’s stock option granting
       practices, board of directors’ procedures, and executive compensation.

       In re KB Home S’holder Derivative Litig., No. 06-CV-05148 (C.D. Cal.). Robbins Geller served as
       co-lead counsel for the plaintiffs and recovered more than $31 million in financial benefits,
       including $21.5 million in cash, for KB Home, plus substantial corporate governance
       enhancements relating to KB Home’s stock option granting practices, director elections, and
       executive compensation practices.



Corporate Takeover Litigation
Robbins Geller has earned a reputation as the leading law firm in representing shareholders in corporate
takeover litigation. Through its aggressive efforts in prosecuting corporate takeovers, the Firm has
secured for shareholders billions of dollars of additional consideration as well as beneficial changes for
shareholders in the context of mergers and acquisitions.

The Firm regularly prosecutes merger and acquisition cases post-merger, often through trial, to maximize
the benefit for its shareholder class. Some of these cases include:




                                                                             Robbins Geller Rudman & Dowd LLP | 12
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 41 of 188
                                                                PRACTICE AREAS AND SERVICES

In re Tesla Motors, Inc. S’holder Litig., No. 12711-VCS (Del. Ch.). Robbins Geller, along with co-
counsel, secured a $60 million partial settlement after nearly four years of litigation against Tesla.
This partial settlement is one of the largest derivative recoveries in a stockholder action
challenging a merger. This partial settlement resolves the claims brought against defendants
Kimbal Musk, Antonio J. Gracias, Stephen T. Jurvetson, Brad W. Buss, Ira Ehrenpreis, and Robyn
M. Denholm, but not the claims against defendant Elon Musk.

In re Kinder Morgan, Inc. S’holders Litig., No. 06-C-801 (Kan. Dist. Ct., Shawnee Cnty.). In the
largest recovery ever for corporate takeover class action litigation, the Firm negotiated a
settlement fund of $200 million in 2010.

In re Dole Food Co., Inc. S’holder Litig., No. 8703-VCL (Del. Ch.). Robbins Geller and co-counsel
went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf of
Dole Food Co., Inc. shareholders. The litigation challenged the 2013 buyout of Dole by its
billionaire Chief Executive Officer and Chairman, David H. Murdock. On August 27, 2015, the
court issued a post-trial ruling that Murdock and fellow director C. Michael Carter – who also
served as Dole’s General Counsel, Chief Operating Officer, and Murdock’s top lieutenant – had
engaged in fraud and other misconduct in connection with the buyout and are liable to Dole’s
former stockholders for over $148 million, the largest trial verdict ever in a class action
challenging a merger transaction.

Nieman v. Duke Energy Corp., No. 3:12-cv-00456 (W.D.N.C.). Robbins Geller, along with co-
counsel, obtained a $146.25 million settlement on behalf of Duke Energy Corporation investors.
The settlement resolves accusations that defendants misled investors regarding Duke’s future
leadership following its merger with Progress Energy, Inc., and specifically, their premeditated
coup to oust William D. Johnson (CEO of Progress) and replace him with Duke’s then-CEO, John
Rogers. This historic settlement represents the largest recovery ever in a North Carolina securities
fraud action, and one of the five largest recoveries in the Fourth Circuit.

In re Rural Metro Corp. S’holders Litig., No. 6350-VCL (Del. Ch.). Robbins Geller and co-counsel
were appointed lead counsel in this case after successfully objecting to an inadequate settlement
that did not take into account evidence of defendants’ conflicts of interest. In a post-trial opinion,
Delaware Vice Chancellor J. Travis Laster found defendant RBC Capital Markets, LLC liable for
aiding and abetting Rural/Metro’s board of directors’ fiduciary duty breaches in the $438 million
buyout of Rural/Metro, citing “the magnitude of the conflict between RBC’s claims and the
evidence.” RBC was ordered to pay nearly $110 million as a result of its wrongdoing, the largest
damage award ever obtained against a bank over its role as a merger adviser. The Delaware
Supreme Court issued a landmark opinion affirming the judgment on November 30, 2015, RBC
Cap. Mkts., LLC v. Jervis, 129 A.3d 816 (Del. 2015).

In re Del Monte Foods Co. S’holders Litig., No. 6027-VCL (Del. Ch.). Robbins Geller exposed the
unseemly practice by investment bankers of participating on both sides of large merger and
acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
Monte. For efforts in achieving these results, the Robbins Geller lawyers prosecuting the case were
named Attorneys of the Year by California Lawyer magazine in 2012.

In re TD Banknorth S’holders Litig., No. 2557-VCL (Del. Ch.). After objecting to a modest
recovery of just a few cents per share, the Firm took over the litigation and obtained a common
fund settlement of $50 million.




                                                                        Robbins Geller Rudman & Dowd LLP | 13
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 42 of 188
                                                                PRACTICE AREAS AND SERVICES

In re Chaparral Res., Inc. S’holders Litig., No. 2633-VCL (Del. Ch.). After a full trial and a
subsequent mediation before the Delaware Chancellor, the Firm obtained a common fund
settlement of $41 million (or 45% increase above merger price) for both class and appraisal claims.

Laborers’ Local #231 Pension Fund v. Websense, Inc., No. 37-2013-00050879-CU-BT-CTL (Cal.
Super. Ct., San Diego Cnty.). Robbins Geller successfully obtained a record-breaking $40 million
in Websense, which is believed to be the largest post-merger common fund settlement in California
state court history. The class action challenged the May 2013 buyout of Websense by Vista Equity
Partners (and affiliates) for $24.75 per share and alleged breach of fiduciary duty against the
former Websense board of directors, and aiding and abetting against Websense’s financial advisor,
Merrill Lynch, Pierce, Fenner & Smith, Inc. Claims were pursued by the plaintiff in both
California state court and the Delaware Court of Chancery.

In re Onyx Pharms., Inc. S’holder Litig., No. CIV523789 (Cal. Super. Ct., San Mateo Cnty.).
Robbins Geller obtained $30 million in a case against the former Onyx board of directors for
breaching its fiduciary duties in connection with the acquisition of Onyx by Amgen Inc. for $125
per share at the expense of shareholders. At the time of the settlement, it was believed to set the
record for the largest post-merger common fund settlement in California state court history. Over
the case’s three years, Robbins Geller defeated defendants’ motions to dismiss, obtained class
certification, took over 20 depositions, and reviewed over one million pages of documents.
Further, the settlement was reached just days before a hearing on defendants’ motion for
summary judgment was set to take place, and the result is now believed to be the second largest
post-merger common fund settlement in California state court history.

Harrah’s Entertainment, No. A529183 (Nev. Dist. Ct., Clark Cnty.). The Firm’s active prosecution
of the case on several fronts, both in federal and state court, assisted Harrah’s shareholders in
securing an additional $1.65 billion in merger consideration.

In re Chiron S’holder Deal Litig., No. RG 05-230567 (Cal. Super. Ct., Alameda Cnty.). The Firm’s
efforts helped to obtain an additional $800 million in increased merger consideration for Chiron
shareholders.

In re Dollar Gen. Corp. S’holder Litig., No. 07MD-1 (Tenn. Cir. Ct., Davidson Cnty.). As lead
counsel, the Firm secured a recovery of up to $57 million in cash for former Dollar General
shareholders on the eve of trial.

In re Prime Hosp., Inc. S’holders Litig., No. 652-N (Del. Ch.). The Firm objected to a settlement
that was unfair to the class and proceeded to litigate breach of fiduciary duty issues involving a sale
of hotels to a private equity firm. The litigation yielded a common fund of $25 million for
shareholders.

In re UnitedGlobalCom, Inc. S’holder Litig., No. 1012-VCS (Del. Ch.). The Firm secured a common
fund settlement of $25 million just weeks before trial.

In re eMachines, Inc. Merger Litig., No. 01-CC-00156 (Cal. Super. Ct., Orange Cnty.). After four
years of litigation, the Firm secured a common fund settlement of $24 million on the brink of trial.

In re PeopleSoft, Inc. S’holder Litig., No. RG-03100291 (Cal. Super. Ct., Alameda Cnty.). The Firm
successfully objected to a proposed compromise of class claims arising from takeover defenses by
PeopleSoft, Inc. to thwart an acquisition by Oracle Corp., resulting in shareholders receiving an
increase of over $900 million in merger consideration.



                                                                         Robbins Geller Rudman & Dowd LLP | 14
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 43 of 188
                                                                       PRACTICE AREAS AND SERVICES

       ACS S’holder Litig., No. CC-09-07377-C (Tex. Cty. Ct., Dallas Cnty.). The Firm forced ACS’s
       acquirer, Xerox, to make significant concessions by which shareholders would not be locked out of
       receiving more money from another buyer.



Antitrust
Robbins Geller’s antitrust practice focuses on representing businesses and individuals who have been the
victims of price-fixing, unlawful monopolization, market allocation, tying, and other anti-competitive
conduct. The Firm has taken a leading role in many of the largest federal and state price-fixing,
monopolization, market allocation, and tying cases throughout the United States.

       In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720
       (E.D.N.Y.). Robbins Geller attorneys, serving as co-lead counsel on behalf of merchants, obtained
       a settlement amount of $5.54 billion. In approving the settlement, the court noted that Robbins
       Geller and co-counsel “demonstrated the utmost professionalism despite the demands of the
       extreme perseverance that this case has required, litigating on behalf of a class of over 12 million
       for over fourteen years, across a changing legal landscape, significant motion practice, and appeal
       and remand. Class counsel’s pedigree and efforts alone speak to the quality of their
       representation.”

       Dahl v. Bain Cap. Partners, LLC, No. 07-cv-12388 (D. Mass). Robbins Geller attorneys served as co-
       lead counsel on behalf of shareholders in this antitrust action against the nation’s largest private
       equity firms that colluded to restrain competition and suppress prices paid to shareholders of
       public companies in connection with leveraged buyouts. Robbins Geller attorneys recovered more
       than $590 million for the class from the private equity firm defendants, including Goldman Sachs
       Group Inc. and Carlyle Group LP.

       Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-07126 (S.D.N.Y.). Robbins Geller
       attorneys prosecuted antitrust claims against 14 major banks and broker ICAP plc who were
       alleged to have conspired to manipulate the ISDAfix rate, the key interest rate for a broad range
       of interest rate derivatives and other financial instruments in contravention of the competition
       laws. The class action was brought on behalf of investors and market participants who entered
       into interest rate derivative transactions between 2006 and 2013. Final approval has been granted
       to settlements collectively yielding $504.5 million from all defendants.

       In re Currency Conversion Fee Antitrust Litig., 01 MDL No. 1409 (S.D.N.Y.). Robbins
       Geller attorneys served as lead counsel and recovered $336 million for a class of credit and debit
       cardholders. The court praised the Firm as “indefatigable,” noting that the Firm’s lawyers
       “vigorously litigated every issue against some of the ablest lawyers in the antitrust defense bar.”

       In re SSA Bonds Antitrust Litig., No. 1:16-cv-03711 (S.D.N.Y.). Robbins Geller attorneys are
       serving as co-lead counsel in a case against several of the world’s largest banks and the traders of
       certain specialized government bonds. They are alleged to have entered into a wide-ranging price-
       fixing and bid-rigging scheme costing pension funds and other investors hundreds of millions. To
       date, three of the more than a dozen corporate defendants have settled for $95.5 million.

       In re Aftermarket Auto. Lighting Prods. Antitrust Litig., 09 MDL No. 2007 (C.D. Cal.). Robbins
       Geller attorneys served as co-lead counsel in this multi-district litigation in which plaintiffs allege
       that defendants conspired to fix prices and allocate markets for automotive lighting products. The
       last defendants settled just before the scheduled trial, resulting in total settlements of more than
       $50 million. Commenting on the quality of representation, the court commended the Firm for


                                                                                Robbins Geller Rudman & Dowd LLP | 15
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 44 of 188
                                                                      PRACTICE AREAS AND SERVICES

       “expend[ing] substantial and skilled time and efforts in an efficient manner to bring this action to
       conclusion.”

       In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 02 MDL No. 1486 (N.D. Cal.).
       Robbins Geller attorneys served on the executive committee in this multi-district class action in
       which a class of purchasers of dynamic random access memory (or DRAM) chips alleged that the
       leading manufacturers of semiconductor products fixed the price of DRAM chips from the fall of
       2001 through at least the end of June 2002. The case settled for more than $300 million.

       Microsoft I-V Cases, JCCP No. 4106 (Cal. Super. Ct., San Francisco Cnty.). Robbins Geller
       attorneys served on the executive committee in these consolidated cases in which California
       indirect purchasers challenged Microsoft’s illegal exercise of monopoly power in the operating
       system, word processing, and spreadsheet markets. In a settlement approved by the court, class
       counsel obtained an unprecedented $1.1 billion worth of relief for the business and consumer class
       members who purchased the Microsoft products.



Consumer Fraud and Privacy
In our consumer-based economy, working families who purchase products and services must receive
truthful information so they can make meaningful choices about how to spend their hard-earned money.
When financial institutions and other corporations deceive consumers or take advantage of unequal
bargaining power, class action suits provide, in many instances, the only realistic means for an individual
to right a corporate wrong.

Robbins Geller attorneys represent consumers around the country in a variety of important, complex class
actions. Our attorneys have taken a leading role in many of the largest federal and state consumer fraud,
privacy, environmental, human rights, and public health cases throughout the United States. The Firm is
also actively involved in many cases relating to banks and the financial services industry, pursuing claims
on behalf of individuals victimized by abusive telemarketing practices, abusive mortgage lending practices,
market timing violations in the sale of variable annuities, and deceptive consumer credit lending practices
in violation of the Truth-In-Lending Act. Below are a few representative samples of our robust,
nationwide consumer and privacy practice.

       In re Nat’l Prescription Opiate Litig. Robbins Geller serves on the Plaintiffs’ Executive Committee
       to spearhead more than 2,900 federal lawsuits brought on behalf of governmental entities and
       other plaintiffs in the sprawling litigation concerning the nationwide prescription opioid
       epidemic. In reporting on the selection of the lawyers to lead the case, The National Law Journal
       reported that “[t]he team reads like a ‘Who’s Who’ in mass torts.”

       Apple Inc. Device Performance Litigation. Robbins Geller serves on the Plaintiffs’ Executive
       Committee to advance judicial interests of efficiency and protect the interests of the proposed class
       in the Apple litigation. The case alleges Apple misrepresented its iPhone devices and the nature of
       updates to its mobile operating system (iOS), which allegedly included code that significantly
       reduced the performance of older-model iPhones and forced users to incur expenses replacing
       these devices or their batteries.

       In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig. Robbins Geller
       served as co-lead class counsel in a case against Mylan Pharmaceuticals and Pfizer alleging anti-
       competitive behavior that allowed the price of ubiquitous, life-saving EpiPen auto-injector devices
       to rise over 600%, resulting in inflated prices for American families. Two settlements totaling $609
       million were reached after five years of litigation and weeks prior to trial.


                                                                              Robbins Geller Rudman & Dowd LLP | 16
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 45 of 188
                                                                PRACTICE AREAS AND SERVICES

Cordova v. Greyhound Lines, Inc. Robbins Geller represented California bus passengers pro bono in
a landmark consumer and civil rights case against Greyhound for subjecting them to
discriminatory immigration raids. Robbins Geller achieved a watershed court ruling that a private
company may be held liable under California law for allowing border patrol to harass and racially
profile its customers. The case heralds that Greyhound passengers do not check their rights and
dignity at the bus door and has had an immediate impact, not only in California but nationwide.
Within weeks of Robbins Geller filing the case, Greyhound added “know your rights” information
to passengers to its website and on posters in bus stations around the country, along with adopting
other business reforms.

In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig. As part of the Plaintiffs’
Steering Committee, Robbins Geller reached a series of settlements on behalf of purchasers,
lessees, and dealers that total well over $17 billion, the largest settlement in history, concerning
illegal “defeat devices” that Volkswagen installed on many of its diesel-engine vehicles. The device
tricked regulators into believing the cars were complying with emissions standards, while the cars
were actually emitting between 10 and 40 times the allowable limit for harmful pollutants.

In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747 (N.D. Cal.). Robbins Geller
served as co-lead class counsel in a cutting-edge certified class action, securing a record-breaking
$650 million all-cash settlement, the largest privacy settlement in history. The case concerned
Facebook’s alleged privacy violations through its collection of its users’ biometric identifiers
without informed consent through its “Tag Suggestions” feature, which uses proprietary facial
recognition software to extract from user-uploaded photographs the unique biometric identifiers
(i.e., graphical representations of facial features, also known as facial geometry) associated with
people’s faces and identify who they are. The Honorable James Donato called the settlement “a
groundbreaking settlement in a novel area” and praised the unprecedented 22% claims rate as
“pretty phenomenal” and “a pretty good day in class settlement history.”

Yahoo Data Breach Class Action. Robbins Geller helped secure final approval of a $117.5 million
settlement in a class action lawsuit against Yahoo, Inc. arising out of Yahoo’s reckless disregard for
the safety and security of its customers’ personal, private information. In September 2016, Yahoo
revealed that personal information associated with at least 500 million user accounts, including
names, email addresses, telephone numbers, dates of birth, hashed passwords, and security
questions and answers, was stolen from Yahoo’s user database in late 2014. The company made
another announcement in December 2016 that personal information associated with more than
one billion user accounts was extracted in August 2013. Ten months later, Yahoo announced that
the breach in 2013 actually affected all three billion existing accounts. This was the largest data
breach in history, and caused severe financial and emotional damage to Yahoo account holders.
In 2017, Robbins Geller was appointed to the Plaintiffs’ Executive Committee charged with
overseeing the litigation.

Trump University. After six and a half years of tireless litigation and on the eve of trial, Robbins
Geller, serving as co-lead counsel, secured a historic recovery on behalf of Trump University
students around the country. The settlement provides $25 million to approximately 7,000
consumers, including senior citizens who accessed retirement accounts and maxed out credit cards
to enroll in Trump University. The extraordinary result means individual class members are
eligible for upwards of $35,000 in restitution.            The settlement resolves claims that
President Donald J. Trump and Trump University violated federal and state laws by misleadingly
marketing “Live Events” seminars and mentorships as teaching Trump’s “real-estate techniques”
through his “hand-picked” “professors” at his so-called “university.” Robbins Geller represented the
class on a pro bono basis.



                                                                        Robbins Geller Rudman & Dowd LLP | 17
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 46 of 188
                                                              PRACTICE AREAS AND SERVICES

In re Morning Song Bird Food Litig. Robbins Geller obtained final approval of a settlement in a
civil Racketeer Influenced and Corrupt Organizations Act consumer class action against The Scotts
Miracle-Gro Company and its CEO James Hagedorn. The settlement of up to $85 million
provides full refunds to consumers around the country and resolves claims that Scotts Miracle-Gro
knowingly sold wild bird food treated with pesticides that are hazardous to birds. In approving
the settlement, Judge Houston commended Robbins Gelller’s “skill and quality of work [as]
extraordinary” and the case as “aggressively litigated.” The Robbins Geller team battled a series of
dismissal motions before achieving class certification for the plaintiffs in March 2017, with the
court finding that “Plaintiffs would not have purchased the bird food if they knew it was poison.”
Defendants then appealed the class certification to the Ninth Circuit, which was denied, and then
tried to have the claims from non-California class members thrown out, which was also denied.

Bank Overdraft Fees Litigation. The banking industry charges consumers exorbitant amounts for
“overdraft” of their checking accounts, even if the customer did not authorize a charge beyond the
available balance and even if the account would not have been overdrawn had the transactions
been ordered chronologically as they occurred – that is, banks reorder transactions to maximize
such fees. The Firm brought lawsuits against major banks to stop this practice and recover these
false fees. These cases have recovered over $500 million thus far from a dozen banks and we
continue to investigate other banks engaging in this practice.

Visa and MasterCard Fees. After years of litigation and a six-month trial, Robbins Geller attorneys
won one of the largest consumer-protection verdicts ever awarded in the United States. The
Firm’s attorneys represented California consumers in an action against Visa and MasterCard for
intentionally imposing and concealing a fee from cardholders. The court ordered Visa and
MasterCard to return $800 million in cardholder losses, which represented 100% of the amount
illegally taken, plus 2% interest. In addition, the court ordered full disclosure of the hidden fee.

Sony Gaming Networks & Customer Data Security Breach Litigation. The Firm served as a member
of the Plaintiffs’ Steering Committee, helping to obtain a precedential opinion denying in part
Sony’s motion to dismiss plaintiffs’ claims involving the breach of Sony’s gaming network, leading
to a $15 million settlement.

Tobacco Litigation. Robbins Geller attorneys have led the fight against Big Tobacco since 1991.
As an example, Robbins Geller attorneys filed the case that helped get rid of Joe Camel,
representing various public and private plaintiffs, including the State of Arkansas, the general
public in California, the cities of San Francisco, Los Angeles, and Birmingham, 14 counties in
California, and the working men and women of this country in the Union Pension and Welfare
Fund cases that have been filed in 40 states. In 1992, Robbins Geller attorneys filed the first case
in the country that alleged a conspiracy by the Big Tobacco companies.




                                                                       Robbins Geller Rudman & Dowd LLP | 18
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 47 of 188
                                                              PRACTICE AREAS AND SERVICES

Garment Workers Sweatshop Litigation. Robbins Geller attorneys represented a class of 30,000
garment workers who alleged that they had worked under sweatshop conditions in garment
factories in Saipan that produced clothing for top U.S. retailers such as The Gap, Target, and J.C.
Penney. In the first action of its kind, Robbins Geller attorneys pursued claims against the
factories and the retailers alleging violations of RICO, the Alien Tort Claims Act, and the Law of
Nations based on the alleged systemic labor and human rights abuses occurring in Saipan. This
case was a companion to two other actions, one which alleged overtime violations by the garment
factories under the Fair Labor Standards Act and local labor law, and another which alleged
violations of California’s Unfair Practices Law by the U.S. retailers. These actions resulted in a
settlement of approximately $20 million that included a comprehensive monitoring program to
address past violations by the factories and prevent future ones. The members of the litigation
team were honored as Trial Lawyers of the Year by the Trial Lawyers for Public Justice in
recognition of the team’s efforts at bringing about the precedent-setting settlement of the actions.

In re Intel Corp. CPU Mktg., Sales Pracs. & Prods. Liab. Litig. Robbins Geller serves on the
Plaintiffs’ Steering Committee in Intel, a massive multidistrict litigation pending in the United
States District Court for the District of Oregon. Intel concerns serious security vulnerabilities –
known as “Spectre” and “Meltdown” – that infect nearly all of Intel’s x86 processors manufactured
and sold since 1995, the patching of which results in processing speed degradation of the impacted
computer, server or mobile device.

West Telemarketing Case. Robbins Geller attorneys secured a $39 million settlement for class
members caught up in a telemarketing scheme where consumers were charged for an unwanted
membership program after purchasing Tae-Bo exercise videos. Under the settlement, consumers
were entitled to claim between one and one-half to three times the amount of all fees they
unknowingly paid.

Dannon Activia®. Robbins Geller attorneys secured the largest ever settlement for a false
advertising case involving a food product. The case alleged that Dannon’s advertising for its
Activia® and DanActive® branded products and their benefits from “probiotic” bacteria were
overstated. As part of the nationwide settlement, Dannon agreed to modify its advertising and
establish a fund of up to $45 million to compensate consumers for their purchases of Activia® and
DanActive®.

Mattel Lead Paint Toys. In 2006-2007, toy manufacturing giant Mattel and its subsidiary Fisher-
Price announced the recall of over 14 million toys made in China due to hazardous lead and
dangerous magnets. Robbins Geller attorneys filed lawsuits on behalf of millions of parents and
other consumers who purchased or received toys for children that were marketed as safe but were
later recalled because they were dangerous. The Firm’s attorneys reached a landmark settlement
for millions of dollars in refunds and lead testing reimbursements, as well as important testing
requirements to ensure that Mattel’s toys are safe for consumers in the future.

Tenet Healthcare Cases. Robbins Geller attorneys were co-lead counsel in a class action alleging a
fraudulent scheme of corporate misconduct, resulting in the overcharging of uninsured patients
by the Tenet chain of hospitals. The Firm’s attorneys represented uninsured patients of Tenet
hospitals nationwide who were overcharged by Tenet’s admittedly “aggressive pricing strategy,”
which resulted in price gouging of the uninsured. The case was settled with Tenet changing its
practices and making refunds to patients.

Pet Food Products Liability Litigation. Robbins Geller served as co-lead counsel in this massive,




                                                                       Robbins Geller Rudman & Dowd LLP | 19
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 48 of 188
                                                                      PRACTICE AREAS AND SERVICES

       100+ case products liability MDL in the District of New Jersey concerning the death of and injury
       to thousands of the nation’s cats and dogs due to tainted pet food. The case settled for $24
       million.



Human Rights, Labor Practices, and Public Policy
Robbins Geller attorneys have a long tradition of representing the victims of unfair labor practices and
violations of human rights. These include:

       Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
       attorneys represented a class of 30,000 garment workers who alleged that they had worked under
       sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
       such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
       pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
       Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
       occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
       Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
       under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
       (Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
       by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
       included a comprehensive monitoring program to address past violations by the factories and
       prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
       Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts at bringing about
       the precedent-setting settlement of the actions.

       Liberty Mutual Overtime Cases, No. JCCP 4234 (Cal. Super. Ct., Los Angeles Cnty.). Robbins
       Geller attorneys served as co-lead counsel on behalf of 1,600 current and former insurance claims
       adjusters at Liberty Mutual Insurance Company and several of its subsidiaries. Plaintiffs brought
       the case to recover unpaid overtime compensation and associated penalties, alleging that Liberty
       Mutual had misclassified its claims adjusters as exempt from overtime under California law. After
       13 years of complex and exhaustive litigation, Robbins Geller secured a settlement in which
       Liberty Mutual agreed to pay $65 million into a fund to compensate the class of claims adjusters
       for unpaid overtime. The Liberty Mutual action is one of a few claims adjuster overtime actions
       brought in California or elsewhere to result in a successful outcome for plaintiffs since 2004.

       Veliz v. Cintas Corp., No. 5:03-cv-01180 (N.D. Cal.). Brought against one of the nation’s largest
       commercial laundries for violations of the Fair Labor Standards Act for misclassifying truck drivers
       as salesmen to avoid payment of overtime.

       Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims that an
       apparel manufacturer misled the public regarding its exploitative labor practices, thereby violating
       California statutes prohibiting unfair competition and false advertising. The court rejected
       defense contentions that any misconduct was protected by the First Amendment, finding the
       heightened constitutional protection afforded to noncommercial speech inappropriate in such a
       circumstance.

Shareholder derivative litigation brought by Robbins Geller attorneys at times also involves stopping anti-
union activities, including:




                                                                              Robbins Geller Rudman & Dowd LLP | 20
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 49 of 188
                                                                      PRACTICE AREAS AND SERVICES

       Southern Pacific/Overnite. A shareholder action stemming from several hundred million dollars in
       loss of value in the company due to systematic violations by Overnite of U.S. labor laws.

       Massey Energy. A shareholder action against an anti-union employer for flagrant violations of
       environmental laws resulting in multi-million-dollar penalties.

       Crown Petroleum. A shareholder action against a Texas-based oil company for self-dealing and
       breach of fiduciary duty while also involved in a union lockout.



Environment and Public Health
Robbins Geller attorneys have also represented plaintiffs in class actions related to environmental law.
The Firm’s attorneys represented, on a pro bono basis, the Sierra Club and the National Economic
Development and Law Center as amici curiae in a federal suit designed to uphold the federal and state use
of project labor agreements (“PLAs”). The suit represented a legal challenge to President Bush’s Executive
Order 13202, which prohibits the use of project labor agreements on construction projects receiving
federal funds. Our amici brief in the matter outlined and stressed the significant environmental and socio-
economic benefits associated with the use of PLAs on large-scale construction projects.

Attorneys with Robbins Geller have been involved in several other significant environmental cases,
including:

       Public Citizen v. U.S. D.O.T. Robbins Geller attorneys represented a coalition of labor,
       environmental, industry, and public health organizations including Public Citizen, The
       International Brotherhood of Teamsters, California AFL-CIO, and California Trucking Industry
       in a challenge to a decision by the Bush administration to lift a Congressionally-imposed
       “moratorium” on cross-border trucking from Mexico on the basis that such trucks do not conform
       to emission controls under the Clean Air Act, and further, that the administration did not first
       complete a comprehensive environmental impact analysis as required by the National
       Environmental Policy Act. The suit was dismissed by the United States Supreme Court, the court
       holding that because the D.O.T. lacked discretion to prevent crossborder trucking, an
       environmental assessment was not required.

       Sierra Club v. AK Steel. Brought on behalf of the Sierra Club for massive emissions of air and
       water pollution by a steel mill, including homes of workers living in the adjacent communities, in
       violation of the Federal Clean Air Act, the Resource Conservation Recovery Act, and the Clean
       Water Act.

       MTBE Litigation. Brought on behalf of various water districts for befouling public drinking water
       with MTBE, a gasoline additive linked to cancer.

       Exxon Valdez. Brought on behalf of fisherman and Alaska residents for billions of dollars in
       damages resulting from the greatest oil spill in U.S. history.

       Avila Beach. A citizens’ suit against UNOCAL for leakage from the oil company pipeline so severe
       it literally destroyed the town of Avila Beach, California.

Federal laws such as the Clean Water Act, the Clean Air Act, and the Resource Conservation and Recovery
Act and state laws such as California’s Proposition 65 exist to protect the environment and the public from
abuses by corporate and government organizations. Companies can be found liable for negligence,
trespass, or intentional environmental damage, be forced to pay for reparations, and to come into


                                                                              Robbins Geller Rudman & Dowd LLP | 21
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 50 of 188
                                                                        PRACTICE AREAS AND SERVICES

compliance with existing laws. Prominent cases litigated by Robbins Geller attorneys include representing
more than 4,000 individuals suing for personal injury and property damage related to the Stringfellow
Dump Site in Southern California, participation in the Exxon Valdez oil spill litigation, and litigation
involving the toxic spill arising from a Southern Pacific train derailment near Dunsmuir, California.

Robbins Geller attorneys have led the fight against Big Tobacco since 1991. As an example, Robbins
Geller attorneys filed the case that helped get rid of Joe Camel, representing various public and private
plaintiffs, including the State of Arkansas, the general public in California, the cities of San Francisco, Los
Angeles, and Birmingham, 14 counties in California, and the working men and women of this country in
the Union Pension and Welfare Fund cases that have been filed in 40 states. In 1992, Robbins Geller
attorneys filed the first case in the country that alleged a conspiracy by the Big Tobacco companies.



Pro Bono
Robbins Geller provides counsel to those unable to afford legal representation as part of a continuous and
longstanding commitment to the communities in which it serves. Over the years the Firm has dedicated a
considerable amount of time, energy, and a full range of its resources for many pro bono and charitable
actions.

Robbins Geller has been honored for its pro bono efforts by the California State Bar (including a
nomination for the President’s Pro Bono Law Firm of the Year award) and the San Diego Volunteer
Lawyer’s Program, among others.

Some of the Firm’s and its attorneys’ pro bono and charitable actions include:

       Representing public school children and parents in Tennessee challenging the state’s private
       school voucher law, known as the Education Savings Account (ESA) Pilot Program. Robbins Geller
       helped achieve favorable rulings enjoining implementation of the ESA for violating the Home
       Rule provision of the Tennessee Constitution, which prohibits the General Assembly from passing
       laws that target specific counties without local approval.

       Representing California bus passengers pro bono in a landmark consumer and civil rights case
       against Greyhound for subjecting them to discriminatory immigration raids. Robbins Geller
       achieved a watershed court ruling that a private company may be held liable under California law
       for allowing border patrol to harass and racially profile its customers. The case heralds that
       Greyhound passengers do not check their rights and dignity at the bus door and has had an
       immediate impact, not only in California but nationwide. Within weeks of Robbins Geller filing
       the case, Greyhound added “know your rights” information to passengers to its website and on
       posters in bus stations around the country, along with adopting other business reforms.

       Working with the Homeless Action Center (HAC) to provide no-cost, barrier-free, culturally
       competent legal representation that makes it possible for people who are homeless (or at risk of
       becoming homeless) to access social safety net programs that help restore dignity and provide
       sustainable income, healthcare, mental health treatment, and housing. Based in Oakland and
       Berkeley, the non-profit is the only program in the Bay Area that specializes in legal services to
       those who are chronically homeless. In 2016, HAC provided assistance to 1,403 men and 936
       women, and 1,691 cases were completed. An additional 1,357 cases were still pending when the
       year ended. The results include 512 completed SSI cases with a success rate of 87%.




                                                                                 Robbins Geller Rudman & Dowd LLP | 22
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 51 of 188
                                                               PRACTICE AREAS AND SERVICES

Representing Trump University students in two class actions against President Donald J. Trump.
The historic settlement provides $25 million to approximately 7,000 consumers. This means
individual class members are eligible for upwards of $35,000 in restitution – an extraordinary
result.

Representing children diagnosed with Autism Spectrum Disorder, as well as children with
significant disabilities, in New York to remedy flawed educational policies and practices that cause
substantial harm to these and other similar children year after year.

Representing 19 San Diego County children diagnosed with Autism Spectrum Disorder in their
appeal of the San Diego Regional Center’s termination of funding for a crucial therapy. The
victory resulted in a complete reinstatement of funding and set a precedent that allows other
children to obtain the treatments they need.

Serving as Northern California and Hawaii District Coordinator for the United States Court of
Appeals for the Ninth Circuit’s Pro Bono program since 1993.

Representing the Sierra Club and the National Economic Development and Law Center as amici
curiae before the U.S. Supreme Court.

Obtaining political asylum, after an initial application had been denied, for an impoverished
Somali family whose ethnic minority faced systematic persecution and genocidal violence in
Somalia, as well as forced female mutilation.

Working with the ACLU in a class action filed on behalf of welfare applicants subject to San Diego
County’s “Project 100%” program. Relief was had when the County admitted that food-stamp
eligibility could not hinge upon the Project 100% “home visits,” and again when the district court
ruled that unconsented “collateral contacts” violated state regulations. The decision was noted by
the Harvard Law Review, The New York Times, and The Colbert Report.

Filing numerous amicus curiae briefs on behalf of religious organizations and clergy that support
civil rights, oppose government-backed religious-viewpoint discrimination, and uphold the
American traditions of religious freedom and church-state separation.

Serving as amicus counsel in a Ninth Circuit appeal from a Board of Immigration Appeals
deportation decision. In addition to obtaining a reversal of the BIA’s deportation order, the Firm
consulted with the Federal Defenders’ Office on cases presenting similar fact patterns, which
resulted in a precedent-setting en banc decision from the Ninth Circuit resolving a question of state
and federal law that had been contested and conflicted for decades.




                                                                       Robbins Geller Rudman & Dowd LLP | 23
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 52 of 188



PROMINENT CASES, PRECEDENT-SETTING
DECISIONS, AND JUDICIAL COMMENDATIONS
Prominent Cases
Over the years, Robbins Geller attorneys have obtained outstanding results in some of the most notorious
and well-known cases, frequently earning judicial commendations for the quality of their representation.

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Investors lost billions of dollars as a result
       of the massive fraud at Enron. In appointing Robbins Geller lawyers as sole lead counsel to
       represent the interests of Enron investors, the court found that the Firm’s zealous prosecution and
       level of “insight” set it apart from its peers. Robbins Geller attorneys and lead plaintiff The
       Regents of the University of California aggressively pursued numerous defendants, including
       many of Wall Street’s biggest banks, and successfully obtained settlements in excess of $7.2 billion
       for the benefit of investors. This is the largest securities class action recovery in history.

       The court overseeing this action had utmost praise for Robbins Geller’s efforts and stated that
       “[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
       one of the most successful law firms in securities class actions, if not the preeminent one, in the
       country.” In re Enron Corp. Sec., Derivative & “ERISA” Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
       2008).

       The court further commented: “[I]n the face of extraordinary obstacles, the skills, expertise,
       commitment, and tenacity of [Robbins Geller] in this litigation cannot be overstated. Not to be
       overlooked are the unparalleled results, . . . which demonstrate counsel’s clearly superlative
       litigating and negotiating skills.” Id. at 789.

       The court stated that the Firm’s attorneys “are to be commended for their zealousness, their
       diligence, their perseverance, their creativity, the enormous breadth and depth of their
       investigations and analysis, and their expertise in all areas of securities law on behalf of the
       proposed class.” Id.

       In addition, the court noted, “This Court considers [Robbins Geller] ‘a lion’ at the securities bar
       on the national level,” noting that the Lead Plaintiff selected Robbins Geller because of the Firm’s
       “outstanding reputation, experience, and success in securities litigation nationwide.” Id. at 790.

       The court further stated that “Lead Counsel’s fearsome reputation and successful track record
       undoubtedly were substantial factors in . . . obtaining these recoveries.” Id.

       Finally, Judge Harmon stated: “As this Court has explained [this is] an extraordinary group of
       attorneys who achieved the largest settlement fund ever despite the great odds against them.” Id.
       at 828.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of


                                                                                Robbins Geller Rudman & Dowd LLP | 24
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 53 of 188
                                      PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                       AND JUDICIAL COMMENDATIONS
damages. The parties reached an agreement to settle the case just hours before the retrial was
scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
largest ever following a securities fraud class action trial, the largest securities fraud settlement in
the Seventh Circuit and the eighth-largest settlement ever in a post-PSLRA securities fraud case.
According to published reports, the case was just the seventh securities fraud case tried to a verdict
since the passage of the PSLRA.

In approving the settlement, the Honorable Jorge L. Alonso noted the team’s “skill and
determination” while recognizing that “Lead Counsel prosecuted the case vigorously and skillfully
over 14 years against nine of the country’s most prominent law firms” and “achieved an
exceptionally significant recovery for the class.” The court added that the team faced “significant
hurdles” and “uphill battles” throughout the case and recognized that “[c]lass counsel performed a
very high-quality legal work in the context of a thorny case in which the state of the law has been
and is in flux.” The court succinctly concluded that the settlement was “a spectacular result for the
class.” Jaffe v. Household Int’l, Inc., No. 02-C-5892, 2016 U.S. Dist. LEXIS 156921, at *8 (N.D. Ill.
Nov. 10, 2016); Jaffe v. Household Int’l, Inc., No. 02-C-05893, Transcript at 56, 65 (N.D. Ill. Oct. 20,
2016).

In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
Robbins Geller attorneys obtained a $1.2 billion settlement in the securities case that Vanity Fair
reported as “the corporate scandal of its era” that had raised “fundamental questions about the
functioning of our health-care system, the nature of modern markets, and the slippery slope of
ethical rationalizations.” The settlement resolves claims that defendants made false and misleading
statements regarding Valeant’s business and financial performance during the class period,
attributing Valeant’s dramatic growth in revenues and profitability to “innovative new marketing
approaches” as part of a business model that was low risk and “durable and sustainable.” Valeant is
the largest securities class action settlement against a pharmaceutical manufacturer and the ninth
largest ever.

In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
nine different claims for violations of the Securities Exchange Act of 1934 and Securities Act of
1933, involving seven different stock or debt offerings and two mergers. The recovery represents
the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
personal contributions by individual defendants in history.

In approving the settlement, the Honorable Alvin K. Hellerstein lauded the Robbins Geller
litigation team, noting: “My own observation is that plaintiffs’ representation is adequate and that
the role of lead counsel was fulfilled in an extremely fine fashion by [Robbins Geller]. At every
juncture, the representations made to me were reliable, the arguments were cogent, and the
representation of their client was zealous.”

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
Robbins Geller represented the California Public Employees’ Retirement System (“CalPERS”) and
demonstrated its willingness to vigorously advocate for its institutional clients, even under the most
difficult circumstances. For example, in 2006, the issue of high-level executives backdating stock
options made national headlines. During that time, many law firms, including Robbins Geller,
brought shareholder derivative lawsuits against the companies’ boards of directors for breaches of
their fiduciary duties or for improperly granting backdated options. Rather than pursuing a
shareholder derivative case, the Firm filed a securities fraud class action against the company on
behalf of CalPERS. In doing so, Robbins Geller faced significant and unprecedented legal


                                                                         Robbins Geller Rudman & Dowd LLP | 25
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 54 of 188
                                      PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                       AND JUDICIAL COMMENDATIONS
obstacles with respect to loss causation, i.e., that defendants’ actions were responsible for causing
the stock losses. Despite these legal hurdles, Robbins Geller obtained an $895 million recovery on
behalf of the UnitedHealth shareholders. Shortly after reaching the $895 million settlement with
UnitedHealth, the remaining corporate defendants, including former CEO William A. McGuire,
also settled. McGuire paid $30 million and returned stock options representing more than three
million shares to the shareholders. The total recovery for the class was over $925 million, the
largest stock option backdating recovery ever, and a recovery that is more than four times larger
than the next largest options backdating recovery.            Moreover, Robbins Geller obtained
unprecedented corporate governance reforms, including election of a shareholder-nominated
member to the company’s board of directors, a mandatory holding period for shares acquired by
executives via option exercise, and executive compensation reforms that tie pay to performance.

Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
(S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
2001. The Firm’s clients included major public institutions from across the country such as
CalPERS, CalSTRS, the state pension funds of Maine, Illinois, New Mexico, and West Virginia,
union pension funds, and private entities such as AIG and Northwestern Mutual. Robbins Geller
attorneys recovered more than $650 million for their clients, substantially more than they would
have recovered as part of the class.

Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
$500 million settlement for institutional and individual investors in what is the largest RMBS
purchaser class action settlement in history, and one of the largest class action securities
settlements of all time. The unprecedented settlement resolves claims against Countrywide and
Wall Street banks that issued the securities. The action was the first securities class action case filed
against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
impression, in order to secure the landmark settlement for its clients and the class.

In approving the settlement, Judge Mariana R. Pfaelzer repeatedly complimented plaintiffs’
attorneys, noting that it was “beyond serious dispute that Class Counsel has vigorously prosecuted
the Settlement Actions on both the state and federal level over the last six years.” Judge Pfaelzer
also commented that “[w]ithout a settlement, these cases would continue indefinitely, resulting in
significant risks to recovery and continued litigation costs. It is difficult to understate the risks to
recovery if litigation had continued.” Me. State Ret. Sys. v. Countrywide Fin. Corp., No.
2:10-CV-00302, 2013 U.S. Dist. LEXIS 179190, at *44, *56 (C.D. Cal. Dec. 5, 2013).

Judge Pfaelzer further noted that the proposed $500 million settlement represents one of the
“largest MBS class action settlements to date. Indeed, this settlement easily surpasses the next
largest . . . MBS settlement.” Id. at *59.

In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). In litigation over
bonds and preferred securities, issued by Wachovia between 2006 and 2008, Robbins Geller and
co-counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company
($590 million) and Wachovia auditor KPMG LLP ($37 million). The total settlement – $627 million –
is one of the largest credit-crisis settlements involving Securities Act claims and one of the 25 largest
securities class action recoveries in history. The settlement is also one of the biggest securities class
action recoveries arising from the credit crisis.




                                                                          Robbins Geller Rudman & Dowd LLP | 26
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 55 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
As alleged in the complaint, the offering materials for the bonds and preferred securities misstated
and failed to disclose the true nature and quality of Wachovia’s mortgage loan portfolio, which
exposed the bank and misled investors to tens of billions of dollars in losses on mortgage-related
assets. In reality, Wachovia employed high-risk underwriting standards and made loans to
subprime borrowers, contrary to the offering materials and their statements of “pristine credit
quality.” Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
for investors. On behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State
Investment Council, and the California Ironworkers Field Trust Fund, the Firm aggressively
pursued class claims and won numerous courtroom victories, including a favorable decision on
defendants’ motion to dismiss. In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D.
Ohio 2006). At the time, the $600 million settlement was the tenth-largest settlement in the
history of securities fraud litigation and is the largest-ever recovery in a securities fraud action in
the Sixth Circuit. Judge Marbley commented: “[T]his is an extraordinary settlement relative to all
the other settlements in cases of this nature and certainly cases of this magnitude. . . . This was an
outstanding settlement. . . . [I]n most instances, if you’ve gotten four cents on the dollar, you’ve
done well. You’ve gotten twenty cents on the dollar, so that’s been extraordinary. In re Cardinal
Health, Inc. Sec. Litig., No. 2:04-CV-575, Transcript at 16, 32 (S.D. Ohio Oct. 19, 2007). Judge
Marbley further stated:

                     The quality of representation in this case was superb. Lead Counsel,
        [Robbins Geller], are nationally recognized leaders in complex securities litigation
        class actions. The quality of the representation is demonstrated by the substantial
        benefit achieved for the Class and the efficient, effective prosecution and resolution
        of this action. Lead Counsel defeated a volley of motions to dismiss, thwarting well-
        formed challenges from prominent and capable attorneys from six different law
        firms.

In re Cardinal Health Inc. Sec. Litigs., 528 F. Supp. 2d 752, 768 (S.D. Ohio 2007).

AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cnty.).
Robbins Geller represented The Regents of the University of California, six Ohio state pension
funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
and private funds, insurance companies, and numerous additional institutional investors, both
domestic and international, in state and federal court opt-out litigation stemming from Time
Warner’s disastrous 2001 merger with Internet high flier America Online. Robbins Geller
attorneys exposed a massive and sophisticated accounting fraud involving America Online’s e-
commerce and advertising revenue. After almost four years of litigation involving extensive
discovery, the Firm secured combined settlements for its opt-out clients totaling over $629 million
just weeks before The Regents’ case pending in California state court was scheduled to go to trial.
The Regents’ gross recovery of $246 million is the largest individual opt-out securities recovery in
history.




                                                                         Robbins Geller Rudman & Dowd LLP | 27
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 56 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
Abu Dhabi Commercial Bank v. Morgan Stanley & Co., No. 1:08-cv-07508-SAS-DCF (S.D.N.Y.), and
King County, Washington v. IKB Deutsche Industriebank AG, No. 1:09-cv-08387-SAS (S.D.N.Y.).
The Firm represented multiple institutional investors in successfully pursuing recoveries from two
failed structured investment vehicles, each of which had been rated “AAA” by Standard & Poors
and Moody’s, but which failed fantastically in 2007. The matter settled just prior to trial in 2013.
This result was only made possible after Robbins Geller lawyers beat back the rating agencies’
longtime argument that ratings were opinions protected by the First Amendment.

In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
settlements in securities class action history and is considered among the top 15 settlements
achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
largest securities class action settlements entered into by an accounting firm since the passage of
the PSLRA. HealthSouth and its financial advisors perpetrated one of the largest and most
pervasive frauds in the history of U.S. healthcare, prompting Congressional and law enforcement
inquiry and resulting in guilty pleas of 16 former HealthSouth executives in related federal
criminal prosecutions. In March 2009, Judge Karon Bowdre commented in the HealthSouth class
certification opinion: “The court has had many opportunities since November 2001 to examine the
work of class counsel and the supervision by the Class Representatives. The court finds both to be
far more than adequate.” In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260, 275 (N.D. Ala. 2009).

In re Facebook Biometric Info. Privacy Litig., No. 3:15-cv-03747 (N.D. Cal.). Robbins Geller
served as co-lead class counsel in a cutting-edge certified class action, securing a record-breaking
$650 million all-cash settlement, the largest privacy settlement in history. The case concerned
Facebook’s alleged privacy violations through its collection of its users’ biometric identifiers
without informed consent through its “Tag Suggestions” feature, which uses proprietary facial
recognition software to extract from user-uploaded photographs the unique biometric identifiers
(i.e., graphical representations of facial features, also known as facial geometry) associated with
people’s faces and identify who they are. The Honorable James Donato called the settlement “a
groundbreaking settlement in a novel area” and praised the unprecedented 22% claims rate as
“pretty phenomenal” and “a pretty good day in class settlement history.”

In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
Given Dynegy’s limited ability to pay, Robbins Geller attorneys structured a settlement (reached
shortly before the commencement of trial) that maximized plaintiffs’ recovery without
bankrupting the company. Most notably, the settlement agreement provides that Dynegy will
appoint two board members to be nominated by The Regents, which Robbins Geller and The
Regents believe will benefit all of Dynegy’s stockholders.

Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
obtained a $400 million settlement on behalf of class members who purchased Pfizer common
stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
hard-fought litigation against the toughest and the brightest members of the securities defense bar
by litigating this case all the way to trial.



                                                                        Robbins Geller Rudman & Dowd LLP | 28
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 57 of 188
                                      PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                       AND JUDICIAL COMMENDATIONS
In approving the settlement, United States District Judge Alvin K. Hellerstein commended the
Firm, noting that “[w]ithout the quality and the toughness that you have exhibited, our society
would not be as good as it is with all its problems. So from me to you is a vote of thanks for
devoting yourself to this work and doing it well. . . . You did a really good job. Congratulations.”

In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). Robbins Geller attorneys
served as lead counsel for a class of investors that purchased Qwest securities. In July 2001, the
Firm filed the initial complaint in this action on behalf of its clients, long before any investigation
into Qwest’s financial statements was initiated by the SEC or Department of Justice. After five
years of litigation, lead plaintiffs entered into a settlement with Qwest and certain individual
defendants that provided a $400 million recovery for the class and created a mechanism that
allowed the vast majority of class members to share in an additional $250 million recovered by the
SEC. In 2008, Robbins Geller attorneys recovered an additional $45 million for the class in a
settlement with defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO,
respectively, of Qwest during large portions of the class period.

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
$388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
an MBS purchaser class action. The result was achieved after more than five years of hard-fought
litigation and an extensive investigation. In granting approval of the settlement, the court stated
the following about Robbins Geller attorneys litigating the case: “[T]here is no question in my mind
that this is a very good result for the class and that the plaintiffs’ counsel fought the case very hard
with extensive discovery, a lot of depositions, several rounds of briefing of various legal issues
going all the way through class certification.”

Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
reached after a long legal battle and on the day before jury selection, resolves claims that First
Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
shareholders. The settlement concludes one of the last remaining mortgage-backed securities
purchaser class actions arising out of the global financial crisis. The remarkable result was
achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
claims on behalf of purchasers of other securities that were issued from the same registration
statement and backed by pools of mortgages originated by the same lenders who had originated
mortgages backing the lead plaintiff’s securities.

In approving the settlement, the Honorable Loretta A. Preska of the Southern District of New
York complimented Robbins Geller attorneys, noting:

                Counsel, thank you for your papers. They were, by the way, extraordinary




                                                                         Robbins Geller Rudman & Dowd LLP | 29
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 58 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
        papers in support of the settlement, and I will particularly note Professor Miller’s
        declaration in which he details the procedural aspects of the case and then speaks
        of plaintiffs’ counsel’s success in the Second Circuit essentially changing the law.

                I will also note what counsel have said, and that is that this case illustrates
        the proper functioning of the statute.

                                              *       *        *

              Counsel, you can all be proud of what you’ve done for your clients. You’ve
        done an extraordinarily good job.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783, Transcript at
10-11 (S.D.N.Y. May 2, 2016).

Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
before trial was scheduled to commence, the settlement resolves claims that the Registration
Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
IPO contained material misstatements and omissions. The recovery achieved represents more
than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
class action. At the hearing on final approval of the settlement, the Honorable Kevin H. Sharp
described Robbins Geller attorneys as “gladiators” and commented: “Looking at the benefit
obtained, the effort that you had to put into it, [and] the complexity in this case . . . I appreciate
the work that you all have done on this.” Schuh v. HCA Holdings, Inc., No. 3:11-CV-01033,
Transcript at 12-13 (M.D. Tenn. Apr. 11, 2016).

Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
behalf of a class of investors in Motorola, ultimately recovering $200 million for investors just two
months before the case was set for trial. This outstanding result was obtained despite the lack of
an SEC investigation or any financial restatement. In May 2012, the Honorable Amy J. St. Eve of
the Northern District of Illinois commented: “The representation that [Robbins Geller] provided to
the class was significant, both in terms of quality and quantity.” Silverman v. Motorola, Inc., No. 07
C 4507, 2012 U.S. Dist. LEXIS 63477, at *11 (N.D. Ill. May 7, 2012), aff’d, 739 F.3d 956 (7th Cir.
2013).

In affirming the district court’s award of attorneys’ fees, the Seventh Circuit noted that “no other
law firm was willing to serve as lead counsel. Lack of competition not only implies a higher fee
but also suggests that most members of the securities bar saw this litigation as too risky for their
practices.” Silverman v. Motorola Sols., Inc., 739 F.3d 956, 958 (7th Cir. 2013).

In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
counsel for a class of investors that purchased AT&T common stock. The case charged defendants
AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
agreed to settle the case for $100 million. In granting approval of the settlement, the court stated
the following about the Robbins Geller attorneys handling the case:




                                                                         Robbins Geller Rudman & Dowd LLP | 30
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 59 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
        Lead Counsel are highly skilled attorneys with great experience in prosecuting
        complex securities action[s], and their professionalism and diligence displayed
        during [this] litigation substantiates this characterization. The Court notes that
        Lead Counsel displayed excellent lawyering skills through their consistent
        preparedness during court proceedings, arguments and the trial, and their well-
        written and thoroughly researched submissions to the Court. Undoubtedly, the
        attentive and persistent effort of Lead Counsel was integral in achieving the
        excellent result for the Class.

In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, at *28-*29 (D.N.J. Apr.
25, 2005), aff’d, 455 F.3d 160 (3d Cir. 2006).

In re Dollar Gen. Corp. Sec. Litig., No. 01-CV-00388 (M.D. Tenn.). Robbins Geller attorneys
served as lead counsel in this case in which the Firm recovered $172.5 million for investors. The
Dollar General settlement was the largest shareholder class action recovery ever in Tennessee.

Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 00-CV-2838 (N.D. Ga.). As co-lead
counsel representing Coca-Cola shareholders, Robbins Geller attorneys obtained a recovery of
$137.5 million after nearly eight years of litigation. Robbins Geller attorneys traveled to three
continents to uncover the evidence that ultimately resulted in the settlement of this hard-fought
litigation. The case concerned Coca-Cola’s shipping of excess concentrate at the end of financial
reporting periods for the sole purpose of meeting analyst earnings expectations, as well as the
company’s failure to properly account for certain impaired foreign bottling assets.

Schwartz v. TXU Corp., No. 02-CV-2243 (N.D. Tex.). As co-lead counsel, Robbins Geller attorneys
obtained a recovery of over $149 million for a class of purchasers of TXU securities. The recovery
compensated class members for damages they incurred as a result of their purchases of TXU
securities at inflated prices. Defendants had inflated the price of these securities by concealing the
fact that TXU’s operating earnings were declining due to a deteriorating gas pipeline and the
failure of the company’s European operations.




                                                                        Robbins Geller Rudman & Dowd LLP | 31
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 60 of 188
                                    PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                     AND JUDICIAL COMMENDATIONS
In re Doral Fin. Corp. Sec. Litig., 05 MDL No. 1706 (S.D.N.Y.). In July 2007, the Honorable
Richard Owen of the Southern District of New York approved the $129 million settlement, finding
in his order:

       The services provided by Lead Counsel [Robbins Geller] were efficient and highly
       successful, resulting in an outstanding recovery for the Class without the
       substantial expense, risk and delay of continued litigation. Such efficiency and
       effectiveness supports the requested fee percentage.

                Cases brought under the federal securities laws are notably difficult and
       notoriously uncertain. . . . Despite the novelty and difficulty of the issues raised,
       Lead Plaintiffs’ counsel secured an excellent result for the Class.

                . . . Based upon Lead Plaintiff’s counsel’s diligent efforts on behalf of the
       Class, as well as their skill and reputations, Lead Plaintiff’s counsel were able to
       negotiate a very favorable result for the Class. . . . The ability of [Robbins Geller]
       to obtain such a favorable partial settlement for the Class in the face of such
       formidable opposition confirms the superior quality of their representation . . . .

In re Doral Fin. Corp. Sec. Litig., No. 1:05-md-01706, Order at 4-5 (S.D.N.Y. July 17, 2007).

In re Exxon Valdez, No. A89 095 Civ. (D. Alaska), and In re Exxon Valdez Oil Spill Litig., No. 3 AN
89 2533 (Alaska Super. Ct., 3d Jud. Dist.). Robbins Geller attorneys served on the Plaintiffs’
Coordinating Committee and Plaintiffs’ Law Committee in this massive litigation resulting from
the Exxon Valdez oil spill in Alaska in March 1989. The jury awarded hundreds of millions in
compensatory damages, as well as $5 billion in punitive damages (the latter were later reduced by
the U.S. Supreme Court to $507 million).

Mangini v. R.J. Reynolds Tobacco Co., No. 939359 (Cal. Super. Ct., San Francisco Cnty.). In this
case, R.J. Reynolds admitted that “the Mangini action, and the way that it was vigorously litigated,
was an early, significant and unique driver of the overall legal and social controversy regarding
underage smoking that led to the decision to phase out the Joe Camel Campaign.”

Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
attorneys represented a class of 30,000 garment workers who alleged that they had worked under
sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
(Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
included a comprehensive monitoring program to address past violations by the factories and
prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts in bringing about
the precedent-setting settlement of the actions.

Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), No. 94-2392 (D. Kan.). Robbins




                                                                       Robbins Geller Rudman & Dowd LLP | 32
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 61 of 188
                                             PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                              AND JUDICIAL COMMENDATIONS
       Geller attorneys were lead counsel and lead trial counsel for one of three classes of coaches in
       these consolidated price-fixing actions against the National Collegiate Athletic Association. On
       May 4, 1998, the jury returned verdicts in favor of the three classes for more than $70 million.

       In re Prison Realty Sec. Litig., No. 3:99-0452 (M.D. Tenn.). Robbins Geller attorneys served as
       lead counsel for the class, obtaining a $105 million recovery.

       In re Honeywell Int’l, Inc. Sec. Litig., No. 00-cv-03605 (D.N.J.). Robbins Geller attorneys served as
       lead counsel for a class of investors that purchased Honeywell common stock. The case charged
       Honeywell and its top officers with violations of the federal securities laws, alleging the defendants
       made false public statements concerning Honeywell’s merger with Allied Signal, Inc. and that
       defendants falsified Honeywell’s financial statements. After extensive discovery, Robbins Geller
       attorneys obtained a $100 million settlement for the class.

       Schwartz v. Visa Int’l, No. 822404-4 (Cal. Super. Ct., Alameda Cnty.). After years of litigation and
       a six-month trial, Robbins Geller attorneys won one of the largest consumer protection verdicts
       ever awarded in the United States. Robbins Geller attorneys represented California consumers in
       an action against Visa and MasterCard for intentionally imposing and concealing a fee from their
       cardholders. The court ordered Visa and MasterCard to return $800 million in cardholder losses,
       which represented 100% of the amount illegally taken, plus 2% interest. In addition, the court
       ordered full disclosure of the hidden fee.

       Thompson v. Metro. Life Ins. Co., No. 00-cv-5071 (S.D.N.Y.). Robbins Geller attorneys served as
       lead counsel and obtained $145 million for the class in a settlement involving racial discrimination
       claims in the sale of life insurance.

       In re Prudential Ins. Co. of Am. Sales Pracs. Litig., MDL No. 1061 (D.N.J.). In one of the first cases
       of its kind, Robbins Geller attorneys obtained a settlement of $4 billion for deceptive sales practices
       in connection with the sale of life insurance involving the “vanishing premium” sales scheme.



Precedent-Setting Decisions
Robbins Geller attorneys operate at the vanguard of complex class action of litigation. Our work often
changes the legal landscape, resulting in an environment that is more-favorable for obtaining recoveries
for our clients.

       Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018), cert. denied, 588 U.S. __ (2019). In July 2018,
       the Ninth Circuit ruled in plaintiffs’ favor in the Toshiba securities class action. Following appellate
       briefing and oral argument by Robbins Geller attorneys, a three-judge Ninth Circuit panel
       reversed the district court’s prior dismissal in a unanimous, 36-page opinion, holding that Toshiba
       ADRs are a “security” and the Securities Exchange Act of 1934 could apply to those ADRs that were
       purchased in a domestic transaction. Id. at 939, 949. The court adopted the Second and Third
       Circuits’ “irrevocable liability” test for determining whether the transactions were domestic and
       held that plaintiffs must be allowed to amend their complaint to allege that the purchase of
       Toshiba ADRs on the over-the-counter market was a domestic purchase and that the alleged fraud
       was in connection with the purchase.

       Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, No. 15-1439 (U.S.). In March 2018, the U.S. Supreme
       Court ruled in favor of investors represented by Robbins Geller, holding that state courts continue
       to have jurisdiction over class actions asserting violations of the Securities Act of 1933. The court’s
       ruling secures investors’ ability to bring Securities Act actions when companies fail to make full and


                                                                                Robbins Geller Rudman & Dowd LLP | 33
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 62 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
fair disclosure of relevant information in offering documents. The court confirmed that the
Securities Litigation Uniform Standards Act of 1998 was designed to preclude securities class
actions asserting violations of state law – not to preclude securities actions asserting federal law
violations brought in state courts.

Mineworkers’ Pension Scheme v. First Solar Inc., 881 F.3d 750 (9th Cir. 2018), cert. denied, 588 U.S.
__ (2019). In January 2018, the Ninth Circuit upheld the district court’s denial of defendants’
motion for summary judgment, agreeing with plaintiffs that the test for loss causation in the Ninth
Circuit is a general “proximate cause test,” and rejecting the more stringent revelation of the
fraudulent practices standard advocated by the defendants. The opinion is a significant victory for
investors, as it forecloses defendants’ ability to immunize themselves from liability simply by
refusing to publicly acknowledge their fraudulent conduct.

In re Quality Sys., Inc. Sec. Litig., No. 15-55173 (9th Cir.). In July 2017, Robbins Geller’s Appellate
Practice Group scored a significant win in the Ninth Circuit in the Quality Systems securities class
action. On appeal, a three-judge Ninth Circuit panel unanimously reversed the district court’s
prior dismissal of the action against Quality Systems and remanded the case to the district court
for further proceedings. The decision addressed an issue of first impression concerning “mixed”
future and present-tense misstatements. The appellate panel explained that “non-forward-looking
portions of mixed statements are not eligible for the safe harbor provisions of the PSLRA . . . .
Defendants made a number of mixed statements that included projections of growth in revenue
and earnings based on the state of QSI’s sales pipeline.” The panel then held both the non-forward-
looking and forward-looking statements false and misleading and made with scienter, deeming
them actionable. Later, although defendants sought rehearing by the Ninth Circuit sitting en banc,
the circuit court denied their petition.

Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., No. CV-10-J-2847-S
(N.D. Ala.). In the Regions Financial securities class action, Robbins Geller represented Local 703,
I.B. of T. Grocery and Food Employees Welfare Fund and obtained a $90 million settlement in
September 2015 on behalf of purchasers of Regions Financial common stock during the class
period. In August 2014, the Eleventh Circuit Court of Appeals affirmed the district court’s
decision to certify a class action based upon alleged misrepresentations about Regions Financial’s
financial health before and during the recent economic recession, and in November 2014, the U.S.
District Court for the Northern District of Alabama denied defendants’ third attempt to avoid
plaintiffs’ motion for class certification.

Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, No. 13-435 (U.S.). In March
2015, the U.S. Supreme Court ruled in favor of investors represented by Robbins Geller that
investors asserting a claim under §11 of the Securities Act of 1933 with respect to a misleading
statement of opinion do not, as defendant Omnicare had contended, have to prove that the
statement was subjectively disbelieved when made. Rather, the court held that a statement of
opinion may be actionable either because it was not believed, or because it lacked a reasonable
basis in fact. This decision is significant in that it resolved a conflict among the federal circuit
courts and expressly overruled the Second Circuit’s widely followed, more stringent pleading
standard for §11 claims involving statements of opinion. The Supreme Court remanded the case
back to the district court for determination under the newly articulated standard. In August of
2016, upon remand, the district court applied the Supreme Court’s new test and denied
defendants’ motion to dismiss in full.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012). In a




                                                                         Robbins Geller Rudman & Dowd LLP | 34
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 63 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
securities fraud action involving mortgage-backed securities, the Second Circuit rejected the
concept of “tranche” standing and found that a lead plaintiff has class standing to pursue claims on
behalf of purchasers of securities that were backed by pools of mortgages originated by the same
lenders who had originated mortgages backing the lead plaintiff’s securities. The court noted that,
given those common lenders, the lead plaintiff’s claims as to its purchases implicated “the same set
of concerns” that purchasers in several of the other offerings possessed. The court also rejected
the notion that the lead plaintiff lacked standing to represent investors in different tranches.

In re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694 (9th Cir. 2012). The panel reversed in part
and affirmed in part the dismissal of investors’ securities fraud class action alleging violations of
§§10(b), 20(a), and 20A of the Securities Exchange Act of 1934 and SEC Rule 10b-5 in connection
with a restatement of financial results of the company in which the investors had purchased stock.

The panel held that the third amended complaint adequately pleaded the §10(b), §20A, and Rule
10b-5 claims. Considering the allegations of scienter holistically, as the U.S. Supreme Court
directed in Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27, 48-49 (2011), the panel concluded that
the inference that the defendant company and its chief executive officer and former chief financial
officer were deliberately reckless as to the truth of their financial reports and related public
statements following a merger was at least as compelling as any opposing inference.

Fox v. JAMDAT Mobile, Inc., 185 Cal. App. 4th 1068 (2010). Concluding that Delaware’s
shareholder ratification doctrine did not bar the claims, the California Court of Appeal reversed
dismissal of a shareholder class action alleging breach of fiduciary duty in a corporate merger.

In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774 (3d Cir. 2009). The Third Circuit flatly rejected
defense contentions that where relief is sought under §11 of the Securities Act of 1933, which
imposes liability when securities are issued pursuant to an incomplete or misleading registration
statement, class certification should depend upon findings concerning market efficiency and loss
causation.

Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27 (2011), aff’g 585 F.3d 1167 (9th Cir. 2009). In a
securities fraud action involving the defendants’ failure to disclose a possible link between the
company’s popular cold remedy and a life-altering side effect observed in some users, the U.S.
Supreme Court unanimously affirmed the Ninth Circuit’s (a) rejection of a bright-line “statistical
significance” materiality standard, and (b) holding that plaintiffs had successfully pleaded a strong
inference of the defendants’ scienter.

Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009). Aided by former U.S.
Supreme Court Justice O’Connor’s presence on the panel, the Fifth Circuit reversed a district
court order denying class certification and also reversed an order granting summary judgment to
defendants. The court held that the district court applied an incorrect fact-for-fact standard of loss
causation, and that genuine issues of fact on loss causation precluded summary judgment.

In re F5 Networks, Inc., Derivative Litig., 207 P.3d 433 (Wash. 2009). In a derivative action
alleging unlawful stock option backdating, the Supreme Court of Washington ruled that
shareholders need not make a pre-suit demand on the board of directors where this step would be
futile, agreeing with plaintiffs that favorable Delaware case law should be followed as persuasive
authority.

Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009). In a rare win for investors in the Fifth




                                                                        Robbins Geller Rudman & Dowd LLP | 35
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 64 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
Circuit, the court reversed an order of dismissal, holding that safe harbor warnings were not
meaningful when the facts alleged established a strong inference that defendants knew their
forecasts were false. The court also held that plaintiffs sufficiently alleged loss causation.

Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009). In a victory for investors in
the Third Circuit, the court reversed an order of dismissal, holding that shareholders pled with
particularity why the company’s repeated denials of price discounts on products were false and
misleading when the totality of facts alleged established a strong inference that defendants knew
their denials were false.

Alaska Elec. Pension Fund v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009). The Third Circuit
held that claims filed for violation of §10(b) of the Securities Exchange Act of 1934 were timely,
adopting investors’ argument that because scienter is a critical element of the claims, the time for
filing them cannot begin to run until the defendants’ fraudulent state of mind should be apparent.

Rael v. Page, 222 P.3d 678 (N.M. Ct. App. 2009). In this shareholder class and derivative action,
Robbins Geller attorneys obtained an appellate decision reversing the trial court’s dismissal of the
complaint alleging serious director misconduct in connection with the merger of SunCal
Companies and Westland Development Co., Inc., a New Mexico company with large and historic
landholdings and other assets in the Albuquerque area. The appellate court held that plaintiff’s
claims for breach of fiduciary duty were direct, not derivative, because they constituted an attack
on the validity or fairness of the merger and the conduct of the directors. Although New Mexico
law had not addressed this question directly, at the urging of the Firm’s attorneys, the court relied
on Delaware law for guidance, rejecting the “special injury” test for determining the direct versus
derivative inquiry and instead applying more recent Delaware case law.

Lane v. Page, No. 06-cv-1071 (D.N.M. 2012). In May 2012, while granting final approval of the
settlement in the federal component of the Westland cases, Judge Browning in the District of New
Mexico commented:

        Class Counsel are highly skilled and specialized attorneys who use their substantial
        experience and expertise to prosecute complex securities class actions. In possibly
        one of the best known and most prominent recent securities cases, Robbins Geller
        served as sole lead counsel – In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D.
        Tex.). See Report at 3. The Court has previously noted that the class would
        “receive high caliber legal representation” from class counsel, and throughout the
        course of the litigation the Court has been impressed with the quality of
        representation on each side. Lane v. Page, 250 F.R.D. at 647.

Lane v. Page, 862 F. Supp. 2d 1182, 1253-54 (D.N.M. 2012).

In addition, Judge Browning stated: “‘Few plaintiffs’ law firms could have devoted the kind of
time, skill, and financial resources over a five-year period necessary to achieve the pre- and post-
Merger benefits obtained for the class here.’ . . . [Robbins Geller is] both skilled and experienced,
and used those skills and experience for the benefit of the class [Robbins Geller is] both skilled and
experienced, and used those skills and experience for the benefit of the class.” Id. at 1254.

Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008). In a case of first
impression, the Ninth Circuit held that the Securities Act of 1933’s specific non-removal features
had not been trumped by the general removal provisions of the Class Action Fairness Act of 2005.




                                                                        Robbins Geller Rudman & Dowd LLP | 36
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 65 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008). The Ninth Circuit upheld defrauded
investors’ loss causation theory as plausible, ruling that a limited temporal gap between the time
defendants’ misrepresentation was publicly revealed and the subsequent decline in stock value was
reasonable where the public had not immediately understood the impact of defendants’ fraud.

In re WorldCom Sec. Litig., 496 F.3d 245 (2d Cir. 2007). The Second Circuit held that the filing of
a class action complaint tolls the limitations period for all members of the class, including those
who choose to opt out of the class action and file their own individual actions without waiting to
see whether the district court certifies a class – reversing the decision below and effectively
overruling multiple district court rulings that American Pipe tolling did not apply under these
circumstances.

In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007). In a shareholder
derivative suit appeal, the Third Circuit held that the general rule that discovery may not be used
to supplement demand-futility allegations does not apply where the defendants enter a voluntary
stipulation to produce materials relevant to demand futility without providing for any limitation as
to their use. In April 2007, the Honorable D. Brooks Smith praised Robbins Geller partner Joe
Daley’s efforts in this litigation:

        Thank you very much Mr. Daley and a thank you to all counsel. As Judge Cowen
        mentioned, this was an exquisitely well-briefed case; it was also an extremely well-
        argued case, and we thank counsel for their respective jobs here in the matter,
        which we will take under advisement. Thank you.

In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., No. 06-2911, Transcript at 35:37-36:00 (3d
Cir. Apr. 12, 2007).

Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007). The Supreme Court of Delaware
held that the Alaska Electrical Pension Fund, for purposes of the “corporate benefit” attorney-fee
doctrine, was presumed to have caused a substantial increase in the tender offer price paid in a
“going private” buyout transaction. The Court of Chancery originally ruled that Alaska’s counsel,
Robbins Geller, was not entitled to an award of attorney fees, but Delaware’s high court, in its
published opinion, reversed and remanded for further proceedings.

Crandon Cap. Partners v. Shelk, 157 P.3d 176 (Or. 2007). Oregon’s Supreme Court ruled that a
shareholder plaintiff in a derivative action may still seek attorney fees even if the defendants took
actions to moot the underlying claims. The Firm’s attorneys convinced Oregon’s highest court to
take the case, and reverse, despite the contrary position articulated by both the trial court and the
Oregon Court of Appeals.

In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006). In a case of first impression, the Tenth
Circuit held that a corporation’s deliberate release of purportedly privileged materials to
governmental agencies was not a “selective waiver” of the privileges such that the corporation could
refuse to produce the same materials to non-governmental plaintiffs in private securities fraud
litigation.

In re Guidant S’holders Derivative Litig., 841 N.E.2d 571 (Ind. 2006). Answering a certified
question from a federal court, the Supreme Court of Indiana unanimously held that a pre-suit
demand in a derivative action is excused if the demand would be a futile gesture. The court
adopted a “demand futility” standard and rejected defendants’ call for a “universal demand”
standard that might have immediately ended the case.



                                                                       Robbins Geller Rudman & Dowd LLP | 37
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 66 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
Denver Area Meat Cutters v. Clayton, 209 S.W.3d 584 (Tenn. Ct. App. 2006). The Tennessee
Court of Appeals rejected an objector’s challenge to a class action settlement arising out of Warren
Buffet’s 2003 acquisition of Tennessee-based Clayton Homes. In their effort to secure relief for
Clayton Homes stockholders, the Firm’s attorneys obtained a temporary injunction of the Buffet
acquisition for six weeks in 2003 while the matter was litigated in the courts. The temporary halt
to Buffet’s acquisition received national press attention.

DeJulius v. New Eng. Health Care Emps. Pension Fund, 429 F.3d 935 (10th Cir. 2005). The Tenth
Circuit held that the multi-faceted notice of a $50 million settlement in a securities fraud class
action had been the best notice practicable under the circumstances, and thus satisfied both
constitutional due process and Rule 23 of the Federal Rules of Civil Procedure.

In re Daou Sys., 411 F.3d 1006 (9th Cir. 2005). The Ninth Circuit sustained investors’ allegations
of accounting fraud and ruled that loss causation was adequately alleged by pleading that the value
of the stock they purchased declined when the issuer’s true financial condition was revealed.

Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.), reh’g denied and opinion modified, 409 F.3d
653 (5th Cir. 2005). The Fifth Circuit upheld investors’ accounting-fraud claims, holding that
fraud is pled as to both defendants when one knowingly utters a false statement and the other
knowingly fails to correct it, even if the complaint does not specify who spoke and who listened.

City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651 (6th Cir. 2005). The Sixth
Circuit held that a statement regarding objective data supposedly supporting a corporation’s belief
that its tires were safe was actionable where jurors could have found a reasonable basis to believe
the corporation was aware of undisclosed facts seriously undermining the statement’s accuracy.

Ill. Mun. Ret. Fund v. Citigroup, Inc., 391 F.3d 844 (7th Cir. 2004). The Seventh Circuit upheld a
district court’s decision that the Illinois Municipal Retirement Fund was entitled to litigate its
claims under the Securities Act of 1933 against WorldCom’s underwriters before a state court
rather than before the federal forum sought by the defendants.

Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004). The Ninth
Circuit ruled that defendants’ fraudulent intent could be inferred from allegations concerning
their false representations, insider stock sales and improper accounting methods.

Southland Sec. Corp. v. INSpire Ins. Sols. Inc., 365 F.3d 353 (5th Cir. 2004). The Fifth Circuit
sustained allegations that an issuer’s CEO made fraudulent statements in connection with a
contract announcement.

Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009). Capping nearly a decade
of hotly contested litigation, the Missouri Court of Appeals reversed the trial court’s judgment
notwithstanding the verdict for auto insurer American Family and reinstated a unanimous jury
verdict for the plaintiff class.

Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305 (2009). The California Court of Appeal held
that Farmers Insurance’s practice of levying a “service charge” on one-month auto insurance
policies, without specifying the charge in the policy, violated California’s Insurance Code.

Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004). Reversing the trial court, the
California Court of Appeal ordered class certification of a suit against Farmers, one of the largest




                                                                        Robbins Geller Rudman & Dowd LLP | 38
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 67 of 188
                                       PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                        AND JUDICIAL COMMENDATIONS
automobile insurers in California, and ruled that Farmers’ standard automobile policy requires it
to provide parts that are as good as those made by vehicle’s manufacturer. The case involved
Farmers’ practice of using inferior imitation parts when repairing insureds’ vehicles.

In re Monumental Life Ins. Co., 365 F.3d 408, 416 (5th Cir. 2004). The Fifth Circuit Court of
Appeals reversed a district court’s denial of class certification in a case filed by African-Americans
seeking to remedy racially discriminatory insurance practices. The Fifth Circuit held that a
monetary relief claim is viable in a Rule 23(b)(2) class if it flows directly from liability to the class as
a whole and is capable of classwide “‘computation by means of objective standards and not
dependent in any significant way on the intangible, subjective differences of each class member’s
circumstances.’”

Dent v. National Football League, No. 15-15143 (9th Cir.). In September 2018, the United States
Court of Appeals for the Ninth Circuit issued an important decision reversing the district court’s
previous dismissal of the Dent v. National Football League litigation, concluding that the complaint
brought by NFL Hall of Famer Richard Dent and others should not be dismissed on labor-law
preemption grounds. The case was remanded to the district court for further proceedings.

Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011). In a leading decision interpreting the
scope of Proposition 64’s new standing requirements under California’s Unfair Competition Law
(UCL), the California Supreme Court held that consumers alleging that a manufacturer has
misrepresented its product have “lost money or property” within the meaning of the initiative, and
thus have standing to sue under the UCL, if they “can truthfully allege that they were deceived by
a product’s label into spending money to purchase the product, and would not have purchased it
otherwise.” Id. at 317. Kwikset involved allegations, proven at trial, that defendants violated
California’s “Made in the U.S.A.” statute by representing on their labels that their products were
“Made in U.S.A.” or “All-American Made” when, in fact, the products were substantially made with
foreign parts and labor.

Safeco Ins. Co. of Am. v. Superior Court, 173 Cal. App. 4th 814 (2009). In a class action against
auto insurer Safeco, the California Court of Appeal agreed that the plaintiff should have access to
discovery to identify a new class representative after her standing to sue was challenged.

Consumer Privacy Cases, 175 Cal. App. 4th 545 (2009). The California Court of Appeal rejected
objections to a nationwide class action settlement benefiting Bank of America customers.

Koponen v. Pac. Gas & Elec. Co., 165 Cal. App. 4th 345 (2008). The Firm’s attorneys obtained a
published decision reversing the trial court’s dismissal of the action, and holding that the plaintiff’s
claims for damages arising from the utility’s unauthorized use of rights-of-way or easements
obtained from the plaintiff and other landowners were not barred by a statute limiting the
authority of California courts to review or correct decisions of the California Public Utilities
Commission.

Sanford v. MemberWorks, Inc., 483 F.3d 956 (9th Cir. 2007). In a telemarketing-fraud case, where
the plaintiff consumer insisted she had never entered the contractual arrangement that defendants
said bound her to arbitrate individual claims to the exclusion of pursuing class claims, the Ninth
Circuit reversed an order compelling arbitration – allowing the plaintiff to litigate on behalf of a
class.

Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007). In the Ohio analog to the West




                                                                            Robbins Geller Rudman & Dowd LLP | 39
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 68 of 188
                                             PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                              AND JUDICIAL COMMENDATIONS
       case, the Ohio Court of Appeals approved certification of a class of Ohio residents seeking relief
       under Ohio’s consumer protection laws for the same telemarketing fraud.

       Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 148 P.3d 1179 (Haw. 2006). The Supreme Court of
       Hawaii ruled that claims of unfair competition were not subject to arbitration and that claims of
       tortious interference with prospective economic advantage were adequately alleged.

       Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235 (2006). Robbins Geller attorneys were part
       of a team of lawyers that briefed this case before the Supreme Court of California. The court
       issued a unanimous decision holding that new plaintiffs may be substituted, if necessary, to
       preserve actions pending when Proposition 64 was passed by California voters in 2004.
       Proposition 64 amended California’s Unfair Competition Law and was aggressively cited by
       defense lawyers in an effort to dismiss cases after the initiative was adopted.

       McKell v. Wash. Mut., Inc., 142 Cal. App. 4th 1457 (2006). The California Court of Appeal
       reversed the trial court, holding that plaintiff’s theories attacking a variety of allegedly inflated
       mortgage-related fees were actionable.

       West Corp. v. Superior Court, 116 Cal. App. 4th 1167 (2004). The California Court of Appeal
       upheld the trial court’s finding that jurisdiction in California was appropriate over the out-of-state
       corporate defendant whose telemarketing was aimed at California residents. Exercise of
       jurisdiction was found to be in keeping with considerations of fair play and substantial justice.

       Kruse v. Wells Fargo Home Mortg., Inc., 383 F.3d 49 (2d Cir. 2004), and Santiago v. GMAC Mortg.
       Grp., Inc., 417 F.3d 384 (3d Cir. 2005). In two groundbreaking federal appellate decisions, the
       Second and Third Circuits each ruled that the Real Estate Settlement Practices Act prohibits
       marking up home loan-related fees and charges.



Additional Judicial Commendations
Robbins Geller attorneys have been praised by countless judges all over the country for the quality of their
representation in class-action lawsuits. In addition to the judicial commendations set forth in the
Prominent Cases and Precedent-Setting Decisions sections, judges have acknowledged the successful
results of the Firm and its attorneys with the following plaudits:

       On October 5, 2022, at the final approval hearing of the settlement, the Honorable Paul A.
       Fioravanti, Jr. stated: “The settlement achieved here is, in short, impressive. . . . This litigation was
       hard fought. The issues were complex. . . . Plaintiffs’ lead counsel here are among the most
       highly respected practitioners in this Court with a reputation for exacting substantial awards for
       the classes that they represent. . . . Again, the benefit was outstanding. . . . Counsel, this was an
       interesting case. I know you worked really hard on it. Fantastic result. The fee was well
       deserved.” City of Warren Gen. Emps.’ Ret. Sys. v. Roche, No. 2019-0740-PAF, Transcript at 26-29
       (Del. Ch. Oct. 5, 2022).




                                                                                 Robbins Geller Rudman & Dowd LLP | 40
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 69 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
On February 4, 2021, in granting final approval of the settlement, the Honorable Mark H. Cohen
of the United States District Court for the Northern District of Georgia stated: “Lead Counsel
successfully achieved a greater-than-average settlement ‘in the face of significant risks.’” Robbins
Geller’s “hard-fought litigation in the Eleventh Circuit” and “[i]n considering the experience,
reputation, and abilities of the attorneys, the Court recognize[d] that Lead Counsel is well-
regarded in the legal community, especially in litigating class-action securities cases.” Monroe
County Employees’ Retirement System v. The Southern Company, No. 1:17-cv-00241, Order at 8-9 (N.D.
Ga. Feb. 4, 2021).

On December 18, 2020, at the final approval hearing of the settlement, the Honorable Yvonne
Gonzalez Rogers of the United States District Court for the Northern District of California
commended Robbins Geller, stating: “Counsel performed excellent work in not only investigating
and analyzing the core of the issues, but in negotiating and demanding the necessary reforms to
prevent malfeasance for the benefit of the shareholders and the consumers. The Court
complements counsel for its excellence.” In re RH S’holder Derivative Litig., No. 4:18-cv-02452-YGR,
Order and Final Judgment at 3 (N.D. Cal. Dec. 18, 2020).

On October 23, 2020, at the final approval hearing of the settlement, the Honorable P. Kevin
Castel of the United States District Court for the Southern District of New York praised the firm,
“[Robbins Geller] has been sophisticated and experienced.” He also noted that: “[ T]he quality of
the representation . . . was excellent. The experience of counsel is also a factor. Robbins Geller
certainly has the extensive experience and they were litigating against national powerhouses . . . .”
City of Birmingham Ret. & Relief Sys. v. BRF S.A., No. 18 Civ. 2213 (PKC), Transcript at 12-13, 18
(S.D.N.Y. Oct. 23, 2020).

In May 2020, in granting final approval of the settlement, the Honorable Mark L. Wolf praised
Robbins Geller: “[T]he class has been represented by excellent honorable counsel . . . . [T]he fund
was represented by experienced, energetic, able counsel, the fund was engaged and informed, and
the fund followed advice of experienced counsel. Counsel for the class have been excellent, and I
would say honorable.” Additionally, Judge Wolf noted, “I find that the work that's been done
primarily by Robbins Geller has been excellent and honorable and efficient. . . . [T]his has been a
challenging case, and they’ve done an excellent job.” McGee v. Constant Contact, Inc., No.
1:15-cv-13114-MLW, Transcript at 21, 31, 61 (D. Mass. May 27, 2020).

In December 2019, the Honorable Margo K. Brodie noted in granting final approval of the
settlement that “[Robbins Geller and co-counsel] have also demonstrated the utmost
professionalism despite the demands of the extreme perseverance that this case has required,
litigating on behalf of a class of over 12 million for over fourteen years, across a changing legal
landscape, significant motion practice, and appeal and remand. Class counsel’s pedigree and
efforts alone speak to the quality of their representation.” In re Payment Card Interchange Fee
& Merch. Disc. Antitrust Litig., No. 1:05-md-01720-MKB-JO, Memorandum & Order (E.D.N.Y.
Dec. 16, 2019).

In October 2019, the Honorable Claire C. Cecchi noted that Robbins Geller is “capable of
adequately representing the class, both based on their prior experience in class action lawsuits and
based on their capable advocacy on behalf of the class in this action.” The court further
commended the Firm and co-counsel for “conduct[ing] the [l]itigation . . . with skill, perseverance,
and diligent advocacy.” Lincoln Adventures, LLC v. Those Certain Underwriters at Lloyd’s, London
Members, No. 2:08-cv-00235-CCC-JAD, Order at 4 (D.N.J. Oct. 3, 2019); Lincoln Adventures, LLC v.
Those Certain Underwriters at Lloyd’s, London Members of Syndicates, No. 2:08-cv-00235-CCC-JAD,
Order Awarding Attorneys’ Fees and Expenses/Charges and Service Awards at 3 (D.N.J. Oct. 3,
2019).


                                                                       Robbins Geller Rudman & Dowd LLP | 41
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 70 of 188
                                      PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                       AND JUDICIAL COMMENDATIONS
In June 2019, the Honorable T.S. Ellis, III noted that Robbins Geller “achieved the [$108 million]
[s]ettlement with skill, perseverance, and diligent advocacy.” At the final approval hearing, the
court further commended Robbins Geller by stating, “I think the case was fully and appropriately
litigated [and] you all did a very good job. . . . [T]hank you for your service in the court. . . .
[You’re] first-class lawyers . . . .” Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031, Order Awarding
Attorneys’ Fees and Expenses at 3 (E.D. Va. June 7, 2019); Knurr v. Orbital ATK, Inc., No.
1:16-cv-01031, Transcript at 28-29 (E.D. Va. June 7, 2019).

In June 2019, in granting final approval of the settlement, the Honorable John A. Houston stated:
Robbins Geller’s “skill and quality of work was extraordinary . . . . I’ll note from the top that this
has been an aggressively litigated action.”          In re Morning Song Bird Food Litig., No.
3:12-cv-01592-JAH-AGS, Transcript at 4, 9 (S.D. Cal. June 3, 2019).

In May 2019, in granting final approval of the settlement, the Honorable Richard H. DuBois
stated: Robbins Geller is “highly experienced and skilled” for obtaining a “fair, reasonable, and
adequate” settlement in the “interest of the [c]lass [m]embers” after “extensive investigation.”
Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd., No. CIV535692, Judgment and Order
Granting Final Approval of Class Action Settlement at 3 (Cal. Super. Ct., San Mateo Cnty. May 17,
2019).

In April 2019, the Honorable Kathaleen St. J. McCormick noted: “[S]ince the inception of this
litigation, plaintiffs and their counsel have vigorously prosecuted the claims brought on behalf of
the class. . . . When Vice Chancellor Laster appointed lead counsel, he effectively said: Go get a
good result. And counsel took that to heart and did it. . . . The proposed settlement was the
product of intense litigation and complex mediation. . . . [Robbins Geller has] only built a
considerable track record, never burned it, which gave them the credibility necessary to extract the
benefits achieved.” In re Calamos Asset Mgmt., Inc. S’holder Litig., No. 2017-0058-JTL, Transcript at
87, 93, 95, 98 (Del. Ch. Apr. 25, 2019).

In April 2019, the Honorable Susan O. Hickey noted that Robbins Geller “achieved an exceptional
[s]ettlement with skill, perseverance, and diligent advocacy.” City of Pontiac Gen. Emps.’ Ret. Sys. v.
Wal-Mart Stores, Inc., No. 5:12-cv-5162, Order Awarding Attorneys’ Fees and Expenses at 3 (W.D.
Ark. Apr. 8, 2019).

In January 2019, the Honorable Margo K. Brodie noted that Robbins Geller “has arduously
represented a variety of plaintiffs’ groups in this action[,] . . . [has] extensive antitrust class action
litigation experience . . . [and] negotiated what [may be] the largest antitrust settlement in
history.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 34
(E.D.N.Y. 2019).

On December 20, 2018, at the final approval hearing for the settlement, the court lauded Robbins
Geller’s attorneys and their work: “[T]his is a pretty extraordinary settlement, recovery on behalf
of the members of the class. . . . I’ve been very impressed with the level of lawyering in the case . . .
and with the level of briefing . . . and I wanted to express my appreciation for that and for the
work that everyone has done here.” The court concluded, “your clients were all blessed to have
you, [and] not just because of the outcome.” Duncan v. Joy Global, Inc., No. 16-CV-1229,
Transcript at 12, 20-21 (E.D. Wis. Dec. 20, 2018).




                                                                           Robbins Geller Rudman & Dowd LLP | 42
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 71 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
In October 2017, the Honorable William Alsup noted that Robbins Geller and lead plaintiff
“vigorously prosecuted this action.” In re LendingClub Sec. Litig., No. 3:16-cv-02627-WHA, Order
at 13 (N.D. Cal. Oct. 20, 2017).

On November 9, 2018, in granting final approval of the settlement, the Honorable Jesse M.
Furman commented: “[Robbins Geller] did an extraordinary job here. . . . [I]t is fair to say [this
was] probably the most complicated case I have had since I have been on the bench. . . . I cannot
really imagine how complicated it would have been if I didn't have counsel who had done as
admirable [a] job in briefing it and arguing as you have done. You have in my view done an
extraordinary service to the class. . . . I think you have done an extraordinary job and deserve
thanks and commendation for that.” Alaska Elec. Pension Fund v. Bank of Am. Corp., No.
1:14-cv-07126-JMF-OTW, Transcript at 27-28 (S.D.N.Y. Nov. 9, 2018).

On September 12, 2018, at the final approval hearing of the settlement, the Honorable William H.
Orrick of the Northern District of California praised Robbins Geller’s “high-quality lawyering” in a
case that “involved complicated discovery and complicated and novel legal issues,” resulting in an
“excellent” settlement for the class. The “lawyering . . . was excellent” and the case was “very well
litigated.” In re Lidoderm Antitrust Litig., No. 14-MDL-02521-WHO, Transcript at 11, 14, 22 (N.D.
Cal. Sept. 12, 2018).

On March 31, 2017, in granting final approval of the settlement, the Honorable Gonzalo P. Curiel
hailed the settlement as “extraordinary” and “all the more exceptional when viewed in light of the
risk” of continued litigation. The court further commended Robbins Geller for prosecuting the
case on a pro bono basis: “Class Counsel’s exceptional decision to provide nearly seven years of legal
services to Class Members on a pro bono basis evidences not only a lack of collusion, but also that
Class Counsel are in fact representing the best interests of Plaintiffs and the Class Members in this
Settlement. Instead of seeking compensation for fees and costs that they would otherwise be
entitled to, Class Counsel have acted to allow maximum recovery to Plaintiffs and Class Members.
Indeed, that Eligible Class Members may receive recovery of 90% or greater is a testament to Class
Counsel’s representation and dedication to act in their clients’ best interest.” In addition, at the
final approval hearing, the court commented that "this is a case that has been litigated – if not
fiercely, zealously throughout.” Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1302, 1312 (S.D.
Cal. 2017), aff’d, 881 F.3d 1111 (9th Cir. 2018); Low v. Trump University LLC and Donald J. Trump,
No. 10-cv-0940 GPC-WVG, and Cohen v. Donald J. Trump, No. 13-cv-2519-GPC-WVG, Transcript
at 7 (S.D. Cal. Mar. 30, 2017).

In January 2017, at the final approval hearing, the Honorable Kevin H. Sharp of the Middle
District of Tennessee commended Robbins Geller attorneys, stating: “It was complicated, it was
drawn out, and a lot of work clearly went into this [case] . . . . I think there is some benefit to the
shareholders that are above and beyond money, a benefit to the company above and beyond
money that changed hands.” In re Community Health Sys., Inc. S’holder Derivative Litig., No.
3:11-cv-00489, Transcript at 10 (M.D. Tenn. Jan. 17, 2017).

In November 2016, at the final approval hearing, the Honorable James G. Carr stated: “I kept
throwing the case out, and you kept coming back. . . . And it’s both remarkable and noteworthy
and a credit to you and your firm that you did so. . . . [Y]ou persuaded the Sixth Circuit. As we
know, that’s no mean feat at all.” Judge Carr further complimented the Firm, noting that it “goes
without question or even saying” that Robbins Geller is very well-known nationally and that the
settlement is an excellent result for the class. He succinctly concluded that “given the tenacity and
the time and the effort that [Robbins Geller] lawyers put into [the case]” makes the class “a lot
better off.” Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393-JGC, Transcript at
4, 10, 14, 17 (N.D. Ohio Nov. 18, 2016).


                                                                         Robbins Geller Rudman & Dowd LLP | 43
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 72 of 188
                                      PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                       AND JUDICIAL COMMENDATIONS
In September 2016, in granting final approval of the settlement, Judge Arleo commended the
“vigorous and skilled efforts” of Robbins Geller attorneys for obtaining “an excellent recovery.”
Judge Arleo added that the settlement was reached after “contentious, hard-fought litigation” that
ended with “a very, very good result for the class” in a “risky case.” City of Sterling Heights Gen.
Emps.’ Ret. Sys. v. Prudential Fin., Inc., No. 2:12-cv-05275-MCA-LDW, Transcript of Hearing at
18-20 (D.N.J. Sept. 28, 2016).

In August 2015, at the final approval hearing for the settlement, the Honorable Karen M.
Humphreys praised Robbins Geller’s “extraordinary efforts” and “excellent lawyering,” noting that
the settlement “really does signal that the best is yet to come for your clients and for your
prodigious labor as professionals. . . . I wish more citizens in our country could have an
appreciation of what this [settlement] truly represents.” Bennett v. Sprint Nextel Corp., No.
2:09-cv-02122-EFM-KMH, Transcript at 8, 25 (D. Kan. Aug. 12, 2015).

In August 2015, the Honorable Judge Max O. Cogburn, Jr. noted that “plaintiffs’ attorneys were
able [to] achieve the big success early” in the case and obtained an “excellent result.” The
“extraordinary” settlement was because of “good lawyers . . . doing their good work.” Nieman v.
Duke Energy Corp., No. 3:12-cv-456, Transcript at 21, 23, 30 (W.D.N.C. Aug. 12, 2015).

In July 2015, in approving the settlement, the Honorable Douglas L. Rayes of the District of
Arizona stated: “Settlement of the case during pendency of appeal for more than an insignificant
amount is rare. The settlement here is substantial and provides favorable recovery for the
settlement class under these circumstances.” He continued, noting, “[a]s against the objective
measures of . . . settlements [in] other similar cases, [the recovery] is on the high end.” Teamsters
Local 617 Pension & Welfare Funds v. Apollo Grp., Inc., No. 2:06-cv-02674-DLR, Transcript at 8, 11
(D. Ariz. July 28, 2015).

In June 2015, at the conclusion of the hearing for final approval of the settlement, the Honorable
Susan Richard Nelson of the District of Minnesota noted that it was “a pleasure to be able to
preside over a case like this,” praising Robbins Geller in achieving “an outstanding [result] for [its]
clients,” as she was “very impressed with the work done on th[e] case.” In re St. Jude Med., Inc. Sec.
Litig., No. 0:10-cv-00851-SRN-TNL, Transcript at 7 (D. Minn. June 12, 2015).

In May 2015, at the fairness hearing on the settlement, the Honorable William G. Young noted
that the case was “very well litigated” by Robbins Geller attorneys, adding that “I don’t just say that
as a matter of form. . . . I thank you for the vigorous litigation that I’ve been permitted to be a part
of.” Courtney v. Avid Tech., Inc., No. 1:13-cv-10686-WGY, Transcript at 8-9 (D. Mass. May 12,
2015).

In January 2015, the Honorable William J. Haynes, Jr. of the Middle District of Tennessee
described the settlement as a “highly favorable result achieved for the Class” through Robbins
Geller’s “diligent prosecution . . . [and] quality of legal services.” The settlement represents the
fourth-largest securities recovery ever in the Middle District of Tennessee and one of the largest in
more than a decade. Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882, 2015
U.S. Dist. LEXIS 181943, at *6-*7 (M.D. Tenn. Jan. 16, 2015).




                                                                         Robbins Geller Rudman & Dowd LLP | 44
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 73 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
In September 2014, in approving the settlement for shareholders, Vice Chancellor John W. Noble
noted “[t]he litigation caused a substantial benefit for the class. It is unusual to see a $29 million
recovery.” Vice Chancellor Noble characterized the litigation as “novel” and “not easy,” but “[t]he
lawyers took a case and made something of it.” The court commended Robbins Geller’s efforts in
obtaining this result: “The standing and ability of counsel cannot be questioned” and “the benefits
achieved by plaintiffs’ counsel in this case cannot be ignored.” In re Gardner Denver, Inc. S’holder
Litig., No. 8505-VCN, Transcript at 26-28 (Del. Ch. Sept. 3, 2014).

In May 2014, at the conclusion of the hearing for final approval of the settlement, the Honorable
Elihu M. Berle stated: “I would finally like to congratulate counsel on their efforts to resolve this
case, on excellent work – it was the best interest of the class – and to the exhibition of
professionalism. So I do thank you for all your efforts.” Liberty Mutual Overtime Cases, No. JCCP
4234, Transcript at 20:1-5 (Cal. Super. Ct., Los Angeles Cnty. May 29, 2014).

In March 2014, Ninth Circuit Judge J. Clifford Wallace (presiding) expressed the gratitude of the
court: “Thank you. I want to especially thank counsel for this argument. This is a very
complicated case and I think we were assisted no matter how we come out by competent counsel
coming well prepared. . . . It was a model of the type of an exercise that we appreciate. Thank
you very much for your work . . . you were of service to the court.” Eclectic Properties East, LLC v.
The Marcus & Millichap Co., No. 12-16526, Transcript (9th Cir. Mar. 14, 2014).

In February 2014, in approving a settlement, Judge Edward M. Chen noted the “very substantial
risks” in the case and recognized Robbins Geller had performed “extensive work on the case.” In
re VeriFone Holdings, Inc. Sec. Litig., No. C-07-6140, 2014 U.S. Dist. LEXIS 20044, at *5, *11-*12
(N.D. Cal. Feb. 18, 2014).

In August 2013, in granting final approval of the settlement, the Honorable Richard J. Sullivan
stated: “Lead Counsel is to be commended for this result: it expended considerable effort and
resources over the course of the action researching, investigating, and prosecuting the claims, at
significant risk to itself, and in a skillful and efficient manner, to achieve an outstanding recovery
for class members. Indeed, the result – and the class’s embrace of it – is a testament to the
experience and tenacity Lead Counsel brought to bear.” City of Livonia Emps. Ret. Sys. v. Wyeth, No.
07 Civ. 10329, 2013 U.S. Dist. LEXIS 113658, at *13 (S.D.N.Y. Aug. 7, 2013).

In July 2013, in granting final approval of the settlement, the Honorable William H. Alsup stated
that Robbins Geller did “excellent work in this case,” and continued, “I look forward to seeing you
on the next case.” Fraser v. Asus Comput. Int’l, No. C 12-0652, Transcript at 12:2-3 (N.D. Cal. July
11, 2013).

In June 2013, in certifying the class, U.S. District Judge James G. Carr recognized Robbins
Geller’s steadfast commitment to the class, noting that “plaintiffs, with the help of Robbins Geller,
have twice successfully appealed this court’s orders granting defendants’ motion to dismiss.”
Plumbers & Pipefitters Nat’l Pension Fund v. Burns, 292 F.R.D. 515, 524 (N.D. Ohio 2013).




                                                                        Robbins Geller Rudman & Dowd LLP | 45
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 74 of 188
                                       PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                        AND JUDICIAL COMMENDATIONS
In November 2012, in granting appointment of lead plaintiff, Chief Judge James F. Holderman
commended Robbins Geller for its “substantial experience in securities class action litigation” and
commented that the Firm “is recognized as ‘one of the most successful law firms in securities class
actions, if not the preeminent one, in the country.’ In re Enron Corp. Sec., 586 F. Supp. 2d 732, 797
(S.D. Tex. 2008) (Harmon, J.).” He continued further that, “‘Robbins Geller attorneys are
responsible for obtaining the largest securities fraud class action recovery ever [$7.2 billion in
Enron], as well as the largest recoveries in the Fifth, Sixth, Eighth, Tenth and Eleventh
Circuits.’” Bristol Cnty. Ret. Sys. v. Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 U.S. Dist.
LEXIS 161441, at *21 (N.D. Ill. Nov. 9, 2012).

In June 2012, in granting plaintiffs’ motion for class certification, the Honorable Inge Prytz
Johnson noted that other courts have referred to Robbins Geller as “‘one of the most successful law
firms in securities class actions . . . in the country.’” Local 703, I.B. v. Regions Fin. Corp., 282 F.R.D.
607, 616 (N.D. Ala. 2012) (quoting In re Enron Corp. Sec. Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
2008)), aff’d in part and vacated in part on other grounds, 762 F.3d 1248 (11th Cir. 2014).

In June 2012, in granting final approval of the settlement, the Honorable Barbara S. Jones
commented that “class counsel’s representation, from the work that I saw, appeared to me to be of
the highest quality.” In re CIT Grp. Inc. Sec. Litig., No. 08 Civ. 6613, Transcript at 9:16-18 (S.D.N.Y.
June 13, 2012).

In March 2012, in granting certification for the class, Judge Robert W. Sweet referenced the Enron
case, agreeing that Robbins Geller’s “‘clearly superlative litigating and negotiating skills’” give the
Firm an “‘outstanding reputation, experience, and success in securities litigation nationwide,’” thus,
“‘[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
one of the most successful law firms in securities class actions, if not the preeminent one, in the
country.’” Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 158 (S.D.N.Y. 2012).

In March 2011, in denying defendants’ motion to dismiss, Judge Richard Sullivan commented:
“Let me thank you all. . . . [The motion] was well argued . . . and . . . well briefed . . . . I certainly
appreciate having good lawyers who put the time in to be prepared . . . .” Anegada Master Fund
Ltd. v. PxRE Grp. Ltd., No. 08-cv-10584, Transcript at 83 (S.D.N.Y. Mar. 16, 2011).

In January 2011, the court praised Robbins Geller attorneys: “They have gotten very good results
for stockholders. . . . [Robbins Geller has] such a good track record.” In re Compellent Techs., Inc.
S’holder Litig., No. 6084-VCL, Transcript at 20-21 (Del. Ch. Jan. 13, 2011).

In August 2010, in reviewing the settlement papers submitted by the Firm, Judge Carlos Murguia
stated that Robbins Geller performed “a commendable job of addressing the relevant issues with
great detail and in a comprehensive manner . . . . The court respects the [Firm’s] experience in
the field of derivative [litigation].” Alaska Elec. Pension Fund v. Olofson, No. 08-cv-02344-CM-JPO
(D. Kan.) (Aug. 20, 2010 e-mail from court re: settlement papers).

In June 2009, Judge Ira Warshawsky praised the Firm’s efforts in In re Aeroflex, Inc. S’holder Litig.:
“There is no doubt that the law firms involved in this matter represented in my opinion the cream
of the crop of class action business law and mergers and acquisition litigators, and from a judicial
point of view it was a pleasure working with them.” In re Aeroflex, Inc. S’holder Litig., No.
003943/07, Transcript at 25:14-18 (N.Y. Sup. Ct., Nassau Cnty. June 30, 2009).

In March 2009, in granting class certification, the Honorable Robert Sweet of the Southern District




                                                                           Robbins Geller Rudman & Dowd LLP | 46
  Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 75 of 188
                                     PROMINENT CASES, PRECEDENT-SETTING DECISIONS,
                                                      AND JUDICIAL COMMENDATIONS
of New York commented in In re NYSE Specialists Sec. Litig., 260 F.R.D. 55, 74 (S.D.N.Y. 2009): “As
to the second prong, the Specialist Firms have not challenged, in this motion, the qualifications,
experience, or ability of counsel for Lead Plaintiff, [Robbins Geller], to conduct this litigation.
Given [Robbins Geller’s] substantial experience in securities class action litigation and the extensive
discovery already conducted in this case, this element of adequacy has also been satisfied.”

In June 2008, the court commented, “Plaintiffs’ lead counsel in this litigation, [Robbins Geller], has
demonstrated its considerable expertise in shareholder litigation, diligently advocating the rights
of Home Depot shareholders in this Litigation. [Robbins Geller] has acted with substantial skill
and professionalism in representing the plaintiffs and the interests of Home Depot and its
shareholders in prosecuting this case.” City of Pontiac Gen. Emps.’ Ret. Sys. v. Langone, No.
2006-122302, Findings of Fact in Support of Order and Final Judgment at 2 (Ga. Super. Ct.,
Fulton Cnty. June 10, 2008).

In a December 2006 hearing on the $50 million consumer privacy class action settlement in Kehoe
v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV (S.D. Fla.), United States District Court Judge Daniel
T.K. Hurley said the following:

        First, I thank counsel. As I said repeatedly on both sides, we have been very, very
        fortunate. We have had fine lawyers on both sides. The issues in the case are
        significant issues. We are talking about issues dealing with consumer protection
        and privacy. Something that is increasingly important today in our society. . . . I
        want you to know I thought long and hard about this. I am absolutely satisfied
        that the settlement is a fair and reasonable settlement. . . . I thank the lawyers on
        both sides for the extraordinary effort that has been brought to bear here . . . .

Kehoe v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV, Transcript at 26, 28-29 (S.D. Fla. Dec. 7,
2006).

In Stanley v. Safeskin Corp., No. 99 CV 454 (S.D. Cal.), where Robbins Geller attorneys obtained
$55 million for the class of investors, Judge Moskowitz stated:

        I said this once before, and I’ll say it again. I thought the way that your firm
        handled this case was outstanding. This was not an easy case. It was a complicated
        case, and every step of the way, I thought they did a very professional job.

Stanley v. Safeskin Corp., No. 99 CV 454, Transcript at 13 (S.D. Cal. May 25, 2004).




                                                                         Robbins Geller Rudman & Dowd LLP | 47
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 76 of 188



ATTORNEY BIOGRAPHIES
Mario Alba Jr. | Partner
Mario Alba is a partner in the Firm’s Melville office. He is a member of the Firm’s Institutional Outreach
Team, which provides advice to the Firm’s institutional clients, including numerous public pension
systems and Taft-Hartley funds throughout the United States, and consults with them on issues relating to
corporate fraud in the U.S. securities markets, as well as corporate governance issues and shareholder
litigation. Some of Alba’s institutional clients are currently involved in securities cases involving Clarivate
plc, Dentsply Sirona Inc., Generac Holdings Inc., Acadia Healthcare Company, Inc., Green Dot
Corporation, Waste Management, Inc., Amgen, Inc., Virtu Financial, Inc., The Walt Disney Company,
Daimler, and National Instruments Corporation.

Alba’s institutional clients are/were also involved in other types of class actions, namely, In re National
Prescription Opiate Litigation, In re Epipen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust
Litigation ($609 million total recovery), Forth v. Walgreen Co., and In re Humira (Adalimumab) Antitrust
Litigation.

Alba has served as lead counsel in numerous cases and is responsible for initiating, investigating,
researching, and filing securities and consumer fraud class actions. He has recovered hundreds of
millions of dollars in numerous actions, including cases against BHP Billiton Limited ($50 million
recovery), BRF S.A. ($40 million recovery), L3 Technologies, Inc. ($34.5 million recovery), Impax
Laboratories Inc. ($33 million recovery), Reckitt Benckiser Group plc ($19.6 million recovery), Super
Micro Computer, Inc. ($18.25 million recovery), and NBTY, Inc. ($16 million recovery).

Alba has lectured at numerous institutional investor conferences throughout the United States on various
shareholder issues, including at the Opal Public Funds Summit, Koried Plan Sponsor Educational
Institute, Georgia Association of Public Pension Trustees (GAPPT) Annual Conference, Illinois Public
Pension Fund Association, the New York State Teamsters Conference, the American Alliance Conference,
and the TEXPERS/IPPFA Joint Conference at the New York Stock Exchange, among others.


Education
B.S., St. John’s University, 1999; J.D., Hofstra University School of Law, 2002

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Best Lawyer in America: One to Watch, Best
Lawyers®, 2024; Super Lawyer, Super Lawyers Magazine, 2022-2023; Rising Star, Super Lawyers
Magazine, 2012-2013, 2016-2017; B.S., Dean’s List, St. John’s University, 1999; Selected as participant in
Hofstra Moot Court Seminar, Hofstra University School of Law




                                                                                   Robbins Geller Rudman & Dowd LLP | 48
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 77 of 188
                                                                                ATTORNEY BIOGRAPHIES


Michael Albert | Partner
Michael Albert is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
litigation. Albert is a member of the Firm’s Lead Plaintiff Advisory Team, which advises institutional
investors in connection with lead plaintiff motions, and assists them in securing appointment as lead
plaintiff. He is also part of the Firm’s SPAC Task Force, which is dedicated to rooting out and
prosecuting fraud on behalf of injured investors in special purpose acquisition companies.

Albert has been a member of litigation teams that have successfully recovered hundreds of millions of
dollars for investors in securities class actions, including: NECA-IBEW Health & Welfare Fund v. Goldman
Sachs & Co. ($272 million recovery), City of Pontiac General Employees’ Retirement Systems v. Wal-Mart Stores,
Inc. ($160 million recovery), and In re LendingClub Securities Litigation ($125 million recovery). Albert was
also a member of the litigation team that recently obtained a $85 million cash settlement in a consumer
class action against Scotts Miracle-Gro.


Education
B.A., University of Wisconsin-Madison, 2010; J.D., University of Virginia School of Law, 2014

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon,
2024; Rising Star, Super Lawyers Magazine, 2020-2024; Leading Litigator in America, Lawdragon, 2024;
Managing Board Member, Virginia Tax Review, University of Virginia School of Law




                                                                                Robbins Geller Rudman & Dowd LLP | 49
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 78 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Matthew I. Alpert | Partner
Matthew Alpert is a partner in the Firm’s San Diego office and focuses on the prosecution of securities
fraud litigation. He has helped recover over $800 million for individual and institutional investors
financially harmed by corporate fraud. Alpert’s current cases include securities fraud cases against Under
Armour (D. Md.), PayPal (D.N.J.), and Beyond Meat (C.D. Cal.). Most recently, Alpert and a team of
Robbins Geller attorneys obtained a $1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec.
Litig. (D.N.J.), a case that Vanity Fair reported as “the corporate scandal of its era” that had raised
“fundamental questions about the functioning of our health-care system, the nature of modern markets,
and the slippery slope of ethical rationalizations.” This is the largest securities class action settlement
against a pharmaceutical manufacturer and the ninth largest ever. Alpert was also a member of the
litigation team that successfully obtained class certification in a securities fraud class action against Regions
Financial, a class certification decision which was substantively affirmed by the United States Court of
Appeals for the Eleventh Circuit in Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin.
Corp., 762 F.3d 1248 (11th Cir. 2014). Upon remand, the United States District Court for the Northern
District of Alabama granted class certification again, rejecting defendants’ post-Halliburton II arguments
concerning stock price impact.

Some of Alpert’s previous cases include: the individual opt-out actions of the AOL Time Warner class
action – Regents of the Univ. of Cal. v. Parsons (Cal. Super. Ct., Los Angeles Cnty.) and Ohio Pub. Emps. Ret.
Sys. v. Parsons (Ohio. Ct. of Common Pleas, Franklin Cnty.) (total settlement over $600 million); Local 703,
I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp. (N.D. Ala.) ($90 million settlement); In re
MGM Mirage Sec. Litig. (D. Nev.) ($75 million); In re CIT Grp. Inc. Sec. Litig. (S.D.N.Y.) ($75 million
settlement); Luna v. Marvell Tech. Grp., Ltd. (N.D. Cal.) ($72.5 million settlement); Deka Investment GmbH v.
Santander Consumer USA Holdings Inc. (N.D. Tex.) ($47 million settlement); In re Bridgestone Sec. Litig. (M.D.
Tenn.) ($30 million settlement); In re Walter Energy, Inc. Sec. Litig. (N.D. Ala.) ($25 million); City of Hialeah
Emps.’ Ret. Sys. & Laborers Pension Trust Fund for N. Cal. v. Toll Brothers, Inc. (E.D. Pa.) ($25 million
settlement); In re Molycorp, Inc. Sec. Litig. (D. Colo.) ($20.5 million settlement); In re Banc of California Sec.
Litig. (C.D. Cal.) ( $19.75 million); Zimmerman v. Diplomat Pharmacy, Inc. (E.D. Mich.) ($14.1
million); Batwin v. Occam Networks, Inc. (C.D. Cal.) ($13.9 million settlement); Int’l Brotherhood of Elec.
Workers Local 697 Pension Fund v. Int’l Game Tech. (D. Nev.) ($12.5 million settlement); Kmiec v. Powerwave
Techs. Inc. (C.D. Cal.) ($8.2 million); In re Sunterra Corp. Sec. Litig. (D. Nev.) ($8 million settlement);
and Luman v. Anderson (W.D. Mo.) ($4.25 million settlement).


Education
B.A., University of Wisconsin at Madison, 2001; J.D., Washington University, St. Louis, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2019




                                                                                   Robbins Geller Rudman & Dowd LLP | 50
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 79 of 188
                                                                                ATTORNEY BIOGRAPHIES


Darryl J. Alvarado | Partner
Darryl Alvarado is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
and other complex civil litigation. Alvarado was a member of the trial team in Smilovits v. First Solar, Inc.,
which recovered $350 million for aggrieved investors. The First Solar settlement, reached on the eve of
trial after more than seven years of litigation and an interlocutory appeal to the U.S. Supreme Court, is
the fifth-largest PSLRA recovery ever obtained in the Ninth Circuit. Alvarado recently litigated Monroe
County Employees’ Retirement System v. The Southern Company, which recovered $87.5 million for investors
after more than three years of litigation. The settlement resolved securities fraud claims stemming from
defendants’ issuance of misleading statements and omissions regarding the construction of a first-of-its-
kind “clean coal” power plant in Kemper County, Mississippi. Alvarado helped secure $388 million for
investors in J.P. Morgan residential mortgage-backed securities in Fort Worth Employees’ Retirement Fund v.
J.P. Morgan Chase & Co. That settlement is, on a percentage basis, the largest recovery ever achieved in an
RMBS class action. He was also a member of a team of attorneys that secured $95 million for investors in
Morgan Stanley-issued RMBS in In re Morgan Stanley Mortgage Pass-Through Certificates Litigation.

Alvarado was a member of a team of lawyers that obtained landmark settlements, on the eve of trial, from
the major credit rating agencies and Morgan Stanley arising out of the fraudulent ratings of bonds issued
by the Cheyne and Rhinebridge structured investment vehicles in Abu Dhabi Commercial Bank v. Morgan
Stanley & Co. Incorporated and King County, Washington v. IKB Deutsche Industriebank AG. He was integral in
obtaining several precedent-setting decisions in those cases, including defeating the rating agencies’
historic First Amendment defense and defeating the ratings agencies’ motions for summary judgment
concerning the actionability of credit ratings. Alvarado was also a member of a team of attorneys
responsible for obtaining for aggrieved investors $27 million in In re Cooper Companies Securities Litigation,
$19.5 million in City of Pontiac General Employees’ Retirement System v. Lockheed Martin Corporation, and
comprehensive corporate governance reforms to address widespread off-label marketing and product
safety violations in In re Johnson & Johnson Derivative Litigation.


Education
B.A., University of California, Santa Barbara, 2004; J.D., University of San Diego School of Law, 2007

Honors / Awards
Future Star, Benchmark Litigation, 2024; Best Lawyer in America: One to Watch, Best Lawyers®,
2023-2024; Rising Star, Super Lawyers Magazine, 2015-2022; 40 & Under Hot List, Benchmark Litigation,
2018-2021; Top 40 Under 40, Daily Journal, 2021; “Outstanding Young Attorneys,” San Diego Daily
Transcript, 2011




                                                                                Robbins Geller Rudman & Dowd LLP | 51
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 80 of 188
                                                                                  ATTORNEY BIOGRAPHIES


X. Jay Alvarez | Partner
Jay Alvarez is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
litigation and other complex litigation. Alvarez’s notable cases include In re Qwest Commc’ns Int’l, Inc. Sec.
Litig. ($400 million recovery), In re Coca-Cola Sec. Litig. ($137.5 million settlement), In re St. Jude Medical,
Inc. Sec. Litig. ($50 million settlement), and In re Cooper Cos. Sec. Litig. ($27 million recovery). Most
recently, Alvarez was a member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement provides $25
million to approximately 7,000 consumers. This result means individual class members are eligible for
upwards of $35,000 in restitution. He represented the class on a pro bono basis.

Prior to joining the Firm, Alvarez served as an Assistant United States Attorney for the Southern District
of California from 1991-2003. As an Assistant United States Attorney, he obtained extensive trial
experience, including the prosecution of bank fraud, money laundering, and complex narcotics
conspiracy cases. During his tenure as an Assistant United States Attorney, Alvarez also briefed and
argued numerous appeals before the Ninth Circuit Court of Appeals.


Education
B.A., University of California, Berkeley, 1984; J.D., University of California, Berkeley, Boalt Hall School
of Law, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2020




                                                                                 Robbins Geller Rudman & Dowd LLP | 52
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 81 of 188
                                                                                ATTORNEY BIOGRAPHIES


Dory P. Antullis | Partner
Dory Antullis is a partner in the Firm’s Boca Raton office. Her litigation practice focuses on complex class
actions, covering consumer fraud, public nuisance, environmental litigation, privacy litigation,
pharmaceuticals, RICO, and antitrust litigation. Antullis also works with the Firm’s settlement
department, negotiating and documenting intricate, high-stakes settlements.

Antullis is a core member of the Firm’s opioids team, leading the effort on behalf of cities, counties, and
third-party payors around the country in In re Nat’l Prescription Opiate Litig., No. 1:17-md-02804 (N.D.
Ohio). In addition to serving on several committees in the MDL, she was a member of the winning trial
team on behalf of the People of the State of California in San Francisco’s bellwether case against Allergan,
Teva, Walgreens, and others in the prescription opioid supply chain. Together with a trial win against
Walgreens, the case has resulted in settlements valued at over $350 million. Antullis was also part of a
small group of lawyers who negotiated and drafted settlement documents for the national opioid
settlements with major distributors, manufacturers, and pharmacies – now totaling more than $50 billion.

Antullis has also been an integral part of Robbins Geller’s history of successful privacy and data breach
class action cases. She is currently serving as Interim Co-Lead Class Counsel in In re Luxottica of America,
Inc. Data Breach Litig., No. 1:20-cv-00908 (S.D. Ohio), and Liaison Counsel in DeSue v. 20/20 Eye Care
Network, Inc., No. 21-cv-61275 (S.D. Fla.) ($3 million class settlement). Antullis’s heavy lifting at every
stage of the litigation in In re Yahoo! Inc. Customer Data Sec. Breach Litig., No. 5:16-md-02752 (N.D. Cal.),
helped to secure a $117.5 million recovery in the largest data breach in history. Antullis successfully
defeated two rounds of dispositive briefing, worked with leadership and computer privacy and damages
experts to plan a winning strategy for the case, and drafted an innovative motion for class certification
that immediately preceded a successful mediation with defendants in that litigation. Antullis also
provided meaningful “nuts-and-bolts” support in other data breach class actions, including In re Am. Med.
Collection Agency, Inc., Customer Data Sec. Breach Litig., No. 2:19-md-02904 (D.N.J.) (representing class of
LabCorp customers), and In re Solara Med. Supplies Customer Data Breach Litig., No. 3:19-cv-02284 (S.D.
Cal.) ($5.06 million settlement). And she currently represents consumers in state and federal court
against North Broward Hospital District for a 2021 data breach.


Education
B.A., Rice University, 1999; J.D., Columbia Law School, 2003

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Leading Plaintiff Consumer Lawyer, Lawdragon,
2022-2024; Leading Litigator in America, Lawdragon, 2024; National Merit Scholar, Rice
University; Golden Key National Honor Society, Rice University; Nominated for The Rice
Undergraduate academic journal, Rice University; Michael I. Sovern Scholar, Columbia Law School; Hague
Appeal for Peace, Committee for a Just and Effective Response to 9/11, Columbia Law School; Columbia
Mediation and Political Asylum Clinics, Columbia Law School; Harlem Tutorial Program, Columbia Law
School; Journal of Eastern European Law, Columbia Law School; Columbia Law Women’s Association,
Columbia Law School




                                                                               Robbins Geller Rudman & Dowd LLP | 53
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 82 of 188
                                                                                ATTORNEY BIOGRAPHIES


Stephen R. Astley | Partner
Stephen Astley is a partner in the Firm’s Boca Raton office. Astley devotes his practice to representing
institutional and individual shareholders in their pursuit to recover investment losses caused by fraud.
He has been lead counsel in numerous securities fraud class actions across the country, helping secure
significant recoveries for his clients and investors. He was on the trial team that recovered $60 million on
behalf of investors in City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc. Other notable
representations include: In re ADT Inc. S’holder Litig. (Fla. Cir. Ct., 15th Jud. Cir.) ($30 million
settlement); In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); Eshe Fund v. Fifth Third
Bancorp (S.D. Ohio) ($16 million); City of St. Clair Shores Gen. Emps.’ Ret. Sys. v. Lender Processing Servs.,
Inc. (M.D. Fla.) ($14 million); and In re Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).

Prior to joining the Firm, Astley was with the Miami office of Hunton & Williams, where he concentrated
his practice on class action defense, including securities class actions and white collar criminal defense.
Additionally, he represented numerous corporate clients accused of engaging in unfair and deceptive
practices. Astley was also an active duty member of the United States Navy’s Judge Advocate General’s
Corps where he was the Senior Defense Counsel for the Naval Legal Service Office Pearl Harbor
Detachment. In that capacity, Astley oversaw trial operations for the Detachment and gained substantial
first-chair trial experience as the lead defense counsel in over 75 courts-martial and administrative
proceedings. Additionally, from 2002-2003, Astley clerked for the Honorable Peter T. Fay, U.S. Court of
Appeals for the Eleventh Circuit.


Education
B.S., Florida State University, 1992; M. Acc., University of Hawaii at Manoa, 2001; J.D., University of
Miami School of Law, 1997

Honors / Awards
J.D., Cum Laude, University of Miami School of Law, 1997; United States Navy Judge Advocate General’s
Corps., Lieutenant




                                                                                Robbins Geller Rudman & Dowd LLP | 54
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 83 of 188
                                                                               ATTORNEY BIOGRAPHIES


A. Rick Atwood, Jr. | Partner
Rick Atwood is a partner in the Firm’s San Diego office. As a recipient of the California Lawyer Attorney of
the Year (“CLAY”) Award for his work on behalf of shareholders, he has successfully represented
shareholders in securities class actions, merger-related class actions, and shareholder derivative suits in
federal and state courts in more than 30 jurisdictions. Through his litigation efforts at both the trial and
appellate levels, Atwood has helped recover billions of dollars for public shareholders, including the
largest post-merger common fund recoveries on record. He is also part of the Firm’s SPAC Task Force,
which is dedicated to rooting out and prosecuting fraud on behalf of injured investors in special purpose
acquisition companies. Atwood is also part of the Firm's Delaware Practice Group.

Atwood was a key member of the litigation team in In re Kinder Morgan, Inc. S’holders Litig., where he
helped obtain an unprecedented $200 million common fund for former Kinder Morgan shareholders, the
largest merger & acquisition class action recovery in history. In In re Dole Food Co., Inc. S’holder Litig.,
which went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf of
Dole Food Co., Inc. shareholders, Atwood helped obtain $148 million, the largest trial verdict ever in a
class action challenging a merger transaction.

Atwood also led the litigation team that obtained an $89.4 million recovery for shareholders in In re Del
Monte Foods Co. S’holders Litig., after which the Delaware Court of Chancery stated that “it was only
through the effective use of discovery that the plaintiffs were able to ‘disturb[ ] the patina of normalcy
surrounding the transaction.’” The court further commented that “Lead Counsel engaged in hard-nosed
discovery to penetrate and expose problems with practices that Wall Street considered ‘typical.’” One
Wall Street banker even wrote in The Wall Street Journal that “‘Everybody does it, but Barclays is the one
that got caught with their hand in the cookie jar . . . . Now everybody has to rethink how we conduct
ourselves in financing situations.’” Atwood’s other significant opinions include Goldstein v. Denner ($84
million recovery), Brown v. Brewer ($45 million recovery), and In re Prime Hosp., Inc. S’holders Litig. ($25
million recovery).


Education
B.A., University of Tennessee, Knoxville, 1987; B.A., Katholieke Universiteit Leuven, Belgium, 1988;
J.D., Vanderbilt School of Law, 1991

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Best Lawyer in America, Best Lawyers®,
2023-2024; Recommended Lawyer, The Legal 500, 2017-2019; M&A Litigation Attorney of the Year in
California, Corporate International, 2015; Super Lawyer, Super Lawyers Magazine, 2014-2017; Attorney of the
Year, California Lawyer, 2012; B.A., Great Distinction, Katholieke Universiteit Leuven, Belgium, 1988;
B.A., Honors, University of Tennessee, Knoxville, 1987; Authorities Editor, Vanderbilt Journal of
Transnational Law, 1991




                                                                              Robbins Geller Rudman & Dowd LLP | 55
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 84 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Aelish M. Baig | Partner
Aelish Marie Baig is a partner in the Firm’s San Francisco office and specializes in consumer and securities
fraud actions. Baig has litigated a number of cases through jury trial, resulting in multi-million and
billion dollar awards and settlements for her clients.

Baig was one of the originators of the national opioid litigation, filing among the earliest complaints
against the opioid industry defendants and working on all aspects of that litigation. In 2022, Baig served
as co-trial counsel in a federal bench trial in San Francisco in a case selected as a bellwether in the national
multi-district opioid litigation. The team achieved combined settlements of over $350 million for San
Francisco and contributed to securing more than $50 billion for local governments nationwide to be used
for abatement of the national opioid epidemic. For her work in co-leading the trial team and securing a
historic trial result against Walgreens for the City and County of San Francisco, she was honored
by The National Law Journal as one of the “Elite Women of the Plaintiffs Bar” and she received “California
Lawyer Attorney of the Year” by the Daily Journal.

Baig was also appointed to leadership in the Juul ($1.7 billion settlement) and McKinsey ($230 million
settlement) MDL litigations. She represents numerous local and state governments and school districts
across the country that have filed federal cases against opioids, McKinsey, Juul, and/or social media
defendants. Baig has also prosecuted securities fraud and derivative actions obtaining millions of dollars
in recoveries against corporations such as Wells Fargo, Celera, Pall, and Prudential.


Education
B.A., Brown University, 1992; J.D., Washington College of Law at American University, 1998

Honors / Awards
Recommended Lawyer, The Legal 500, 2023-2024; Ranked by Chambers USA, 2024; Leading Plaintiff
Financial Lawyer, Lawdragon, 2019-2024; Leading Plaintiff Consumer Lawyer, Lawdragon, 2022-2024;
Leading Commercial Litigator, Daily Journal, 2024; Leading Lawyer in America, Lawdragon, 2020-2024;
Best Lawyer in America, Best Lawyers®, 2024; Class Action/Mass Tort Litigation Trailblazer, The National
Law Journal, 2023; Elite Women of the Plaintiffs Bar, Elite Trial Lawyers, The National Law Journal, 2023;
Plaintiffs’ Lawyers Trailblazer, The National Law Journal, 2021, 2023; California Lawyer Attorney of the
Year (CLAY), Daily Journal, 2023; Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2023; Best
Lawyer in Northern California: One to Watch, Best Lawyers®, 2021; Featured in “Lawyer Limelight” series,
Lawdragon, 2020; Litigation Trailblazer, The National Law Journal, 2019; California Trailblazer, The
Recorder, 2019; Super Lawyer, Super Lawyers Magazine, 2012-2013; J.D., Cum Laude, Washington College of
Law at American University, 1998; Senior Editor, Administrative Law Review, Washington College of Law at
American University




                                                                                 Robbins Geller Rudman & Dowd LLP | 56
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 85 of 188
                                                                                ATTORNEY BIOGRAPHIES


Randall J. Baron | Partner
Randy Baron is a partner in the Firm’s San Diego office. He specializes in securities litigation, corporate
takeover litigation, and breach of fiduciary duty actions. For almost two decades, Baron has headed up a
team of lawyers whose accomplishments include obtaining instrumental rulings both at injunction and
trial phases, and establishing liability of financial advisors and investment banks. With an in-depth
understanding of merger and acquisition and breach of fiduciary duty law, an ability to work under
extreme time pressures, and the experience and willingness to take a case through trial, he has been
responsible for recovering more than a billion dollars for shareholders.

Notable achievements over the years include: In re Kinder Morgan, Inc. S’holders Litig. (Kan. Dist. Ct.,
Shawnee Cnty.), where Baron obtained an unprecedented $200 million common fund for former Kinder
Morgan shareholders, the largest merger & acquisition class action recovery in history; In re Dole Food Co.,
Inc. S’holder Litig. (Del. Ch.), where he went to trial in the Delaware Court of Chancery on claims of breach
of fiduciary duty on behalf of Dole Food Co., Inc. shareholders and obtained $148 million, the largest
trial verdict ever in a class action challenging a merger transaction; and In re Rural/Metro Corp. S’holders
Litig. (Del. Ch.), where Baron and co-counsel obtained nearly $110 million total recovery for shareholders
against Royal Bank of Canada Capital Markets LLC. In In re Del Monte Foods Co. S’holders Litig. (Del. Ch.),
he exposed the unseemly practice by investment bankers of participating on both sides of large merger
and acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
Monte. Baron was one of the lead attorneys representing about 75 public and private institutional
investors that filed and settled individual actions in In re WorldCom Sec. Litig. (S.D.N.Y.), where more than
$657 million was recovered, the largest opt-out (non-class) securities action in history. Most recently,
Baron successfully obtained a partial settlement of $60 million in In re Tesla Motors, Inc. S’holder Litig., a
case that alleged that the members of the Tesla Board of Directors breached their fiduciary duties,
unjustly enriched themselves, and wasted corporate assets in connection with their approval of Tesla’s
acquisition of SolarCity Corp. in 2016.


Education
B.A., University of Colorado at Boulder, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Fellow, Advisory Board, Litigation Counsel of America (LCA); Rated Distinguished by Martindale-
Hubbell; Ranked by Chambers USA, 2016-2024; Hall of Fame, The Legal 500, 2020-2024; Litigation
Star, Benchmark Litigation, 2016-2019, 2023-2024; National Practice Area Star, Benchmark Litigation,
2019-2020, 2024; California - Litigation Star, Benchmark Litigation, 2024; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2024; Best Lawyer in America, Best Lawyers®, 2019-2024; Lawyer of the Year:
Derivatives and Futures Law, Best Lawyers®, 2023; Plaintiffs’ Lawyer Trailblazer, The National Law Journal,
2022; Leading Lawyer in America, Lawdragon, 2011, 2017-2019, 2021-2022; Southern California Best
Lawyer, Best Lawyers®, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2014-2016, 2018-2020; Local
Litigation Star, Benchmark Litigation, 2018, 2020; Leading Lawyer, The Legal 500, 2014-2019; California
Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Winning Litigator, The
National Law Journal, 2018; Titan of the Industry, The American Lawyer, 2018; Recommended Lawyer, The
Legal 500, 2017; Mergers & Acquisitions Trailblazer, The National Law Journal, 2015-2016; Litigator of the
Week, The American Lawyer, October 16, 2014; Attorney of the Year, California Lawyer, 2012; Litigator of
the Week, The American Lawyer, October 7, 2011; J.D., Cum Laude, University of San Diego School of Law,
1990




                                                                                Robbins Geller Rudman & Dowd LLP | 57
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 86 of 188
                                                                                  ATTORNEY BIOGRAPHIES


James E. Barz | Partner
Jim Barz is a partner with the Firm and manages the Firm’s Chicago office. Barz is an experienced trial
lawyer who has been lead counsel in dozens of evidentiary and contested hearings, tried 18 cases to
verdict, and argued 9 cases in the Seventh Circuit. Barz is a registered CPA, former federal prosecutor,
and an adjunct professor at Northwestern University School of Law from 2008 to 2024, teaching courses
on trial advocacy and class action litigation.

Barz has represented investors in securities fraud class actions that have resulted in recoveries of over $2
billion. Barz was the lead counsel in In re Valeant Pharms. Int’l, Inc. Sec. Litig., and secured a $1.21 billion
recovery for investors, a case that Vanity Fair reported as “the corporate scandal of its era.” This is the
largest securities class action settlement against a pharmaceutical manufacturer and the ninth largest
securities class action settlement ever. Barz was recognized as a Litigator of the Week by The American
Lawyer for his work in the case.

Barz has also secured substantial recoveries for investors in HCA ($215 million, M.D. Tenn.); Motorola
($200 million, N.D. Ill.); Exelon ($173 million, N.D. Ill.); Sprint ($131 million, D. Kan.); Orbital ATK ($108
million, E.D. Va.); Walgreens ($105 million, N.D. Ill.); Psychiatric Solutions ($65 million, M.D. Tenn.); H
ospira ($60 million, N.D. Ill.); and other matters. Barz also handles whistleblower, antitrust, and pro bono
matters and was recently honored by the Judges of the United States District Court for the Northern
District of Illinois with an Award for Excellence in Pro Bono Service in 2021.


Education
B.B.A., Loyola University Chicago, School of Business Administration, 1995; J.D., Northwestern
University School of Law, 1998

Honors / Awards
Recommended Lawyer, The Legal 500, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024;
Super Lawyer, Super Lawyers Magazine, 2018-2024; Best Lawyer in America: One to Watch, Best Lawyers®,
2023; Midwest Trailblazer, The American Lawyer, 2022; Award for Excellence in Pro Bono Service, United
States District Court for the Northern District of Illinois, 2021; Litigator of the Week, The American Lawyer,
2021; Leading Lawyer, Law Bulletin Media, 2018; B.B.A., Summa Cum Laude, Loyola University Chicago,
School of Business Administration, 1995; J.D., Cum Laude, Northwestern University School of Law, 1998




                                                                                 Robbins Geller Rudman & Dowd LLP | 58
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 87 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Lea Malani Bays | Partner
Lea Malani Bays is a partner in the Firm’s San Diego office. She focuses on e-discovery issues, from
preservation through production, and provides counsel to the Firm’s multi-disciplinary e-discovery team
consisting of attorneys, forensic analysts, and database professionals. Through her role as counsel to the e-
discovery team, Bays is very familiar with the various stages of e-discovery, including identification of
relevant electronically stored information, data culling, predictive coding protocols, privilege, and
responsiveness reviews, as well as having experience in post-production discovery through trial
preparation. Through speaking at various events, she is also a leader in shaping the broader dialogue on
e-discovery issues.

Bays was recently part of the litigation team that earned the approval of a $131 million settlement in favor
of plaintiffs in Bennett v. Sprint Nextel Corp. The settlement, which resolved claims arising from Sprint
Corporation’s ill-fated merger with Nextel Communications in 2005, represents a significant recovery for
the plaintiff class, achieved after five years of tireless effort by the Firm. Prior to joining Robbins Geller,
Bays was a Litigation Associate at Kaye Scholer LLP’s New York office. She has experience in a wide
range of litigation, including complex securities litigation, commercial contract disputes, business torts,
antitrust, civil fraud, and trust and estate litigation.


Education
B.A., University of California, Santa Cruz, 1997; J.D., New York Law School, 2007

Honors / Awards
Ranked by Chambers USA, 2019-2022; J.D., Magna Cum Laude, New York Law School, 2007; Executive
Editor, New York Law School Law Review; Legal Aid Society’s Pro Bono Publico Award; NYSBA Empire
State Counsel; Professor Stephen J. Ellmann Clinical Legal Education Prize; John Marshall Harlan
Scholars Program, Justice Action Center




                                                                                 Robbins Geller Rudman & Dowd LLP | 59
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 88 of 188
                                                                                ATTORNEY BIOGRAPHIES


Alexandra S. Bernay | Partner
Xan Bernay is a partner in the Firm’s San Diego office, where she specializes in antitrust and unfair
competition class-action litigation. She has also worked on some of the Firm’s largest securities fraud class
actions, including the Enron litigation, which recovered an unprecedented $7.2 billion for investors.
Bernay currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was upheld by the Second Circuit Court of Appeals.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.

Additionally, Bernay is involved in In re Remicade Antitrust Litig., a large case that settled for $25 million
involving anticompetitive conduct in the biosimilars market, where the Firm was sole lead counsel for the
end-payor plaintiffs. She is also part of the litigation team in In re American Airlines/JetBlue Antitrust
Litig. pending in the Eastern District of New York. That case is brought on behalf of airline passengers
who overpaid for tickets because of alleged anticompetitive conduct between American and JetBlue. She
is also a member of the team in In re Dealer Mgmt. Sys. Antitrust Litig. (N.D. Ill.), which involves
anticompetitive conduct related to dealer management systems on behalf of auto dealerships across the
country. Another representative case is against Lloyd’s of London. That action is a massive civil RICO
case against the insurance company and its syndicates.

Bernay has also had experience in large consumer class actions, including In re Checking Account Overdraft
Litig., which case was brought on behalf of bank customers who were overcharged for debit card
transactions and resulted in more than $500 million in settlements with major banks that manipulated
customers’ debit transactions to maximize overdraft fees. She also helped try to verdict a case against one
of the world’s largest companies who was sued on behalf of consumers. Her more recent trial experience
includes a jury trial related to foreign exchange trading against one of the largest banks in the world,
where the jury found that plaintiffs had proved a conspiracy as to a large network of banks. She was
responsible for many of the successful trial motions in the case.


Education
B.A., Humboldt State University, 1997; J.D., University of San Diego School of Law, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Super Lawyer, Super Lawyers Magazine,
2023-2024; Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust
Institute, 2023; Distinguished Alumni, Forever Humboldt Alumni Association, 2023; Litigator of the
Week, Global Competition Review, October 1, 2014




                                                                                Robbins Geller Rudman & Dowd LLP | 60
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 89 of 188
                                                                                     ATTORNEY BIOGRAPHIES


Kenneth J. Black | Partner
Kenneth Black is a partner in the Firm’s San Francisco office, where his practice focuses on complex
securities litigation and shareholder derivative litigation. Before joining the Firm, Black was a Sanctions
Investigator at the Office of Foreign Assets Control, U.S. Treasury Department, where he investigated
and assembled the evidentiary cases against targets of U.S. financial sanctions, and tracked the finances
and assets of those targets.


Education
B.A., University of Michigan, 2004; M.A., American University, 2007; J.D., University of Michigan School
of Law, 2013

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Leading Litigator in America, Lawdragon, 2024;
Comments Editor, Michigan Journal of Private Equity & Venture Capital Law, University of Michigan School
of Law



Erin W. Boardman | Partner
Erin Boardman is a partner in the Firm’s Melville office, where her practice focuses on representing
individual and institutional investors in class actions brought pursuant to the federal securities laws. She
has been involved in the prosecution of numerous securities class actions that have resulted in millions of
dollars in recoveries for defrauded investors, including: Medoff v. CVS Caremark Corp. (D.R.I.) ($48 million
recovery); Construction Laborers Pension Tr. of Greater St. Louis v. Autoliv Inc. (S.D.N.Y.) ($22.5 million
recovery); In re Gildan Activewear Inc. Sec. Litig. (S.D.N.Y.) (resolved as part of a $22.5 million global
settlement); In re L.G. Phillips LCD Co., Ltd., Sec. Litig. (S.D.N.Y.) ($18 million recovery); In re Giant
Interactive Grp., Inc. Sec. Litig. (S.D.N.Y.) ($13 million recovery); In re Coventry HealthCare, Inc. Sec. Litig. (D.
Md.) ($10 million recovery); Lenartz v. American Superconductor Corp. (D. Mass.) ($10 million recovery);
Dudley v. Haub (D.N.J.) ($9 million recovery); Hildenbrand v. W Holding Co. (D.P.R.) ($8.75 million
recovery); In re Doral Fin. Corp. Sec. Litig. (D.P.R.) ($7 million recovery); and Van Dongen v. CNinsure Inc.
(S.D.N.Y.) ($6.625 million recovery). During law school, Boardman served as Associate Managing Editor
of the Journal of Corporate, Financial and Commercial Law, interned in the chambers of the Honorable Kiyo
A. Matsumoto in the United States District Court for the Eastern District of New York, and represented
individuals on a pro bono basis through the Workers’ Rights Clinic.


Education
B.A., State University of New York at Binghamton, 2003; J.D., Brooklyn Law School, 2007

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2022-2024; Super Lawyer, Super Lawyers Magazine,
2022-2023; Rising Star, Super Lawyers Magazine, 2015-2018; B.A., Magna Cum Laude, State University of
New York at Binghamton, 2003




                                                                                     Robbins Geller Rudman & Dowd LLP | 61
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 90 of 188
                                                                             ATTORNEY BIOGRAPHIES


Douglas R. Britton | Partner
Doug Britton is a partner in the Firm’s San Diego office. His practice focuses on securities fraud and
corporate governance. Britton has been involved in settlements exceeding $1 billion and has secured
significant corporate governance enhancements to improve corporate functioning. Notable achievements
include In re WorldCom, Inc. Sec. & “ERISA” Litig., where he was one of the lead partners that represented
a number of opt-out institutional investors and secured an unprecedented recovery of $651 million; In re
SureBeam Corp. Sec. Litig., where he was the lead trial counsel and secured an impressive recovery of
$32.75 million; and In re Amazon.com, Inc. Sec. Litig., where he was one of the lead attorneys securing a
$27.5 million recovery for investors.


Education
B.B.A., Washburn University, 1991; J.D., Pepperdine University School of Law, 1996

Honors / Awards
J.D., Cum Laude, Pepperdine University School of Law, 1996




                                                                             Robbins Geller Rudman & Dowd LLP | 62
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 91 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Luke O. Brooks | Partner
Luke Brooks is a partner in the Firm’s securities litigation practice group in the San Diego office. He
focuses primarily on securities fraud litigation on behalf of individual and institutional investors, including
state and municipal pension funds, Taft-Hartley funds, and private retirement and investment funds.
Brooks served as trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Other prominent cases
recently prosecuted by Brooks include Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., in which
plaintiffs recovered $388 million for investors in J.P. Morgan residential mortgage-backed securities, and
a pair of cases – Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Inc. (“Cheyne”) and King
County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge”) – in which plaintiffs obtained a
settlement, on the eve of trial in Cheyne, from the major credit rating agencies and Morgan Stanley
arising out of the fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured
investment vehicles. Reuters described the settlement as a “landmark” deal and emphasized that it was the
“first time S&P and Moody’s have settled accusations that investors were misled by their ratings.” An
article published in Rolling Stone magazine entitled “The Last Mystery of the Financial Crisis” similarly
credited Robbins Geller with uncovering “a mountain of evidence” detailing the credit rating agencies’
fraud. Most recently, Brooks served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.


Education
B.A., University of Massachusetts at Amherst, 1997; J.D., University of San Francisco, 2000

Honors / Awards
Litigation Star, Benchmark Litigation, 2023-2024; California - Litigation Star, Benchmark Litigation,
2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Local Litigation Star, Benchmark
Litigation, 2017-2018, 2020; California Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark
Litigation, 2019; Recommended Lawyer, The Legal 500, 2017-2018; Member, University of San Francisco Law
Review, University of San Francisco




                                                                                 Robbins Geller Rudman & Dowd LLP | 63
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 92 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Spencer A. Burkholz | Partner
Spence Burkholz is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He has over 25 years of experience in prosecuting securities class actions and private actions
on behalf of large institutional investors. Burkholz was one of the lead trial attorneys in Jaffe v. Household
International in the Northern District of Illinois, a securities class action that obtained a record-breaking
$1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
a verdict for plaintiffs. Burkholz has also recovered billions of dollars for injured shareholders in cases
such as Enron ($7.2 billion), WorldCom ($657 million), Countrywide ($500 million), Qwest ($445
million), Wells Fargo ($300 million), Envision ($177.5 million), McKesson ($141 million), Cardinal
Health ($109 million), and Cisco Systems ($99.25 million).


Education
B.A., Clark University, 1985; J.D., University of Virginia School of Law, 1989

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; California Lawyer Attorney of the Year (CLAY), Daily
Journal, 2024; Litigation Star, Benchmark Litigation, 2023-2024; National Practice Area Star, Benchmark
Litigation, 2020, 2024; Top 20 Trial Lawyer in California, Benchmark Litigation, 2019, 2023-2024; Leading
Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Titan of the Plaintiffs Bar, Law360, 2024; Leading
Lawyer in America, Lawdragon, 2018-2024; Best Lawyer in America, Best Lawyers®, 2018-2024; Top
Plaintiff Lawyer, Daily Journal, 2017, 2023; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020,
2022; Top Lawyer in San Diego, San Diego Magazine, 2013-2022; Southern California Best Lawyer, Best
Lawyers®, 2018-2021; Super Lawyer, Super Lawyers Magazine, 2015-2016, 2020; Top 100 Trial
Lawyer, Benchmark Litigation, 2018-2020; Local Litigation Star, Benchmark Litigation, 2015-2018, 2020;
Lawyer of the Year, Best Lawyers®, 2020; Recommended Lawyer, The Legal 500, 2017-2019; California
Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Plaintiff Attorney of the
Year, Benchmark Litigation, 2018; B.A., Cum Laude, Clark University, 1985; Phi Beta Kappa, Clark
University, 1985




                                                                                 Robbins Geller Rudman & Dowd LLP | 64
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 93 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Michael G. Capeci | Partner
Michael Capeci is a partner in the Firm’s Melville office. His practice focuses on prosecuting complex
securities class action lawsuits in federal and state courts. Throughout his tenure with the Firm, Capeci
has played an integral role in the teams prosecuting cases such as: In re BHP Billiton Ltd. Sec. Litig. ($50
million recovery); Galestan v. OneMain Holdings, Inc. ($9 million recovery); Carpenters Pension Tr. Fund of St.
Louis v. Barclays PLC ($14 million recovery); City of Pontiac General Emps.’ Ret. Sys. v. Lockheed Martin
Corp. ($19.5 million recovery); and Plumbers and Pipefitters Local Union No. 630 Pension-Annuity Tr. Fund v.
Arbitron Inc. ($7 million recovery). Capeci is currently prosecuting numerous cases in federal and state
courts alleging violations of the Securities Exchange Act of 1934 and the Securities Act of 1933. Recently,
Michael led the litigation team that achieved the first settlement of a 1933 Act claim in New York state
court, In re EverQuote, Inc. Sec. Litig. ($4.75 million recovery), following the U.S. Supreme Court’s
landmark decision in Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund in 2018.


Education
B.S., Villanova University, 2007; J.D., Hofstra University School of Law, 2010

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Super Lawyer, Super Lawyers Magazine, 2022-2023;
Rising Star, Super Lawyers Magazine, 2014-2021; J.D., Cum Laude, Hofstra University School of Law, 2010



Jennifer N. Caringal | Partner
Jennifer Caringal is a partner in the Firm’s San Diego office, where her practice focuses on
complex securities litigation. Jennifer is a member of the Firm’s Lead Plaintiff Advisory Team, which
advises institutional investors in connection with lead plaintiff motions, and assists them in securing
appointment as lead plaintiff. She is also part of the Firm’s SPAC Task Force, which is dedicated to
rooting out and prosecuting fraud on behalf of injured investors in special purpose acquisition companies.

Caringal served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig., a case arising out of ARCP’s
manipulative accounting practices, and obtained a $1.025 billion recovery. For five years, she and the
litigation team prosecuted nine different claims for violations of the Securities Exchange Act of 1934 and
the Securities Act of 1933, involving seven different stock or debt offerings and two mergers. The
recovery represents the highest percentage of damages of any major PSLRA case prior to trial and
includes the largest personal contributions by individual defendants in history.


Education
B.A., University of Illinois, 2006; J.D., Washington University in St. Louis, School of Law, 2012

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon,
2022-2024; Best Lawyer in America: One to Watch, Best Lawyers®, 2021-2024; They’ve Got Next: The 40
Under 40, Bloomberg Law, 2022; Rising Star, Super Lawyers Magazine, 2021-2022; Best Lawyer in Southern
California: One to Watch, Best Lawyers®, 2021




                                                                                 Robbins Geller Rudman & Dowd LLP | 65
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 94 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Rachel A. Cocalis | Partner
Rachel Cocalis is a partner in the Firm’s San Diego office. She represents pension funds and class
members in securities fraud class actions. Cocalis was on the team of Robbins Geller attorneys who
obtained a $97.5 million recovery in Marcus v. J.C. Penney Company, Inc.

Most recently, Cocalis was a key member of the Robbins Geller litigation team in Monroe County Employees’
Retirement System v. The Southern Company in which a $87.5 million settlement was reached after three years
of litigation. The settlement resolved claims for violations of the Securities Exchange Act of 1934
stemming from defendants’ issuance of materially misleading statements and omissions regarding the
status of construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant. Cocalis was also on the litigation team that
obtained a settlement of up to $85 million in In re Morning Song Bird Food Litigation, resolving claims
that Scotts Miracle-Gro knowingly sold wild bird food treated with pesticides that are hazardous to birds.


Education
B.A., Princeton University, 2010; J.D., University of California, Hastings College of the Law, 2016

Honors / Awards
500 X - The Next Generation, Lawdragon, 2024; J.D., magna cum laude, University of California, Hastings
College of the Law, 2016; B.A., High Honors, Princeton University, 2010




                                                                                 Robbins Geller Rudman & Dowd LLP | 66
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 95 of 188
                                                                                ATTORNEY BIOGRAPHIES


Brian E. Cochran | Partner
Brian Cochran is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
complex securities, shareholder, consumer protection, and ERISA litigation. Cochran specializes in case
investigation and initiation and lead plaintiff issues arising under the Private Securities Litigation Reform
Act of 1995. He has developed dozens of cases under the federal securities laws and recovered billions of
dollars for injured investors and consumers. Several of Cochran’s cases have pioneered new ground, such
as cases on behalf of cryptocurrency investors and in blank check companies (a.k.a “SPACs”), and sparked
follow-on governmental investigations into corporate malfeasance.

Cochran was a member of the litigation team that achieved a $1.21 billion settlement in the Valeant
Pharmaceuticals securities litigation. Cochran also developed the Dynamic Ledger securities litigation, one of
the first cases to challenge a cryptocurrency issuer’s failure to register under the federal securities laws,
which settled for $25 million. In addition, Cochran was part of the team that secured a historic $25
million settlement on behalf of Trump University students, which Cochran prosecuted on a pro bono basis.
Other notable recoveries include: Rite Aid Merger ($192.5 million); Exelon ($173 million); Micro
Focus ($107.5 million); Walgreens ($105 million); Scotts Miracle-Gro (up to $85 million); Psychiatric
Solutions ($65 million); SQM Chemical & Mining Co. of Chile ($62.5 million); GE ERISA ($61
million); Grubhub ($42 million); Big Lots ($38 million); Credit Suisse ($32.5 million); GoHealth ($29.5
million); Reckitt Benckiser ($19.6 million); DouYu ($15 million); REV Group ($14.25 million); Fifth Street
Finance ($14 million); Third Avenue Management ($14 million); LJM ($12.85 million); Sealed Air ($12.5
million); Camping World ($12.5 million); FTS International ($9.875 million); and JPMorgan ERISA ($9
million).


Education
A.B., Princeton University, 2006; J.D., University of California at Berkeley School of Law, Boalt Hall,
2012

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Leading Lawyer, The Legal 500, 2024; 40 & Under
List, Benchmark Litigation, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Next Generation
Partner, The Legal 500, 2020-2023; Rising Star, Super Lawyers Magazine, 2020-2022; 40 & Under Hot List,
Benchmark Litigation, 2021; Rising Star, The Legal 500, 2019; A.B., with Honors, Princeton University,
2006; J.D., Order of the Coif, University of California at Berkeley School of Law, Boalt Hall, 2012




                                                                                Robbins Geller Rudman & Dowd LLP | 67
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 96 of 188
                                                                               ATTORNEY BIOGRAPHIES


Sheri M. Coverman | Partner
Sheri Coverman is a partner in the Firm’s Boca Raton office. Her practice focuses on complex class
actions, including securities, corporate governance, and consumer fraud litigation.

Coverman is a member of the Firm’s Institutional Outreach Team, which provides advice to the Firm’s
institutional clients, including numerous public pension systems and Taft-Hartley funds throughout the
United States, on issues related to corporate fraud, shareholder litigation, and corporate governance
issues. Coverman frequently addresses trustees regarding their options for seeking redress for losses due
to violations of securities laws and assists in ongoing litigation involving many Firm clients. Coverman’s
institutional clients are also involved in other types of class actions, namely: In re National Prescription
Opiate Litigation.


Education
B.A., University of Florida, 2008; J.D., University of Florida Levin College of Law, 2011




                                                                              Robbins Geller Rudman & Dowd LLP | 68
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 97 of 188
                                                                               ATTORNEY BIOGRAPHIES


Desiree Cummings | Partner
Desiree Cummings is a partner with the Firm and is based in the Manhattan office. Cummings focuses
her practice on complex securities litigation, consumer and privacy litigation, and breach of fiduciary duty
actions and is part of the Firm’s Delaware Practice Group.

Before joining Robbins Geller, Cummings spent several years prosecuting securities fraud as an Assistant
Attorney General with the New York State Office of the Attorney General’s Investor Protection Bureau.
As an Assistant Attorney General, Cummings was instrumental in the office’s investigation and
prosecution of J.P. Morgan and Goldman Sachs in connection with the marketing, sale and issuance of
residential mortgage-backed securities, resulting in recoveries worth over $1.6 billion for the State of New
York. In connection with investigating and prosecuting securities fraud as part of a federal and state
RMBS Working Group, Cummings was awarded the Louis J. Lefkowitz Award for Exceptional Service.
Cummings began her career as a litigator at Paul, Weiss, Rifkind, Wharton & Garrison LLP where she
spent several years representing major financial institutions, a pharmaceutical manufacturer, and public
and private companies in connection with commercial litigations and state and federal regulatory
investigations.

At Robbins Geller, Cummings represents institutional and individual investors in securities and breach of
fiduciary duty cases. Cummings also represents consumers and serves on the Plaintiffs’ Steering
Committee in In re Blackbaud Inc. Customer Data Security Breach Litigation, a data breach multi-district
litigation pending in the United States District Court for the District of South Carolina.


Education
B.A., Binghamton University, 2001, cum laude; J.D., University of Michigan Law School, 2004

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2022-2024; Leading Plaintiff Consumer
Lawyer, Lawdragon, 2023-2024; Leading Lawyer in America, Lawdragon, 2023-2024; Leading Litigator in
America, Lawdragon, 2024; 500 X – The Next Generation, Lawdragon, 2023; Louis J. Lefkowitz Award for
Exceptional Service, New York State Office of the Attorney General, 2012




                                                                              Robbins Geller Rudman & Dowd LLP | 69
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 98 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Joseph D. Daley | Partner
Joseph Daley is a partner in the Firm’s San Diego office, serves on the Firm’s Securities Hiring
Committee, and is a member of the Firm’s Appellate Practice Group. Precedents include: Fikes Wholesale,
Inc. v. Visa U.S.A., Inc., 62 F.4th 704 (2d Cir. 2023); City of Birmingham Ret. & Relief Sys. v. Davis, 806 F.
App’x 17 (2d Cir. 2020); City of Providence v. Bats Glob. Mkts., Inc., 878 F.3d 36 (2d Cir. 2017); DeJulius v.
New Eng. Health Care Emps. Pension Fund, 429 F.3d 935 (10th Cir. 2005); Frank v. Dana Corp. (“Dana I”),
547 F.3d 564 (6th Cir. 2008); Frank v. Dana Corp. (“Dana II”), 646 F.3d 954 (6th Cir. 2011); Freidus v.
Barclays Bank PLC, 734 F.3d 132 (2d Cir. 2013); In re HealthSouth Corp. Sec. Litig., 334 F. App’x 248 (11th
Cir. 2009); In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007); In re Quality Sys.,
Inc. Sec. Litig., 865 F.3d 1130 (9th Cir. 2017); In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006);
Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008); NECA-IBEW Health &
Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012); Rosenbloom v. Pyott (“Allergan”), 765 F.3d
1137 (9th Cir. 2014); Silverman v. Motorola Solutions, Inc., 739 F.3d 956 (7th Cir. 2013); Siracusano v.
Matrixx Initiatives, Inc., 585 F.3d 1167 (9th Cir. 2009), aff’d, 563 U.S. 27 (2011); and Southland Sec. Corp. v.
INSpire Ins. Solutions Inc., 365 F.3d 353 (5th Cir. 2004). Daley is admitted to practice before the U.S.
Supreme Court, as well as before 12 U.S. Courts of Appeals around the nation.


Education
B.S., Jacksonville University, 1981; J.D., University of San Diego School of Law, 1996

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2024; Seven-time Super Lawyer, Super Lawyers Magazine; Appellate
Moot Court Board, Order of the Barristers, University of San Diego School of Law; Best Advocate Award
(Traynore Constitutional Law Moot Court Competition), First Place and Best Briefs (Alumni Torts Moot
Court Competition and USD Jessup International Law Moot Court Competition)



Stuart A. Davidson | Partner
Stuart Davidson is a partner in the Firm’s Boca Raton office. His practice focuses on complex consumer
class actions, including cases involving deceptive and unfair trade practices, privacy and data breach
issues, and antitrust violations. He has served as class counsel in some of the nation’s most significant
privacy and consumer cases, including: In re Facebook Biometric Information Privacy Litigation, No.
3:15-cv-03747-JD (N.D. Cal.) ($650 million recovery in a cutting-edge class action concerning Facebook’s
alleged privacy violations through its collection of user’s biometric identifiers without informed
consent); In re Yahoo! Inc. Customer Data Security Breach Litigation, No. 5:16-md-02752-LHK (N.D. Cal.)
($117.5 million recovery in the largest data breach in history); Kehoe v. Fidelity Federal Bank & Trust, No.
9:03-cv-80593-DTKH (S.D. Fla.) ($50 million recovery in Driver’s Privacy Protection Act case on behalf of
half-a-million Florida drivers against a national bank); In re Sony Gaming Networks & Customer Data Security
Breach Litigation, No. 3:11-md-02258-AJB-MDD (S.D. Cal.) (settlement valued at $15 million concerning
the massive data breach of Sony’s PlayStation Network); and In re Solara Medical Supplies Data Breach
Litigation, No. 3:19-cv-02284-H-KSC (S.D. Cal.) ($5 million all-cash settlement for victims of healthcare
data breach).

Davidson currently serves as Plaintiffs’ Co-Lead Counsel in In re American Medical Collection Agency, Inc.
Customer Data Security Breach Litigation, No. 2:19-md-02904-MCA-MAH (D.N.J.) (representing class of
LabCorp customers), In re Independent Living Systems Data Breach Litigation, No. 1:23-cv-21060-KMW (S.D.
Fla.), Garner v. Amazon.com, Inc., No. 2:21-cv-00750-RSL (W.D. Wash.) (alleging Amazon’s illegal


                                                                                 Robbins Geller Rudman & Dowd LLP | 70
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 99 of 188
                                                                                   ATTORNEY BIOGRAPHIES

wiretapping through Alexa-enabled devices), In re American Financial Resources, Inc. Data Breach Litigation,
No. 2:22-cv-01757-MCA-JSA (D.N.J.), In re Fortra Tile Transfer Software Data Security Breach Litigation, No.
1:24-md-03090-RAR (S.D. Fla.) (representing Aetna patients), on Plaintiffs’ Executive Committee in In re
Lakeview Loan Servicing Data Breach Litigation, No. 1:22-cv-20955-DPG (S.D. Fla.), and on Plaintiffs’
Steering Committee in In re FTX Cryptocurrency Exchange Collapse Litigation, No. 1:23-md-03076-KMM
(S.D. Fla.). Davidson also currently represents the State of Arkansas in a major antitrust enforcement
action, State of Arkansas ex rel. Griffin v. Syngenta Crop Protection AG, No. 4:22-cv-01287-BSM (E.D. Ark.).

Davidson also spearheaded several aspects of In re EpiPen (Epinephrine Injection, USP) Marketing, Sales
Practices & Antitrust Litigation, No. 2:17-md-02785-DDC-TJJ (D. Kan.) ($609 million total recovery
achieved weeks prior to trial in certified class action alleging antitrust claims involving the illegal reverse
payment settlement to delay the generic EpiPen, which allowed the prices of the life-saving EpiPen to rise
over 600% in 9 years), served as Co-Lead Class Counsel in three cases brought against Genworth Life
Insurance Company on behalf of long-term care insureds, Skochin v. Genworth Life. Ins. Co., No.
3:19-cv-00049-REP (E.D. Va.); Halcom v. Genworth Life Ins. Co., No. 3:21-cv-00019-REP (E.D. Va.); and
Haney v. Genworth Life Ins. Co., No. 3:22-cv-00055-REP (E.D. Va.), recovering hundreds of millions of
dollars in cash damages for policyholders, and served as Plaintiffs’ Co-Lead Counsel in In re NHL Players’
Concussion Injury Litigation, No. 0:14-md-02551-SRN-BRT (D. Minn.) (representing retired National
Hockey League players in multidistrict litigation suit against the NHL regarding injuries suffered due to
repetitive head trauma and concussions), and in In re Pet Food Products Liability Litigation, No.
1:07-cv-02867-NLH-AMD (D.N.J.) ($24 million recovery in multidistrict consumer class action on behalf
of thousands of aggrieved pet owners nationwide against some of the nation’s largest pet food
manufacturers, distributors, and retailers). He also served as Plaintiffs’ Co-Lead Counsel in In re
UnitedGlobalCom, Inc. Shareholder Litigation, C.A. No. 1012-VCS (Del. Ch.) ($25 million recovery weeks
before trial); In re Winn-Dixie Stores, Inc. Shareholder Litigation, No. 16-2011-CA-010616 (Fla. Cir. Ct.) ($11.5
million recovery for former Winn-Dixie shareholders following the corporate buyout by BI-LO); and In re
AuthenTec, Inc. Shareholder Litigation, No. 5-2012-CA-57589 (Fla. Cir. Ct.) ($10 million recovery for former
AuthenTec shareholders following a merger with Apple). The latter two cases are the two largest merger
and acquisition recoveries in Florida history.

Davidson is a former lead assistant public defender in the Felony Division of the Broward County, Florida
Public Defender’s Office. During his tenure at the Public Defender’s Office, he tried over 30 jury trials
and defended individuals charged with major crimes ranging from third-degree felonies to life and capital
felonies.


Education
B.A., State University of New York at Geneseo, 1993; J.D., Nova Southeastern University Shepard
Broad College of Law, 1996

Honors / Awards
Recommended Lawyer, The Legal 500, 2023-2024; Litigation Star, Benchmark Litigation, 2023-2024;
Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2024; Leading Plaintiff Consumer Lawyer,
Lawdragon, 2022-2024; Leading Lawyer in America, Lawdragon, 2023-2024; Leading Litigator in America,
Lawdragon, 2024; Outstanding Antitrust Litigation Achievement in Private Law Practice, American
Antitrust Institute, 2022; Super Lawyer, Super Lawyers Magazine, 2021-2022; One of “Florida’s Most
Effective Lawyers” in the Privacy category, American Law Media, 2020; J.D., Summa Cum Laude, Nova
Southeastern University Shepard Broad College of Law, 1996; Associate Editor, Nova Law Review, Book
Awards in Trial Advocacy, International Law, and Criminal Pretrial Practice




                                                                                  Robbins Geller Rudman & Dowd LLP | 71
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 100 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Jason C. Davis | Partner
Jason Davis is a partner in the Firm’s San Francisco office where he practices securities class actions and
complex litigation involving equities, fixed-income, synthetic, and structured securities issued in public
and private transactions. Davis was on the trial team in Jaffe v. Household Int’l, Inc., a securities class action
that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week
jury trial in 2009 that resulted in a verdict for plaintiffs. Most recently, he was part of the litigation team
in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million settlement that represents approximately
24% to 50% of the best estimate of classwide damages suffered by investors.

Before joining the Firm, Davis focused on cross-border transactions, mergers and acquisitions at Cravath,
Swaine and Moore LLP in New York.


Education
B.A., Syracuse University, 1998; J.D., University of California at Berkeley, Boalt Hall School of Law, 2002

Honors / Awards
B.A., Summa Cum Laude, Syracuse University, 1998; International Relations Scholar of the year, Syracuse
University; Teaching fellow, examination awards, Moot court award, University of California at Berkeley,
Boalt Hall School of Law




                                                                                   Robbins Geller Rudman & Dowd LLP | 72
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 101 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Mark J. Dearman | Partner
Mark Dearman is a partner in the Firm’s Boca Raton office, where his practice focuses on consumer
fraud, securities fraud, mass torts, antitrust, and whistleblower litigation.

Dearman, along with other Robbins Geller attorneys, is currently leading the effort on behalf of cities and
counties around the country in In re National Prescription Opiate Litigation, No. 1:17-md-02804 (N.D. Ohio).
He was appointed to the Plaintiffs’ Steering Committee in In re Zantac (Ranitidine) Products Liability
Litigation, No. 9:20-md-02924 (S.D. Fla.), and as Chair of the Plaintiffs’ Executive Committee in In re Apple
Inc. Device Performance Litigation, No. 5:18-md-02827 (N.D. Cal.), Dearman, along with co-counsel,
obtained a $310 million settlement. His other recent representative cases include serving as class counsel
in In re Juul Labs, Inc., Marketing, Sales Practices, and Products Liability Litigation, No. 3:19-md-02913 (N.D.
Cal.); In re McKinsey & Co., Inc. National Prescription Opiate Consultant Litigation, No. 3:21-md-02996 (N.D.
Cal.); In re Facebook Biometric Information Privacy Litigation, No. 3:15-cv-03747 (N.D. Cal.) ($650 million
recovery in a class action concerning Facebook’s alleged privacy violations through its collection of user’s
biometric identifiers without informed consent); In re EpiPen (Epinephrine Injection, USP) Marketing, Sales
Practices & Antitrust Litigation, No. 2:17-md-02785 (D. Kan.) ($609 million total recovery achieved weeks
prior to trial in certified class action alleging antitrust claims involving the illegal reverse payment
settlement to delay the generic EpiPen); In re FieldTurf Artificial Turf Sales & Marketing Practices Litigation,
No. 3:17-md-02779 (D.N.J.); In re Sony Gaming Networks & Customer Data Security Breach Litigation, 903 F.
Supp. 2d 942 (S.D. Cal. 2012); In re Volkswagen “Clean Diesel” Marketing, Sales Practices, & Products Liability
Litigation, 2016 U.S. Dist. LEXIS 1357 (N.D. Cal. Jan. 5, 2016); In re Aluminum Warehousing Antitrust
Litigation, 95 F. Supp. 3d 419 (S.D.N.Y. 2015); In re Liquid Aluminum Sulfate Antitrust Litigation, No.
2:16-md-2687 (D.N.J.); In re Winn-Dixie Stores, Inc. Shareholder Litigation, No. 16-2011-CA-010616 (Fla. 4th
Jud. Cir. Ct., Duval Cnty.); Gemelas v. Dannon Co. Inc., No. 1:08-cv-00236 (N.D. Ohio); and In re AuthenTec,
Inc. Shareholder Litigation, No. 05-2012-CA-57589 (Fla. 18th Jud. Cir. Ct., Brevard Cnty.).


Education
B.A., University of Florida, 1990; J.D., Nova Southeastern University, 1993

Honors / Awards
AV rated by Martindale-Hubbell; Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2024; Leading
Plaintiff Consumer Lawyer, Lawdragon, 2022-2024; Leading Lawyer in America, Lawdragon, 2023-2024;
Leading Litigator in America, Lawdragon, 2024; Best Lawyer in America, Best Lawyers®, 2024;
Recommended Lawyer, The Legal 500, 2023; Super Lawyer, Super Lawyers Magazine, 2014-2020; In top
1.5% of Florida Civil Trial Lawyers in Florida Trend’s Florida Legal Elite, 2004, 2006




                                                                                 Robbins Geller Rudman & Dowd LLP | 73
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 102 of 188
                                                                                ATTORNEY BIOGRAPHIES


Kathleen B. Douglas | Partner
Kathleen Douglas is a partner in the Firm’s Boca Raton office. She focuses her practice on securities
fraud class actions and consumer fraud. Most recently, Douglas and a team of Robbins Geller attorneys
obtained a $1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair
reported as “the corporate scandal of its era” that had raised “fundamental questions about the functioning
of our health-care system, the nature of modern markets, and the slippery slope of ethical
rationalizations.” This is the largest securities class action settlement against a pharmaceutical
manufacturer and the ninth largest ever.

Douglas was also a key member of the litigation team in In re UnitedHealth Grp. Inc. PSLRA Litig., in which
she and team of Robbins Geller attorneys achieved a substantial $925 million recovery. In addition to the
monetary recovery, UnitedHealth also made critical changes to a number of its corporate governance
policies, including electing a shareholder-nominated member to the company’s Board of Directors.
Likewise, in Nieman v. Duke Energy Corp., she and a team of attorneys obtained a $146.25 million recovery,
which is the largest recovery in North Carolina for a case involving securities fraud and is one of the five
largest recoveries in the Fourth Circuit. In addition, Douglas was a member of the team of attorneys
that represented investors in Knurr v. Orbital ATK, Inc., which recovered $108 million for shareholders
and is believed to be the fourth-largest securities class action settlement in the history of the Eastern
District of Virginia. Douglas has served as class counsel in several class actions brought on behalf of
Florida emergency room physicians. These cases were against some of the nation’s largest Health
Maintenance Organizations and settled for substantial increases in reimbursement rates and millions of
dollars in past damages for the class.


Education
B.S., Georgetown University, 2004; J.D., University of Miami School of Law, 2007

Honors / Awards
40 & Under List, Benchmark Litigation, 2024; Leading Plaintiff Consumer Lawyer, Lawdragon, 2023-2024;
Best Lawyer in America: One to Watch, Best Lawyers®, 2024; 40 & Under Hot List, Benchmark Litigation,
2021; Rising Star, Super Lawyers Magazine, 2012-2017; B.S., Cum Laude, Georgetown University, 2004




                                                                               Robbins Geller Rudman & Dowd LLP | 74
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 103 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Travis E. Downs III | Partner
Travis Downs is a partner in the Firm’s San Diego office. His areas of expertise include prosecution of
shareholder and securities litigation, including complex shareholder derivative actions. Downs is a
member of the Firm’s Delaware Practice Group. Downs led a team of lawyers who successfully prosecuted
over 65 stock option backdating derivative actions in federal and state courts across the country, resulting
in hundreds of millions in financial givebacks for the plaintiffs and extensive corporate governance
enhancements, including annual directors elections, majority voting for directors, and shareholder
nomination of directors. Notable cases include: In re Community Health Sys., Inc. S’holder Derivative Litig.
($60 million in financial relief and unprecedented corporate governance reforms); In re Marvell Tech. Grp.
Ltd. Derivative Litig. ($54 million in financial relief and extensive corporate governance enhancements); In
re McAfee, Inc. Derivative Litig. ($30 million in financial relief and extensive corporate governance
enhancements); In re Affiliated Computer Servs. Derivative Litig. ($30 million in financial relief and extensive
corporate governance enhancements); In re KB Home S’holder Derivative Litig. ($30 million in financial
relief and extensive corporate governance enhancements); In re Juniper Networks Derivative Litig. ($22.7
million in financial relief and extensive corporate governance enhancements); In re Nvidia Corp. Derivative
Litig. ($15 million in financial relief and extensive corporate governance enhancements); and City of
Pontiac Gen. Emps.’ Ret. Sys. v. Langone (achieving landmark corporate governance reforms for investors).

Downs was also part of the litigation team that obtained a $67 million settlement in City of Westland Police
& Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing, and a $250 million
settlement in In re Google, Inc. Derivative Litig., an action alleging that Google facilitated in the improper
advertising of prescription drugs. Downs is a frequent speaker at conferences and seminars and has
lectured on a variety of topics related to shareholder derivative and class action litigation.


Education
B.A., Whitworth University, 1985; J.D., University of Washington School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Recommended Lawyer, The Legal 500, 2023-2024; Leading
Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Best Lawyer in America, Best Lawyers®, 2018-2024; Top
100 Leaders in Law Honoree, San Diego Business Journal, 2022; Top Lawyer in San Diego, San Diego
Magazine, 2013-2022; Southern California Best Lawyer, Best Lawyers®, 2018-2021; Super Lawyer, Super
Lawyers Magazine, 2008; B.A., Honors, Whitworth University, 1985



Daniel S. Drosman | Partner
Dan Drosman is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He focuses his practice on securities fraud and other complex civil litigation and has obtained
significant recoveries for investors in cases such as Morgan Stanley, Cisco Systems, The Coca-Cola
Company, Petco, PMI, and America West. Drosman served as lead trial counsel in Jaffe v. Household
International in the Northern District of Illinois, a securities class action that obtained a record-breaking
$1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
a verdict for plaintiffs. Drosman also helped secure a $388 million recovery for investors in J.P. Morgan
residential mortgage-backed securities in Fort Worth Employees’ Retirement Fund v. J.P. Morgan Chase &
Co. On a percentage basis, that settlement is the largest recovery ever achieved in an RMBS class action.
Drosman also served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350 million settlement


                                                                                 Robbins Geller Rudman & Dowd LLP | 75
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 104 of 188
                                                                                 ATTORNEY BIOGRAPHIES

on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

Most recently, Drosman led a team of Robbins Geller attorneys to a record-breaking $809.5 million
settlement in In re Twitter, Inc. Sec. Litig., which settled the day before trial was set to commence. The
settlement is the largest securities fraud class action recovery in the Ninth Circuit in the last decade and
one of the top 20 shareholder class action settlements of all time. Drosman was part of the Robbins Geller
litigation team in Monroe County Employees’ Retirement System v. The Southern Company in which an $87.5
million settlement was reached after three years of litigation. The settlement resolved claims for violations
of the Securities Exchange Act of 1934 stemming from defendants’ issuance of materially misleading
statements and omissions regarding the status of construction of a first-of-its-kind “clean coal” power plant
that was designed to transform coal into synthetic gas that could then be used to fuel the power plant. In
another recent case, Drosman and the Robbins Geller litigation team obtained a $62.5 million settlement
in Villella v. Chemical and Mining Company of Chile Inc., which alleged that Sociedad Química y Minera de
Chile S.A. (“SQM”) violated the Securities Exchange Act of 1934 by issuing materially false and misleading
statements regarding the Company’s failure to disclose that money from SQM was channeled illegally to
electoral campaigns for Chilean politicians and political parties as far back as 2009. SQM had also filed
millions of dollars’ worth of fictitious tax receipts with Chilean authorities in order to conceal bribery
payments from at least 2009 through fiscal year 2014.

In a pair of cases – Abu Dhabi Commercial Bank, et al. v. Morgan Stanley & Co. Inc. (“Cheyne” litigation)
and King County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge” litigation) – Drosman led a
group of attorneys prosecuting fraud claims against the credit rating agencies, where he is distinguished
as one of the few plaintiffs’ counsel to defeat the rating agencies’ traditional First Amendment defense and
their motions for summary judgment based on the mischaracterization of credit ratings as mere opinions
not actionable in fraud.

Before joining the Firm, Drosman served as an Assistant District Attorney for the Manhattan District
Attorney’s Office, and an Assistant United States Attorney in the Southern District of California, where he
investigated and prosecuted violations of the federal narcotics, immigration, and official corruption law.


Education
B.A., Reed College, 1990; J.D., Harvard Law School, 1993

Honors / Awards
Recommended Lawyer, The Legal 500, 2017-2018, 2023-2024; Litigation Star, Benchmark Litigation,
2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Leading Lawyer in
America, Lawdragon, 2018-2024; Lawyer of the Year, Best Lawyers®, 2022, 2024; Best Lawyer in
America, Best Lawyers®, 2019-2024; West Trailblazer, The American Lawyer, 2022; Top Plaintiff Lawyer,
Daily Journal, 2022; Plaintiff Litigator of the Year, Benchmark Litigation, 2022; Titan of the Plaintiffs Bar,
Law360, 2022; Southern California Best Lawyers, The Wall Street Journal, 2021; Southern California Best
Lawyer, Best Lawyers®, 2019-2021; Super Lawyer, Super Lawyers Magazine, 2017-2020; Top 100
Lawyer, Daily Journal, 2017; Department of Justice Special Achievement Award, Sustained Superior
Performance of Duty; B.A., Honors, Reed College, 1990; Phi Beta Kappa, Reed College, 1990




                                                                                 Robbins Geller Rudman & Dowd LLP | 76
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 105 of 188
                                                                              ATTORNEY BIOGRAPHIES


Thomas E. Egler | Partner
Thomas Egler is a partner in the Firm’s San Diego office and focuses his practice on representing clients
in major complex, multidistrict litigations, such as Lehman Brothers, Countrywide Mortgage Backed
Securities, WorldCom, AOL Time Warner, and Qwest. He has represented institutional investors both as
plaintiffs in individual actions and as lead plaintiffs in class actions.

Most recently, along with co-counsel and a team of Robbins Geller attorneys, Egler led the effort on behalf
of cities and counties around the country in In re National Prescription Opiate Litigation. In 2022,
Egler served on the team of counsel in a federal bench trial in San Francisco in a case that had been
selected as a bellwether in the multidistrict litigation. The team achieved combined settlements of nearly
$70 million for San Francisco and more than $50 billion nationally from multiple pharmaceutical
companies who were defendants in the national litigation. The Honorable Charles R. Breyer of the
Northern District of California ruled that Walgreens, the only defendant remaining in the San Francisco
case, was liable for its role in the opioid crisis in San Francisco.

Egler also has been a Lawyer Representative to the Ninth Circuit Judicial Conference from the Southern
District of California, is a member of the Hon. William B. Enright Inn of Court in San Diego, and in the
past has served on the Executive Board of the San Diego chapter of the Association of Business Trial
Lawyers. Before joining the Firm, Egler was a law clerk to the Honorable Donald E. Ziegler, Chief Judge,
United States District Court, Western District of Pennsylvania.


Education
B.A., Northwestern University, 1989; J.D., The Catholic University of America, Columbus School of Law,
1995

Honors / Awards
Leading Lawyer in America, Lawdragon, 2024; Best Lawyer in America, Best Lawyers®, 2024; Super
Lawyer, Super Lawyers Magazine, 2017-2018; Associate Editor, Catholic University Law Review




                                                                              Robbins Geller Rudman & Dowd LLP | 77
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 106 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Alan I. Ellman | Partner
Alan Ellman is a partner in the Firm’s Melville office, where he concentrates his practice on prosecuting
complex securities fraud cases on behalf of institutional investors. Most recently, Ellman was on the team
of Robbins Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings,
Inc., which represents a high percentage of damages that plaintiffs could reasonably expect to be
recovered at trial and is more than eight times higher than the average settlement of cases with
comparable investor losses. He was also on the team of attorneys who recovered in excess of $34 million
for investors in In re OSG Sec. Litig., which represented an outsized recovery of 93% of bond purchasers’
damages and 28% of stock purchasers’ damages. The creatively structured settlement included more than
$15 million paid by a bankrupt entity.

Ellman was also on the team of Robbins Geller attorneys who achieved final approval in Curran v. Freshpet,
Inc., which provides for the payment of $10.1 million for the benefit of eligible settlement class members.
Additionally, he was on the team of attorneys who obtained final approval of a $7.5 million recovery
in Plymouth County Retirement Association v. Advisory Board Company. In 2006, Ellman received a Volunteer
and Leadership Award from Housing Conservation Coordinators (HCC) for his pro bono service
defending a client in Housing Court against a non-payment action, arguing an appeal before the
Appellate Term, and staffing HCC’s legal clinic. He also successfully appealed a pro bono client’s criminal
sentence before the Appellate Division.


Education
B.S., B.A., State University of New York at Binghamton, 1999; J.D., Georgetown University Law Center,
2003

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2023; Pro Bono Publico Award, Casa Cornelia Law Center,
2021-2022; Rising Star, Super Lawyers Magazine, 2014-2015; B.S., B.A., Cum Laude, State University of New
York at Binghamton, 1999



Jason A. Forge | Partner
Jason Forge is a partner in the Firm’s San Diego office. He specializes in complex investigations,
litigation, and trials. As a federal prosecutor and private practitioner, Forge has conducted and
supervised scores of jury and bench trials in federal and state courts, including the month-long trial of a
defense contractor who conspired with Congressman Randy “Duke” Cunningham in the largest bribery
scheme in congressional history. He recently obtained approval of a $160 million recovery in the first
successful securities fraud case against Wal-Mart Stores, Inc. in City of Pontiac General Employees’ Retirement
System v. Wal-Mart Stores, Inc. In addition, Forge was a member of the Firm’s trial team in Hsu v. Puma
Biotechnology, Inc., a securities fraud class action that resulted in a verdict in favor of investors after a two-
week jury trial.

After the trial victory over Puma Biotechnology and Alan Auerbach, Forge joined a Robbins Geller
litigation team that had defeated 12 motions for summary judgment against 40 defendants and was about
to depose 17 experts in the home stretch to trial. Forge and the team used these depositions to disprove a
truth-on-the-market argument that nine defense experts had embraced. Soon after the last of these
expert depositions, the Robbins Geller team secured a $1.025 billion settlement from American Realty
Capital Properties and other defendants that included a record $237 million contribution from individual


                                                                                   Robbins Geller Rudman & Dowd LLP | 78
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 107 of 188
                                                                                ATTORNEY BIOGRAPHIES

defendants and represented more than twice the recovery rate obtained by several funds that had opted
out of the class.

Forge was a key member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement refunds over
90% of the money thousands of students paid to “enroll” in Trump University. He represented the class
on a pro bono basis. Forge has also successfully defeated motions to dismiss and obtained class
certification against several prominent defendants, including the first federal RICO case against Scotts
Miracle-Gro, which recently settled for up to $85 million. He was a member of the litigation team that
obtained a $125 million settlement in In re LendingClub Securities Litigation, a settlement that ranked among
the top ten largest securities recoveries ever in the Northern District of California.

In a case against another prominent defendant, Pfizer Inc., Forge led an investigation that uncovered key
documents that Pfizer had not produced in discovery. Although fact discovery in the case had already
closed, the district judge ruled that the documents had been improperly withheld and ordered that
discovery be reopened, including reopening the depositions of Pfizer’s former CEO, CFO, and General
Counsel. Less than six months after completing these depositions, Pfizer settled the case for $400
million.


Education
B.B.A., The University of Michigan Ross School of Business, 1990; J.D., The University of Michigan Law
School, 1993

Honors / Awards
Recommended Lawyer, The Legal 500, 2023-2024; Litigation Star, Benchmark Litigation, 2023-2024;
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Leading Lawyer in America,
Lawdragon, 2022-2024; Best Lawyer in America, Best Lawyers®, 2019-2023; Southern California Best
Lawyer, Best Lawyers®, 2019-2021; Local Litigation Star, Benchmark Litigation, 2020; Plaintiffs’ Lawyer
Trailblazer, The National Law Journal, 2018; Top 100 Lawyer, Daily Journal, 2017; Litigator of the
Year, Our City San Diego, 2017; Two-time recipient of one of Department of Justice’s highest awards:
Director’s Award for Superior Performance by Litigation Team; numerous commendations from Federal
Bureau of Investigation (including commendation from FBI Director Robert Mueller III), Internal
Revenue Service, and Defense Criminal Investigative Service; J.D., Magna Cum Laude, Order of the
Coif, The University of Michigan Law School, 1993; B.B.A., High Distinction, The University of Michigan
Ross School of Business, 1990




                                                                               Robbins Geller Rudman & Dowd LLP | 79
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 108 of 188
                                                                                   ATTORNEY BIOGRAPHIES


William J. Geddish | Partner
William Geddish is a partner with the Firm and is based in the Melville office, where his practice focuses
on complex securities litigation. Before joining the Firm, he was an associate in the New York office of a
large international law firm, where his practice focused on complex commercial litigation.

Since joining the Firm, Geddish has played a significant role in the following litigations: In re Barrick Gold
Sec. Litig. ($140 million recovery); Scheufele v. Tableau Software, Inc. ($95 million recovery); Landmen
Partners, Inc. v. The Blackstone Grp., L.P. ($85 million recovery); In re Jeld-Wen Holding, Inc. Sec. Litig. ($40
million recovery); City of Austin Police Ret. Sys. v. Kinross Gold Corp. ($33 million recovery); City of Roseville
Emps’ Ret. Sys. v. EnergySolutions, Inc. ($26 million recovery); Beaver Cnty. Emps’ Ret. Fund v. Tile Shop
Holdings, Inc. ($9.5 million recovery); and Barbara Marciano v. Schell & Kampeter, Inc. ($2 million recovery).


Education
B.A., Sacred Heart University, 2006, J.D., Hofstra University School of Law, 2009

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2024; Rising Star, Super Lawyers Magazine,
2013-2023; 500 X – The Next Generation, Lawdragon, 2023; J.D., Magna Cum Laude, Hofstra University
School of Law, 2009; Gina Maria Escarce Memorial Award, Hofstra University School of Law



Paul J. Geller | Partner
Paul Geller is a founding partner of Robbins Geller and head of the Firm’s Consumer Practice Group.
Over the last 30 years, Geller has served as lead counsel in some of the country’s most high-profile
consumer, antitrust, and securities class actions and has recovered billions for communities, consumers,
and investors harmed by corporate abuse.

Before devoting his practice to the representation of consumers and investors, Geller defended companies
in high-stakes class action and multi-district litigation, providing him with an invaluable perspective from
“both sides of the ‘v.’” An experienced trial lawyer, he has tried bench and jury trials on behalf of plaintiffs
and defendants and has argued before numerous state, federal, and appellate courts throughout the
United States.

Geller’s ability to earn respect and trust from all sides in difficult negotiations has been recognized by the
bar and legal publications. Chambers notes that “Paul is a consummate professional who has the ability to
work seamlessly and collaboratively to address daunting challenges that arise in complex mass tort
litigation.”

He serves as a key leader of the nationwide litigation against the companies responsible for the U.S.
opioid addiction crisis. He played a key role in negotiating and architecting the complex settlements that
resulted in over $50 billion being paid to communities across the country struggling with the fallout of the
opioid crisis.

He has also successfully litigated and negotiated precedent-setting class recoveries in multiple practice
areas, including data privacy, antitrust, products liability, and securities cases.

       Facebook Data Privacy Case – $650 Million: He secured the then-largest privacy class action


                                                                                   Robbins Geller Rudman & Dowd LLP | 80
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 109 of 188
                                                                                ATTORNEY BIOGRAPHIES

       settlement in history – a $650 million recovery in a cutting-edge class action against Facebook. The
       case concerned Facebook’s use of biometric identifiers through its “tag” feature, which Geller’s
       team challenged under a new biometric privacy law that had never before been applied in a class
       action. The federal judge that presided over the case called it a “landmark result” and a “major win
       for consumers.” In addition to the monetary recovery, Facebook disabled the tag feature
       altogether, deleting 1 billion facial profiles and discontinuing the related facial recognition
       program.
       Volkswagen “Clean Diesel” Case – $17 Billion: Geller was a member of the leadership team
       representing consumers in the massive Volkswagen “Clean Diesel” emissions case. The San
       Francisco legal newspaper The Recorder labeled the group that was appointed in that case, which
       settled for more than $17 billion, a “class action dream team.”
       “EpiPen” Antitrust Case – $609 Million: As lead counsel, Geller secured a recovery of $609
       million for overcharged purchasers of the “EpiPen” device in a nationwide class action alleging that
       the manufacturer and marketer of the EpiPen engaged in anti-competitive and unfair business
       conduct in their sale and marketing of the auto-injector device. The American Antitrust Institute
       honored Geller and the litigation team for Outstanding Antitrust Litigation Achievement in
       Private Law Practice for this result.


Education
B.S., University of Florida, 1990; J.D., Emory University School of Law, 1993

Honors / Awards
Rated AV by Martindale-Hubbell; Fellow, Litigation Counsel of America (LCA) Proven Trial Lawyers;
Super Lawyer, Super Lawyers Magazine, 2007-2024; Recommended Lawyer, The Legal 500, 2016, 2019,
2023-2024; Ranked by Chambers USA, 2021-2024; Leading Plaintiff Financial Lawyer, Lawdragon,
2019-2024; Global Plaintiff Lawyer, Lawdragon, 2024; Leading Plaintiff Consumer Lawyer, Lawdragon,
2022-2024; Leading Lawyer in America, Lawdragon, 2006-2007, 2009-2024; Leading Litigator in America,
Lawdragon, 2024; Best Lawyer in America, Best Lawyers®, 2017-2024; Outstanding Antitrust Litigation
Achievement in Private Law Practice, American Antitrust Institute, 2022; South Trailblazer, The American
Lawyer, 2022; Class Action MVP, Law360, 2022; Florida Best Lawyer in America, Best Lawyers®,
2017-2021; One of “Florida’s Most Effective Lawyers” in the Privacy category, American Law Media, 2020;
Legend, Lawdragon, 2020; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Lawyer of the
Year, Best Lawyers®, 2018; Attorney of the Month, Attorney At Law, 2017; Featured in “Lawyer Limelight”
series, Lawdragon, 2017; Top Rated Lawyer, South Florida’s Legal Leaders, Miami Herald, 2015; Litigation
Star, Benchmark Litigation, 2013; “Legal Elite,” Florida Trend Magazine; One of “Florida’s Most Effective
Lawyers,” American Law Media; One of Florida’s top lawyers in South Florida Business Journal; One of the
Nation’s Top “40 Under 40,” The National Law Journal; One of Florida’s Top Lawyers, Law & Politics;
Editor, Emory Law Journal; Order of the Coif, Emory University School of Law




                                                                            Robbins Geller Rudman & Dowd LLP | 81
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 110 of 188
                                                                                ATTORNEY BIOGRAPHIES


Robert D. Gerson | Partner
Robert Gerson is a partner in the Firm’s Melville office, where he practices securities fraud litigation and
other complex matters.

Since joining the Firm, Gerson has played a significant role in prosecuting numerous high-stakes investor
litigations. Most recently, Gerson and a team of Robbins Geller attorneys obtained a $27.5 million
settlement in Luna v. Carbonite, Inc., following a precedent-setting decision by the U.S. Court of Appeals
for the First Circuit. Gerson was also a member of the team in In re Dell Technologies Inc. Class V
Stockholders Litigation, which settled in 2023 for $1 billion in cash – a record in the Delaware Chancery
Court and the largest settlement in U.S. state court history. Other notable cases Gerson has played a
critical role in at the Firm include: UA Local 13 & Employers Group Insurance Fund v. Sealed Air Corp. ($12.5
million recovery); In re PPDAI Group Sec. Litig. ($9 million recovery); and Sponn v. Emergent BioSolutions
Inc. ($6.5 million recovery).


Education
B.A., University of Maryland, 2006; J.D., New York Law School, 2009

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2024; Super Lawyer, Super Lawyers Magazine,
2021-2023; 500 X – The Next Generation, Lawdragon, 2023; Rising Star, Super Lawyers Magazine,
2015-2020




                                                                               Robbins Geller Rudman & Dowd LLP | 82
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 111 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Jonah H. Goldstein | Partner
Jonah Goldstein is a partner in the Firm’s San Diego office and is responsible for prosecuting complex
securities cases and obtaining recoveries for investors. He also represents corporate whistleblowers who
report violations of the securities laws. Goldstein has achieved significant settlements on behalf of
investors including in In re HealthSouth Sec. Litig. (over $670 million recovered against HealthSouth, UBS
and Ernst & Young), In re Cisco Sec. Litig. (approximately $100 million), and Marcus v. J.C. Penney
Company, Inc. ($97.5 million recovery). Goldstein also served on the Firm’s trial team in In re AT&T Corp.
Sec. Litig., MDL No. 1399 (D.N.J.), which settled after two weeks of trial for $100 million, and aided in the
$65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-largest securities
recovery ever in the Middle District of Tennessee and one of the largest in more than a decade. Most
recently, he was part of the litigation team in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million
settlement that represents approximately 24% to 50% of the best estimate of classwide damages suffered
by investors. Before joining the Firm, Goldstein served as a law clerk for the Honorable William H.
Erickson on the Colorado Supreme Court and as an Assistant United States Attorney for the Southern
District of California, where he tried numerous cases and briefed and argued appeals before the Ninth
Circuit Court of Appeals.


Education
B.A., Duke University, 1991; J.D., University of Denver College of Law, 1995

Honors / Awards
Recommended Lawyer, The Legal 500, 2018-2019; Comments Editor, University of Denver Law Review,
University of Denver College of Law




                                                                                   Robbins Geller Rudman & Dowd LLP | 83
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 112 of 188
                                                                              ATTORNEY BIOGRAPHIES


Benny C. Goodman III | Partner
Benny Goodman is a partner in the Firm’s San Diego office. He primarily represents plaintiffs in
shareholder actions on behalf of aggrieved corporations. Goodman has recovered hundreds of millions of
dollars in shareholder derivative actions pending in state and federal courts across the nation. Most
recently, he led a team of lawyers in litigation brought on behalf of Community Health Systems, Inc.,
resulting in a $60 million payment to the company, the largest recovery in a shareholder derivative action
in Tennessee and the Sixth Circuit, as well as best-in-class value-enhancing corporate governance reforms
that included two shareholder-nominated directors to the Community Health Board of Directors.

Similarly, Goodman recovered a $25 million payment to Lumber Liquidators and numerous corporate
governance reforms, including a shareholder-nominated director, in In re Lumber Liquidators Holdings, Inc.
S’holder Derivative Litig. In In re Google Inc. S’holder Derivative Litig., Goodman achieved groundbreaking
corporate governance reforms designed to mitigate regulatory and legal compliance risk associated with
online pharmaceutical advertising, including among other things, the creation of a $250 million fund to
help combat rogue pharmacies from improperly selling drugs online.


Education
B.S., Arizona State University, 1994; J.D., University of San Diego School of Law, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2018-2024; Best Lawyer in America: One to Watch, Best Lawyers®,
2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021; Recommended Lawyer, The Legal 500,
2017




                                                                              Robbins Geller Rudman & Dowd LLP | 84
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 113 of 188
                                                                               ATTORNEY BIOGRAPHIES


Elise J. Grace | Partner
Elise Grace is a partner in the San Diego office and counsels the Firm’s institutional clients on options to
secure premium recoveries in securities litigation both within the United States and internationally.
Grace is a frequent lecturer and author on securities and accounting fraud, and develops annual MCLE
and CPE accredited educational programs designed to train public fund representatives on practices to
protect and maximize portfolio assets, create long-term portfolio value, and best fulfill fiduciary duties.
Grace has routinely been named a Recommended Lawyer by The Legal 500 and named a Leading Plaintiff
Financial Lawyer by Lawdragon. Grace has prosecuted various significant securities fraud class actions, as
well as the AOL Time Warner state and federal securities opt-out litigations, which resulted in a combined
settlement of over $629 million for defrauded investors. Before joining the Firm, Grace practiced at
Clifford Chance, where she defended numerous Fortune 500 companies in securities class actions and
complex business litigation.


Education
B.A., University of California, Los Angeles, 1993; J.D., Pepperdine School of Law, 1999

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Securities Litigation Lawyer of the Year,
Lawyer Monthly, 2023; Recommended Lawyer, The Legal 500, 2016-2017; J.D., Magna Cum Laude,
Pepperdine School of Law, 1999; American Jurisprudence Bancroft-Whitney Award – Civil
Procedure, Evidence, and Dalsimer Moot Court Oral Argument; Dean’s Academic Scholarship Recipient,
Pepperdine School of Law; B.A., Summa Cum Laude, University of California, Los Angeles, 1993; B.A., Phi
Beta Kappa, University of California, Los Angeles, 1993




                                                                              Robbins Geller Rudman & Dowd LLP | 85
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 114 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Tor Gronborg | Partner
Tor Gronborg is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He often lectures on topics such as the Federal Rules of Civil Procedure and electronic
discovery. Gronborg has served as lead or co-lead counsel in numerous securities fraud cases that have
collectively recovered more than $4.4 billion for investors. Most recently, Gronborg and a team of
Robbins Geller attorneys obtained an $809 million settlement in In re Twitter, Inc. Sec. Litig., a case that did
not settle until the day before trial was set to commence.

In addition to Twitter, Gronborg’s work has included significant recoveries against corporations such as
Valeant Pharmaceuticals ($1.21 billion), Cardinal Health ($600 million), Motorola ($200 million), Duke
Energy ($146.25 million), Sprint Nextel Corp. ($131 million), and Prison Realty ($104 million), to name a
few. Gronborg was also a member of the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., No.
SACV15-0865 (C.D. Cal.), a securities fraud class action that resulted in a verdict in favor of investors after
a two-week jury trial and ultimately settled for 100% of the claimed damages plus prejudgment interest.

On three separate occasions, Gronborg’s pleadings have been upheld by the federal Courts of Appeals
(Broudo v. Dura Pharms., Inc., 339 F.3d 933 (9th Cir. 2003), rev’d on other grounds, 544 U.S. 336 (2005); In re
Daou Sys., 411 F.3d 1006 (9th Cir. 2005); Staehr v. Hartford Fin. Servs. Grp., 547 F.3d 406 (2d Cir. 2008)).


Education
B.A., University of California, Santa Barbara, 1991; Rotary International Scholar, University of Lancaster,
U.K., 1992; J.D., University of California, Berkeley, 1995

Honors / Awards
Recommended Lawyer, The Legal 500, 2023-2024; Litigation Star, Benchmark Litigation, 2023-2024;
Leading      Plaintiff Financial    Lawyer,     Lawdragon,      2019-2024;     Leading  Lawyer      in
America, Lawdragon, 2022-2024; Best Lawyer in America, Best Lawyers®, 2022-2024; West Trailblazer, The
American Lawyer, 2022; Super Lawyer, Super Lawyers Magazine, 2013-2022; Plaintiffs’ Lawyer
Trailblazer, The National Law Journal, 2019; Moot Court Board Member, University of California,
Berkeley; AFL-CIO history scholarship, University of California, Santa Barbara




                                                                                 Robbins Geller Rudman & Dowd LLP | 86
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 115 of 188
                                                                                     ATTORNEY BIOGRAPHIES


Ellen Gusikoff Stewart | Partner
Ellen Stewart is a partner in the Firm’s San Diego office, and is a member of the Firm’s Summer Associate
Hiring Committee. She currently practices in the Firm’s settlement department, negotiating and
documenting complex securities, merger, ERISA, and derivative action settlements. Notable recent
settlements include: Evanston Police Pension Fund v. McKesson Corp. (N.D. Cal. 2023) ($141 million); In re
Twitter Inc. Sec. Litig. (N.D. Cal. 2022) ($809.5 million); In re Facebook Biometric Info. Privacy Litig. (N.D. Cal.
2021) ($650 million); In re Am. Realty Cap. Props., Inc. Litig. (S.D.N.Y. 2020) ($1.025 billion); Klein v. Altria
Group, Inc. (E.D. Va. 2022) ($90 million); KBC Asset Management v. 3D Systems Corp. (D.S.C. 2018) ($50
million); and Luna v. Marvell Tech. Grp. (N.D. Cal. 2018) ($72.5 million).

Stewart has served on the Federal Bar Association Ad Hoc Committee for the revisions to the Settlement
Guidelines for the Northern District of California, was a contributor to the Guidelines and Best Practices –
Implementing 2018 Amendments to Rule 23 Class Action Settlement Provisions manual of the Bolch
Judicial Institute at the Duke University School of Law, and speaks at conferences around country on
current settlement and notice issues.


Education
B.A., Muhlenberg College, 1986; J.D., Case Western Reserve University, 1989

Honors / Awards
Rated Distinguished by Martindale-Hubbell




                                                                                    Robbins Geller Rudman & Dowd LLP | 87
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 116 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Robert Henssler | Partner
Bobby Henssler is a partner in the Firm’s San Diego office, where he focuses his practice on securities
fraud and other complex civil litigation. He has obtained significant recoveries for investors in cases such
as Enron, Blackstone, and CIT Group. Henssler is currently leading a team of attorneys prosecuting fraud
claims against Under Armour and the company’s former CEO.

Most recently, Henssler and a team of Robbins Geller attorneys a $1.21 billion settlement in In re Valeant
Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate scandal of its era” that had
raised “fundamental questions about the functioning of our health-care system, the nature of modern
markets, and the slippery slope of ethical rationalizations.” This is the largest securities class action
settlement against a pharmaceutical manufacturer and the ninth largest ever.

Henssler was also lead counsel in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery
for shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action. Henssler also led the litigation teams in Marcus v. J.C. Penney Company, Inc. ($97.5
million recovery), Landmen Partners Inc. v. The Blackstone Group L.P. ($85 million recovery), In re Novatel
Wireless Sec. Litig. ($16 million recovery), Carpenters Pension Trust Fund of St. Louis v. Barclays PLC ($14
million settlement), and Kmiec v. Powerwave Technologies, Inc. ($8.2 million settlement), to name a few.


Education
B.A., University of New Hampshire, 1997; J.D., University of San Diego School of Law, 2001

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2020-2021, 2023-2024; Leading Litigator in America,
Lawdragon, 2024; California Lawyer of the Year, Daily Journal, 2022; Plaintiffs’ Lawyer Trailblazer, The
National Law Journal, 2020; Recommended Lawyer, The Legal 500, 2018-2019




                                                                                 Robbins Geller Rudman & Dowd LLP | 88
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 117 of 188
                                                                             ATTORNEY BIOGRAPHIES


Steven F. Hubachek | Partner
Steve Hubachek is a partner in the Firm’s San Diego office. He is a member of the Firm’s appellate
group, where his practice concentrates on federal appeals. He has more than 25 years of appellate
experience, has argued over 100 federal appeals, including 3 cases before the United States Supreme
Court and 7 cases before en banc panels of the Ninth Circuit Court of Appeals. Prior to his work with the
Firm, Hubachek joined Perkins Coie in Seattle, Washington, as an associate. He was admitted to the
Washington State Bar in 1987 and was admitted to the California State Bar in 1990, practicing for many
years with Federal Defenders of San Diego, Inc. He also had an active trial practice, including over 30
jury trials, and was Chief Appellate Attorney for Federal Defenders.


Education
B.A., University of California, Berkeley, 1983; J.D., University of California College of the Law, San
Francisco, 1987

Honors / Awards
AV rated by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2014-2022; Super
Lawyer, Super Lawyers Magazine, 2007-2009, 2019-2021; Assistant Federal Public Defender of the Year,
National Federal Public Defenders Association, 2011; Appellate Attorney of the Year, San Diego Criminal
Defense Bar Association, 2011 (co-recipient); President’s Award for Outstanding Volunteer Service, Mid
City Little League, San Diego, 2011; E. Stanley Conant Award for exceptional and unselfish devotion to
protecting the rights of the indigent accused, 2009 (joint recipient); The Daily Transcript Top Attorneys,
2007; J.D., Cum Laude, Order of the Coif, Thurston Honor Society, University of California College of the
Law, San Francisco, 1987




                                                                             Robbins Geller Rudman & Dowd LLP | 89
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 118 of 188
                                                                                     ATTORNEY BIOGRAPHIES


James I. Jaconette | Partner
James Jaconette is one of the founding partners of the Firm and is located in its San Diego office. He
manages cases in the Firm’s securities class action and shareholder derivative litigation practices. He has
served as one of the lead counsel in securities cases with recoveries to individual and institutional investors
totaling over $8 billion. He also advises institutional investors, including hedge funds, pension funds, and
financial institutions. Landmark securities actions in which he contributed in a primary litigating role
include In re Informix Corp. Sec. Litig., and In re Dynegy Inc. Sec. Litig. and In re Enron Corp. Sec. Litig., where
he represented lead plaintiff The Regents of the University of California. Most recently, Jaconette was
part of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery for
shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action.


Education
B.A., San Diego State University, 1989; M.B.A., San Diego State University, 1992; J.D., University of
California Hastings College of the Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; J.D., Cum Laude, University of California
Hastings College of the Law, 1995; Associate Articles Editor, Hastings Law Journal, University of California
Hastings College of the Law; B.A., with Honors and Distinction, San Diego State University, 1989




                                                                                    Robbins Geller Rudman & Dowd LLP | 90
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 119 of 188
                                                                                   ATTORNEY BIOGRAPHIES


J. Marco Janoski Gray | Partner
Marco Janoski is a partner in the Firm’s San Diego office. His practice focuses on complex securities
litigation and class actions. An experienced litigator, Janoski has secured record-setting recoveries for
investors, including trial verdicts and large recoveries secured on the eve of trial.

In 2023, Janoski served on the litigation teams in two securities fraud cases that are among the top ten
securities recoveries of the year: In re Envision Healthcare Corporation Securities Litigation ($177.5 million
recovery, pending court approval) and Louisiana Sheriffs’ Pension & Relief Fund v. Cardinal Health,
Inc. ($109 million recovery). He served on the Firm’s trial team in In re Twitter, Inc. Securities Litigation and
helped secure an $809.5 million recovery for investors. The Twitter case settled the day before trial was
set to commence in 2021 and is the largest securities fraud class action recovery in the Ninth Circuit in the
last decade. Likewise, he and a team of Firm lawyers secured a $350 million settlement on the eve of trial
in 2020 in Smilovits v. First Solar, Inc., the fifth-largest PSLRA settlement ever recovered in the Ninth
Circuit at the time. Janoski also served on the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., a
securities fraud class action that resulted in a verdict in favor of investors after a two-week jury trial in
federal court.


Education
Universidad Complutense de Madrid, 2010-2011; B.A., University of California, Santa Barbara, 2011;
J.D., University of California College of the Law, San Francisco (formerly UC Hastings), 2015

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2024; 40 & Under List, Benchmark Litigation,
2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2023-2024; Rising Star, Super Lawyers Magazine,
2024; Leading Litigator in America, Lawdragon, 2024; 500 X – The Next Generation, Lawdragon, 2023;
J.D., Magna Cum Laude, University of California College of the Law, San Francisco (formerly UC
Hastings), 2015



Rachel L. Jensen | Partner
Rachel Jensen is a partner in the Firm’s San Diego office who specializes in securities fraud, consumer
fraud, RICO, and antitrust actions. Jensen has developed a 20-year track record of success in crafting
impactful business reforms and helping to recover billions of dollars on behalf of working families,
businesses, and government entities.

Jensen was one of the lead attorneys representing Trump University students nationwide in high-profile
litigation that yielded nearly 100% of the “tuition” students paid, and did so on a pro bono basis. As court-
appointed Plaintiffs’ Steering Committee member in the Fiat Chrysler EcoDiesel litigation, Jensen helped
obtain an $840 million global settlement for concealed defeat devices in over 100,000 vehicles. Jensen
also represented drivers against Volkswagen in one of the most brazen corporate frauds in recent history,
helping recover $17 billion for emissions cheating in “clean” diesel vehicles.

As reported in The Washington Post, in 2022, Jensen served as co-lead trial counsel in a qui tam case against
a bus manufacturer to enforce a “good jobs” U.S. employment plan in a $500 million procurement
contract with LA Metro. The settlement included a historic multi-state community benefits agreement
with workforce development programs, fair hiring, and equity measures in Ontario, California and
Anniston, Alabama. A video about the case can be viewed here: https://fightforthefuture.rgrdlaw.com/. In


                                                                                  Robbins Geller Rudman & Dowd LLP | 91
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 120 of 188
                                                                                 ATTORNEY BIOGRAPHIES

another landmark case, Jensen worked tirelessly on behalf of California passengers to stop Greyhound
from subjecting them to discriminatory immigration raids; since then, Greyhound has stopped allowing
border patrol aboard without a warrant.

Among other recoveries, Jensen has played significant roles in In re LendingClub Sec. Litig. (N.D. Cal.)
($125 million securities fraud settlement ranked among top 10 in N.D. Cal. at the time); Negrete v. Allianz
Life Ins. Co. of N. Am. (C.D. Cal.) ($250 million to senior citizens targeted for deferred annuities that would
not mature in their lifetimes); In re Morning Song Bird Food Litig. (S.D. Cal.) ($85 million in refunds for
wild-bird food treated with pesticides hazardous to birds); City of Westland Police & Fire Ret. Sys. v.
Stumpf (N.D. Cal.) ($67 million in homeowner down-payment assistance and credit counseling for cities hit
by foreclosure crisis and computer integration for mortgage servicing in “robo-signing” case); In re Mattel,
Inc., Toy Lead Paint Prods. Liab. Litig. (C.D. Cal.) ($50 million in refunds and quality assurance reforms for
toys made in China with lead and magnets); and In re Checking Account Overdraft Litig. (S.D. Fla.) ($500
million recovered from banks for manipulating debit transactions to maximize overdraft fees).

Before joining the practice, Jensen clerked for the late Honorable Warren J. Ferguson on the Ninth
Circuit Court of Appeals; associated with Morrison & Foerster LLP in San Francisco; and worked abroad
in Arusha, Tanzania as a law clerk in the Office of the Prosecutor at the International Criminal Tribunal
for Rwanda (“ICTR”) and the International Criminal Tribunal for the Former Yugoslavia (“ICTY”),
located in The Hague, Netherlands.


Education
B.A., Florida State University, 1997; University of Oxford, International Human Rights Law Program at
New College, Summer 1998; J.D., Georgetown University Law School, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Super Lawyer, Super Lawyers Magazine,
2016-2024; Leading Plaintiff Consumer Lawyer, Lawdragon, 2022-2024; Legend, Lawdragon, 2024;
Leading Lawyer in America, Lawdragon, 2017-2024; Best Lawyer in America, Best Lawyers®, 2024; Best
Lawyer in America: One to Watch, Best Lawyers®, 2021-2023; Best Lawyer in Southern California: One to
Watch, Best Lawyers®, 2021; Top Woman Lawyer, Daily Journal, 2017, 2020; California Trailblazer, The
Recorder, 2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Rising Star, Super Lawyers
Magazine, 2015; Nominated for 2011 Woman of the Year, San Diego Magazine; Editor-in-Chief, First
Annual Review of Gender and Sexuality Law, Georgetown University Law School; Dean’s List 1998-1999;
B.A., Cum Laude, Florida State University’s Honors Program, 1997; Phi Beta Kappa




                                                                                 Robbins Geller Rudman & Dowd LLP | 92
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 121 of 188
                                                                                ATTORNEY BIOGRAPHIES


Chad Johnson | Partner
Chad Johnson, a former Deputy Attorney General for the State of New York, is the Managing Partner of
the Firm’s Manhattan office. Johnson has been litigating securities cases and fiduciary duty actions for
over 30 years and is one of the leaders of the Firm’s Delaware Practice Group. Johnson’s background
includes decades as a plaintiffs’ lawyer, a securities-fraud prosecutor, and as a defense lawyer. Johnson’s
cases in the private sector have recovered more than $9 billion for investors.

Johnson previously was the head of New York’s securities fraud unit and served as Deputy Attorney
General for the State of New York. In that role, Johnson helped recover billions of dollars and make new
law favorable to investors. As a senior member of the Attorney General’s Office for the State of New York,
Johnson pursued cases against Wall Street fraudsters.

In the private sector, Johnson represents investors in securities and breach of fiduciary duty cases,
including representing investors in direct or “opt-out” actions and in class actions. Johnson represents
some of the world’s largest and most sophisticated asset managers, public pension funds, and sovereign
wealth funds. Johnson also represents whistleblowers.

Johnson’s cases have resulted in some of the largest recoveries for shareholders on record. This includes
$1 billion recently recovered for shareholders in the Dell Class V litigation, which is nearly four times the
next-largest comparable recovery in the Delaware Court of Chancery. Johnson also directed other
securities cases that resulted in massive recoveries for shareholders, including in: WorldCom (more than $6
billion recovered for shareholders); Wachovia ($627 million recovered for shareholders); Williams ($311
million recovered for shareholders); and Washington Mutual ($208 million recovered for shareholders).

While a Deputy Attorney General for the State of New York and Chief of the New York Investor
Protection Bureau, Johnson helped recover $16.65 billion from Bank of America and $13 billion from JP
Morgan Chase for toxic residential mortgage-backed securities (RMBS) created and sold by those banks.

Johnson has successfully tried cases in federal and state courts, in the Delaware Court of Chancery, and in
arbitration tribunals in the United States and overseas. Johnson also advises institutional and other
investors about how best to enforce their rights as shareholders in the United States and abroad.


Education
B.A., University of Michigan, 1989; J.D., Harvard Law School, 1993

Honors / Awards
J.D., Cum Laude, Harvard Law School, 1993; B.A., High Distinction, University of Michigan, 1989




                                                                               Robbins Geller Rudman & Dowd LLP | 93
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 122 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Evan J. Kaufman | Partner
Evan Kaufman is a partner in the Firm’s Melville office. He has recovered hundreds of millions of dollars
for class members in securities, ERISA, and complex class actions.

Kaufman served as lead counsel in the SandRidge Energy securities litigation and obtained a $35.75 million
global settlement, including $21.8 million for SandRidge common stock purchasers. As lead counsel in
the TD Banknorth litigation, Kaufman and the Firm achieved a $50 million recovery after successfully
objecting to a $3 million settlement submitted to the court on behalf of the class. The court in the TD
Banknorth litigation stated: “This is one of the cases – there’s probably been a half a dozen since I’ve been a
judge that I handled which have – really through the sheer diligence and effort of plaintiffs’ counsel –
resulted in substantial awards for plaintiffs, after overcoming serious procedural and other barriers . . . it
appears plainly from the papers that you and your co-counsel have diligently, and at great personal
expense and through the devotion of many thousands of hours of your time, prosecuted this case to a
successful conclusion.”

Kaufman served as co-lead class counsel on behalf of 212,000 participants in General Electric’s 401(k)
plan and obtained $61 million for the class, which was the largest recovery ever in an ERISA case alleging
a retirement plan improperly offered proprietary funds. During the GE ERISA final settlement approval
hearing, the court described the case as “hard-fought” with “interesting and difficult issues.” Kaufman
served as lead counsel or as an integral part of the team in other ERISA actions, including on behalf of
participants in the retirement plans of Invesco, JP Morgan, and Wakemed.

Kaufman achieved notable results in numerous other securities class actions, including recovering $26
million in the EnergySolutions litigation, and in cases against Lockheed Martin, State Street, Fidelity,
Warner Chilcott, Talkspace, Third Avenue Management, and Giant Interactive, among others.

In the Third Avenue Management litigation, when approving the $14.25 million settlement obtained by
Kaufman and the Firm, the court commended the parties for their “wisdom” and “diligence” and
concluded that “lead counsel diligently and with quality represented the interests of the class.” In
the Giant Interactive litigation, the court acknowledged the efforts of Kaufman and the Firm in achieving
the favorable settlement for the class: “The Court also recognizes the diligence and hard work of plaintiffs’
counsel in achieving such a settlement, particularly in light of the fact that this case (unlike many other
securities class actions) was independently developed by plaintiffs’ counsel, as opposed to following, or
piggybacking on, a regulatory investigation or settlement.”


Education
B.A., University of Michigan, 1992; J.D., Fordham University School of Law, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2015, 2017-2020, 2023; Member, Fordham International Law
Journal, Fordham University School of Law




                                                                                 Robbins Geller Rudman & Dowd LLP | 94
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 123 of 188
                                                                              ATTORNEY BIOGRAPHIES


Ashley M. Kelly | Partner
Ashley Kelly is a partner in the Firm’s San Diego office, where she represents large institutional and
individual investors as a member of the Firm’s antitrust and securities fraud practices. Her work is
primarily federal and state class actions involving the federal antitrust and securities laws, common law
fraud, breach of contract, and accounting violations. Kelly’s case work has been in the financial services,
oil & gas, e-commerce, and technology industries. In addition to being an attorney, she is a Certified
Public Accountant. Kelly was an important member of the litigation team that obtained a $500 million
settlement on behalf of investors in Luther v. Countrywide Fin. Corp., which was the largest residential
mortgage-backed securities purchaser class action recovery in history.


Education
B.S., Pennsylvania State University, 2005; J.D., Rutgers University-Camden, 2011

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Best Lawyer in America: One to Watch, Best
Lawyers®, 2024; Rising Star, Super Lawyers Magazine, 2016, 2018-2021




                                                                              Robbins Geller Rudman & Dowd LLP | 95
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 124 of 188
                                                                                   ATTORNEY BIOGRAPHIES


David A. Knotts | Partner
David Knotts is a partner in the Firm’s San Diego office. He focuses his practice on securities class action
litigation in the context of mergers and acquisitions, representing both individual shareholders and
institutional investors. Knotts is also part of the Firm’s Delaware Practice Group. Knotts has significant
trial experience in high-stakes corporate litigation.

Knotts has been counsel of record for shareholders on a number of significant recoveries in courts
throughout the country, including serving as one of the lead litigators on Chabot v. Walgreens Boots Alliance,
Inc., which culminated in a $192.5 million recovery for a class of Rite Aid investors.
The Walgreens settlement was approved by the Middle District of Pennsylvania in February 2024 and
resulted in the second largest securities recovery in Pennsylvania federal court history. That recovery
represents a rarity in securities fraud litigation, whereby target-company investors obtained a significant
cash recovery from an unaffiliated acquirer based on allegations that the acquirer issued misleading
statements during the pendency of a merger.

In addition, Knotts served among lead counsel in In re Rural/Metro Corp. S’holders Litig., which resulted in
a groundbreaking $110 million post-trial recovery affirmed by the Delaware Supreme Court, as well as In
re Del Monte Foods Co. S’holders Litig. ($89.4 million), Websense ($40 million), In re Onyx S’holders Litig. ($30
million), Harman ($28 million), and Joy Global ($20 million). Websense and Onyx are both believed to be the
largest post-merger class settlements in California state court history. When Knotts presented the
settlement as lead counsel for the stockholders in Joy Global, the United States District Court for the
Eastern District of Wisconsin noted that “this is a pretty extraordinary settlement, recovery on behalf of
the members of the class. . . . [I]t’s always a pleasure to work with people who are experienced and who
know what they are doing.” In addition to ongoing litigation work, Knotts has taught a full-semester
course on M&A litigation at the University of California Berkeley School of Law.

Before joining Robbins Geller, Knotts was an associate at one of the largest law firms in the world and
represented corporate clients in various aspects of state and federal litigation, including major antitrust
matters, trade secret disputes, and unfair competition claims.


Education
B.S., University of Pittsburgh, 2001; J.D., Cornell Law School, 2004

Honors / Awards
40 & Under List, Benchmark Litigation, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2024; 40 &
Under Hot List, Benchmark Litigation, 2018, 2020-2021; Next Generation Partner, The Legal 500,
2019-2021; Recommended Lawyer, The Legal 500, 2017-2019; Wiley W. Manuel Award for Pro Bono
Legal Services, State Bar of California; Casa Cornelia Inns of Court; J.D., Cum Laude, Cornell Law School,
2004




                                                                                  Robbins Geller Rudman & Dowd LLP | 96
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 125 of 188
                                                                                    ATTORNEY BIOGRAPHIES


Laurie L. Largent | Partner
Laurie Largent is a partner in the Firm’s San Diego, California office. Her practice focuses on securities
class action and shareholder derivative litigation and she has helped recover millions of dollars for injured
shareholders. Largent was part of the litigation team that obtained a $265 million recovery in In re Massey
Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion at the Upper Big
Branch mine in Raleigh County, West Virginia. She also helped obtain $67.5 million for Wyeth
shareholders in City of Livonia Emps.’ Ret. Sys. v. Wyeth, settling claims that the defendants misled investors
about the safety and commercial viability of one of the company’s leading drug candidates. Most recently,
Largent was on the team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters Nat’l Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully appealed
to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action. Some of
Largent’s other cases include: In re Sanofi-Aventis Sec. Litig. (S.D.N.Y.) ($40 million); In re Bridgepoint Educ.,
Inc. Sec. Litig. (S.D. Cal.) ($15.5 million); Ross v. Abercrombie & Fitch Co. (S.D. Ohio) ($12 million); Maiman
v. Talbott (C.D. Cal.) ($8.25 million); In re Cafepress Inc. S’holder Litig. (Cal. Super. Ct., San Mateo Cnty.) ($8
million); and Krystek v. Ruby Tuesday, Inc. (M.D. Tenn.) ($5 million). Largent’s current cases include
securities fraud cases against Dell, Inc. (W.D. Tex.) and Banc of California (C.D. Cal.).

Largent is a past board member on the San Diego County Bar Foundation and the San Diego Volunteer
Lawyer Program. She has also served as an Adjunct Business Law Professor at Southwestern College in
Chula Vista, California.


Education
B.B.A., University of Oklahoma, 1985; J.D., University of Tulsa, 1988

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2024; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019-2024; Board Member, San Diego County Bar Foundation, 2013-2017; Board
Member, San Diego Volunteer Lawyer Program, 2014-2017



Kevin A. Lavelle | Partner
Kevin Lavelle is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
litigation.

Lavelle has served on numerous litigation teams and helped obtain over $500 million for investors. His
work includes several significant recoveries against corporations, including HCA Holdings, Inc. ($215
million); Altria Group and JUUL Labs ($90 million); Endo Pharmaceuticals ($63 million); and Intercept
Pharmaceuticals ($55 million), among others.


Education
B.A., College of the Holy Cross, 2008; J.D., Brooklyn Law School, 2013

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; J.D., Cum Laude, Brooklyn Law School, 2013; B.A.,
Cum Laude, College of the Holy Cross, 2008



                                                                                   Robbins Geller Rudman & Dowd LLP | 97
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 126 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Nathan R. Lindell | Partner
Nate Lindell is a partner in the Firm’s San Diego office, where his practice focuses on representing
aggrieved investors in complex civil litigation. He has helped achieve numerous significant recoveries for
investors, including:In re Enron Corp. Sec. Litig. ($7.2 billion recovery); In re HealthSouth Corp. Sec.
Litig. ($671 million recovery); Luther v. Countrywide Fin. Corp. ($500 million recovery); Fort Worth Emps.’
Ret. Fund v. J.P. Morgan Chase & Co. ($388 million recovery); NECA-IBEW Health & Welfare Fund v.
Goldman Sachs & Co. ($272 million recovery); In re Morgan Stanley Mortg. Pass-Through Certificates Litig. ($95
million recovery); Massachusetts Bricklayers & Masons Tr. Funds v. Deutsche Alt-A Sec., Inc. ($32.5 million
recovery); City of Ann Arbor Emps.’ Ret. Sys. v. Citigroup Mortg. Loan Trust Inc. ($24.9 million
recovery); Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp. ($21.2 million
recovery); and Genesee Cnty. Emps.’ Ret. Sys. v. Thornburg Mortg., Inc. ($11.25 million recovery). In October
2016, Lindell successfully argued in front of the New York Supreme Court, Appellate Division, First
Judicial Department, for the reversal of an earlier order granting defendants’ motion to dismiss in Phoenix
Light SF Limited v. Morgan Stanley.

Lindell was also a member of the litigation team responsible for securing a landmark victory from the
Second Circuit Court of Appeals in its precedent-setting NECA-IBEW Health & Welfare Fund v. Goldman
Sachs & Co. decision, which dramatically expanded the scope of permissible class actions asserting claims
under the Securities Act of 1933 on behalf of mortgage-backed securities investors, and ultimately
resulted in a $272 million recovery for investors.


Education
B.S., Princeton University, 2003; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Charles W. Caldwell Alumni Scholarship, University of
San Diego School of Law; CALI/AmJur Award in Sports and the Law



Ting H. Liu | Partner
Ting Liu is a partner in the Firm’s San Diego office, where she represents large institutional and
individual investors. Her practice focuses on complex securities litigation. Liu was a member of the trial
team that obtained a $350 million settlement on the eve of trial in Smilovits v. First Solar, Inc., the fifth-
largest PSLRA settlement ever recovered in the Ninth Circuit. She was also a member of the Firm’s trial
team in Hsu v. Puma Biotechnology, Inc., a securities fraud class action that resulted in a verdict in favor of
investors after a two-week jury trial.


Education
B.A., University of Washington, 2012; J.D., University of San Diego School of Law, 2015

Honors / Awards
Rising Star, Law360, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Rising Star, Super Lawyers
Magazine, 2023-2024




                                                                                 Robbins Geller Rudman & Dowd LLP | 98
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 127 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Ryan Llorens | Partner
Ryan Llorens is a partner in the Firm’s San Diego office. Llorens’ practice focuses on litigating complex
securities fraud cases. He has worked on a number of securities cases that have resulted in significant
recoveries for investors, including: In re HealthSouth Corp. Sec. Litig. ($670 million); AOL Time Warner ($629
million); In re AT&T Corp. Sec. Litig. ($100 million); In re Fleming Cos. Sec. Litig. ($95 million); and In re
Cooper Cos., Inc. Sec Litig. ($27 million).


Education
B.A., Pitzer College, 1997; J.D., University of San Diego School of Law, 2002

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015



Andrew S. Love | Partner
Andrew Love is a partner in the Firm’s San Francisco office and a member of the Firm’s Appellate
Practice Group. His practice focuses primarily on appeals of securities fraud class actions. Love has
successfully briefed and argued cases on behalf of defrauded investors and consumers in several U.S.
Courts of Appeal, as well as in the California appellate courts. Recent published cases include New
England Carpenters Guaranteed Annuity Pension Funds v. DeCarlo, 80 F.4th 158 (2d Cir. 2023), Stafford v. Rite
Aid Corp., 998 F.3d 862 (9th Cir. 2021), Constr. Indus. & Laborers Joint Pension Tr. v. Carbonite, Inc., 22 F.4th
1 (1st Cir. 2021), and Friedman v. AARP, Inc., 855 F.3d 1047 (9th Cir. 2017). He was also co-counsel in
Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 138 S. Ct. 1061 (2018).

Before joining the Firm and for more than two decades, Love represented inmates on California’s death
row in appellate and habeas corpus proceedings, successfully arguing capital cases in both the California
Supreme Court and the Ninth Circuit. He co-chaired the Capital Case Defense Seminar (2004-2013),
recognized as the largest conference for death penalty practitioners in the country. Additionally, he was
on the faculty of the National Institute for Trial Advocacy’s Post-Conviction Skills Seminar. Love is a
member of the California Academy of Appellate Lawyers.


Education
University of Vermont, 1981; J.D., University of San Francisco School of Law, 1985

Honors / Awards
J.D., Cum Laude, University of San Francisco School of Law, 1985; McAuliffe Honor Society, University of
San Francisco School of Law, 1982-1985




                                                                                  Robbins Geller Rudman & Dowd LLP | 99
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 128 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Erik W. Luedeke | Partner
Erik Luedeke is a partner in the Firm’s San Diego office, where he represents individual and institutional
investors in breach of fiduciary duty and securities fraud litigation in state and federal courts nationwide.
Luedeke is a member of the Firm’s Delaware Practice Group. As corporate fiduciaries, directors and
officers are duty-bound to act in the best interest of the corporation and its shareholders. When they fail
to do so they breach their fiduciary duty and may be held liable for harm caused to the corporation.
Luedeke’s shareholder derivative practice focuses on litigating breach of fiduciary duty and related claims
on behalf of corporations and shareholders injured by wayward corporate fiduciaries. Notable
shareholder derivative actions in which he recently participated and the recoveries he helped to achieve
include In re Community Health Sys., Inc. S'holder Derivative Litig. ($60 million in financial relief and
unprecedented corporate governance reforms), In re Lumber Liquidators Holdings, Inc. S’holder Derivative
Litig. ($26 million in financial relief plus substantial governance), and In re Google Inc. S’holder Derivative
Litig. ($250 million in financial relief to fund substantial governance).

Luedeke’s practice also includes the prosecution of complex securities class action cases on behalf of
aggrieved investors. Luedeke was a member of the litigation team in Jaffe v. Household Int’l, Inc., No.
02-C-5893 (N.D. Ill.), that resulted in a record-breaking $1.575 billion settlement after 14 years of
litigation, including a six-week jury trial ending in a plaintiffs’ verdict. He was also a member of the
litigation teams in In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.) ($925 million
recovery), and In re Questcor Pharms., Inc. Sec. Litig., No. 8:12-cv-01623 (C.D. Cal.) ($38 million recovery).


Education
B.S./B.A., University of California Santa Barbara, 2001; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Student Comment Editor, San Diego International Law
Journal, University of San Diego School of Law




                                                                                 Robbins Geller Rudman & Dowd LLP | 100
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 129 of 188
                                                                               ATTORNEY BIOGRAPHIES


Christopher H. Lyons | Partner
Christopher Lyons is a partner in the Firm’s Nashville and Wilmington offices, and manages the
Wilmington office. He focuses his practice on representing institutional and individual investors in
merger-related class action litigation and in complex securities litigation. Lyons has been a significant
part of litigation teams that have achieved substantial recoveries for investors. Notable cases
include Bioverativ (Goldstein v. Denner) ($84 million partial settlement, remaining claims set for
trial), CoreCivic (Grae v. Corrections Corporation of America) ($56 million recovered), Good Technology ($52
million recovered for investors in a privately held technology company), Nissan ($36 million recovered),
Blackhawk Network Holdings ($29.5 million recovered), and The Fresh Market (Morrison v. Berry) ($27.5
million recovered). His pro bono work includes representing individuals who are appealing denial of
necessary medical benefits by TennCare (Tennessee’s Medicaid program), through the Tennessee Justice
Center.

Both during and before his time at Robbins Geller, Lyons has litigated extensively in Delaware courts,
having tried cases on behalf of both plaintiffs and defendants in the Delaware Court of Chancery. Before
joining Robbins Geller, Lyons practiced at a prominent Delaware law firm, where he mostly represented
corporate officers and directors defending against breach of fiduciary duty claims in the Delaware Court
of Chancery and in the Delaware Supreme Court. Before that, he clerked for Vice Chancellor J. Travis
Laster of the Delaware Court of Chancery. Lyons now applies the expertise he gained from those
experiences to help investors uncover wrongful conduct and recover the money and other remedies to
which they are rightfully entitled.


Education
B.A., Colorado College, 2006; J.D., Vanderbilt University Law School, 2010

Honors / Awards
Recommended Lawyer, The Legal 500, 2024; 40 & Under List, Benchmark Litigation, 2024; Leading
Plaintiff Financial Lawyer, Lawdragon, 2024; Best Lawyer in America: One to Watch, Best Lawyers®,
2022-2024; Rising Star, Super Lawyers Magazine, 2018-2020, 2022-2023; 500 X – The Next Generation,
Lawdragon, 2023; 40 & Under Hot List, Benchmark Litigation, 2021; B.A., Distinction in International
Political Economy, Colorado College, 2006; J.D., Law & Business Certificate, Vanderbilt University Law
School, 2010




                                                                              Robbins Geller Rudman & Dowd LLP | 101
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 130 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Noam Mandel | Partner
Noam Mandel is a partner in the Firm’s Manhattan office. Mandel has extensive experience in all aspects
of litigation on behalf of investors, including securities law claims, corporate derivative actions, fiduciary
breach class actions, and appraisal litigation. Mandel has represented investors in federal and state courts
throughout the United States and has significant experience advising investors concerning their interests
in litigation and investigating and prosecuting claims on their behalf.

Mandel has served as counsel in numerous outstanding securities litigation recoveries, including in In re
Nortel Networks Corporation Securities Litigation ($1.07 billion shareholder recovery), Ohio Public Employees
Retirement System v. Freddie Mac ($410 million shareholder recovery), and In re Satyam Computer Services, Ltd.
Securities Litigation ($150 million shareholder recovery). Mandel has also served as counsel in notable
fiduciary breach class and derivative actions, particularly before the Court of Chancery of the State of
Delaware.       These actions include the groundbreaking fiduciary duty litigation challenging the
CVS/Caremark merger (Louisiana Municipal Police Employees’ Retirement System v. Crawford), which resulted
in more than $3.3 billion in additional consideration for Caremark shareholders. Mandel also served as
counsel in In re Dell Technologies Inc. Class V Stockholders Litigation, which resulted in a $1 billion recovery
for stockholders.


Education
B.S., Georgetown University, School of Foreign Service, 1998; J.D., Boston University School of Law,
2002

Honors / Awards
J.D., Cum Laude, Boston University School of Law, 2002; Member, Boston University Law Review, Boston
University School of Law



Mark T. Millkey | Partner
Mark Millkey is a partner in the Firm’s Melville office. He has significant experience in the areas of
securities and consumer litigation, as well as in federal and state court appeals.

During his career, Millkey has worked on a major consumer litigation against MetLife that resulted in a
benefit to the class of approximately $1.7 billion, as well as a securities class action against Royal
Dutch/Shell that settled for a minimum cash benefit to the class of $130 million and a contingent value of
more than $180 million. Since joining Robbins Geller, he has worked on securities class actions that have
resulted in more than $1.5 billion in settlements.


Education
B.A., Yale University, 1981; M.A., University of Virginia, 1983; J.D., University of Virginia, 1987

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2023




                                                                                 Robbins Geller Rudman & Dowd LLP | 102
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 131 of 188
                                                                                ATTORNEY BIOGRAPHIES


David W. Mitchell | Partner
David Mitchell is a partner in the Firm’s San Diego office and focuses his practice on antitrust and
securities fraud litigation. He is a former federal prosecutor who has tried nearly 20 jury trials. As head of
the Firm’s Antitrust and Competition Law Practice Group, he has served as lead or co-lead counsel in
numerous cases and has helped achieve substantial settlements for shareholders. His most notable
antitrust cases include Dahl v. Bain Cap. Partners, LLC, obtaining more than $590 million for shareholders,
and In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., in which a settlement of
$5.5 billion was approved in the Eastern District of New York. This case was brought on behalf of
millions of U.S. merchants against Visa and MasterCard and various card-issuing banks, challenging the
way these companies set and collect tens of billions of dollars annually in merchant fees. The settlement is
believed to be the largest antitrust class action settlement of all time.

Additionally, Mitchell served as co-lead counsel in the ISDAfix Benchmark action against 14 major banks
and broker ICAP plc, obtaining $504.5 million for plaintiffs. Currently, Mitchell serves as court-
appointed lead counsel in In re Aluminum Warehousing Antitrust Litig., City of Providence, Rhode Island v.
BATS Global Markets Inc., In re SSA Bonds Antitrust Litig., In re Remicade Antitrust Litig., and In re 1-800
Contacts Antitrust Litig.


Education
B.A., University of Richmond, 1995; J.D., University of San Diego School of Law, 1998

Honors / Awards
Member, Enright Inn of Court; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Super
Lawyer, Super Lawyers Magazine, 2016-2024; Leading Lawyer in America, Lawdragon, 2020-2024; Best
Lawyer in America, Best Lawyers®, 2018-2024; Top 50 Lawyers in San Diego, Super Lawyers Magazine,
2021; Southern California Best Lawyer, Best Lawyers®, 2018-2021; Honoree, Outstanding Antitrust
Litigation Achievement in Private Law Practice, American Antitrust Institute, 2018; Antitrust Trailblazer,
The National Law Journal, 2015; “Best of the Bar,” San Diego Business Journal, 2014




                                                                                Robbins Geller Rudman & Dowd LLP | 103
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 132 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Danielle S. Myers | Partner
Danielle Myers is a partner in the Firm’s San Diego office and focuses her practice on complex securities
litigation. Myers is one of the partners who oversees the Portfolio Monitoring Program® and provides
legal recommendations to the Firm’s institutional investor clients on their options to maximize recoveries
in securities litigation, both within the United States and internationally, from inception to settlement.

Myers advises the Firm’s clients in connection with lead plaintiff applications and has helped secure
appointment of the Firm’s clients as lead plaintiff and the Firm’s appointment as lead counsel in
hundreds of securities class actions, which cases have yielded more than $4 billion for investors, including
2018-2023 recoveries in In re Valeant Pharms. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.) ($1.2
billion); In re Am. Realty Cap. Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.) ($1.025 billion); In re Twitter
Inc. Sec. Litig., No. 4:16-cv-05314 (N.D. Cal.) ($809.5 million); Smilovits v. First Solar, Inc., No.
2:12-cv-00555 (D. Ariz.) ($350 million); Flynn v. Exelon Corp., No. 1:19-cv-08209 (N.D. Ill.) ($173
million); City of Pontiac Gen. Ret. Sys. v. Wal-Mart Stores, Inc., No. 5:12-cv-5162 (W.D. Ark.) ($160
million); Evellard v. LendingClub Corp., No. 3:16-cv-02627 (N.D. Cal.) ($125 million); La. Sheriffs’ Pension &
Relief Fund v. Cardinal Health, Inc., No. 2:19-cv-03347 (S.D. Ohio) ($109 million); Knurr v. Orbital ATK,
Inc., No. 1:16-cv-01031 (E.D. Va.) ($108 million); In re Novo Nordisk Sec. Litig., No 3:17-cv-00209 (D.N.J.)
($100 million); Karinski v. Stamps.com, Inc., No. 2:19-cv-01828 (C.D. Cal.) ($100 million); and Marcus v. J.C.
Penney Co., Inc., No. 6:13-cv-00736 (E.D. Tex.) ($97.5 million). Myers is also a frequent presenter on
securities fraud and corporate governance reform at conferences and events around the world.


Education
B.A., University of California at San Diego, 1997; J.D., University of San Diego, 2008

Honors / Awards
Leading Lawyer, The Legal 500, 2020-2024; Future Star, Benchmark Litigation, 2019-2020, 2023-2024;
Leading Plaintiff Financial Lawyer, Lawdragon, 2022-2024; Global Plaintiff Lawyer, Lawdragon, 2024;
Leading Lawyer in America, Lawdragon, 2022-2024; Best Lawyer in America: One to Watch, Best
Lawyers®, 2021-2023; Top 100 Leaders in Law Honoree, San Diego Business Journal, 2022; Best Lawyer in
Southern California: One to Watch, Best Lawyers®, 2021; Next Generation Lawyer, The Legal 500,
2017-2019; Recommended Lawyer, The Legal 500, 2019; Rising Star, Super Lawyers Magazine, 2015-2018;
One of the “Five Associates to Watch in 2012,” Daily Journal; Member, San Diego Law Review; CALI
Excellence Award in Statutory Interpretation




                                                                                  Robbins Geller Rudman & Dowd LLP | 104
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 133 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Eric I. Niehaus | Partner
Eric Niehaus is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
and derivative litigation. His efforts have resulted in numerous multi-million dollar recoveries to
shareholders and extensive corporate governance changes. Notable examples include: In re NYSE
Specialists Sec. Litig. (S.D.N.Y.); In re Novatel Wireless Sec. Litig. (S.D. Cal.); Batwin v. Occam Networks,
Inc. (C.D. Cal.); Commc’ns Workers of Am. Plan for Employees’ Pensions and Death Benefits v. CSK Auto Corp. (D.
Ariz.); Marie Raymond Revocable Trust v. Mat Five (Del. Ch.); and Kelleher v. ADVO, Inc. (D. Conn.). He most
recently prosecuted a case against Stamps.com in the Central District of California that resulted in a $100
million settlement for shareholders of the company’s stock. Before joining the Firm, Niehaus worked as a
Market Maker on the American Stock Exchange in New York and the Pacific Stock Exchange in San
Francisco.


Education
B.S., University of Southern California, 1999; J.D., California Western School of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2016; J.D., Cum Laude, California Western School of Law, 2005;
Member, California Western Law Review



Erika Oliver | Partner
Erika Oliver is a partner in the Firm’s San Diego office. Before joining the Firm, Erika served as a judicial
law clerk to the Honorable Anthony J. Battaglia of the Southern District of California. At the Firm, her
practice focuses on complex securities litigation. Most recently, Erika and Luke Brooks defeated
defendants’ motion to dismiss securities fraud claims arising from purchases on Israel’s Tel Aviv Stock
Exchange in In re Teva Sec. Litig. (D. Conn.). Erika was also a member of the litigation teams of Robbins
Geller attorneys that successfully recovered hundreds of millions of dollars for investors in securities class
actions, including In re Novo Nordisk Sec. Litig. (D.N.J.) ($100 million recovery), Fleming v. Impax Labs. Inc.
(N.D. Cal.) ($33 million recovery), and In re Banc of California Sec. Litig. (C.D. Cal.) ($19.75 million
recovery).


Education
B.S., San Diego State University, 2009; J.D., University of San Diego School of Law, 2015

Honors / Awards
40 & Under List, Benchmark Litigation, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2023-2024;
Rising Star, Super Lawyers Magazine, 2024; Leading Litigator in America, Lawdragon, 2024; Best Lawyer in
America: One to Watch, Best Lawyers®, 2021-2024; Top 40 Under 40, Daily Journal, 2023; 500 X – The
Next Generation, Lawdragon, 2023; Rising Star, Law360, 2023; Best Lawyer in Southern California: One
to Watch, Best Lawyers®, 2021; J.D., Magna Cum Laude, University of San Diego School of Law,
2015; B.S., Cum Laude, San Diego State University, 2009




                                                                                 Robbins Geller Rudman & Dowd LLP | 105
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 134 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Lucas F. Olts | Partner
Luke Olts is a partner in the Firm’s San Diego office, where his practice focuses on securities litigation on
behalf of individual and institutional investors. Olts recently served as lead counsel in In re Facebook
Biometric Info. Privacy Litig., a cutting-edge class action concerning Facebook’s alleged privacy violations
through its collection of users’ biometric identifiers without informed consent that resulted in a $650
million settlement. Olts has focused on litigation related to residential mortgage-backed securities, and
has served as lead counsel or co-lead counsel in some of the largest recoveries arising from the collapse of
the mortgage market. For example, he was a member of the team that recovered $388 million for
investors in J.P. Morgan residential mortgage-backed securities in Fort Worth Emps.’ Ret. Fund v. J.P.
Morgan Chase & Co., and a member of the litigation team responsible for securing a $272 million
settlement on behalf of mortgage-backed securities investors in NECA-IBEW Health & Welfare Fund v.
Goldman Sachs & Co. Olts also served as co-lead counsel in In re Wachovia Preferred Sec. & Bond/Notes Litig.,
which recovered $627 million under the Securities Act of 1933. He also served as lead counsel in
Siracusano v. Matrixx Initiatives, Inc., in which the U.S. Supreme Court unanimously affirmed the decision
of the Ninth Circuit that plaintiffs stated a claim for securities fraud under §10(b) of the Securities
Exchange Act of 1934 and SEC Rule 10b-5. Olts also served on the litigation team in In re Deutsche Bank
AG Sec. Litig., in which the Firm obtained a $18.5 million settlement in a case against Deutsche Bank and
certain of its officers alleging violations of the Securities Act of 1933. Before joining the Firm, Olts served
as a Deputy District Attorney for the County of Sacramento, where he tried numerous cases to verdict,
including crimes of domestic violence, child abuse, and sexual assault.


Education
B.A., University of California, Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
Future Star, Benchmark Litigation, 2018-2020, 2023-2024; Global Plaintiff Lawyer, Lawdragon, 2024; Next
Generation Lawyer, The Legal 500, 2017; Top Litigator Under 40, Benchmark Litigation, 2017; Under 40
Hotlist, Benchmark Litigation, 2016




                                                                                 Robbins Geller Rudman & Dowd LLP | 106
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 135 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Steven W. Pepich | Partner
Steve Pepich is a partner in the Firm’s San Diego office. His practice has focused primarily on securities
class action litigation, but has also included a wide variety of complex civil cases, including representing
plaintiffs in mass tort, royalty, civil rights, human rights, ERISA, and employment law actions. Pepich has
participated in the successful prosecution of numerous securities class actions, including: Carpenters Health
& Welfare Fund v. Coca-Cola Co. ($137.5 million recovery); In re Fleming Cos. Inc. Sec. & Derivative
Litig. ($95 million recovered); In re Boeing Sec. Litig.($92 million recovery); In re Louisiana-Pacific Corp. Sec.
Litig. ($65 million recovery); Haw. Structural Ironworkers Pension Trust Fund v. Calpine Corp. ($43 million
recovery); In re Advanced Micro Devices Sec. Litig. ($34 million recovery); and Gohler v. Wood, ($17.2 million
recovery). Pepich was a member of the plaintiffs’ trial team in Mynaf v. Taco Bell Corp., which settled after
two months of trial on terms favorable to two plaintiff classes of restaurant workers for recovery of unpaid
wages. He was also a member of the plaintiffs’ trial team in Newman v. Stringfellow where, after a nine-
month trial in Riverside, California, all claims for exposure to toxic chemicals were ultimately resolved for
$109 million.


Education
B.S., Utah State University, 1980; J.D., DePaul University, 1983



Daniel J. Pfefferbaum | Partner
Daniel Pfefferbaum is a partner in the Firm’s San Francisco office, where his practice focuses on complex
securities litigation. He has been a member of litigation teams that have recovered more than $250
million for investors, including: City of Westland Police & Fire Ret. Sys. v. Metlife Inc. ($84 million recovery);
Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. ($65 million recovery); In re PMI Grp., Inc. Sec. Litig.
($31.25 million recovery); Xiang v. Inovalon Holdings, Inc. ($17 million recovery); Cunha v. Hansen Natural
Corp. ($16.25 million recovery); In re Accuray Inc. Sec. Litig. ($13.5 million recovery); Twinde v. Threshold
Pharms., Inc. ($10 million recovery); In re Impax Labs. Inc. Sec. Litig. ($9 million recovery); and In re Ubiquiti
Networks, Inc. ($6.8 million recovery). Pfefferbaum was a member of the litigation team that secured a
historic recovery on behalf of Trump University students in two class actions against President Donald J.
Trump. The settlement provides $25 million to approximately 7,000 consumers. This result means
individual class members are eligible for upwards of $35,000 in restitution. He represented the class on a
pro bono basis.


Education
B.A., Pomona College, 2002; J.D., University of San Francisco School of Law, 2006; LL.M. in Taxation,
New York University School of Law, 2007

Honors / Awards
Future Star, Benchmark Litigation, 2018-2020, 2023-2024; 40 & Under Hot List, Benchmark Litigation,
2016-2020; Top 40 Under 40, Daily Journal, 2017; Rising Star, Super Lawyers Magazine, 2013-2017




                                                                                   Robbins Geller Rudman & Dowd LLP | 107
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 136 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Theodore J. Pintar | Partner
Ted Pintar is a partner in the Firm’s San Diego office. Pintar has over 20 years of experience prosecuting
securities fraud actions and derivative actions and over 15 years of experience prosecuting insurance-
related consumer class actions, with recoveries in excess of $1 billion. He was part of the litigation team in
the AOL Time Warner state and federal court securities opt-out actions, which arose from the 2001
merger of America Online and Time Warner. These cases resulted in a global settlement of $618 million.
Pintar was also on the trial team in Knapp v. Gomez, which resulted in a plaintiff’s verdict. Pintar has
successfully prosecuted several RICO cases involving the deceptive sale of deferred annuities, including
cases against Allianz Life Insurance Company of North America ($250 million), American Equity
Investment Life Insurance Company ($129 million), Midland National Life Insurance Company ($80
million), and Fidelity & Guarantee Life Insurance Company ($53 million). He has participated in the
successful prosecution of numerous other insurance and consumer class actions, including: (i) actions
against major life insurance companies such as Manufacturer’s Life ($555 million initial estimated
settlement value) and Principal Mutual Life Insurance Company ($380+ million), involving the deceptive
sale of life insurance; (ii) actions against major homeowners insurance companies such as Allstate ($50
million) and Prudential Property and Casualty Co. ($7 million); (iii) actions against automobile insurance
companies such as the Auto Club and GEICO; and (iv) actions against Columbia House ($55 million) and
BMG Direct, direct marketers of CDs and cassettes. Pintar and co-counsel recently settled a securities
class action for $32.8 million against Snap, Inc. in Snap Inc. Securities Cases, a case alleging violations of the
Securities Act of 1933. Additionally, Pintar has served as a panelist for numerous Continuing Legal
Education seminars on federal and state court practice and procedure.


Education
B.A., University of California, Berkeley, 1984; J.D., University of Utah College of Law, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2022;
Super Lawyer, Super Lawyers Magazine, 2014-2017; CAOC Consumer Attorney of the Year Award Finalist,
2015; Note and Comment Editor, Journal of Contemporary Law, University of Utah College of Law; Note
and Comment Editor, Journal of Energy Law and Policy, University of Utah College of Law




                                                                                   Robbins Geller Rudman & Dowd LLP | 108
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 137 of 188
                                                                               ATTORNEY BIOGRAPHIES


Ashley M. Price | Partner
Ashley Price is a partner in the Firm’s San Diego office. Her practice focuses on complex securities
litigation. Price served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig., a case arising out of
ARCP’s manipulative accounting practices, and obtained a $1.025 billion recovery. For five years, she and
the litigation team prosecuted nine different claims for violations of the Securities Exchange Act of 1934
and the Securities Act of 1933, involving seven different stock or debt offerings and two mergers. The
recovery represents the highest percentage of damages of any major PSLRA case prior to trial and
includes the largest personal contributions by individual defendants in history.

Most recently, Price was a key member of the Robbins Geller litigation team in Monroe County Employees’
Retirement System v. The Southern Company in which an $87.5 settlement was reached after three years of
litigation. The settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming
from defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant.


Education
B.A., Duke University, 2006; J.D., Washington University in St. Louis, School of Law, 2011

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; 40 & Under List, Benchmark Litigation, 2024;
Leading Plaintiff Financial Lawyer, Lawdragon, 2023-2024; Best Lawyer in America: One to Watch, Best
Lawyers®, 2023-2024; 40 & Under Hot List, Benchmark Litigation, 2021; Rising Star, Super Lawyers
Magazine, 2016-2021




                                                                              Robbins Geller Rudman & Dowd LLP | 109
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 138 of 188
                                                                                ATTORNEY BIOGRAPHIES


Willow E. Radcliffe | Partner
Willow Radcliffe is a partner in the Firm’s San Francisco office, where she concentrates her practice in
securities class action litigation in federal court. She has been significantly involved in the prosecution of
numerous securities fraud claims, including actions filed against Pfizer, Inc. ($400 million recovery),
CoreCivic (Grae v. Corrections Corporation of America) ($56 million recovery), Flowserve Corp. ($55 million
recovery), Santander Consumer USA Holdings Inc. ($47 million), NorthWestern Corp. ($40 million
recovery), Ashworth, Inc. ($15.25 million recovery), and Allscripts Healthcare Solutions, Inc. ($9.75
million recovery). Additionally, Radcliffe has represented plaintiffs in other complex actions, including a
class action against a major bank regarding the adequacy of disclosures made to consumers in California
related to access checks. Before joining the Firm, she clerked for the Honorable Maria-Elena James,
Magistrate Judge for the United States District Court for the Northern District of California.


Education
B.A., University of California, Los Angeles 1994; J.D., Seton Hall University School of Law, 1998

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Best Lawyer in America: One to Watch, Best
Lawyers®, 2021-2024; Best Lawyer in Northern California: One to Watch, Best Lawyers®, 2021; Plaintiffs’
Lawyer Trailblazer, The National Law Journal, 2020; J.D., Cum Laude, Seton Hall University School of Law,
1998; Most Outstanding Clinician Award; Constitutional Law Scholar Award




                                                                                Robbins Geller Rudman & Dowd LLP | 110
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 139 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Frank A. Richter | Partner
Frank Richter is a partner in the Firm’s Chicago office, where he focuses on shareholder, antitrust, and
class action litigation.

Richter was an integral member of the Robbins Geller team that secured a $1.21 billion settlement in In re
Valeant Pharms. Int’l, Inc. Sec. Litig. (D.N.J.), which is the ninth-largest securities class action settlement in
history and the largest ever against a pharmaceutical manufacturer. More recently, Richter’s
representative matters include Exelon (N.D. Ill., $173 million settlement), which resolved securities claims
stemming from the alleged concealment of an eight-year scheme to bribe a public official, as well
as Nutanix (N.D. Cal., $71 million settlement) and Grubhub (N.D. Ill., $42 million settlement). In addition,
Richter was a member of litigation teams that secured significant settlements in HCA (E.D. Tenn., $215
million), Sprint (D. Kan., $131 million), Orbital ATK (E.D. Va., $108 million), Dana Corp. (N.D. Ohio, $64
million), Diplomat (N.D. Ill., $15.5 million), LJM Funds (N.D. Ill., $12.85 million), and Camping World (N.D.
Ill., $12.5 million).

Richter also works on antitrust matters, including serving on the Plaintiffs’ Steering Committee in In re
Dealer Mgmt. Sys. Antitrust Litig. (N.D. Ill.), and he represents plaintiffs as local counsel in class action and
derivative shareholder litigation in Illinois state and federal courts.


Education
B.A., Truman State University, 2007; M.M., DePaul University School of Music, 2009; J.D., DePaul
University College of Law, 2012

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; 40 & Under List, Benchmark Litigation, 2024; Rising
Star, Super Lawyers Magazine, 2017-2022; 40 & Under Hot List, Benchmark Litigation, 2021; J.D., Summa
Cum Laude, Order of the Coif, CALI Award for highest grade in seven courses, DePaul University College
of Law, 2012



Darren J. Robbins | Partner
Darren Robbins is a founding partner of Robbins Geller Rudman & Dowd LLP. Over the last two
decades, Robbins has served as lead counsel in more than 100 securities class actions and has recovered
billions of dollars for investors. Robbins served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig., a
securities class action arising out of improper accounting practices, recovering more than $1 billion for
class members. The American Realty settlement represents the largest recovery as a percentage of damages
of any major class action brought pursuant to the Private Securities Litigation Reform Act of 1995 and
resolved prior to trial. The $1+ billion settlement included the largest personal contributions ($237.5
million) ever made by individual defendants to a securities class action settlement.

Robbins also led Robbins Geller’s prosecution of wrongdoing related to the sale of residential mortgage-
backed securities (RMBS) prior to the global financial crisis, including an RMBS securities class action
against Goldman Sachs that yielded a $272 million recovery for investors. Robbins served as co-lead
counsel in connection with a $627 million recovery for investors in In re Wachovia Preferred Securities &
Bond/Notes Litig., one of the largest securities class action settlements ever involving claims brought solely
under the Securities Act of 1933.



                                                                                   Robbins Geller Rudman & Dowd LLP | 111
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 140 of 188
                                                                                ATTORNEY BIOGRAPHIES

One of the hallmarks of Robbins’ practice has been his focus on corporate governance reform.
In UnitedHealth, a securities fraud class action arising out of an options backdating scandal,
Robbins represented lead plaintiff CalPERS and obtained the cancellation of more than 3.6 million stock
options held by the company’s former CEO and secured a record $925 million cash recovery for
shareholders. He also negotiated sweeping corporate governance reforms, including the election of a
shareholder-nominated director to the company’s board of directors, a mandatory holding period for
shares acquired via option exercise, and compensation reforms that tied executive pay to performance.
Recently, Robbins led a shareholder derivative action brought by several pension funds on behalf of
Community Health Systems, Inc. that yielded a $60 million payment to Community Health as well as
corporate governance reforms that included two shareholder-nominated directors, the creation and
appointment of a Healthcare Law Compliance Coordinator, the implementation of an executive
compensation clawback in the event of a restatement, the establishment of an insider trading controls
committee, and the adoption of a political expenditure disclosure policy.


Education
B.S., University of Southern California, 1990; M.A., University of Southern California, 1990; J.D.,
Vanderbilt Law School, 1993

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2022, 2024; Ranked by Chambers USA,
2014-2024; Hall of Fame, The Legal 500, 2023-2024; Litigation Star, Benchmark Litigation, 2023-2024;
California - Litigation Star, Benchmark Litigation, 2024; Top 10 Lawyers in San Diego, Super Lawyers
Magazine, 2024; Best Lawyer in America, Best Lawyers®, 2010-2024; Lawyer of the Year: Litigation –
Securities, Best Lawyers®, 2023; Leading Lawyer, The Legal 500, 2020-2022; Top 50 Lawyers in San Diego,
Super Lawyers Magazine, 2015, 2021; Litigator of the Week, The American Lawyer, 2021; Southern California
Best Lawyer, Best Lawyers®, 2012-2021; Local Litigation Star, Benchmark Litigation, 2013-2018, 2020;
Recommended Lawyer, The Legal 500, 2011, 2017, 2019; Benchmark California Star, Benchmark Litigation,
2019; State Litigation Star, Benchmark Litigation, 2019; Lawyer of the Year, Best Lawyers®, 2017; Influential
Business Leader, San Diego Business Journal, 2017; Litigator of the Year, Our City San Diego, 2017; One of
the Top 100 Lawyers Shaping the Future, Daily Journal; One of the “Young Litigators 45 and Under,” The
American Lawyer; Attorney of the Year, California Lawyer; Managing Editor, Vanderbilt Journal of
Transnational Law, Vanderbilt Law School




                                                                               Robbins Geller Rudman & Dowd LLP | 112
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 141 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Robert J. Robbins | Partner
Robert Robbins is a partner in the Firm’s Boca Raton office. He focuses his practice on investigating
securities fraud, initiating securities class actions, and helping institutional and individual shareholders
litigate their claims to recover investment losses caused by fraud. Representing shareholders in all aspects
of class actions brought pursuant to the federal securities laws, Robbins provides counsel in numerous
securities fraud class actions across the country, helping secure significant recoveries for investors.

Recently, Robbins was a key member of the Robbins Geller litigation team that secured a $1.21 billion
settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate
scandal of its era” that had raised “fundamental questions about the functioning of our health-care system,
the nature of modern markets, and the slippery slope of ethical rationalizations.” This is the ninth largest
securities class action settlement ever and the largest against a pharmaceutical manufacturer. Robbins has
also been a member of Robbins Geller litigation teams responsible for securing hundreds of millions of
dollars in securities class action settlements, including: Hospira ($60 million recovery); 3D Systems ($50
million); CVS Caremark ($48 million recovery); Baxter International ($42.5 million recovery); Grubhub ($42
million); R.H. Donnelley ($25 million recovery); Spiegel ($17.5 million recovery); TECO Energy ($17.35
million recovery); AFC Enterprises ($17.2 million recovery); Accretive Health ($14 million recovery); Lender
Processing Services ($14 million recovery); Lexmark Int’l ($12 million); Imperial Holdings ($12 million
recovery); Mannatech ($11.5 million recovery); Newpark Resources ($9.24 million recovery); CURO
Group ($8.98 million); Gilead Sciences ($8.25 million recovery); TCP International ($7.175 million
recovery); Cryo Cell International ($7 million recovery); Gainsco ($4 million recovery); and Body
Central ($3.425 million recovery).


Education
B.S., University of Florida, 1999; J.D., University of Florida College of Law, 2002

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Leading Litigator in America, Lawdragon,
2024; Best Lawyer in America: One to Watch, Best Lawyers®, 2024; Rising Star, Super Lawyers Magazine,
2015-2017; J.D., High Honors, University of Florida College of Law, 2002; Member, Journal of Law and
Public Policy, University of Florida College of Law; Member, Phi Delta Phi, University of Florida College of
Law; Pro bono certificate, Circuit Court of the Eighth Judicial Circuit of Florida; Order of the Coif




                                                                                 Robbins Geller Rudman & Dowd LLP | 113
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 142 of 188
                                                                              ATTORNEY BIOGRAPHIES


David A. Rosenfeld | Partner
David Rosenfeld, a partner in the Firm’s Melville office, has focused his legal practice for more than 20
years in the area of securities litigation. He has argued in courts throughout the country, has been
appointed lead counsel in dozens of securities fraud lawsuits, and has successfully recovered hundreds of
millions of dollars for defrauded shareholders.

Rosenfeld works on all stages of litigation, including drafting pleadings, arguing motions, and negotiating
settlements. Most recently, he led the teams of Robbins Geller attorneys in recovering $95 million for
shareholders of Tableau Software, Inc., $90 million for shareholders of Altria Group, Inc., $40 million for
shareholders of BRF S.A, $20 million for shareholders of Grana y Montero (where shareholders
recovered more than 90% of their losses), and $34.5 million for shareholders of L-3 Communications
Holdings, Inc.

Rosenfeld also led the Robbins Geller team in recovering in excess of $34 million for investors in Overseas
Shipholding Group, which represented an outsized recovery of 93% of bond purchasers’ damages and
28% of stock purchasers’ damages. The creatively structured settlement included more than $15 million
paid by a bankrupt entity. Rosenfeld also led the effort that resulted in the recovery of nearly 90% of
losses for investors in Austin Capital, a sub-feeder fund of Bernard Madoff. In connection with this
lawsuit, Rosenfeld met with and interviewed Madoff in federal prison in Butner, North Carolina.

Rosenfeld has also achieved remarkable recoveries against companies in the financial industry. In
addition to being appointed lead counsel in the securities fraud lawsuit against First BanCorp ($74.25
million recovery), he recovered $70 million for investors in Credit Suisse Group and $14 million for
Barclays investors.


Education
B.S., Yeshiva University, 1996; J.D., Benjamin N. Cardozo School of Law, 1999

Honors / Awards
Future Star, Benchmark Litigation, 2016-2020, 2023-2024; Super Lawyer, Super Lawyers Magazine,
2014-2023; Recommended Lawyer, The Legal 500, 2018; Rising Star, Super Lawyers Magazine, 2011-2013




                                                                              Robbins Geller Rudman & Dowd LLP | 114
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 143 of 188
                                                                              ATTORNEY BIOGRAPHIES


Robert M. Rothman | Partner
Robert Rothman is a partner in the Firm’s Melville office and a member of the Firm’s Management
Committee. He has recovered well in excess of $1 billion on behalf of victims of investment fraud,
consumer fraud, and antitrust violations.

Recently, Rothman served as lead counsel in In re Am. Realty Cap. Props., Inc. Litig. where he obtained a
$1.025 billion cash recovery on behalf of investors. Rothman and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages ever obtained in a major PSLRA case before trial and includes the largest personal
contributions by individual defendants in history. Additionally, Rothman has recovered hundreds of
millions of dollars for investors in cases against First Bancorp, Doral Financial, Popular, iStar, Autoliv,
CVS Caremark, Fresh Pet, The Great Atlantic & Pacific Tea Company (A&P), NBTY, Spiegel, American
Superconductor, Iconix Brand Group, Black Box, OSI Pharmaceuticals, Gravity, Caminus, Central
European Distribution Corp., OneMain Holdings, The Children’s Place, CNinsure, Covisint, FleetBoston
Financial, Interstate Bakeries, Hibernia Foods, Jakks Pacific, Jarden, Portal Software, Ply Gem Holdings,
Orion Energy, Tommy Hilfiger, TD Banknorth, Teletech, Unitek, Vicuron, Xerium, W Holding, and
dozens of others.

Rothman also represents shareholders in connection with going-private transactions and tender offers.
For example, in connection with a tender offer made by Citigroup, Rothman secured an increase of more
than $38 million over what was originally offered to shareholders. He also actively litigates consumer
fraud cases, including a case alleging false advertising where the defendant agreed to a settlement valued
in excess of $67 million.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2022-2024; Global Plaintiff Lawyer, Lawdragon, 2024;
Super Lawyer, Super Lawyers Magazine, 2011, 2013-2023; Northeast Trailblazer, The American Lawyer,
2022; New York Trailblazer, New York Law Journal, 2020; Dean’s Academic Scholarship Award, Hofstra
University School of Law; J.D., with Distinction, Hofstra University School of Law, 1993; Member, Hofstra
Law Review, Hofstra University School of Law




                                                                              Robbins Geller Rudman & Dowd LLP | 115
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 144 of 188
                                                                             ATTORNEY BIOGRAPHIES


Samuel H. Rudman | Partner
Sam Rudman is a founding member of the Firm, a member of the Firm’s Management Committee, and
manages the Firm’s New York offices. His 26-year securities practice focuses on recognizing and
investigating securities fraud, and initiating securities and shareholder class actions to vindicate
shareholder rights and recover shareholder losses. Rudman is also part of the Firm’s SPAC Task Force,
which is dedicated to rooting out and prosecuting fraud on behalf of injured investors in special purpose
acquisition companies. A former attorney with the SEC, Rudman has recovered hundreds of millions of
dollars for shareholders, including a $200 million recovery in Motorola, a $129 million recovery in Doral
Financial, an $85 million recovery in Blackstone, a $74 million recovery in First BanCorp, a $65 million
recovery in Forest Labs, a $62.5 million recovery in SQM, a $50 million recovery in TD Banknorth, a $48
million recovery in CVS Caremark, a $34.5 million recovery in L-3 Communications Holdings, a $32.8 million
recovery in Snap, Inc., and a $18.5 million recovery in Deutsche Bank.


Education
B.A., Binghamton University, 1989; J.D., Brooklyn Law School, 1992

Honors / Awards
Ranked by Chambers USA, 2014-2024; Recommended Lawyer, The Legal 500, 2018-2019, 2023-2024;
Litigation Star, Benchmark Litigation, 2013, 2017-2019, 2023-2024; National Practice Area Star, Benchmark
Litigation, 2019-2020, 2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Super Lawyer,
Super Lawyers Magazine, 2007-2023; Top 10 Most Influential Securities Litigation Attorney in New York,
Business Today, 2023; Leading Lawyer in America, Lawdragon, 2016-2022; New York Trailblazer, New York
Law Journal, 2020; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; Local Litigation
Star, Benchmark Litigation, 2013-2020; Dean’s Merit Scholar, Brooklyn Law School; Moot Court Honor
Society, Brooklyn Law School; Member, Brooklyn Journal of International Law, Brooklyn Law School




                                                                             Robbins Geller Rudman & Dowd LLP | 116
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 145 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Joseph Russello | Partner
Joseph Russello is a partner in the Firm’s Melville office. He began his career as a defense lawyer and
now represents investors in securities class actions at the trial and appellate levels.

Rusello spearheaded the team that recovered $85 million in litigation against The Blackstone Group,
LLC, a case that yielded a landmark decision from the Second Circuit Court of Appeals on “materiality” in
securities actions. Litwin v. Blackstone Grp., L.P., 634 F.3d 706 (2d Cir. 2011). He also led the team
responsible for partially defeating dismissal and achieving a $50 million settlement in litigation against
BHP Billiton, an Australia-based mining company accused of concealing safety issues at a Brazilian iron-
ore dam. In re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65 (S.D.N.Y. 2017).

Recently, Rusello was co-counsel in a lawsuit against Allied Nevada Gold Corporation, recovering $14.5
million for investors after the Ninth Circuit Court of Appeals reversed two dismissal decisions. In re Allied
Nev. Gold Corp. Sec. Litig., 743 F. App’x 887 (9th Cir. 2018). He was also instrumental in obtaining a
settlement and favorable appellate decision in litigation against SAIC, Inc., a defense contractor embroiled
in a decade-long overbilling fraud against the City of New York. Ind. Pub. Ret. Sys. v. SAIC, Inc., 818 F.3d
85 (2d Cir. 2016). Other notable recent decisions include: In re Qudian Sec. Litig.,189 A.D. 3d 449 (N.Y.
App. Div., 1st Dep’t 2020); Kazi v. XP Inc., 2020 WL 4581569 (N.Y. Sup. Ct. Aug. 5, 2020); In re Dentsply
Sirona, Inc. S’holders Litig., 2019 WL 3526142 (N.Y. Sup. Ct. Aug. 2, 2019); and Matter of PPDAI Grp. Sec.
Litig., 64 Misc. 3d 1208(A), 2019 WL 2751278 (N.Y. Sup. Ct. 2019). Other notable settlements
include: NBTY, Inc. ($16 million); LaBranche & Co., Inc. ($13 million); The Children’s Place Retail Stores, Inc.
($12 million); and Prestige Brands Holdings, Inc. ($11 million).


Education
B.A., Gettysburg College, 1998; J.D., Hofstra University School of Law, 2001

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Super Lawyer, Super Lawyers Magazine,
2014-2020, 2023; Law360 Securities Editorial Advisory Board, 2017-2022




                                                                                 Robbins Geller Rudman & Dowd LLP | 117
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 146 of 188
                                                                                ATTORNEY BIOGRAPHIES


Scott H. Saham | Partner
Scott Saham is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
litigation. He is licensed to practice law in both California and Michigan. Most recently, Saham was a
member of the litigation team that obtained a $125 million settlement in In re LendingClub Sec. Litig., a
settlement that ranked among the top ten largest securities recoveries ever in the Northern District of
California. He was also part of the litigation teams in Schuh v. HCA Holdings, Inc., which resulted in a
$215 million recovery for shareholders, the largest securities class action recovery ever in Tennessee,
and Luna v. Marvell Tech. Grp., Ltd., which resulted in a $72.5 million settlement that represents
approximately 24% to 50% of the best estimate of classwide damages suffered by investors. He also served
as lead counsel prosecuting the Pharmacia securities litigation in the District of New Jersey, which resulted
in a $164 million recovery. Additionally, Saham was lead counsel in the In re Coca-Cola Sec. Litig. in the
Northern District of Georgia, which resulted in a $137.5 million recovery after nearly eight years of
litigation. He also obtained reversal from the California Court of Appeal of the trial court’s initial
dismissal of the landmark Countrywide mortgage-backed securities action. This decision is reported
as Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011), and following this ruling that revived the
action the case settled for $500 million.


Education
B.A., University of Michigan, 1992; J.D., University of Michigan Law School, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Distinguished Pro Bono Attorney of the Year,
Casa Cornelia Law Center, 2022




                                                                               Robbins Geller Rudman & Dowd LLP | 118
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 147 of 188
                                                                               ATTORNEY BIOGRAPHIES


Juan Carlos Sanchez | Partner
Juan Carlos “J.C.” Sanchez is a partner in the Firm’s San Diego office. He specializes in complex securities
litigation and has extensive experience advising investors on their exposure to securities fraud and
advising them on their litigation options for recovering losses. He has advised institutional and retail
investors in more than 60 securities class actions that yielded more than $600 million in class-wide
recoveries.

Sanchez was a key member of the litigation team that secured the largest shareholder derivative recovery
ever in Tennessee and the Sixth Circuit and unprecedented corporate governance reforms in In re
Community Health Sys., Inc. S’holder Derivative Litig. His representation of California passengers in a
landmark consumer and civil rights case against Greyhound Lines, Inc. led to a ruling recognizing that
transit passengers do not check their rights and dignity at the bus door. Law360 honored Sanchez and
the Greyhound litigation team as a Consumer Protection Group of the Year in 2019.

Before joining Robbins Geller, J.C. served as a judicial law clerk to the Honorable Nelva Gonzales Ramos
of the U.S. District Court for the Southern District of Texas.


Education
B.S., University of California, Davis, 2005; J.D., University of California, Berkeley School of Law (Boalt
Hall), 2014

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2023-2024; Leading Litigator in America, Lawdragon, 2024




                                                                              Robbins Geller Rudman & Dowd LLP | 119
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 148 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Vincent M. Serra | Partner
Vincent Serra is a partner in the Firm’s Melville office. His practice focuses primarily on complex
securities and consumer actions, but has also included antitrust, employment, insurance, and
environmental litigation. His efforts have contributed to the recovery of billions of dollars on behalf of
aggrieved plaintiffs and class members and significant injunctive relief for individuals and municipalities
throughout the country. Notably, Serra has contributed to several noteworthy recoveries, including Dahl
v. Bain Cap. Partners, LLC ($590.5 million recovery), an antitrust action against the world’s largest private
equity firms alleging collusive practices in multi-billion dollar leveraged buyouts, and Samit v. CBS Corp.
($14.75 million recovery), a securities action alleging that defendants made false and misleading
statements about their knowledge of former CEO Leslie Moonves’s exposure to the #MeToo movement.

Additionally, Serra was a member of the litigation team that obtained a $22.75 million settlement fund on
behalf of route drivers in Veliz v. Cintas Corp., an action asserting violations of federal and state overtime
laws. He was also part of the successful trial team in Lebrilla v. Farmers Grp., Inc., which involved Farmers’
practice of using inferior imitation parts when repairing insureds’ vehicles. Other notable cases include In
re Payment Card Interchange Fee and Merchant Discount Antitrust Litig. ($5.5 billion recovery), In re DouYu Int’l
Holdings Ltd. Sec. Litig. ($15 million state court securities recovery) and Kail v. Wolf Appliance, Inc.
(confidential settlement in breach of warranty actions involving faulty blue porcelain oven cavities).

Serra has litigated several actions against manufacturers and retailers alleging the improper marketing
and sale of purportedly “flushable” wipes products, including consumer fraud, nuisance, and strict
product liability claims. For example, in Commissioners of Public Works of the City of Charleston (d.b.a.
Charleston Water System) v. Costco Wholesale Corp., Serra led the prosecution of seven defendants resulting in
industrywide settlements that secured commitments from the leading flushable wipes manufacturers and
retailers to meet the national municipal wastewater standard for flushability and enhance “do not flush”
labeling for non-flushable wipes, helping to meaningfully reduce wipes-related sewer impacts for
municipalities and wastewater utilities nationwide. Serra is currently working to finalize an analogous
nationwide settlement with Dude Products Inc. in a separate action pending in the District of South
Carolina.


Education
B.A., University of Delaware, 2001; J.D., California Western School of Law, 2005

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2024; Wiley W. Manuel Award for Pro Bono Legal
Services, State Bar of California




                                                                                  Robbins Geller Rudman & Dowd LLP | 120
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 149 of 188
                                                                                ATTORNEY BIOGRAPHIES


Sam S. Sheldon | Partner
Sam Sheldon is a partner in the Firm’s San Diego office, where he focuses on securities fraud and other
complex civil litigation. Before joining the Firm in January 2024, Sheldon served more than five years as
a United States Magistrate Judge in the Southern District of Texas, primarily in Houston. He wrote
opinions in almost every area of the law, including securities fraud, intellectual property, class actions,
labor and employment, False Claims Act, and criminal law. Before taking the federal bench, Sheldon was
a partner with Quinn Emanuel in the Washington, D.C. office and headed the firm’s Health Care Practice
Group. He represented plaintiffs in landmark cases brought under the federal False Claims Act.

Sheldon previously served as Chief of the Health Care Fraud Unit in the DOJ Criminal Division in
Washington, D.C., where he oversaw the prosecution of federal health care fraud throughout the United
States. He also was an Assistant United States Attorney in Texas. Earlier in his career, Sheldon was a
partner with Cozen O’Connor in the San Diego office. Sheldon has tried 25 cases as a federal prosecutor
and civil litigator. He received numerous awards for his successful federal prosecutions from the DOJ
and other federal agencies including the Special Achievement Award presented by the United States
Attorney General.


Education
B.A., University of Southern California, 1992; M.A., University of Southern California, 1994; J.D.,
University of Houston Law Center, 1997

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Prosecutor Leadership Award presented by the
Inspector General for the United States Department of Health and Human Services, 2013; Special Award
from the Director of the FBI for excellent work with the Medicare Fraud Taskforce, 2013; Exceptional
Service Award presented by the United States Assistant Attorney General, 2011; Special Achievement
Award presented by the United States Attorney General for Sustained Superior Performance of Duty,
2010; International Achievement Award from the Assistant Director of the Department of Homeland
Security for prosecuting the first illegal exportation of goods case in the Southern District of Texas (under
18 U.S.C. §554), 2010; Special Award from the Director of the FBI for prosecuting the first agricultural
fraud case in the United States (under 7 U.S.C. §7711), 2009




                                                                               Robbins Geller Rudman & Dowd LLP | 121
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 150 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Arthur L. Shingler III | Partner
Arthur Shingler is a partner in the Firm’s San Diego office. Shingler has successfully represented both
public and private sector clients in hundreds of complex, multi-party actions with billions of dollars in
dispute. Throughout his career, he has obtained outstanding results for those he has represented in cases
generally encompassing shareholder derivative and securities litigation, unfair business practices and
antitrust litigation, publicity rights and advertising litigation, ERISA litigation, and other insurance, health
care, employment, and commercial disputes.

Representative matters in which Shingler has served as a core member of the litigation team or settlement
counsel include, among others: In re EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices &
Antitrust Litig., No. 2:17-md-02785 (D. Kan.) ($609 million total recovery achieved weeks prior to trial in
certified class action alleging antitrust claims involving the illegal reverse payment settlement to delay the
generic EpiPen, which allowed the prices of the life-saving EpiPen to rise over 600% in 9 years); In re
Remicade Antitrust Litig., No. 2:17-cv-04326 (E.D. Pa.) ($25 million recovery for indirect purchasers in
antitrust action); In re Liquid Aluminum Sulfate Antitrust Litig., No. 2:16-md-02687 (D.N.J.) (direct
purchaser class settled in excess of $100 million); NECA-IBEW Health & Welfare Fund v. Goldman Sachs &
Co., No. 1:08-cv-10783 (S.D.N.Y.) ($272 million recovery); In re Royal Dutch/Shell ERISA Litig., No.
3:04-cv-00374 (D.N.J.) ($90 million settlement); In re Priceline.com Sec. Litig., No. 3:00-cv-01884 (D. Conn.)
($80 million settlement); In re General Motors ERISA Litig., No. 05-71085 (E.D. Mich.) ($37.5 million
settlement, in addition to significant revision of retirement plan administration); Wood v. Ionatron, Inc.,
No. 4:06-cv-00354 (D. Ariz.) ($6.5 million settlement); In re Lattice Semiconductor Corp. Derivative Litig., No.
C 043327CV (Or. Cir. Ct., Wash. Cnty.) (corporate governance settlement, including substantial revision
of board policies and executive management); In re 360networks Class Action Sec. Litig., No. 1:02-cv-04837
(S.D.N.Y.) ($7 million settlement); and Rothschild v. Tyco Int’l (US), Inc., 83 Cal. App. 4th 488 (2000)
(shaped scope of California’s Unfair Practices Act as related to limits of State’s False Claims Act).

In addition, Shingler is currently working on behalf of plaintiffs in several class actions, including, for
example, In re National Prescription Opiate Litig., No. 1:17-md-02804 (N.D. Ohio), and In re American
Airlines/JetBlue Antitrust Litig., No. 1:22-cv-07374 (E.D.N.Y.).


Education
B.A., Point Loma Nazarene College, 1989; J.D., Boston University School of Law, 1995

Honors / Awards
B.A., Cum Laude, Point Loma Nazarene College, 1989




                                                                                 Robbins Geller Rudman & Dowd LLP | 122
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 151 of 188
                                                                                ATTORNEY BIOGRAPHIES


Jessica T. Shinnefield | Partner
Jessica Shinnefield is a partner in the Firm’s San Diego office. Currently, her practice focuses on
initiating, investigating, and prosecuting securities fraud class actions. Shinnefield served as lead counsel
in In re Am. Realty Cap. Props., Inc. Litig., a case arising out of ARCP’s manipulative accounting practices,
and obtained a $1.025 billion recovery. For five years, she and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages of any major PSLRA case prior to trial and includes the largest personal
contributions by individual defendants in history. Shinnefield also served as lead counsel in Smilovits v.
First Solar, Inc., and obtained a $350 million settlement on the eve of trial. The settlement is fifth-largest
PSLRA settlement ever recovered in the Ninth Circuit.

Shinnefield was also a member of the litigation team prosecuting actions against investment banks and
leading national credit rating agencies for their roles in structuring and rating structured investment
vehicles backed by toxic assets in Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Incorporated and King
County, Washington v. IKB Deutsche Industriebank AG. These cases were among the first to successfully allege
fraud against the rating agencies, whose ratings have traditionally been protected by the First
Amendment. Shinnefield also litigated individual opt-out actions against AOL Time Warner – Regents of
the Univ. of Cal. v. Parsons and Ohio Pub. Emps. Ret. Sys. v. Parsons (recovery more than $600 million).
Additionally, she litigated an action against Omnicare, in which she helped obtain a favorable ruling for
plaintiffs from the United States Supreme Court. Shinnefield has also successfully appealed lower court
decisions in the Second, Seventh, and Ninth Circuit Courts of Appeals.


Education
B.A., University of California at Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2024; Top Woman Lawyer, Daily Journal,
2024; Future Star, Benchmark Litigation, 2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon,
2019-2024; Best Lawyer in America: One to Watch, Best Lawyers®, 2023; Plaintiffs’ Lawyers Trailblazer,
The National Law Journal, 2021; Litigator of the Week, The American Lawyer, 2020; Rising Star, Super
Lawyers Magazine, 2015-2019; 40 & Under Hot List, Benchmark Litigation, 2018-2019; B.A., Phi Beta Kappa,
University of California at Santa Barbara, 2001




                                                                                Robbins Geller Rudman & Dowd LLP | 123
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 152 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Elizabeth A. Shonson | Partner
Elizabeth Shonson is a partner in the Firm’s Boca Raton office. She concentrates her practice on
representing investors in class actions brought pursuant to the federal securities laws. Shonson has
litigated numerous securities fraud class actions nationwide, helping achieve significant recoveries for
aggrieved investors. She was a member of the litigation teams responsible for recouping millions of
dollars for defrauded investors, including: In re Massey Energy Co. Sec. Litig. (S.D. W.Va.) ($265 million);
Nieman v. Duke Energy Corp. (W.D.N.C.) ($146.25 million recovery); In re ADT Inc. S’holder Litig. (Fla. Cir.
Ct., 15th Jud. Cir.) ($30 million settlement); Eshe Fund v. Fifth Third Bancorp (S.D. Ohio) ($16 million); City
of St. Clair Shores Gen. Emps. Ret. Sys. v. Lender Processing Servs., Inc. (M.D. Fla.) ($14 million); and In re
Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).


Education
B.A., Syracuse University, 2001; J.D., University of Florida Levin College of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2016-2019; J.D., Cum Laude, University of Florida Levin College of
Law, 2005; Editor-in-Chief, Journal of Technology Law & Policy; Phi Delta Phi; B.A., with Honors, Summa
Cum Laude, Syracuse University, 2001; Phi Beta Kappa



Trig Smith | Partner
Trig Smith is a partner in the Firm’s San Diego office where he focuses his practice on complex securities
litigation. He has been involved in the prosecution of numerous securities class actions that have resulted
in over a billion dollars in recoveries for investors. His cases have included: In re Cardinal Health, Inc. Sec.
Litig. ($600 million recovery); Jones v. Pfizer Inc. ($400 million recovery); Silverman v. Motorola, Inc. ($200
million recovery); and City of Livonia Emps.’ Ret. Sys. v. Wyeth ($67.5 million). Most recently, he was a
member of the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., a securities fraud class action that
resulted in a verdict in favor of investors after a two-week jury trial.


Education
B.S., University of Colorado, Denver, 1995; M.S., University of Colorado, Denver, 1997; J.D., Brooklyn
Law School, 2000

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2024; Member, Brooklyn Journal of International Law, Brooklyn Law
School; CALI Excellence Award in Legal Writing, Brooklyn Law School



Mark Solomon | Partner
Mark Solomon is a founding and managing partner of the Firm and leads its international litigation
practice. Over the last 29 years, he has regularly represented United States and United Kingdom-based
pension funds and asset managers in class and non-class securities litigation in federal and state courts
throughout the United States. He was first admitted to the Bar of England and Wales as a Barrister (he is
non-active) and is an active member of the Bars of Ohio, California, and various United States federal
district and appellate courts.


                                                                                 Robbins Geller Rudman & Dowd LLP | 124
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 153 of 188
                                                                                  ATTORNEY BIOGRAPHIES

Since 1993, Solomon has spearheaded the prosecution of many significant securities fraud cases. He has
obtained multi-hundred million-dollar recoveries for plaintiffs in pre-trial settlements and significant
corporate governance reforms designed to limit recidivism and promote appropriate standards. Prior to
the most recent financial crisis, he was instrumental in obtaining some of the first mega-recoveries in the
field in California and Texas, serving in the late 1990s and early 2000s as class counsel in In re Informix
Corp. Sec. Litig. in the federal district court for the Northern District of California, and recovering $131
million for Informix investors; and serving as class counsel in Schwartz v. TXU Corp. in the federal district
court for the Northern District of Texas, where he helped obtain a recovery of over $149 million for a
class of purchasers of TXU securities as well as securing important governance reforms. He litigated and
tried the securities class action In re Helionetics, Inc. Sec. Litig., where he won a $15.4 million federal jury
verdict in the federal district court for the Central District of California.

Solomon is currently counsel to a number of pension funds serving as lead plaintiffs in cases throughout
the United States. He represents the UK’s Norfolk Pension Fund in Hsu v. Puma Biotechnology, Inc. where,
in the federal district court for the Central District of California, after three weeks of trial, the Fund
obtained a jury verdict valued at over $54 million in favor of the class against the company and its CEO.
Solomon also represents Norfolk Pension Fund in separate class actions currently pending against Apple
Inc. and Apple executives in the federal district court for the Northern District of California and against
Anadarko Petroleum Corporation and former Anadarko executives in the federal district court for the
Southern District of Texas. He represented the British Coal Staff Superannuation Scheme and the
Mineworkers’ Pension Scheme in Smilovits v. First Solar, Inc. in the federal district court for the District of
Arizona, in which the class recently recovered $350 million on the eve of trial. That settlement is the fifth-
largest recovered in the Ninth Circuit since the advent in 1995 of statutory reforms to securities litigation
that established the current legal regime. Solomon also represents the same coal industry funds in the
recently filed class action against Citrix Inc. and Citrix executives in the federal district court for the
Southern District of Florida, and he represents North East Scotland Pension Fund in a class action
pending against Under Armour and Under Armour executives in the federal district court for the District
of Maryland. In addition, he is currently representing Los Angeles County Employees Retirement
Association in a class action pending against FirstEnergy and FirstEnergy executives in the federal district
court for the Southern District of Ohio and he is representing Strathclyde Pension Fund in a class action
pending against Bank OZK and its CEO in the federal district court for the Eastern District of Arkansas.


Education
B.A., Trinity College, Cambridge University, England, 1985; L.L.M., Harvard Law School, 1986; Inns of
Court School of Law, Degree of Utter Barrister, England, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Global Plaintiff Lawyer, Lawdragon, 2024;
Super Lawyer, Super Lawyers Magazine, 2017-2018; Recommended Lawyer, The Legal 500, 2016-2017;
Lizette Bentwich Law Prize, Trinity College, 1983 and 1984; Hollond Travelling Studentship, 1985;
Harvard Law School Fellowship, 1985-1986; Member and Hardwicke Scholar of the Honourable Society
of Lincoln’s Inn




                                                                                 Robbins Geller Rudman & Dowd LLP | 125
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 154 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Hillary B. Stakem | Partner
Hillary Stakem is a partner in the Firm’s San Diego office, where her practice focuses on complex
securities litigation. Stakem was a member of the litigation team in Jaffe v. Household Int’l, Inc., a securities
class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including
a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. She was also a member of the
litigation teams that secured a $388 million recovery for investors in J.P. Morgan residential mortgage-
backed securities in Fort Worth Employees’ Retirement Fund v. J.P. Morgan Chase & Co., and that obtained a
$350 million settlement on the eve of trial in Smilovits v. First Solar, Inc., the fifth-largest PSLRA settlement
ever recovered in the Ninth Circuit. Stakem also helped secure a $131 million recovery in favor of
plaintiffs in Bennett v. Sprint Nextel Corp, a $100 million settlement for shareholders in Karinski v.
Stamps.com, a $97.5 million recovery in Marcus v. J.C. Penney Company, Inc., and an $87.5 million settlement
in Monroe County Employees’ Retirement System v. The Southern Company.


Education
B.A., College of William and Mary, 2009; J.D., UCLA School of Law, 2012

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; California Lawyer Attorney of the Year (CLAY),
Daily Journal, 2024; 40 & Under List, Benchmark Litigation, 2024; Rising Star, Super Lawyers Magazine,
2021-2022; 40 & Under Hot List, Benchmark Litigation, 2021; B.A., Magna Cum Laude, College of William
and Mary, 2009



Jeffrey J. Stein | Partner
Jeffrey Stein is a partner in the Firm’s San Diego office, where he practices securities fraud litigation and
other complex matters. He was a member of the litigation team that secured a historic recovery on behalf
of Trump University students in two class actions against President Donald J. Trump. The settlement
provides $25 million to approximately 7,000 consumers. This result means individual class members are
eligible for upwards of $35,000 in restitution. Stein represented the class on a pro bono basis.

Before joining the Firm, Stein focused on civil rights litigation, with special emphasis on the First, Fourth,
and Eighth Amendments. In this capacity, he helped his clients secure successful outcomes before the
United States Supreme Court and the Ninth Circuit Court of Appeals.


Education
B.S., University of Washington, 2005; J.D., University of San Diego School of Law, 2009




                                                                                  Robbins Geller Rudman & Dowd LLP | 126
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 155 of 188
                                                                                ATTORNEY BIOGRAPHIES


Christopher D. Stewart | Partner
Christopher Stewart is a partner in the Firm’s San Diego office. His practice focuses on complex securities
and shareholder derivative litigation. Stewart served as lead counsel in In re Am. Realty Cap. Props., Inc.
Litig., a case arising out of ARCP’s manipulative accounting practices, and obtained a $1.025 billion
recovery. For five years, he and the litigation team prosecuted nine different claims for violations of the
Securities Exchange Act of 1934 and the Securities Act of 1933, involving seven different stock or debt
offerings and two mergers. The recovery represents the highest percentage of damages of any major
PSLRA case prior to trial and includes the largest personal contributions by individual defendants in
history. Most recently, Stewart served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.

He was also part of the litigation team that obtained a $67 million settlement in City of Westland Police &
Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing. Stewart also served
on the litigation team in In re Deutsche Bank AG Sec. Litig., in which the Firm obtained a $18.5 million
settlement in a case against Deutsche Bank and certain of its officers alleging violations of the Securities
Act of 1933.


Education
B.S., Santa Clara University, 2004; M.B.A., University of San Diego School of Business Administration,
2009; J.D., University of San Diego School of Law, 2009

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2024; Rising Star, Super Lawyers Magazine,
2015-2020; J.D., Magna Cum Laude, Order of the Coif, University of San Diego School of Law, 2009;
Member, San Diego Law Review




                                                                               Robbins Geller Rudman & Dowd LLP | 127
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 156 of 188
                                                                                ATTORNEY BIOGRAPHIES


Sabrina E. Tirabassi | Partner
Sabrina Tirabassi is a partner in the Firm’s Boca Raton office, where her practice focuses on complex
securities litigation, including the Firm’s lead plaintiff motion practice. In this role, Tirabassi remains at
the forefront of litigation trends and issues arising under the Private Securities Litigation Reform Act of
1995. Further, Tirabassi has been an integral member of the litigation teams responsible for securing
significant monetary recoveries on behalf of shareholders, including: Villella v. Chemical and Mining
Company of Chile Inc., No. 1:15-cv-02106 (S.D.N.Y.); In re ADT Inc. S’holder Litig., No.
502018CA003494XXXXMB-AG (Fla. Cir. Ct., 15th Jud. Cir.); KBC Asset Mgmt. NV v. Aegerion Pharms.,
Inc., No. 1:14-cv-10105-MLW (D. Mass.); Sohal v. Yan, No. 1:15-cv-00393-DAP (N.D. Ohio); McGee v.
Constant Contact, Inc., No. 1:15-cv-13114-MLW (D. Mass.); and Schwartz v. Urban Outfitters, Inc., No.
2:13-cv-05978-MAK (E.D. Pa.).


Education
B.A., University of Florida, 2000; J.D., Nova Southeastern University Shepard Broad College of Law,
2006, Magna Cum Laude

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2024; Rising Star, Super Lawyers Magazine, 2010,
2015-2018; J.D., Magna Cum Laude, Nova Southeastern University Shepard Broad College of Law, 2006



Douglas Wilens | Partner
Douglas Wilens is a partner in the Firm’s Boca Raton office. Wilens is a member of the Firm’s Appellate
Practice Group, participating in numerous appeals in federal and state courts across the country. Most
notably, Wilens handled successful and precedent-setting appeals in Ind. Pub. Ret. Sys. v. SAIC, Inc., 818
F.3d 85 (2d Cir. 2016) (addressing duty to disclose under SEC Regulation Item 303 in §10(b) case), Mass.
Ret. Sys. v. CVS Caremark Corp., 716 F.3d 229 (1st Cir. 2013) (addressing pleading of loss causation
in §10(b) case), and Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009) (addressing pleading of
falsity, scienter, and loss causation in §10(b) case).

Before joining the Firm, Wilens was an associate at a nationally recognized firm, where he litigated
complex actions on behalf of numerous professional sports leagues, including the National Basketball
Association, the National Hockey League, and Major League Soccer. He has also served as an adjunct
professor at Florida Atlantic University and Nova Southeastern University, where he taught
undergraduate and graduate-level business law classes.


Education
B.S., University of Florida, 1992; J.D., University of Florida College of Law, 1995

Honors / Awards
Book Award for Legal Drafting, University of Florida College of Law; J.D., with Honors, University of
Florida College of Law, 1995




                                                                                Robbins Geller Rudman & Dowd LLP | 128
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 157 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Shawn A. Williams | Partner
Shawn Williams, a founding partner of the Firm, is the managing partner of the Firm’s San Francisco
office and a member of the Firm’s Management Committee. Williams specializes in complex commercial
litigation focusing on securities litigation, and has served as lead counsel in a range of actions resulting in
more than a billion dollars in recoveries. For example, Williams was among lead counsel in In re Facebook
Biometric Info. Privacy Litig., charging Facebook with violations of the Illinois Biometric Information
Privacy Act, resulting in a $650 million recovery for injured Facebook users, the largest ever biometric
class action.

Williams led the team of Robbins Geller attorneys in the investigation and drafting of comprehensive
securities fraud claims in Hefler v. Wells Fargo & Co., alleging widespread opening of unauthorized and
undisclosed customer accounts. The Hefler action resulted in the recovery of $480 million for Wells Fargo
investors. In City of Westland Police & Fire Ret. Sys. v. Metlife, Inc., Williams led the Firm’s team of lawyers
alleging MetLife’s failure to disclose and account for the scope of its use and non-use of the Social Security
Administration Death Master File and its impact on MetLife’s financial statements. The Metlife action
resulted in a recovery of $84 million. Williams also served as lead counsel in the following actions
resulting in significant recoveries: Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd. ($75 million
recovery); In re Krispy Kreme Doughnuts, Inc. Sec. Litig. ($75 million recovery); In re Medtronic, Inc. Sec.
Litig. ($43 million recovery); In re Cadence Design Sys., Inc. Sec. Litig. ($38 million recovery); and City of
Sterling Heights Gen. Emps’. Ret. Sys. v. Prudential Fin., Inc. ($33 million recovery).

Williams is also a member of the Firm’s Shareholder Derivative Practice Group which has secured tens of
millions of dollars in cash recoveries and comprehensive corporate governance reforms in a number of
high-profile cases including: In re McAfee, Inc. Derivative Litig.; In re Marvell Tech. Grp. Ltd. Derivative
Litig.; In re KLA-Tencor Corp. S’holder Derivative Litig.; The Home Depot, Inc. Derivative Litig.; and City of
Westland Police & Fire Ret. Sys. v. Stumpf (Wells Fargo & Co.).

Williams led multiple shareholder actions in which the Firm obtained favorable appellate rulings,
including: W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384 (8th Cir.
2016); Knollenberg v. Harmonic, Inc., 152 F. App’x 674 (9th Cir. 2005); Nursing Home Pension Fund, Local
144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004); Lynch v. Rawls, 429 F. App’x 641 (9th Cir. 2011);
and Barrie v. Intervoice-Brite, Inc., 409 F.3d 653 (5th Cir. 2005).

Before joining the Firm in 2000, Williams served for 5 years as an Assistant District Attorney in the
Manhattan District Attorney’s Office, where he tried over 20 cases to New York City juries.


Education
B.A., The State of University of New York at Albany, 1991; J.D., University of Illinois, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2014-2017, 2020-2021, 2023-2024; Recommended Lawyer, The
Legal 500, 2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2024; Leading Lawyer in
America, Lawdragon, 2018-2024; Best Lawyer in America, Best Lawyers®, 2022-2024; Top Plaintiff Lawyer,
Daily Journal, 2022; Most Influential Black Lawyers, Savoy, 2022; Legend, Lawdragon, 2022; Top 100
Lawyer, Daily Journal, 2019, 2021; California Trailblazer, The Recorder, 2019; Titan of the Plaintiffs
Bar, Law360, 2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2019; Board Member,
California Bar Foundation, 2012-2014



                                                                                 Robbins Geller Rudman & Dowd LLP | 129
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 158 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Christopher M. Wood | Partner
Christopher Wood is the partner in charge of Robbins Geller Rudman & Dowd LLP’s Nashville office,
where his practice focuses on complex securities litigation. He has been a member of litigation teams
responsible for recoveries totaling hundreds of millions of dollars for investors, including some of the
largest securities class action recoveries in Tennessee history. His cases include: In re Massey Energy Co.
Sec. Litig. ($265 million recovery); In re Envision Healthcare Co. Sec. Litig. ($177.5 million recovery); In re
VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery); Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions,
Inc. ($65 million recovery); Grae v. Corrections Corporation of America ($56 million recovery); In re Micron
Tech., Inc. Sec. Litig. ($42 million recovery); Jackson Cnty. Emps.’ Ret. Sys. v. Ghosn ($36 million recovery);
and Winslow v. BancorpSouth, Inc. ($29.5 million recovery).

Working together with the ACLU of Tennessee and Public Funds Public Schools (a national campaign
founded by the Southern Poverty Law Center and Education Law Center), Wood is litigating an action
challenging Tennessee’s school voucher program, which diverts critically needed funds from public
school students in Nashville and Memphis. Wood has also provided pro bono legal services through
Tennessee Justice for Our Neighbors, Volunteer Lawyers & Professionals for the Arts, the Ninth Circuit’s
Pro Bono Program, and the San Francisco Bar Association’s Volunteer Legal Services Program.


Education
B.A., Vanderbilt University, 2003; J.D., University of San Francisco School of Law, 2006

Honors / Awards
Future Star, Benchmark Litigation, 2023-2024; Leading Plaintiff Financial Lawyer, Lawdragon, 2024; Best
Lawyer in America: One to Watch, Best Lawyers®, 2023-2024; 40 & Under Hot List, Benchmark Litigation,
2021; Rising Star, Super Lawyers Magazine, 2011-2013, 2015-2020




                                                                                   Robbins Geller Rudman & Dowd LLP | 130
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 159 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Debra J. Wyman | Partner
Debra Wyman is a partner in the Firm’s San Diego office. She specializes in securities litigation and has
litigated numerous cases against public companies in state and federal courts that have resulted in over $2
billion in securities fraud recoveries. Wyman served as lead counsel in In re Am. Realty Cap. Props., Inc.
Litig., a case arising out of ARCP’s manipulative accounting practices, and obtained a $1.025 billion
recovery. For five years, she and the litigation team prosecuted nine different claims for violations of the
Securities Exchange Act of 1934 and the Securities Act of 1933, involving seven different stock or debt
offerings and two mergers. The recovery represents the highest percentage of damages of any major
PSLRA case prior to trial and includes the largest personal contributions by individual defendants in
history. Most recently, Wyman was part of the litigation team in Monroe County Employees’ Retirement System
v. The Southern Company in which an $87.5 settlement was reached after three years of litigation. The
settlement resolved claims for violations of the Securities Exchange Act of 1934 stemming from
defendants’ issuance of materially misleading statements and omissions regarding the status of
construction of a first-of-its-kind “clean coal” power plant that was designed to transform coal into
synthetic gas that could then be used to fuel the power plant.

Wyman was also a member of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215
million recovery for shareholders, the largest securities class action recovery ever in Tennessee. The
recovery achieved represents more than 30% of the aggregate classwide damages, far exceeding the
typical recovery in a securities class action. Wyman prosecuted the complex securities and accounting
fraud case In re HealthSouth Corp. Sec. Litig., one of the largest and longest-running corporate frauds in
history, in which $671 million was recovered for defrauded HealthSouth investors. She was also part of
the trial team that litigated In re AT&T Corp. Sec. Litig., which was tried in the United States District Court,
District of New Jersey, and settled after only two weeks of trial for $100 million. Wyman was also part of
the litigation team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters National Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully
appealed to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action.


Education
B.A., University of California Irvine, 1990; J.D., University of San Diego School of Law, 1997

Honors / Awards
California Lawyer Attorney of the Year (CLAY), Daily Journal, 2024; Litigation Star, Benchmark Litigation,
2023-2024; National Practice Area Star, Benchmark Litigation, 2024; California - Litigation Star, Benchmark
Litigation, 2024; Top 250 Women in Litigation, Benchmark Litigation, 2021, 2024; Leading Plaintiff
Financial Lawyer, Lawdragon, 2019-2024; Leading Lawyer in America, Lawdragon, 2020-2024; San Diego
Litigator of the Year, Benchmark Litigation, 2021; Plaintiff Litigator of the Year, Benchmark Litigation, 2021;
Top Woman Lawyer, Daily Journal, 2017, 2020; MVP, Law360, 2020; Litigator of the Week, The American
Lawyer, 2020; Litigator of the Year, Our City San Diego, 2017; Super Lawyer, Super Lawyers Magazine,
2016-2017




                                                                                 Robbins Geller Rudman & Dowd LLP | 131
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 160 of 188
                                                                               ATTORNEY BIOGRAPHIES


Jonathan Zweig | Partner
Jonathan Zweig is a partner with the Firm and is based in the Manhattan office. Zweig’s practice focuses
primarily on complex securities litigation, corporate control cases, and breach of fiduciary duty actions on
behalf of investors. He is also part of the Firm’s Delaware Practice Group.

Before joining Robbins Geller, Zweig served for over six years as an Assistant Attorney General with the
New York State Office of the Attorney General’s Investor Protection Bureau, where he prosecuted civil
securities fraud actions and tried two major cases on behalf of the State. On three occasions, Zweig was
awarded the Louis J. Lefkowitz Award for Exceptional Service.

Zweig was previously a litigator at Davis Polk & Wardwell LLP. Zweig also clerked for Judge Jacques L.
Wiener, Jr. of the U.S. Court of Appeals for the Fifth Circuit, and Judge Sarah S. Vance of the U.S.
District Court for the Eastern District of Louisiana.


Education
B.A., Yale University, 2007; J.D., Harvard Law School, 2010

Honors / Awards
500 X – The Next Generation, Lawdragon, 2023-2024; Louis J. Lefkowitz Award for Exceptional Service,
New York State Office of the Attorney General, 2015, 2020, 2021; J.D., Magna Cum Laude, Harvard Law
School, 2010; B.A., Summa Cum Laude, Yale University, 2007




                                                                              Robbins Geller Rudman & Dowd LLP | 132
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 161 of 188
                                                                                ATTORNEY BIOGRAPHIES


Susan K. Alexander | Of Counsel
Susan Alexander is Of Counsel to the Firm and is based in the San Francisco office. Alexander’s practice
specializes in federal appeals of securities fraud class actions on behalf of investors. With nearly 30 years
of federal appellate experience, she has argued on behalf of defrauded investors in circuit courts
throughout the United States. Among her most notable cases are Mineworkers’ Pension Scheme v. First Solar
Inc. ($350 million recovery), In re VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery), and the
successful appellate ruling in Alaska Elec. Pension Fund v. Flowserve Corp. ($55 million recovery). Other
representative results include: Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018) (reversing dismissal of
securities fraud action and holding that the Exchange Act applies to unsponsored American Depositary
Shares); W. Va. Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384 (8th Cir. 2016)
(reversing summary judgment of securities fraud action on statute of limitations grounds); In re Ubiquiti
Networks, Inc. Sec. Litig., 669 F. App’x 878 (9th Cir. 2016) (reversing dismissal of §11 claim); Carpenters
Pension Tr. Fund of St. Louis v. Barclays PLC, 750 F.3d 227 (2d Cir. 2014) (reversing dismissal of securities
fraud complaint, focused on loss causation); Panther Partners Inc. v. Ikanos Commc’ns, Inc., 681 F.3d 114 (2d
Cir. 2012) (reversing dismissal of §11 claim); City of Pontiac Gen. Emps.’ Ret. Sys. v. MBIA, Inc., 637 F.3d
169 (2d Cir. 2011) (reversing dismissal of securities fraud complaint, focused on statute of limitations); In
re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008) (reversing dismissal of securities fraud complaint,
focused on loss causation); Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.) (reversing dismissal of
securities fraud complaint, focused on scienter), reh’g denied and op. modified, 409 F.3d 653 (5th Cir. 2005);
and Pirraglia v. Novell, Inc., 339 F.3d 1182 (10th Cir. 2003) (reversing dismissal of securities fraud
complaint, focused on scienter). Alexander’s prior appellate work was with the California Appellate
Project (“CAP”), where she prepared appeals and petitions for writs of habeas corpus on behalf of
individuals sentenced to death. At CAP, and subsequently in private practice, she litigated and consulted
on death penalty direct and collateral appeals for ten years.


Education
B.A., Stanford University, 1983; J.D., University of California, Los Angeles, 1986

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2015-2021; American Academy of Appellate Lawyers; California
Academy of Appellate Lawyers; Ninth Circuit Advisory Rules Committee; Appellate Delegate, Ninth
Circuit Judicial Conference; ABA Council of Appellate Lawyers




                                                                                Robbins Geller Rudman & Dowd LLP | 133
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 162 of 188
                                                                                    ATTORNEY BIOGRAPHIES


Laura M. Andracchio | Of Counsel
Laura Andracchio is Of Counsel in the Firm’s San Diego office. Having first joined the Firm in 1997, she
was a Robbins Geller partner for ten years before her role as Of Counsel. As a partner with the Firm,
Andracchio led dozens of securities fraud cases against public companies throughout the country,
recovering hundreds of millions of dollars for injured investors. Her current focus remains securities
fraud litigation under the federal securities laws.

Most recently, Andracchio was a member of the litigation team in In re American Realty Cap. Props., Inc.
Litig. (S.D.N.Y.), in which a $1.025 billion recovery was approved in 2020. She was also on the litigation
team for City of Pontiac Gen. Emps.’ Ret. Sys. v. Walmart Stores, Inc. (W.D. Ark.), in which a $160 million
recovery for Walmart investors was approved in 2019. She also assisted in litigating a case brought
against J.P. Morgan Chase & Co., Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co. (S.D.N.Y.), on
behalf of investors in residential mortgage-backed securities, which resulted in a recovery of $388 million
in 2017.

Andracchio was also a lead member of the trial team in In re AT&T Corp. Sec. Litig., recovering $100
million for the class after two weeks of trial in district court in New Jersey. Before trial, she managed and
litigated the case, which was pending for four years. She also led the trial team in Brody v. Hellman, a case
against Qwest and former directors of U.S. West seeking an unpaid dividend, recovering $50 million for
the class, which was largely comprised of U.S. West retirees. Other cases Andracchio has litigated
include: City of Hialeah Emps.’ Ret. Sys. v. Toll Brothers, Inc.; Ross v. Abercrombie & Fitch Co.; In re GMH Cmtys.
Tr. Sec. Litig.; In re Vicuron Pharms., Inc. Sec. Litig.; and In re Navarre Corp. Sec. Litig.


Education
B.A., Bucknell University, 1986; J.D., Duquesne University School of Law, 1989

Honors / Awards
Order of the Barristers, J.D., with honors, Duquesne University School of Law, 1989




                                                                                   Robbins Geller Rudman & Dowd LLP | 134
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 163 of 188
                                                                             ATTORNEY BIOGRAPHIES


Jason M. Avellino | Of Counsel
Jason Avellino is Of Counsel in the Firm’s Wilmington office. He focuses his practice on corporate
governance, shareholder rights, and complex securities litigation.

Before joining Robbins Geller, Avellino practiced at a prominent Delaware law firm, where he was a
significant part of litigation teams that achieved substantial recoveries and meaningful governance
reforms for investors. He also spent more than a decade representing major product manufacturers,
contractors, marine terminal operators, retail establishments, and sports venues (including several
Fortune 500 companies) in the evaluation and defense of commercial matters and civil lawsuits. During
that time, Avellino was a member of the International Association of Defense Counsel (IADC), a group of
approximately 2,500 invitation-only, peer-reviewed members comprised of the world’s leading corporate
and insurance lawyers and insurance executives.


Education
B.S., Bloomsburg University, 2007; J.D., Villanova University School of Law, 2010

Honors / Awards
B.S., Magna Cum Laude, Bloomsburg University, 2007



Matthew J. Balotta | Of Counsel
Matt Balotta is Of Counsel in the Firm’s San Diego office, where his practice focuses on securities fraud
litigation. Balotta earned his Bachelor of Arts degree in History, summa cum laude, from the University of
Pittsburgh and his Juris Doctor degree from Harvard Law School. During law school, Balotta was a
summer associate with the Firm and interned at the National Consumer Law Center. He also
participated in the Employment Law and Delivery of Legal Services Clinics and served on the General
Board of the Harvard Civil Rights-Civil Liberties Law Review.


Education
B.A., University of Pittsburgh, 2005; J.D., Harvard Law School, 2015

Honors / Awards
B.A., Summa Cum Laude, University of Pittsburgh, 2005




                                                                             Robbins Geller Rudman & Dowd LLP | 135
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 164 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Randi D. Bandman | Of Counsel
Randi Bandman is Of Counsel in the Firm’s San Diego office. Throughout her career, she has
represented and advised hundreds of clients, including pension funds, managers, banks, and hedge
funds, such as the Directors Guild of America, Screen Actors Guild, Writers Guild of America, and
Teamster funds. Bandman’s cases have yielded billions of dollars of recoveries. Notable cases include the
AOL Time Warner, Inc. merger ($629 million), In re Enron Corp. Sec. Litig. ($7.2 billion), Private Equity
litigation (Dahl v. Bain Cap. Partners, LLC) ($590.5 million), In re WorldCom Sec. Litig. ($657 million), and In
re Facebook Biometric Info. Privacy Litig. ($650 million).

Bandman is currently representing plaintiffs in the Foreign Exchange Litigation pending in the Southern
District of New York which alleges collusive conduct by the world’s largest banks to fix prices in the $5.3
trillion a day foreign exchange market and in which billions of dollars have been recovered to date for
injured plaintiffs. Bandman is part of the Robbins Geller Co-Lead Counsel team representing the class in
the “High Frequency Trading” case, which accuses stock exchanges of giving unfair advantages to high-
speed traders versus all other investors, resulting in billions of dollars being diverted. Bandman was
instrumental in the landmark state settlement with the tobacco companies for $12.5 billion. Bandman
also led an investigation with congressional representatives on behalf of artists into allegations of “pay for
play” tactics, represented Emmy winning writers with respect to their claims involving a long-running
television series, represented a Hall of Fame sports figure, and negotiated agreements in connection with
a major motion picture. Recently, Bandman was chosen to serve on the Law Firm Advisory Board of the
Association of Media & Entertainment Counsel, an organization made up of thousands of attorneys from
studios, networks, guilds, talent agencies, and top media companies, dealing with protecting content
distributed through a variety of formats worldwide.


Education
B.A., University of California, Los Angeles; J.D., University of Southern California




                                                                                 Robbins Geller Rudman & Dowd LLP | 136
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 165 of 188
                                                                              ATTORNEY BIOGRAPHIES


Mary K. Blasy | Of Counsel
Mary Blasy is Of Counsel to the Firm and is based in the Firm’s Melville and Washington, D.C. offices.
Her practice focuses on the investigation, commencement, and prosecution of securities fraud class
actions and shareholder derivative suits. Blasy has recovered hundreds of millions of dollars for investors
in securities fraud class actions against Reliance Acceptance Corp. ($66 million); Sprint Corp. ($50
million); Titan Corporation ($15+ million); Martha Stewart Omni-Media, Inc. ($30 million); and Coca-
Cola Co. ($137.5 million). Blasy has also been responsible for prosecuting numerous complex
shareholder derivative actions against corporate malefactors to address violations of the nation’s
securities, environmental, and labor laws, obtaining corporate governance enhancements valued by the
market in the billions of dollars.

In 2014, the Presiding Justice of the Appellate Division of the Second Department of the Supreme Court
of the State of New York appointed Blasy to serve as a member of the Independent Judicial Election
Qualification Commission, which until December 2018 reviewed the qualifications of candidates seeking
public election to New York State Supreme Courts in the 10th Judicial District. She also served on the
Law360 Securities Editorial Advisory Board from 2015 to 2016.


Education
B.A., California State University, Sacramento, 1996; J.D., UCLA School of Law, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2020, 2023; Law360 Securities Editorial Advisory Board,
2015-2016; Member, Independent Judicial Election Qualification Commission, 2014-2018



M. Lamontt Bowens | Of Counsel
Lamontt Bowens is Of Counsel to Robbins Geller in the Firm’s Washington, D.C. office. He is a member
of the Firm’s client outreach team where his focus is working with institutional investor clients regarding
the Firm’s Portfolio Monitoring Program. He also practices complex securities, antitrust, and consumer
fraud litigation.

Bowens began his career with Robbins Geller working in the mailroom. After his first year of law school,
he worked as a summer associate with the Firm. Following his second year of law school, Bowens
completed a summer internship in the office of the San Diego County Public Defender, where he worked
at the direction of his supervising attorneys representing indigent clients. During law school, Bowens
served as vice president of the Black Law Students Association. He also earned a CALI Award for
excellence in Torts II and taught law to high school students for a semester, through his law school’s
Street Law program. In his last year of law school, Bowens returned to Robbins Geller as a law clerk
before becoming an attorney. Bowens completed his law school course work for graduation a semester
early.


Education
B.S., University of Phoenix, 2004; J.D., Golden Gate University School of Law, 2010




                                                                              Robbins Geller Rudman & Dowd LLP | 137
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 166 of 188
                                                                                ATTORNEY BIOGRAPHIES


William K. Cavanagh, Jr. | Of Counsel
Bill Cavanagh is Of Counsel in the Firm’s Washington, D.C. office. Cavanagh concentrates his practice in
employee benefits law and works with the Firm’s Institutional Outreach Team. Prior to joining Robbins
Geller, Cavanagh was employed by Ullico for the past nine years, most recently as President of Ullico
Casualty Group. The Ullico Casualty Group is the leading provider of fiduciary liability insurance for
trustees in both the private as well as the public sector. Prior to that he was President of the Ullico
Investment Company.

Preceding Cavanagh’s time at Ullico, he was a partner at the labor and employee benefits firm Cavanagh
and O’Hara in Springfield, Illinois for 28 years. In that capacity, Cavanagh represented public pension
funds, jointly trusteed Taft-Hartley, health, welfare, pension, and joint apprenticeship funds advising on
fiduciary and compliance issues both at the Board level as well as in administrative hearings, federal
district courts, and the United States Courts of Appeals. During the course of his practice, Cavanagh had
extensive trial experience in state and the relevant federal district courts. Additionally, Cavanagh served
as co-counsel on a number of cases representing trustees seeking to recover plan assets lost as a result of
fraud in the marketplace.


Education
B.A., Georgetown University, 1974; J.D., John Marshall Law School, 1978

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell



Christopher Collins | Of Counsel
Christopher Collins is Of Counsel in the Firm’s San Diego office and his practice focuses on antitrust and
consumer protection. Collins served as co-lead counsel in Wholesale Elec. Antitrust Cases I & II, charging an
antitrust conspiracy by wholesale electricity suppliers and traders of electricity in California’s newly
deregulated wholesale electricity market wherein plaintiffs secured a global settlement for California
consumers, businesses, and local governments valued at more than $1.1 billion. He was also involved in
California’s tobacco litigation, which resulted in the $25.5 billion recovery for California and its local
entities. Collins is currently counsel on the California Energy Manipulation antitrust litigation, the
Memberworks upsell litigation, as well as a number of consumer actions alleging false and misleading
advertising and unfair business practices against major corporations. He formerly served as a Deputy
District Attorney for Imperial County where he was in charge of the Domestic Violence Unit.


Education
B.A., Sonoma State University, 1988; J.D., Thomas Jefferson School of Law, 1995




                                                                               Robbins Geller Rudman & Dowd LLP | 138
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 167 of 188
                                                                              ATTORNEY BIOGRAPHIES


Vicki Multer Diamond | Of Counsel
Vicki Multer Diamond is Of Counsel to the Firm and is based in the Firm’s Melville office. She has over
25 years of experience as an investigator and attorney. Her practice at the Firm focuses on the initiation,
investigation, and prosecution of securities fraud class actions. Diamond played a significant role in the
factual investigations and successful oppositions to the defendants’ motions to dismiss in a number of
cases, including Tableau, One Main, Valeant, and Orbital ATK.

Diamond has served as an investigative consultant to several prominent law firms, corporations, and
investment firms. Before joining the Firm, she was an Assistant District Attorney in Brooklyn, New York,
where she served as a senior Trial Attorney in the Felony Trial Bureau, and was special counsel to the
Special Commissioner of Investigations for the New York City schools, where she investigated and
prosecuted crime and corruption within the New York City school system.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Member, Hofstra Property Law Journal, Hofstra University School of Law




                                                                              Robbins Geller Rudman & Dowd LLP | 139
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 168 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Michael J. Dowd | Of Counsel
Mike Dowd was a founding partner of the Firm. He has practiced in the area of securities litigation for 20
years, prosecuting dozens of complex securities cases and obtaining significant recoveries for investors in
cases such as American Realty ($1.025 billion), UnitedHealth ($925 million), WorldCom ($657 million), AOL
Time Warner ($629 million), Qwest ($445 million), and Pfizer ($400 million).

Dowd served as lead trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Dowd also served as the
lead trial lawyer in In re AT&T Corp. Sec. Litig., which was tried in the District of New Jersey and settled
after only two weeks of trial for $100 million. Dowd served as an Assistant United States Attorney in the
Southern District of California from 1987-1991, and again from 1994-1998, where he handled dozens of
jury trials and was awarded the Director's Award for Superior Performance.


Education
B.A., Fordham University, 1981; J.D., University of Michigan School of Law, 1984

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Director’s Award for Superior Performance, United States
Attorney’s Office; Recommended Lawyer, The Legal 500, 2016-2019, 2023-2024; Leading Plaintiff
Financial Lawyer, Lawdragon, 2019-2024; Best Lawyer in America, Best Lawyers®, 2015-2024; Top Lawyer
in San Diego, San Diego Magazine, 2013-2022; Southern California Best Lawyer, Best Lawyers®, 2015-2021;
Super Lawyer, Super Lawyers Magazine, 2010-2020; Lawyer of the Year, Best Lawyers®, 2020; Hall of
Fame, Lawdragon, 2018; Litigator of the Year, Our City San Diego, 2017; Leading Lawyer in America,
Lawdragon, 2014-2016; Litigator of the Week, The American Lawyer, 2015; Litigation Star, Benchmark
Litigation 2013; Directorship 100, NACD Directorship, 2012; Attorney of the Year, California Lawyer, 2010;
Top 100 Lawyers, Daily Journal, 2009; B.A., Magna Cum Laude, Fordham University, 1981




                                                                                 Robbins Geller Rudman & Dowd LLP | 140
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 169 of 188
                                                                                     ATTORNEY BIOGRAPHIES


Christopher T. Gilroy | Of Counsel
Christopher Gilroy is Of Counsel in the Firm’s Manhattan office. His practice focuses on complex
securities litigation. Since joining the Firm, Gilroy has played a significant role in the following
litigations: Landmen Partners, Inc. v. The Blackstone Grp., L.P ($85 million recovery on the eve of trial); In re
OSG Sec. Litig. ($34 million recovery, representing 87% of the maximum Section 11 damages); City of
Austin Police Ret. Sys. v. Kinross Gold Corp. ($33 million recovery); Citiline Holdings, Inc. v. iStar Fin. Inc. ($29
million recovery); City of Pontiac Gen. Emps. Ret. Sys. v. Lockheed Martin Corp. ($19.5 million
recovery); Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC ($14 million recovery); Beaver Cnty. Emps’
Ret. Fund v. Tile Shop Holdings, Inc. ($9.5 million recovery); IBEW Local 90 Pension Fund v. Deutsche Bank
AG (confidential settlement); In re Ply Gem Holdings, Inc., Sec. Litig. ($25.9 million recovery); In re BRF S.A.
Sec. Litig. ($40 million recovery pending final approval); and In re SandRidge Energy, Inc. Sec.
Litig. (successfully obtaining class certification in an ongoing litigation). Gilroy also performed an
exhaustive factual investigation in In re Satcon Tech. Corp., on behalf of Satcon’s Chapter 7 Bankruptcy
Trustee, resulting in a seven-figure settlement in an action alleging breaches of fiduciary duties against
former Satcon directors and officers.


Education
B.A., City University of New York at Queens College, 2005; J.D., Brooklyn Law School, 2010

Honors / Awards
Rising Star, Super Lawyers Magazine, 2019-2021; B.A., Cum Laude, City University of New York at Queens
College, 2005



Richard W. Gonnello | Of Counsel
Richard Gonnello is Of Counsel in the Firm’s Manhattan office. He has two decades of experience
litigating complex securities actions.

Gonnello has successfully represented institutional and individual investors. He has obtained substantial
recoveries in numerous securities class actions, including In re Royal Ahold Sec. Litig. (D. Md.) ($1.1 billion)
and In re Tremont Sec. Law, State Law & Ins. Litig. (S.D.N.Y.) ($100 million). Gonnello has also obtained
favorable recoveries for institutional investors pursuing direct opt-out claims, including cases against
Qwest Communications International, Inc. ($175 million) and Tyco International Ltd ($21 million).

Gonnello has co-authored the following articles appearing in the New York Law Journal: “Staehr Hikes
Burden of Proof to Place Investor on Inquiry Notice” and “Potential Securities Fraud: ‘Storm Warnings’
Clarified.”


Education
B.A., Rutgers University, 1995; J.D., UCLA School of Law, 1998

Honors / Awards
B.A., Summa Cum Laude, Rutgers University, 1995




                                                                                     Robbins Geller Rudman & Dowd LLP | 141
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 170 of 188
                                                                                 ATTORNEY BIOGRAPHIES


Mitchell D. Gravo | Of Counsel
Mitchell Gravo is Of Counsel to the Firm and is a member of the Firm’s institutional investor client
services group. With more than 30 years of experience as a practicing attorney, he serves as liaison to the
Firm’s institutional investor clients throughout the United States and Canada, advising them on securities
litigation matters.

Gravo’s clients include Anchorage Economic Development Corporation, Anchorage Convention and
Visitors Bureau, UST Public Affairs, Inc., International Brotherhood of Electrical Workers, Alaska
Seafood International, Distilled Spirits Council of America, RIM Architects, Anchorage Police Department
Employees Association, Fred Meyer, and the Automobile Manufacturer’s Association. Prior to joining the
Firm, he served as an intern with the Municipality of Anchorage, and then served as a law clerk to
Superior Court Judge J. Justin Ripley.


Education
B.A., Ohio State University; J.D., University of San Diego School of Law



Bailie L. Heikkinen | Of Counsel
Bailie Heikkinen is Of Counsel in the Firm’s Boca Raton office. Her practice focuses on complex class
actions, including securities, corporate governance, and consumer fraud litigation.

Heikkinen has been an integral member of the litigation teams responsible for securing monetary
recoveries on behalf of shareholders that collectively exceed $100 million. Notable cases include: Medoff v.
CVS Caremark Corp., No. 1:09-cv-00554 (D.R.I.); City of Lakeland Emps. Pension Plan v. Baxter Int’l Inc., No.
1:10-cv-06016 (N.D. Ill.); Wong v. Accretive Health, Inc., No. 1:12-cv-03102 (N.D. Ill.); and Local 731 I.B. of
T. Excavators & Pavers Pension Tr. Fund v. Swanson, No. 1:09-cv-00799 (D. Del.).


Education
B.A., University of Florida, 2004; J.D., South Texas College of Law, 2007

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2023-2024; Rising Star, Super Lawyers Magazine,
2014, 2018




                                                                                 Robbins Geller Rudman & Dowd LLP | 142
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 171 of 188
                                                                                ATTORNEY BIOGRAPHIES


Dennis J. Herman | Of Counsel
Dennis Herman is Of Counsel in the Firm’s San Francisco office where he focuses his practice on
securities class actions. He has led or been significantly involved in the prosecution of numerous
securities fraud claims that have resulted in substantial recoveries for investors, including settled actions
against Massey Energy ($265 million), Coca-Cola ($137 million), VeriSign ($78 million), Psychiatric
Solutions, Inc. ($65 million), St. Jude Medical, Inc. ($50 million), NorthWestern ($40 million),
BancorpSouth ($29.5 million), America Service Group ($15 million), Specialty Laboratories ($12 million),
Stellent ($12 million), and Threshold Pharmaceuticals ($10 million).


Education
B.S., Syracuse University, 1982; J.D., Stanford Law School, 1992

Honors / Awards
Best Lawyer in America, Best Lawyers®, 2018-2024; Northern Californa Best Lawyer, Best Lawyers®,
2018-2021; Super Lawyer, Super Lawyers Magazine, 2017-2018; Order of the Coif, Stanford Law School;
Urban A. Sontheimer Award (graduating second in his class), Stanford Law School; Award-winning
Investigative Newspaper Reporter and Editor in California and Connecticut



Helen J. Hodges | Of Counsel
Helen Hodges is Of Counsel in the Firm’s San Diego office. She specializes in securities fraud litigation.
Hodges has been involved in numerous securities class actions, including: Dynegy, which was settled for
$474 million; Thurber v. Mattel, which was settled for $122 million; Nat’l Health Labs, which was settled for
$64 million; and Knapp v. Gomez, Civ. No. 87-0067-H(M) (S.D. Cal.), in which a plaintiffs’ verdict was
returned in a Rule 10b-5 class action. Additionally, beginning in 2001, Hodges focused on the
prosecution of Enron, where a record $7.2 billion recovery was obtained for investors.


Education
B.S., Oklahoma State University, 1979; J.D., University of Oklahoma, 1983

Honors / Awards
Rated AV by Martindale-Hubbell; Hall of Fame, Oklahoma State University, 2022; Top Lawyer in San
Diego, San Diego Magazine, 2013-2022; served on the Oklahoma State University Foundation Board of
Trustees, 2013-2021; Philanthropist of the Year, Women for OSU at Oklahoma State University, 2020;
Super Lawyer, Super Lawyers Magazine, 2007




                                                                               Robbins Geller Rudman & Dowd LLP | 143
          Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 172 of 188
                                                                                         ATTORNEY BIOGRAPHIES


David J. Hoffa | Of Counsel
David Hoffa is Of Counsel in the Firm’s Washington D.C. office. He has served as a liaison to over 110
institutional investors in portfolio monitoring, securities litigation, and claims filing matters. His practice
focuses on providing a variety of legal and consulting services to U.S. state and municipal employee
retirement systems and single and multi-employer U.S. Taft-Hartley benefit funds. In addition to serving
as a leader on the Firm’s Israel Institutional Investor Outreach Team, Hoffa also serves as a member of
the Firm’s lead plaintiff advisory team, and advises public and multi-employer pension funds around the
country on issues related to fiduciary responsibility, legislative and regulatory updates, and “best practices”
in the corporate governance of publicly traded companies.

Early in his legal career, Hoffa worked for a law firm based in Birmingham, Michigan, where he appeared
regularly in Michigan state court in litigation pertaining to business, construction, and employment
related matters. Hoffa has also appeared before the Michigan Court of Appeals on several occasions.


Education
B.A., Michigan State University, 1993; J.D., Michigan State University College of Law, 2000



Andrew W. Hutton | Of Counsel
Drew Hutton is Of Counsel in the Firm’s San Diego and New York offices. Hutton has prosecuted a
variety of securities actions, achieving high-profile recoveries and results. Representative cases against
corporations and their auditors include In re AOL Time Warner Sec. Litig. ($2.5 billion) and In re Williams
Cos. Sec. Litig. ($311 million). Representative cases against corporations and their executives include In re
Broadcom Sec. Litig. ($150 million) and In re Clarent Corp. Sec. Litig. (class plaintiff’s 10b-5 jury verdict
against former CEO). Hutton is also active in shareholder derivative litigation, achieving monetary
recoveries and governance changes, including In re Affiliated Computer Servs. Derivative Litig. ($30
million), In re KB Home S’holder Derivative Litig. ($30 million), and In re KeyCorp Derivative Litig. (modified
CEO stock options and governance). Hutton has also litigated securities cases in bankruptcy court (In re
WorldCom, Inc. – $15 million for individual claimant) and a complex options case before FINRA (eight-
figure settlement for individual investor). Hutton is also experienced in complex, multi-district consumer
litigation. Representative nationwide insurance cases include In re Prudential Sales Pracs. Litig. ($4
billion), In re Metro. Life Ins. Co. Sales Pracs. Litig. ($2 billion), and In re Conseco Life Ins. Co. Cost of Ins. Litig.
($200 million). Representative nationwide consumer lending cases include a $30 million class settlement
of Truth-in-Lending claims against American Express and a $24 million class settlement of RICO and
RESPA claims against Community Bank of Northern Virginia (now PNC Bank).

Hutton is the founder of Hutton Law Group, a plaintiffs’ litigation practice currently representing
retirees, individual investors, and businesses. Before founding Hutton Law and joining Robbins Geller,
Hutton was a public company accountant, Certified Public Accountant, and broker of stocks, options, and
insurance products. Hutton has also served as an expert litigation consultant in both financial and
corporate governance capacities. Hutton is often responsible for working with experts retained by the
Firm in litigation and has conducted dozens of depositions of financial professionals, including audit
partners, CFOs, directors, bankers, actuaries, and opposing experts.


Education
B.A., University of California, Santa Barbara, 1983; J.D., Loyola Law School, 1994



                                                                                         Robbins Geller Rudman & Dowd LLP | 144
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 173 of 188
                                                                                ATTORNEY BIOGRAPHIES


Nancy M. Juda | Of Counsel
Nancy Juda is Of Counsel to the Firm and is based in the Firm’s Washington, D.C. office. Her practice
focuses on advising Taft-Hartley pension and welfare funds on issues related to corporate fraud in the
United States securities markets. Juda’s experience as an ERISA attorney provides her with unique
insight into the challenges faced by pension fund trustees as they endeavor to protect and preserve their
funds’ assets.

Prior to joining Robbins Geller, Juda was employed by the United Mine Workers of America Health &
Retirement Funds, where she began her practice in the area of employee benefits law. She was also
associated with a union-side labor law firm in Washington, D.C., where she represented the trustees of
Taft-Hartley pension and welfare funds on qualification, compliance, fiduciary, and transactional issues
under ERISA and the Internal Revenue Code.

Using her extensive experience representing employee benefit funds, Juda advises trustees regarding
their options for seeking redress for losses due to securities fraud. She currently advises trustees of funds
providing benefits for members of unions affiliated with North America’s Building Trades of the AFL-
CIO. Juda also represents funds in ERISA class actions involving breach of fiduciary claims.


Education
B.A., St. Lawrence University, 1988; J.D., American University, 1992



Francis P. Karam | Of Counsel
Frank Karam is Of Counsel to the Firm and is based in the Firm’s Melville office. Karam is a trial lawyer
with 30 years of experience. His practice focuses on complex class action litigation involving
shareholders’ rights and securities fraud. He also represents a number of landowners and royalty owners
in litigation against large energy companies. He has tried complex cases involving investment fraud and
commercial fraud, both on the plaintiff and defense side, and has argued numerous appeals in state and
federal courts. Throughout his career, Karam has tried more than 100 cases to verdict.

Karam has served as a partner at several prominent plaintiffs’ securities firms. From 1984 to 1990,
Karam was an Assistant District Attorney in the Bronx, New York, where he served as a senior Trial
Attorney in the Homicide Bureau. He entered private practice in 1990, concentrating on trial and
appellate work in state and federal courts.


Education
A.B., College of the Holy Cross; J.D., Tulane University School of Law

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2019-2023; “Who’s Who” for Securities Lawyers, Corporate
Governance Magazine, 2015




                                                                               Robbins Geller Rudman & Dowd LLP | 145
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 174 of 188
                                                                                ATTORNEY BIOGRAPHIES


Arthur C. Leahy | Of Counsel
Art Leahy is a founding partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He has over 20 years of experience successfully litigating securities actions and derivative
cases. Leahy has recovered well over two billion dollars for the Firm’s clients and has negotiated
comprehensive pro-investor corporate governance reforms at several large public companies. Most
recently, Leahy helped secure a $272 million recovery on behalf of mortgage-backed securities investors
in NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co. In the Goldman Sachs case, he helped
achieve favorable decisions in the Second Circuit Court of Appeals on behalf of investors of Goldman
Sachs mortgage-backed securities and again in the Supreme Court, which denied Goldman Sachs’
petition for certiorari, or review, of the Second Circuit’s reinstatement of the plaintiff’s case. He was also
part of the Firm’s trial team in the AT&T securities litigation, which AT&T and its former officers paid
$100 million to settle after two weeks of trial. Prior to joining the Firm, he served as a judicial extern for
the Honorable J. Clifford Wallace of the United States Court of Appeals for the Ninth Circuit, and served
as a judicial law clerk for the Honorable Alan C. Kay of the United States District Court for the District of
Hawaii.


Education
B.A., Point Loma Nazarene University, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Best Lawyer in America, Best Lawyers®, 2024; Top Lawyer
in San Diego, San Diego Magazine, 2013-2022; Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2021;
Super Lawyer, Super Lawyers Magazine, 2016-2017; J.D., Cum Laude, University of San Diego School of
Law, 1990; Managing Editor, San Diego Law Review, University of San Diego School of Law



Avital O. Malina | Of Counsel
Avital Malina is Of Counsel in the Firm’s Melville office, where her practice focuses on complex securities
litigation.

Malina has been recognized as a Rising Star by Super Lawyers Magazine for the New York Metro area
numerous times. Before joining the Firm, she was an associate in the New York office of a large
international law firm, where her practice focused on complex commercial litigations.


Education
B.A., Barnard College, 2005, J.D., Fordman University School of Law, 2009

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2021; B.A., Magna Cum Laude, Barnard College, 2005




                                                                                Robbins Geller Rudman & Dowd LLP | 146
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 175 of 188
                                                                                  ATTORNEY BIOGRAPHIES


Jerry E. Martin | Of Counsel
Jerry Martin is Of Counsel in the Firm’s Nashville office. He specializes in representing individuals who
wish to blow the whistle to expose fraud and abuse committed by federal contractors, health care
providers, tax cheats, or those who violate the securities laws. Martin was a member of the litigation team
that obtained a $65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-
largest securities recovery ever in the Middle District of Tennessee and one of the largest in more than a
decade.

Before joining the Firm, Martin served as the presidentially appointed United States Attorney for the
Middle District of Tennessee from May 2010 to April 2013. As U.S. Attorney, he made prosecuting
financial, tax, and health care fraud a top priority. During his tenure, Martin co-chaired the Attorney
General’s Advisory Committee’s Health Care Fraud Working Group. Martin has been recognized as a
national leader in combatting fraud and has addressed numerous groups and associations, such as
Taxpayers Against Fraud and the National Association of Attorneys General, and was a keynote speaker at
the American Bar Association’s Annual Health Care Fraud Conference.


Education
B.A., Dartmouth College, 1996; J.D., Stanford University, 1999

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2019




                                                                                 Robbins Geller Rudman & Dowd LLP | 147
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 176 of 188
                                                                               ATTORNEY BIOGRAPHIES


Ruby Menon | Of Counsel
Ruby Menon is Of Counsel to the Firm and is a member of the Firm’s legal, advisory, and business
development group. She also serves as the liaison to the Firm’s many institutional investor clients in the
United States and abroad.

Menon began her legal career as an Assistant Prosecuting Attorney, gaining extensive training in trials
and litigation. Later, for over 12 years, she served as the Chief Legal Counsel to two large multi-employer
retirement plans, developing her expertise in many areas of employee benefits and pension
administration, including legislative initiatives and regulatory affairs, investments, tax, fiduciary
compliance, and plan administration. During her career as Chief Legal Counsel, Menon was a frequent
instructor for several certificate and training programs and seminars for pension fund trustees,
administrators, and other key decision makers of pension and employee benefits plans. She is a member
of various legal and professional organizations in the United States and abroad.

Menon currently serves as a co-chair on the National Association of Public Pension Attorneys Membership
Committee and as a board member on the Corporate Advisory Committee of the National Council on
Teacher Retirement (NCTR). She has previously served as an advisory board member for the Sovereign
Wealth Fund Institute and as a committee member on the International Pension Employee & Benefits
Lawyers Association. Menon also organized and participated in the ACAP Shareholder sessions in
Singapore and Hong Kong.


Education
B.A., Indiana University, 1985; J.D., Indiana University School of Law, 1988

Honors / Awards
Global Plaintiff Lawyer, Lawdragon, 2024



Sara B. Polychron | Of Counsel
Sara Polychron is Of Counsel in the Firm’s San Diego office, where her practice focuses on complex
securities litigation. She is part of the litigation team prosecuting actions against investment banks and
the leading credit rating agencies for their role in the structuring and rating of residential mortgage-
backed securities and their subsequent collapse.

Sara earned her Bachelor of Arts degree with honors from the University of Minnesota, where she
studied Sociology with an emphasis in Criminology and Law. As an undergraduate she interned with the
Hennepin County Attorney’s Office, where she advocated for victims of domestic violence and assisted in
sentencing negotiations in Juvenile Court. Sara received her Juris Doctor degree from the University of
San Diego School of Law, where she was the recipient of two academic scholarships. While in law school,
she interned with the Center for Public Interest Law and was a contributing author and assistant editor to
the California Regulatory Law Reporter. She also worked as a legal research assistant at the law school
and clerked for two San Diego law firms.


Education
B.A., University of Minnesota, 1999; J.D., University of San Diego School of Law, 2005




                                                                               Robbins Geller Rudman & Dowd LLP | 148
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 177 of 188
                                                                               ATTORNEY BIOGRAPHIES


Svenna Prado | Of Counsel
Svenna Prado is Of Counsel in the Firm’s San Diego office, where she focuses on various aspects of
international securities and consumer litigation. She was part of the litigation teams that secured
settlements against German defendant IKB, as well as Deutsche Bank and Deutsche Bank/West LB for
their role in structuring residential mortgage-backed securities and their subsequent collapse. Before
joining the Firm, Prado was Head of the Legal Department for a leading international staffing agency in
Germany where she focused on all aspects of employment litigation and corporate governance. After she
moved to the United States, Prado worked with an internationally oriented German law firm as Counsel
to corporate clients establishing subsidiaries in the United States and Germany. As a law student, Prado
worked directly for several years for one of the appointed Trustees winding up Eastern German
operations under receivership in the aftermath of the German reunification. Utilizing her experience in
this area of law, Prado later helped many clients secure successful outcomes in U.S. Bankruptcy Court.


Education
J.D., University of Erlangen-Nuremberg, Germany, 1996; Qualification for Judicial Office, Upper
Regional Court Nuremberg, Germany, 1998; New York University, “U.S. Law and Methodologies,” 2001



Harini P. Raghupathi | Of Counsel
Harini Raghupathi is Of Counsel in the Firm’s San Diego office. She is a member of the Firm’s Appellate
Practice Group.

Before joining the Firm, Harini represented victims of serious injury in federal and state appellate courts.
Her practice areas included mass torts, consumer protection, and civil rights. Additionally, for over a
decade, Harini served as a federal public defender specializing in appeals. In that role, she obtained
multiple published reversals on behalf of her clients.

In 2012, The Recorder named Harini an “Attorney of the Year” for her successful appeal in United States v.
Leal-Del Carmen, 697 F.3d 964 (9th Cir. 2012). Harini serves as the Chair of the Ninth Circuit Advisory
Committee on Rules of Practice. She is also a member of the San Diego Appellate Inn of Court and a
volunteer-mentor with The Appellate Project.


Education
B.S., Stanford University, 2004; J.D., University of California, Berkeley School of Law, 2007

Honors / Awards
Attorney of the Year, The Recorder, 2012




                                                                              Robbins Geller Rudman & Dowd LLP | 149
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 178 of 188
                                                                                   ATTORNEY BIOGRAPHIES


Andrew T. Rees | Of Counsel
Andrew Rees is Of Counsel in the Firm’s Boca Raton office. His practice focuses on complex class actions,
including securities, corporate governance and consumer fraud litigation. He was on the litigation team
that successfully obtained a $146.25 million recovery in Nieman v. Duke Energy Corp., which is the largest
recovery in North Carolina for a case involving securities fraud and one of the five largest recoveries in
the Fourth Circuit.

Before joining the Firm, Rees worked as an associate in the Washington, D.C. office of Hogan & Hartson
LLP, where he practiced in the area of commercial transactions, including financings, stock purchases,
asset acquisitions and mergers.


Education
B.A., Pennsylvania State University, 1997; J.D., William and Mary School of Law, 2002

Honors / Awards
Best Lawyer in America: One to Watch, Best Lawyers®, 2024



Jack Reise | Of Counsel
Jack Reise is Of Counsel in the Firm’s Boca Raton office. Devoted to protecting the rights of those who
have been harmed by corporate misconduct, his practice focuses on class action litigation (including
securities fraud, shareholder derivative actions, consumer protection, antitrust, and unfair and deceptive
insurance practices). Reise also dedicates a substantial portion of his practice to representing
shareholders in actions brought under the federal securities laws. He is currently serving as lead counsel
in more than a dozen cases nationwide. Most recently, Reise and a team of Robbins Geller attorneys
obtained a $1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig. (D.N.J.), a case that Vanity
Fair reported as “the corporate scandal of its era” that had raised “fundamental questions about the
functioning of our health-care system, the nature of modern markets, and the slippery slope of ethical
rationalizations.” This is the largest securities class action settlement against a pharmaceutical
manufacturer and the ninth largest ever. As lead counsel, Reise has also represented investors in a series
of cases involving mutual funds charged with improperly valuating their net assets, which settled for a
total of more than $50 million. Other notable actions include: In re NewPower Holdings, Inc. Sec.
Litig. (S.D.N.Y.) ($41 million settlement); In re ADT Inc. S’holder Litig. (Fla. Cir. Ct., 15th Jud. Cir.) ($30
million settlement); In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); and In re AFC Enters.,
Inc. Sec. Litig. (N.D. Ga.) ($17.2 million settlement).


Education
B.A., Binghamton University, 1992; J.D., University of Miami School of Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019-2022; American Jurisprudence Book Award in
Contracts; J.D., Cum Laude, University of Miami School of Law, 1995; University of Miami Inter-American
Law Review, University of Miami School of Law




                                                                                  Robbins Geller Rudman & Dowd LLP | 150
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 179 of 188
                                                                                    ATTORNEY BIOGRAPHIES


Stephanie Schroder | Of Counsel
Stephanie Schroder is Of Counsel in the Firm’s San Diego office. Schroder advises institutional investors,
including public and multi-employer pension funds, on issues related to corporate fraud in the United
States and worldwide financial markets. Schroder has been with the Firm since its formation in 2004, and
has over 20 years of securities litigation experience.

Schroder has represented institutional investors in securities fraud litigation that has resulted in collective
recoveries of over $2 billion. Most recently, Schroder was part of the Robbins Geller team that obtained a
$1.21 billion settlement in In re Valeant Pharms. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the
corporate scandal of its era” that had raised “fundamental questions about the functioning of our health-
care system, the nature of modern markets, and the slippery slope of ethical rationalizations.” This is the
largest securities class action settlement against a pharmaceutical manufacturer and the ninth largest
securities class action settlement ever. Additional prominent cases include: In re AT&T Corp. Sec.
Litig. ($100 million recovery at trial); In re FirstEnergy Corp. Sec. Litig. ($89.5 million recovery); Rasner v.
Sturm (FirstWorld Communications); and In re Advanced Lighting Sec. Litig. Schroder also specializes in
derivative litigation for breaches of fiduciary duties by corporate officers and directors. Significant
litigation includes In re OM Grp. S’holder Litig. and In re Chiquita S’holder Litig. Schroder previously
represented clients that suffered losses from the Madoff fraud in the Austin Capital and Meridian
Capital litigations, which were also successfully resolved. In addition, Schroder is a frequent lecturer on
securities fraud, shareholder litigation, and options for institutional investors seeking to recover losses
caused by securities and accounting fraud.


Education
B.A., University of Kentucky, 1997; J.D., University of Kentucky College of Law, 2000




                                                                                   Robbins Geller Rudman & Dowd LLP | 151
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 180 of 188
                                                                                ATTORNEY BIOGRAPHIES


Kevin S. Sciarani | Of Counsel
Kevin Sciarani is Of Counsel to the Firm and is based in the San Diego office, where his practice focuses
on complex securities litigation. Sciarani earned Bachelor of Science and Bachelor of Arts degrees from
the University of California, San Diego. He graduated magna cum laude from the University of California,
Hastings College of the Law with a Juris Doctor degree, where he served as a Senior Articles Editor on
the Hastings Law Journal.

During law school, Sciarani interned for the U.S. Securities and Exchange Commission and the Antitrust
Section of the California Department of Justice. In his final semester, he served as an extern to the
Honorable Susan Illston of the United States District Court for the Northern District of California.
Sciarani also received recognition for his pro bono assistance to tenants living in foreclosed properties due
to the subprime mortgage crisis.


Education
B.S., B.A., University of California, San Diego, 2005; J.D., University of California, Hastings College of
the Law, 2014

Honors / Awards
J.D., Magna Cum Laude, Order of the Coif, University of California, Hastings College of the Law,
2014; CALI Excellence Award, Senior Articles Editor, Hastings Law Journal, University of California,
Hastings College of the Law




                                                                               Robbins Geller Rudman & Dowd LLP | 152
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 181 of 188
                                                                               ATTORNEY BIOGRAPHIES


Leonard B. Simon | Of Counsel
Leonard Simon is Of Counsel in the Firm’s San Diego office. His practice has been devoted to litigation
in the federal courts, including both the prosecution and the defense of major class actions and other
complex litigation in the securities and antitrust fields. Simon has also handled a substantial number of
complex appellate matters, arguing cases in the United States Supreme Court, several federal Courts of
Appeals, and several California appellate courts. He has also represented large, publicly traded
corporations. Simon served as plaintiffs’ co-lead counsel in In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec.
Litig., MDL No. 834 (D. Ariz.) (settled for $240 million), and In re NASDAQ Market-Makers Antitrust Litig.,
MDL No. 1023 (S.D.N.Y.) (settled for more than $1 billion). He was also in a leadership role in several of
the state court antitrust cases against Microsoft, and the state court antitrust cases challenging electric
prices in California. He was centrally involved in the prosecution of In re Washington Pub. Power Supply
Sys. Sec. Litig., MDL No. 551 (D. Ariz.), the largest securities class action ever litigated.

Simon is an Adjunct Professor of Law at Duke University, the University of San Diego, and the University
of Southern California Law Schools. He has lectured extensively on securities, antitrust, and complex
litigation in programs sponsored by the American Bar Association Section of Litigation, the Practicing
Law Institute, and ALI-ABA, and at the UCLA Law School, the University of San Diego Law School, and
the Stanford Business School. He is an Editor of California Federal Court Practice and has authored a law
review article on the PSLRA.


Education
B.A., Union College, 1970; J.D., Duke University School of Law, 1973

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2016-2022;
Super Lawyer, Super Lawyers Magazine, 2008-2016; J.D., Order of the Coif and with Distinction, Duke
University School of Law, 1973




                                                                              Robbins Geller Rudman & Dowd LLP | 153
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 182 of 188
                                                                                ATTORNEY BIOGRAPHIES


Laura S. Stein | Of Counsel
Laura Stein is Of Counsel in the Firm’s Philadelphia office. Since 1995, she has practiced in the areas of
securities class action litigation, complex litigation, and legislative law. Stein has served as one of the
Firm’s and the nation’s top asset recovery experts with a focus on minimizing losses suffered by
shareholders due to corporate fraud and breaches of fiduciary duty. She also seeks to deter future
violations of federal and state securities laws by reinforcing the standards of good corporate governance.
Stein works with over 500 institutional investors across the nation and abroad, and her clients have served
as lead plaintiff in successful cases where billions of dollars were recovered for defrauded investors against
such companies as: AOL Time Warner, TYCO, Cardinal Health, AT&T, Hanover Compressor, 1st
Bancorp, Enron, Dynegy, Inc., Honeywell International, Bridgestone, LendingClub, Orbital ATK, and
Walmart, to name a few. Many of the cases led by Stein’s clients have accomplished groundbreaking
corporate governance achievements, including obtaining shareholder-nominated directors. She is a
frequent presenter and educator on securities fraud monitoring, litigation, and corporate governance.


Education
B.A., University of Pennsylvania, 1992; J.D., University of Pennsylvania Law School, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2024



John J. Stoia, Jr. | Of Counsel
John Stoia is Of Counsel to the Firm and is based in the Firm’s San Diego office. He is one of the
founding partners and former managing partner of the Firm. He focuses his practice on insurance fraud,
consumer fraud, and securities fraud class actions. Stoia has been responsible for over $10 billion in
recoveries on behalf of victims of insurance fraud due to deceptive sales practices such as “vanishing
premiums” and “churning.” He has worked on dozens of nationwide complex securities class actions,
including In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec. Litig., which arose out of the collapse of Lincoln
Savings & Loan and Charles Keating’s empire. Stoia was a member of the plaintiffs’ trial team that
obtained verdicts against Keating and his co-defendants in excess of $3 billion and settlements of over
$240 million.

He also represented numerous large institutional investors who suffered hundreds of millions of dollars
in losses as a result of major financial scandals, including AOL Time Warner and WorldCom. Currently,
Stoia is lead counsel in numerous cases against online discount voucher companies for violations of both
federal and state laws including violation of state gift card statutes.


Education
B.S., University of Tulsa, 1983; J.D., University of Tulsa, 1986; LL.M., Georgetown University Law
Center, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2022;
Super Lawyer, Super Lawyers Magazine, 2007-2017; Litigator of the Month, The National Law Journal, July
2000; LL.M. Top of Class, Georgetown University Law Center



                                                                                Robbins Geller Rudman & Dowd LLP | 154
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 183 of 188
                                                                                ATTORNEY BIOGRAPHIES


Christopher J. Supple | Of Counsel
Chris Supple is Senior Counsel to Robbins Geller, having joined the Firm after spending the past decade
(2011-2021) as Deputy Executive Director and General Counsel at MassPRIM (the Massachusetts Pension
Reserves Investment Management Board). While at MassPRIM, Supple also served for the last half-
decade as Chair and Co-Chair of the Securities Litigation Committee of NAPPA (the National Association
of Public Pension Attorneys). Supple is very familiar with, and experienced in, the role that institutional
investors play in private securities litigation, having successfully directed MassPRIM’s securities litigation
activity in dozens of actions that recovered more than a billion dollars for investors,
including Schering-Plough ($473 million), Massey Energy ($265 million), and Fannie Mae ($170 million).

Supple’s 30-plus years of experience in law and investments also includes over five years as a federal
prosecutor, six years in senior leadership positions for two Massachusetts Governors, and over ten years
in private law practice where his clients included MassPRIM and also its sibling Health Care Security/State
Retiree Benefits Trust Fund. Supple began his career (after a federal court clerkship) as a litigating
attorney assigned to securities cases at the Boston law firm of Hale and Dorr (now called WilmerHale).
Supple has litigated in state and federal courts throughout the nation, and has successfully tried over 25
cases to jury verdict, tried dozens of cases to judges sitting without juries, argued hundreds of evidentiary
and non-evidentiary motions, and settled dozens of cases by negotiated agreement. Supple holds the
Investment Foundations™ Certificate awarded by the CFA (Chartered Financial Analyst) Institute, and for
nearly a decade was an adjunct law professor teaching a course in Federal Criminal Prosecution.


Education
B.A., The College of the Holy Cross, 1985; J.D., Duke University School of Law, 1988

Honors / Awards
J.D., with Honors, Duke University School of Law, 1988




                                                                                Robbins Geller Rudman & Dowd LLP | 155
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 184 of 188
                                                                                ATTORNEY BIOGRAPHIES


Lindsey H. Taylor | Of Counsel
Lindsey H. Taylor is Of Counsel in the Firm’s Boca Raton office, where his practice concentrates on
consumer fraud and antitrust litigation.

At Robbins Geller, Taylor is part of the team representing plaintiffs in In re American Medical Collection
Agency, Inc. Customer Data Security Breach Litig., No. 2:19-md-02904 (D.N.J.), In re American Financial
Resources, Inc. Data Breach Litig., No. 2:22-cv-01757 (D.N.J.), and In re Google Digital Advertising Antitrust
Litig., No. 1:21-md-03010 (S.D.N.Y.). Before joining Robbins Geller, Taylor briefed and argued on behalf
of the plaintiff in Hanover 3201 Realty, LLC v. Vill. Supermarkets, Inc., 806 F.3d 162 (3d Cir. 2015), which
established in the Third Circuit the standards when a non-competitor, non-consumer plaintiff had
antitrust standing and differing standards for single and serial petitioning under the Noerr-Pennington
doctrine. He was also part of the team that obtained favorable settlements in James v. Global Tel*Link
Corp., No. 2:13-04989 (D.N.J.), on behalf of the families of prisoners held on New Jersey prisons and jails
for unconscionable pricing for prison telephone calls, and in In re Liquid Aluminum Sulfate Antitrust Litig.,
No. 2:16-md-02687 (D.N.J.), on behalf of direct purchasers of liquid aluminum sulfate, which is used for
water treatment.

Since 1998, Taylor has been the author of the chapter “Responding to the Complaint” in New Jersey
Federal Civil Procedure, published annually by New Jersey Law Journal Books. He also served on the New
Jersey District VC Ethics Committee from 2002 to 2006.


Education
B.A., University of North Carolina at Chapel Hill, 1983; J.D., University of North Carolina at Chapel Hill
School of Law, 1986

Honors / Awards
Rated AV Preeminent Martindale Hubbell; Best Lawyers in America, Best Lawyers®, 2019-2024; New
Jersey Super Lawyer, Super Lawyers Magazine, 2005, 2008-2011, 2014-2017, 2019-2022; B.A., with
Honors, University of North Carolina at Chapel Hill, 1983




                                                                                Robbins Geller Rudman & Dowd LLP | 156
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 185 of 188
                                                                                ATTORNEY BIOGRAPHIES


Michael A. Troncoso | Of Counsel
Michael Troncoso is Of Counsel to Robbins Geller Rudman & Dowd LLP. His practice focuses on
securities fraud class action litigation and other affirmative litigation. Prior to joining the Firm, Troncoso
served as a prosecutor, senior in-house counsel, and legal and policy advisor across numerous sectors. He
served as chief counsel and chief of public policy to then-California Attorney General Kamala D. Harris,
overseeing the office’s priority litigation, enforcement, and legislative matters. In this role, he served as
lead counsel for the State of California in securing the National Mortgage Settlement, the largest
consumer financial protection settlement in state history that brought $20 billion in loan relief and direct
payments to California homeowners. He led the state’s Mortgage Fraud Task Force and its investigations
of securities law violations arising from the issuance of residential mortgage-backed securities. His team
recovered nearly $1 billion in RMBS-related losses for California public pension funds.

Earlier in his career, Troncoso served for nearly six years as a trial attorney and assistant chief attorney
for policy in the San Francisco District Attorney’s office, where he tried multiple criminal cases to jury
verdict and led the office’s mortgage and investment fraud team, where he was responsible for
investigating and prosecuting complex financial crimes from initial report through charging and trial.

Troncoso most recently served as Vice President at the Chan Zuckerberg Initiative, a philanthropic
organization, where he led bipartisan policy and advocacy efforts nationwide. He also served in the
University of California’s Office of General Counsel as managing counsel for health affairs and technology
law and chief campus counsel, where he oversaw various litigation, regulatory, and data protection
matters.


Education
B.A., University of California at Berkeley, 1999; J.D., Georgetown University Law Center, 2002

Honors / Awards
Top 40 Under 40, Daily Journal, 2012




                                                                                Robbins Geller Rudman & Dowd LLP | 157
         Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 186 of 188
                                                                                ATTORNEY BIOGRAPHIES


David C. Walton | Of Counsel
David Walton was a founding partner of the Firm. For over 25 years, he has prosecuted class actions and
private actions on behalf of defrauded investors, particularly in the area of accounting fraud. He has
investigated and participated in the litigation of highly complex accounting scandals within some of
America’s largest corporations, including Enron ($7.2 billion), HealthSouth ($671 million), WorldCom
($657 million), AOL Time Warner ($629 million), Countrywide ($500 million), and Dynegy ($474
million), as well as numerous companies implicated in stock option backdating.

Walton is a member of the Bar of California, a Certified Public Accountant (California 1992), and is fluent
in Spanish. In 2003-2004, he served as a member of the California Board of Accountancy, which is
responsible for regulating the accounting profession in California.


Education
B.A., University of Utah, 1988; J.D., University of Southern California Law Center, 1993

Honors / Awards
Recommended Lawyer, The Legal 500, 2019; Super Lawyer, Super Lawyers Magazine, 2015-2016; California
Board of Accountancy, Member, 2003-2004; Southern California Law Review, Member, University of
Southern California Law Center; Hale Moot Court Honors Program, University of Southern California
Law Center



Bruce Gamble | Special Counsel
Bruce Gamble is Special Counsel to the Firm in the Firm’s Washington D.C. office and is a member of the
Firm’s institutional investor client services group. He serves as liaison with the Firm’s institutional
investor clients in the United States and abroad, advising them on securities litigation matters. Gamble
formerly served as Of Counsel to the Firm, providing a broad array of highly specialized legal and
consulting services to public retirement plans. Before working with Robbins Geller, Gamble was General
Counsel and Chief Compliance Officer for the District of Columbia Retirement Board, where he served as
chief legal advisor to the Board of Trustees and staff. Gamble’s experience also includes serving as Chief
Executive Officer of two national trade associations and several senior level staff positions on Capitol Hill.


Education
B.S., University of Louisville, 1979; J.D., Georgetown University Law Center, 1989

Honors / Awards
Executive Board Member, National Association of Public Pension Attorneys, 2000-2006; American Banker
selection as one of the most promising U.S. bank executives under 40 years of age, 1992




                                                                                Robbins Geller Rudman & Dowd LLP | 158
        Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 187 of 188
                                                                              ATTORNEY BIOGRAPHIES


R. Steven Aronica | Forensic Accountant
Steven Aronica is a Certified Public Accountant licensed in the States of New York and Georgia and is a
member of the American Institute of Certified Public Accountants, the Institute of Internal Auditors, and
the Association of Certified Fraud Examiners. Aronica has been instrumental in the prosecution of
numerous financial and accounting fraud civil litigation claims against companies that include Lucent
Technologies, Tyco, Oxford Health Plans, Computer Associates, Aetna, WorldCom, Vivendi, AOL Time
Warner, Ikon, Doral Financial, First BanCorp, Acclaim Entertainment, Pall Corporation, iStar Financial,
Hibernia Foods, NBTY, Tommy Hilfiger, Lockheed Martin, the Blackstone Group, and Motorola. In
addition, he assisted in the prosecution of numerous civil claims against the major United States public
accounting firms.

Aronica has been employed in the practice of financial accounting for more than 30 years, including
public accounting, where he was responsible for providing clients with a wide range of accounting and
auditing services; the investment bank Drexel Burnham Lambert, Inc., where he held positions with
accounting and financial reporting responsibilities; and at the SEC, where he held various positions in the
divisions of Corporation Finance and Enforcement and participated in the prosecution of both criminal
and civil fraud claims.


Education
B.B.A., University of Georgia, 1979



Andrew J. Rudolph | Forensic Accountant
Andrew Rudolph is the Director of the Firm’s Forensic Accounting Department, which provides in-house
forensic accounting expertise in connection with securities fraud litigation against national and foreign
companies. He has directed hundreds of financial statement fraud investigations, which were
instrumental in recovering billions of dollars for defrauded investors. Prominent cases include Qwest,
HealthSouth, WorldCom, Boeing, Honeywell, Vivendi, Aurora Foods, Informix, Platinum Software, AOL Time
Warner, and UnitedHealth.

Rudolph is a Certified Fraud Examiner and a Certified Public Accountant licensed to practice in
California. He is an active member of the American Institute of Certified Public Accountants, California’s
Society of Certified Public Accountants, and the Association of Certified Fraud Examiners. His 20 years of
public accounting, consulting, and forensic accounting experience includes financial fraud investigation,
auditor malpractice, auditing of public and private companies, business litigation consulting, due
diligence investigations, and taxation.


Education
B.A., Central Connecticut State University, 1985




                                                                              Robbins Geller Rudman & Dowd LLP | 159
                                            Case 3:18-cv-06245-TLT Document 234-1 Filed 07/19/24 Page 188 of 188
                                                                                                                     ATTORNEY BIOGRAPHIES


                                   Christopher Yurcek | Forensic Accountant
                                   Christopher Yurcek is the Assistant Director of the Firm’s Forensic Accounting Department, which
                                   provides in-house forensic accounting and litigation expertise in connection with major securities fraud
                                   litigation. He has directed the Firm’s forensic accounting efforts on numerous high-profile cases,
                                   including In re Enron Corp. Sec. Litig. and Jaffe v. Household Int’l, Inc., which obtained a record-breaking
                                   $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
                                   a verdict for plaintiffs. Other prominent cases include HealthSouth, UnitedHealth, Vesta, Informix, Mattel,
                                   Coca-Cola, and Media Vision.

                                   Yurcek has over 20 years of accounting, auditing, and consulting experience in areas including financial
                                   statement audit, forensic accounting and fraud investigation, auditor malpractice, turn-around consulting,
                                   business litigation, and business valuation. He is a Certified Public Accountant licensed in California,
                                   holds a Certified in Financial Forensics (CFF) Credential from the American Institute of Certified Public
                                   Accountants, and is a member of the California Society of CPAs and the Association of Certified Fraud
                                   Examiners.


                                   Education
                                   B.A., University of California, Santa Barbara, 1985




                                                                                                                    Robbins Geller Rudman & Dowd LLP | 160

Powered by TCPDF (www.tcpdf.org)
